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      1                    UNITED STATES DISTRICT COURT
      2                 FOR THE NORTHERN DISTRICT OF OHIO
      3                            EASTERN DIVISION
      4

      5    -----------------------------x
      6    IN RE: NATIONAL PRESCRIPTION             ) Case No.
      7    OPIATE LITIGATION                        ) 1:17-MD-2804
      8    APPLIES TO ALL CASES                     ) Hon. Dan A. Polster
      9    -----------------------------x
     10           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     11                       CONFIDENTIALITY REVIEW
     12

                   VIDEOTAPED DEPOSITION OF BLAINE M. SNIDER
     13

                                  WASHINGTON, D.C.
     14

                           THURSDAY, NOVEMBER 8, 2018
     15

                                      8:34 A.M.
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     24    Reported by: Leslie A. Todd

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     1     Deposition of BLAINE M. SNIDER, held at the       1   APPEARANCES (Continued):
     2   offices of:                                         2
     3                                                       3   ON BEHALF OF DEFENDANT CVS:
     4                                                       4     DANIEL P. MOYLAN, ESQUIRE
     5          COVINGTON & BURLING, LLP                     5     ZUCKERMAN SPAEDER, LLP
     6          One City Center                              6     100 East Pratt Street, Suite 2440
     7          850 10th Street, N.W.                        7     Baltimore, Maryland 21202-1031
     8          Washington, DC 20001-4956                    8     (410) 949-1159
     9                                                       9
    10                                                      10   ON BEHALF OF DEFENDANT WALMART:
    11                                                      11     SARAH G. CONWAY, ESQUIRE
    12                                                      12     JONES DAY
    13     Pursuant to notice, before Leslie Anne Todd,     13     555 South Flower Street
    14   Court Reporter and Notary Public in and for the    14     Fiftieth Floor
    15   District of Columbia, who officiated in            15     Los Angeles, California 90071-2300
    16   administering the oath to the witness.             16     (213) 489-3939
    17                                                      17
    18                                                      18   ON BEHALF OF DEFENDANT HBC CO.:
    19                                                      19     SCOTT D. LIVINGSTON, ESQUIRE
    20                                                      20     MARCUS & SHAPIRA, LLP
    21                                                      21     One Oxford Centre, 35th Floor
    22                                                      22     301 Grant Street
    23                                                      23     Pittsburgh, Pennsylvania 15219-6401
    24                                                      24     (412) 338-4690
                                                   Page 3                                              Page 5
     1            APPEARANCES                                1 APPEARANCES (Continued):
     2                                                       2 ON BEHALF OF DEFENDANT CARDINAL HEALTH:
     3   ON BEHALF OF PLAINTIFFS:                            3     MIRANDA PETERSEN, ESQUIRE
     4     BRANDON BOGLE, ESQUIRE                            4     WILLIAMS & CONNOLLY, LLP
     5     WESLEY BOWDEN, ESQUIRE                            5     725 Twelfth Street, N.W.
     6     LEVIN PAPANTONIO THOMAS MITCHELL                  6     Washington, D.C. 20005
     7      RAFFERTY & PROCTOR, PA                           7     (202) 434-5000
     8     316 S. Baylen Street, Suite 600                   8
     9     Pensacola, Florida 32502                          9 ON BEHALF OF ENDO PHARMACEUTICALS, INC. and
    10     (850) 435-7043                                   10    ENDO HEALTH SOLUTIONS, INC.:
    11                                                      11     JOHN D. CELLA, ESQUIRE
    12   ON BEHALF OF McKESSON CORPORATION:                 12     ARNOLD & PORTER KAYE SCHOLER, LLP
    13     KEVIN B. COLLINS, ESQUIRE                        13     601 Massachusetts Avenue, N.W.
    14     WEISS NUSRATY, ESQUIRE                           14     Washington, D.C. 20001-3743
    15     COVINGTON & BURLING, LLP                         15     (202) 942-6771
    16     One CityCenter                                   16
    17     850 Tenth Street, N.W.                           17 ON BEHALF OF AMERISOURCEBERGEN BERGEN:
    18     Washington, D.C. 20001-4956                      18     MOLLY Q. CAMPBELL, ESQUIRE
    19     (202) 662-5598                                   19     REED SMITH, LLP
    20                                                      20     1301 K Street, N.W.
    21                                                      21     Suite 1000 - East Tower
    22                                                      22     Washington, D.C. 20005
    23                                                      23     (202) 414-9173
    24                                                      24


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     2                                                                   2          (Attached to transcript)
     3 ON BEHALF OF ALLERGAN FINANCE:                                    3 MCKESSON-SNIDER DEPOSITION EXHIBITS                  PAGE
     4    MICHAEL LeFEVOUR, ESQUIRE (Telephonically)                     4 No. 6     McKesson Operations Manual for
     5    KIRKLAND & ELLIS, LLP                                          5         Pharma Distribution, Exhibit
     6    300 North LaSalle                                              6         P1.1333 through P1.1333.6             117
     7    Chicago, Illinois 60654                                        7 No. 7     E-mail string re CSMP contribution,
     8    (312) 862-2000                                                 8         DCM call, Tightening up our
     9                                                                   9         increase process, Exhibit P1.1679
    10 ON BEHALF OF PRESCRIPTION SUPPLY, INC.:                          10         through P1.1679.3               133
    11    ERIC J. WILLIAMS, ESQUIRE (Telephonically)                    11 No. 8     McKesson's Controlled Substance
    12    PELINI, CAMPBELL & WILLIAMS, LLC                              12         Monitoring Program, Regulatory
    13    Bretton Commons - Suite 400                                   13         Affairs Training, Exhibit P1.795
    14    8040 Cleveland Avenue NW                                      14         through P1.795.51               137
    15    North Canton, Ohio 44720                                      15 No. 9     Document re "Understand ARCOS Data,"
    16    (330) 305-6400                                                16         Exhibit P1.1568 through P1.1568.2 149
    17                                                                  17 No. 10     Letter from Hyman, Phelps &
    18 ALSO PRESENT:                                                    18         McNamara to Linden Barber, Exhibit
    19    RICHARD WOODS, Paralegal                                      19         P1.1829 through P1.1829.7             156
    20    DANIEL HOLMSTOCK, Videographer                                20 No. 11     McKesson CSMP "Red Flags," Exhibit
    21                                                                  21         P1.1146 through P1.1146.8             163
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    23                                                                  23
    24                                                                  24

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     4    By Mr. Collins                   453, 514                      4 No. 12     Letter from the House of
     5                                                                   5         Representatives, Committee on
     6                                                                   6         Energy and Commerce to John H.
     7                                                                   7         Hammergren, dated February 15,
     8             EXHIBITS                                              8         2018, Exhibit P1.44 through P1.44.14 180
     9          (Attached to transcript)                                 9 No. 13     Documents re Mace's Pharmacy,
    10 MCKESSON-SNIDER DEPOSITION EXHIBITS                      PAGE 10            Exhibit P1.1824 through P1.1824.91 188
    11 No. 1     Drug Operations Manual, Exhibit                        11 No. 14     U.S. Census Bureau 2010 Demographic
    12         P1.1555 through P1.1555.137            35                12         Profile Data, Exhibit P1.1892
    13 No. 2     E&C U.S. House of Representatives                      13         through P1.1892.5               199
    14         Committee on Energy and Commerce,                        14 No. 15     Threshold Change Forms, Exhibit
    15         Exhibit P1.264 though P1.264.9         59                15         P1.1782 through P1.1782.8             221
    16 No. 3     Letter from Drug Enforcement                           16 No. 16     Documents re Best Care Pharmacy,
    17         Administration, September 27,                            17         Exhibit P1.1812 through P1.1812.72 229
    18         2006, Exhibit P1.1464 through                            18 No. 17     Document re Weston, West Virginia,
    19         P1.1464.4                    73                          19         Exhibit P1.1909                 232
    20 No. 4     Beyond Boundaries, National                            20 No. 18     Documents re Lumberport Pharmacy,
    21         Operations Conference 2007,                              21         Exhibit P1.1821 through P1.1821.20 267
    22         Exhibit P1.1830 through P1.1830.9          83            22 No. 19     Document re Lumberport, West
    23 No. 5     E-mail re November LDMP, Exhibit                       23         Virginia, Exhibit P1.1908          272
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     5      Exhibit P1.1822 through P1.1822.18 286                   5      Update to DC Ops, Exhibit P1.1434
     6 No. 21    Press release titled Pharmacist                     6      through P1.1434.30                   349
     7      Charged with Illegal Distribution                        7 No. 33    E-mail string re New Pharmacy,
     8      of Painkillers, Exhibit P1.1251                          8      Stowe, OH, Exhibit P1.1896 through
     9      through P1.1251.2                 296                    9      P1.1896.5                      354
    10 No. 22    McKesson Northeast Region-Buffalo/                 10 No. 34    E-mail string re Summit Pain
    11      New Castle, June 2014 Monthly                           11      Specialists, Exhibit P1.1877
    12      Report, Exhibit P1.1794 through                         12      through P1.1877.2                359
    13      P1.1794.5                      309                      13 No. 35    E-mail string re CSMP - Acme,
    14 No. 23    E-mail string re Status of                         14      Exhibit P1.1870 through P1.1870.4 361
    15      Threshold Change Request for                            15 No. 36    E-mail string re Acme 1/11/13
    16      Martella's Pharmacy (Conemaugh/                         16      CSMP, Exhibit P1.1874 through
    17      Martella's), Exhibit P1.1900                            17      P1.1874.2                      375
    18      through P1.1900.3                                       18 No. 37    Chart, Exhibit P1.1907                378
    19 No. 24    (number not used)                                  19 No. 38    McKesson's Controlled Substance
    20 No. 25    (number not used)                                  20      Monitoring Program Regulatory
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    22      Account Name Martella's Pharmacy,                       22      P1.1899 through P1.1899.13                 383
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     4 No. 27    E-mail string re Status of                          4 No. 39    Akron Beacon Journal/Ohio.com
     5      Threshold Change Request for                             5      article, Stow pain clinic closing
     6      Martella's Pharmacy, Exhibit                             6      after court upholds sexual
     7      P1.1843 through P1.1843.2               319              7      imposition conviction against
     8 No. 28    E-mail string re Status of                          8      doctor accused of abusing patients,
     9      Threshold Change Request for                             9      Exhibit P1.1895 through P1.1895.2 388
    10      Martella's Pharmacy, Exhibit                            10 No. 40    Google page showing Acme Pharmacy,
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    12 No. 29    McKesson's Controlled Substance                    12 No. 41    Documents re Giant Eagle Pharmacy,
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    16 No. 30    Press Release entitled Johnstown                   16 No. 43    Documents re Giant Eagle 0357,
    17      Pharmacist Charged in 109-Count                         17      Exhibit P1.1811 through P1.1811.13 406
    18      Indictment with Illegally                               18 No. 44    E-mail string re Giant Eagle CSMP
    19      Creating Bogus Prescriptions and                        19      Thresholds, Exhibit P1.1866 through
    20      then Dispensing the Drugs, Exhibit                      20      P1.1866.14                     411
    21      P1.1905 through P1.1905.2               340             21 No. 45    Documents re Giant Eagle 0465,
    22 No. 31    Indictment in re United States of                  22      Exhibit P1.1777 through P1.1777.24 418
    23      America v. Joseph M. Martella,                          23 No. 46    Documents re Giant Eagle 0230,
    24      Exhibit P1.1904 through P1.1904.10 343                  24      Exhibit P1.1816 through P1.1816.5 423


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     4 No. 47    Documents re Giant Eagle 4030,                           4 No. 68    E-mail string re Missing HBC Tote,
     5      Exhibit P1.1839 through P1.1839.5 427                         5        Bates MCKMDL00598574 through
     6 No. 48    Documents re Giant Eagle 0209,                           6        00598578                     497
     7      Exhibit P1.1817 through P1.1817.8 431                         7 No. 69    Documents re Summit County, Exhibit
     8 No. 49    E-mail string re Pain mgt, Exhibit                       8        P1.1889 through P1.1889.31         509
     9      P1.1841 through P1.1841.4              433                    9
    10 No. 50    E-mail string re Suspicious Order                       10
    11      Monitoring Awareness Training,                               11
    12      Exhibit P1.1775 through P1.1775.2 439                        12
    13 No. 51    E-mail string re Monthly Drug Usage                     13
    14      Report - March, Exhibit P1.1876                              14
    15      through P1.1876.2                443                         15
    16 No. 52    McKesson DEA Tri-annual checklist,                      16
    17      Bates MCK_00002614 through 00002617 459                      17
    18 No. 53    Photograph, Bates MCKMDL00649081         464            18
    19 No. 54    Photograph, Bates MCKMDL00649080         464            19
    20 No. 55    Photograph, Bates MCKMDL00649077         464            20
    21 No. 56    Photograph, Bates MCKMDL00649075         464            21
    22 No. 57    Photograph, Bates MCKMDL00649074         464            22
    23 No. 58    Photograph, Bates MCKMDL00649073         464            23
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     1     EXHIBITS CONTINUED                                             1            PROCEEDINGS
     2          (Attached to transcript)                                  2              ------------------
     3 MCKESSON-SNIDER DEPOSITION EXHIBITS                       PAGE     3          THE VIDEOGRAPHER: We are now on the
     4 No. 60    Photograph, Bates MCKMDL00649076         464             4   record. My name is Daniel Holmstock. I am the
     5 No. 61    Photograph, Bates MCKMDL00649072         464             5   videographer for Golkow Litigation Services.
     6 No. 62    Photograph, Bates MCKMDL00649070         464             6   Today's date is November 8, 2018, and the time on
     7 No. 63    McKesson Operations Manual, DEA                          7   the screen is 8:34 a.m.
     8      General Policies / Requirements,                              8          This deposition is being held at the law
     9      Bates MCKMDL00534074 through                                  9   offices of Covington & Burling, LLP, at 850
    10      00534091                       476                           10   10th Street, Northwest, in Washington, D.C., in
    11 No. 64    Controlled Substance Compliance                         11   the matter of In Re: National Prescription Opiate
    12      Processes (CSCP), Bates                                      12   Litigation. It is pending before the United
    13      MCKMDL00531288 through 00531302              478             13   States District Court for the Northern District of
    14 No. 65    McKesson Operations Manual,                             14   Ohio, Eastern Division.
    15      ARCOS Reporting, Bates MCKMDL00354474                        15          The deponent today is Mr. Blaine Snider.
    16      through 00354491                 483                         16          Counsel will be noted on the
    17 No. 66    McKesson Operations Manual,                             17   stenographic record. The court reporter is Leslie
    18      ARCOS/Controlled Drug Inventory                              18   Todd, who will now administer the oath.
    19      Procedures, Bates MCKMDL00329091                             19            BLAINE M. SNIDER,
    20      through 00329111                 484                         20        and having been first duly sworn,
    21 No. 67    DEA letter to Covington & Burling,                      21       was examined and testified as follows:
    22      dated November 4, 2014, Bates                                22               CROSS EXAMINATION
    23      MCKMDL00409453 through 00409458              493             23   BY MR. BOGLE:
    24                                                                   24       Q Can I get your full name, sir?

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     1       A Blaine Matthew Snider.                          1   years, I guess.
     2        Q And am I correct that you're currently         2       Q Okay. What was your job prior to that
     3   employed with McKesson?                               3   at McKesson, just the title?
     4       A Yes.                                            4      A I started as a supervisor almost 40
     5        Q Okay. And have you ever been deposed           5   years ago.
     6   before?                                               6       Q Okay. So would it be fair to say, just
     7       A No.                                             7   doing the rough math here, that you have nearly 30
     8        Q Okay. Just a few basic ground rules            8   years of experience as a distribution center
     9   that might help both of us here today. I'm going      9   operations manager at McKesson?
    10   to be asking you some questions, and if you don't    10      A Yes.
    11   understand the question I ask or don't hear it,      11       Q Okay. Now, McKesson itself as an entity
    12   it's perfectly okay for you to ask me to repeat or   12   has, as I understand it, 37 distribution centers
    13   rephrase the question. Okay?                         13   around the country; is that right?
    14       A Okay.                                          14          MR. COLLINS: Objection to the form.
    15        Q If you need a break at any point in           15          THE WITNESS: I can't answer to -- it
    16   time, just let me know or your counsel know.         16   sounds like you're including med-surg or something
    17   Happy to take a break whenever you need it. All      17   else. I know there's 28 distributions centers for
    18   I'd ask is if I've got a question pending, that      18   U.S. pharma.
    19   you answer that question, and then we can break      19   BY MR. BOGLE:
    20   for whenever you want.                               20       Q Okay. And New Castle is one of those 28
    21           And also I'm going to ask you questions,     21   distribution centers for U.S. pharma, correct?
    22   you're going to provide answers. I'd ask that we     22      A Yes.
    23   try not to talk over each other. So I'll ask my      23       Q And just so I understand, as director of
    24   question, try to give you ample opportunity to       24   operations for New Castle, it would be your
                                                   Page 19                                                   Page 21
     1   answer before I ask my next question. Is that         1   general responsibility to run the day-to-day
     2   fair?                                                 2   operations for the facility, correct?
     3       A Okay.                                           3           MR. COLLINS: Objection. Form.
     4       Q Okay. And how long have you been with           4           THE WITNESS: I'm in charge of the
     5   McKesson?                                             5   facility, yes.
     6       A Almost 40 years.                                6   BY MR. BOGLE:
     7       Q Okay. Am I correct that you currently           7       Q Right. So it's fair to say that you're
     8   hold the director of operations position at the       8   the highest ranking McKesson employee at New
     9   New Castle Distribution Center?                       9   Castle that has responsibility exclusive to that
    10       A Yes.                                           10   distribution center, right?
    11       Q Okay. How long have you held that              11           MR. COLLINS: Objection to form.
    12   specific position?                                   12           THE WITNESS: Well, I'm not sure. I
    13       A Eighteen -- eighteen years.                    13   have a VP/GM I report to, but I run the
    14       Q Okay. What was your job at McKesson            14   distribution center.
    15   prior to that?                                       15   BY MR. BOGLE:
    16       A I was distribution center manager in           16       Q Who do you report to?
    17   Sewickley, Pennsylvania, and North Canton, Ohio.     17      A Brian Ferreira, the VP/GM.
    18       Q Okay. How long did you have that role?         18       Q When it comes to decisions specific to
    19       A About three years.                             19   the operations of New Castle, would it be fair to
    20       Q How about prior to that?                       20   say that the buck stops with you?
    21       A I was operations manager in Cincinnati,        21           MR. COLLINS: Objection to form, vague.
    22   Ohio, and North Canton previous to that.             22           THE WITNESS: I don't think so.
    23       Q How long did you hold that position?           23   BY MR. BOGLE:
    24       A Oh, I can't remember now. Eight, ten           24       Q Okay. Who do you think the buck stops

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     1   with at New Castle?                                   1   conclusion.
     2           MR. COLLINS: Same objection.                  2           Please let me finish my objections.
     3           THE WITNESS: I don't know the buck. I         3   BY MR. BOGLE:
     4   know I'm in charge of the distribution center         4       Q When it comes to the Controlled
     5   operations, and I have a boss who is the VP/GM.       5   Substances Act, you understand that part of that
     6   BY MR. BOGLE:                                         6   act requires that controlled substances that are
     7       Q Okay. When you say you're responsible           7   distributed to customers are being provided for a
     8   for distribution center operations, what do you       8   legitimate medical purpose, correct?
     9   think that that -- that entails?                      9           MR. COLLINS: Objection. Form, calls
    10      A In charge of the distribution center and        10   for a legal conclusion.
    11   the employees, and the pick, pack and ship of that   11           THE WITNESS: I can't --
    12   operations.                                          12           MR. COLLINS: Foundation.
    13       Q When you say "pick, pack and ship," what       13           THE WITNESS: I can't say a legitimate
    14   does that mean?                                      14   medical purpose. I don't know that phrase. I'm
    15      A The day-to-day filling of orders for our        15   sorry.
    16   customers out of the New Castle DC.                  16   BY MR. BOGLE:
    17       Q Okay. And when it comes to pills that          17       Q You've never heard that phrase?
    18   are distributed from New Castle, you would agree     18      A No.
    19   with me that it's your ultimate responsibility to    19       Q Okay. You're a member of management at
    20   make sure that those go to the proper customers      20   the distribution center for New Castle, right?
    21   for the proper purpose.                              21      A Yes.
    22           MR. COLLINS: Objection. Compound,            22           MR. COLLINS: Objection to form.
    23   form.                                                23   BY MR. BOGLE:
    24           THE WITNESS: We make sure the orders         24       Q And the distribution center management
                                                   Page 23                                                  Page 25
     1   are correct, accurate, billed correctly, shipped      1   at McKesson has the full responsibility for
     2   correctly, on time.                                   2   ensuring the proper distribution of controlled
     3   BY MR. BOGLE:                                         3   substances, correct?
     4       Q And your job responsibilities also              4            MR. COLLINS: Objection to form, calls
     5   include, when it comes to controlled substances,      5   for a legal conclusion, vague.
     6   making sure that the customers purchasing are         6            THE WITNESS: Can you repeat the
     7   purchasing for a legitimate medical purpose,          7   question, please?
     8   correct?                                              8            MR. BOGLE: Can you repeat back, Court
     9           MR. COLLINS: Objection. Form, calls           9   Reporter?
    10   for a legal conclusion, lacks foundation.            10            (Whereupon, the requested record
    11           THE WITNESS: I can't say for the             11            was read.)
    12   customers all the time. I can say that I follow      12            MR. COLLINS: Same objections.
    13   the Code of Federal Regulations.                     13            THE WITNESS: I believe so, yes.
    14   BY MR. BOGLE:                                        14   BY MR. BOGLE:
    15       Q Okay. And part of the Code of Federal          15        Q Okay. And that's a job you take
    16   Regulations, when it comes to the Controlled         16   seriously, right?
    17   Substances Act, talks about the distributor's        17       A Yes.
    18   responsibility to ensure that they're supplying      18        Q Okay. Just make sure you speak up a
    19   drugs to customers who are buying it for a           19   little bit. I'm having sometimes a little trouble
    20   legitimate medical purpose, right?                   20   hearing you.
    21           MR. COLLINS: Objection. Form, asked          21       A Okay.
    22   and answered --                                      22        Q Is that "yes"?
    23           THE WITNESS: Can you repeat that?            23       A Yes.
    24           MR. COLLINS: -- calls for a legal            24        Q Okay. Your pay structure at McKesson,

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     1   do you receive bonuses?                               1           MR. BOGLE: -- stick to form objections.
     2      A Yes.                                             2   You're going beyond that considerably here.
     3       Q Okay. How are those bonuses determined?         3           MR. COLLINS: No, my objection is
     4   What criteria is used?                                4   legitimate. Your question wasn't. So my
     5            MR. COLLINS: Objection to form.              5   objection stands. It's the form, calls for a
     6            THE WITNESS: It's based on operational       6   legal conclusion --
     7   performance and employee engagement.                  7           MR. BOGLE: I believe the protocol calls
     8   BY MR. BOGLE:                                         8   for just form objections. Not speaking objections
     9       Q Okay. When it comes to operational              9   beyond that.
    10   performance, does that include the amount of         10           MR. COLLINS: We have a phone here if
    11   products sold by the distribution center during a    11   you want to make a call to the special master.
    12   year?                                                12           MR. BOGLE: Well, we can see if this
    13            MR. COLLINS: Objection to form, vague.      13   continues. We may have to.
    14            THE WITNESS: No.                            14           MR. COLLINS: Listen, it's a proper
    15   BY MR. BOGLE:                                        15   objection. Your question wasn't.
    16       Q Okay. What's included?                         16           MR. BOGLE: I don't want to stop ten
    17      A It would be productivity, quality,              17   minutes in.
    18   on-time delivery, customer satisfaction, employee    18   BY MR. BOGLE:
    19   engagement, as I mentioned before, and then those    19       Q I'll ask my question again.
    20   are rounded together.                                20           Do you believe that protecting the
    21       Q What's included within productivity?           21   health and safety of the public is the most
    22            MR. COLLINS: Objection to form.             22   important consideration for a distributor of
    23            THE WITNESS: There's lines per hour, we     23   pharmaceutical products?
    24   call it.                                             24           MR. COLLINS: Same objections. Form,
                                                   Page 27                                                   Page 29
     1           THE REPORTER: Lines?                          1   calls for a legal conclusion, foundation.
     2           THE WITNESS: Lines per hour. Sorry.           2           THE WITNESS: I can't answer to all the
     3   BY MR. BOGLE:                                         3   health and safety of the public. I can answer to
     4       Q What does "lines per hour" mean?                4   the Code of Federal Regulations and my duties.
     5      A How many lines we do in an hour, and             5   BY MR. BOGLE:
     6   then there's quality defects per million              6       Q Okay. So do you believe that compliance
     7   opportunities to make sure we have an accurate        7   with the Federal Regulations is the most important
     8   order, filled complete and -- and accurately.         8   consideration for a distributor of pharmaceutical
     9       Q So is it your testimony that total              9   products like McKesson?
    10   revenues for the distribution center play no role    10           MR. COLLINS: Objection to form.
    11   in your bonus?                                       11           THE WITNESS: I think it's a part of it.
    12           MR. COLLINS: Objection to form.              12   BY MR. BOGLE:
    13   Foundation.                                          13       Q Okay. Any more important part that you
    14           THE WITNESS: Correct.                        14   can think of?
    15   BY MR. BOGLE:                                        15           MR. COLLINS: Same objections. Form,
    16       Q You would agree with me that protecting        16   foundation.
    17   the health and safety of the public is the most      17           THE WITNESS: Well, people.
    18   important consideration for any distributor of       18   BY MR. BOGLE:
    19   pharmaceutical products, correct?                    19       Q People, what do you mean by that?
    20           MR. COLLINS: Objection. Form,                20      A My employees.
    21   foundation, calls for a legal conclusion, argue --   21       Q Okay. What about the people that you're
    22           MR. BOGLE: I believe you're supposed to      22   supplying the controlled substances to ultimately,
    23   just --                                              23   the end user?
    24           MR. COLLINS: Argumentative.                  24           MR. COLLINS: Object --

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     1   BY MR. BOGLE:                                         1   responsibility for ensuring that people are
     2       Q Do you think you have any responsibility        2   purchasing for legitimate medical purposes?
     3   to those people?                                      3          MR. COLLINS: Objection to form,
     4          MR. COLLINS: Objection. It's a                 4   argumentative. Calls for a legal conclusion.
     5   mischaracterization, lacks foundation, form.          5          THE WITNESS: I can't answer to that.
     6          THE WITNESS: I mentioned before about          6   BY MR. BOGLE:
     7   on-time, accurate delivery to my customers.           7       Q You don't know?
     8   BY MR. BOGLE:                                         8      A I can't answer to that.
     9       Q Okay. So you think you have any                 9       Q Okay. When you say you can't answer
    10   responsibility to the -- the end user, the person    10   that, what -- what's keeping you from answering
    11   who's purchasing from your customer?                 11   that?
    12          MR. COLLINS: Objection to form, calls         12      A I don't know.
    13   for speculation.                                     13       Q Okay. Have you heard of the term
    14          THE WITNESS: I think I mentioned that         14   "diversion" when it comes to controlled
    15   before. Yes.                                         15   substances?
    16   BY MR. BOGLE:                                        16      A Yes.
    17       Q Okay. And as to the ultimate purchaser,        17       Q What does that term mean to you?
    18   the person who's going to go to your -- to the       18      A It's in the supply chain where the
    19   pharmacy and purchase the drug, do you think that    19   product could be diverted. Like inbound trucks
    20   McKesson has a responsibility to protect the         20   that come in, sometimes those are hijacked, or in
    21   health and safety of those people?                   21   the building to make sure security is there.
    22          MR. COLLINS: Same objections. Asked           22   There's a chance for diversion there. And in the
    23   and answered, form.                                  23   truck drivers, there's a chance for diversion
    24          THE WITNESS: I can't answer for all of        24   there. And to make sure that that supply chain is
                                                   Page 31                                                      Page 33
     1   McKesson. I can just answer for New Castle.           1   intact.
     2   BY MR. BOGLE:                                         2       Q Okay. So you talked about ways that
     3       Q Sure. Then I'll rephrase it that way.           3   diversion can occur, but before we get there, what
     4   Do you think New Castle has such a responsibility?    4   do you understand the term "diversion" to mean?
     5          MR. COLLINS: Same objections.                  5   When somebody diverts something when it comes to
     6          THE WITNESS: I don't -- can you repeat         6   controlled substances, what does that mean to you?
     7   the question?                                         7      A Loss of controlled substance.
     8   BY MR. BOGLE:                                         8       Q Loss of product?
     9       Q Sure.                                           9      A Yes.
    10          Do you think New Castle has a                 10       Q Okay. Have you ever heard the term
    11   responsibility for the health and safety of the      11   "diversion" used to mean the use of a controlled
    12   end user purchasing controlled substances            12   substance for an illegitimate purpose?
    13   distributed by McKesson?                             13      A No.
    14          MR. COLLINS: Objection to form.               14       Q Never heard of that concept?
    15          THE WITNESS: I can't say that I can           15      A No.
    16   control that.                                        16       Q Okay. You've talked a couple of times
    17   BY MR. BOGLE:                                        17   about compliance with Federal Regulations, and
    18       Q Okay. I didn't ask if control. I asked         18   that you're familiar with the Controlled
    19   if you had responsibility.                           19   Substances Act, correct?
    20          MR. COLLINS: Objection to form.               20           MR. COLLINS: Objection. Lacks
    21          THE WITNESS: I can't be responsible for       21   foundation, calls for a legal conclusion.
    22   someone that purchases drugs.                        22           THE WITNESS: Is that the Code of
    23   BY MR. BOGLE:                                        23   Federal Regulations?
    24       Q Okay. So you think you have no                 24   BY MR. BOGLE:

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     1       Q I'm just asking if you're familiar with         1          Do you see that section?
     2   the Controlled Substances Act.                        2      A     Yes.
     3      A I'm not sure.                                    3          MR. COLLINS: I'm sorry. Can you --
     4       Q You're not -- have you ever heard that          4          THE WITNESS: At the top?
     5   phrase used, Controlled Substances Act?               5   BY MR. BOGLE:
     6      A No.                                              6        Q Yes. Correct.
     7       Q Never heard that?                               7          It says below that -- well, actually,
     8      A No.                                              8   before we get there, does this jog your memory at
     9       Q Okay. So is that -- have you ever read          9   all about SOP 55 within McKesson?
    10   any portion of that act in conjunction with your     10          MR. COLLINS: Objection to form.
    11   responsibilities at McKesson?                        11          THE WITNESS: No. We don't call it
    12      A I would have to see it. I'm not sure it         12   that.
    13   was called the Controlled Substance Act. I just      13   BY MR. BOGLE:
    14   know the Code of Federal Regulations.                14        Q Okay.
    15       Q Okay. Do you have any familiarity as to        15       A It's the Drug Operations Manual.
    16   whether the Controlled Substances Act was -- was     16        Q Okay. So you're familiar with the Drug
    17   and is designed to prevent diversion of controlled   17   Operations Manual?
    18   substances like opioids?                             18       A Yes.
    19          MR. COLLINS: Objection. Calls for a           19        Q Okay. So have you seen this document
    20   legal conclusion, form.                              20   before?
    21          THE WITNESS: I can't answer to that. I        21       A Yes.
    22   don't know.                                          22        Q You have. Okay.
    23   BY MR. BOGLE:                                        23          Now, it says below "General": "The aim
    24       Q Are you familiar with SOP 55? Ever             24   of the Controlled Substances Act is to prevent
                                                   Page 35                                                  Page 37
     1   heard of that?                                        1   diversion of abusable substances into the illicit
     2       A No.                                             2   traffic while ensuring their availability for
     3       Q Okay. And SOP, I'm referring to                 3   legitimate medical purposes."
     4   Standard Operating Procedure, 55. Does that help      4           Do you see that?
     5   at all?                                               5       A Yes.
     6       A I don't call it that.                           6        Q Do you agree with that statement?
     7       Q Okay.                                           7           MR. COLLINS: Objection. Form.
     8       A I'm not familiar with that.                     8           THE WITNESS: I see it. I agree that
     9       Q Okay. I'm going to hand you what I'm            9   it's there.
    10   marking as -- it's labeled as Exhibit 1.1555,        10   BY MR. BOGLE:
    11   being marked as Snider Exhibit 1.                    11        Q Okay. Do you have an understanding as
    12           (Snider Exhibit No. 1 was marked             12   to whether that's a correct statement?
    13           for identification.)                         13       A I can't answer --
    14           MR. BOGLE: There's yours, and there's        14           MR. COLLINS: Object -- I'm sorry,
    15   an extra there too.                                  15   please let me object.
    16   BY MR. BOGLE:                                        16           Assumes facts not in evidence,
    17       Q Okay. Do you see at the top here, it           17   foundation, form.
    18   says "Drug Operations Manual 55/Controlled           18   BY MR. BOGLE:
    19   Substances"?                                         19        Q You don't know whether that's a correct
    20           Do you see that at the top?                  20   statement or not; is that your testimony?
    21       A Yes.                                           21       A I can't --
    22       Q Okay. And below that it's got some             22           MR. COLLINS: Same objections.
    23   text. I want to read from the very beginning         23           THE WITNESS: I can't answer to that.
    24   under A where it says "General."                     24   BY MR. BOGLE:

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     1      Q    Why? Is it because you don't know?            1          THE WITNESS: Yes.
     2          MR. COLLINS: Objection. Argumentative,         2   BY MR. BOGLE:
     3   form.                                                 3       Q Do you have an understanding that
     4   BY MR. BOGLE:                                         4   McKesson's responsibilities under the Controlled
     5       Q I'm just trying to understand why you           5   Substances Act include having effective controls
     6   can't answer.                                         6   against diversion?
     7       A I don't understand the question.                7          MR. COLLINS: Objection to form,
     8       Q Okay. So I read the first sentence here         8   foundation.
     9   to you, and my question was, do you think that's      9          THE WITNESS: In my distribution center,
    10   an accurate statement as to the aim of the           10   yes, we had effective controls against diversion.
    11   Controlled Substances Act?                           11          MR. BOGLE: Move to strike as
    12           MR. COLLINS: Objection. Form,                12   nonresponsive.
    13   foundation.                                          13   BY MR. BOGLE:
    14           THE WITNESS: I see it on there, and I        14       Q That's not my question. We'll get
    15   see -- think it's accurate on 7/2000.                15   there. I'm asking you questions that I think is
    16   BY MR. BOGLE:                                        16   before we get there.
    17       Q Okay. Do you think that's an accurate          17          My question is, do you agree that
    18   statement today as to the Controlled Substances      18   McKesson's responsibilities under the Controlled
    19   Act?                                                 19   Substances Act include having effective controls
    20       A I don't know that.                             20   against diversion?
    21       Q You don't know either way?                     21          MR. COLLINS: Objection. The question
    22       A I don't know. I can't answer to how the        22   was just asked. He just answered. He's not here
    23   change -- how it's changed. It's an evolving         23   as a 30(b)(6) witness, so he is not answering on
    24   program, and this was -- the Drug Operations         24   behalf of McKesson.
                                                    Page 39                                                  Page 41
     1 Manual was trained and evolved over time to meet        1   BY MR. BOGLE:
     2 the needs and changes of the regulations.               2       Q You can answer.
     3       Q So looking at that paragraph, the last          3      A I can answer for my distribution center,
     4   sentence there says: "It is extremely important       4   and it stands, yes.
     5   that McKesson employees comply fully with the         5       Q Okay. Yes, that you understand that
     6   regulations and the following guidelines," and        6   your responsibilities at New Castle include having
     7   then there is a discussion of the guidelines          7   effective controls against diversion, right?
     8   thereafter.                                           8      A Yes.
     9          Do you see that sentence?                      9       Q Okay. And part of having effective
    10       A Yes.                                           10   controls against diversion include monitoring for
    11       Q Okay. Do you agree that it's extremely         11   suspicious controlled substance orders, right?
    12   important for McKesson to comply specifically with   12      A Depends on what period and what you're
    13   the Controlled Substances Act?                       13   calling "monitoring."
    14          MR. COLLINS: Objection. Form,                 14       Q Okay. Well, we'll start with a period.
    15   foundation, calls for a legal conclusion.            15           What period of time do you think that
    16          THE WITNESS: I agree that it's                16   the responsibilities at New Castle did not include
    17   extremely important that McKesson employees comply   17   monitoring for suspicious controlled substances
    18   fully with the regulations and the following         18   orders?
    19   guidelines, yes.                                     19           MR. COLLINS: Objection. Form.
    20   BY MR. BOGLE:                                        20   Mischaracterization.
    21       Q Okay. And those regulations include the        21           THE WITNESS: I can't answer that for my
    22   Controlled Substances Act, right?                    22   40 years. I didn't always know that when I first
    23          MR. COLLINS: Objection.                       23   started. So I think your question has to be more
    24   Mischaracterization, form.                           24   specific so I can respond to it.

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     1   BY MR. BOGLE:                                         1      A I don't know.
     2        Q Okay. Well, you've been director of            2       Q Okay. Is that not part of your job?
     3   operations at New Castle you said for 18 years,       3          MR. COLLINS: Objection. Argue --
     4   right?                                                4   BY MR. BOGLE:
     5       A Yes.                                            5       Q During that time period?
     6        Q So let's focus on those 18 years.              6          MR. COLLINS: Objection. Argumentative
     7       A Okay.                                           7   and compound. Form.
     8        Q So from 2000 to 2018, is there any point       8          THE WITNESS: Is what not part of my
     9   in time in that 18-year window where you believe      9   job?
    10   that New Castle's responsibilities did not include   10   BY MR. BOGLE:
    11   monitoring for suspicious controlled substance       11       Q For ensuring that suspicious orders were
    12   orders?                                              12   not shipped.
    13       A No.                                            13          MR. COLLINS: Objection. Calls for a
    14        Q Okay. So we can agree during that             14   legal conclusion, asked and answered.
    15   window those responsibilities existed at your        15          THE WITNESS: Yes, my job was to follow
    16   facility, right?                                     16   the regs here.
    17       A What's the question, please? I'm sorry.        17   BY MR. BOGLE:
    18        Q That your responsibilities from 2000 to       18       Q Right. I'm talking about a specific
    19   2018 at New Castle included monitoring for           19   portion of those, which is that suspicious orders
    20   suspicious orders, that was part of your job too,    20   should not be shipped.
    21   right?                                               21          MR. COLLINS: Object --
    22       A Yes.                                           22   BY MR. BOGLE:
    23        Q And part of your job from 2000 to 2018        23       Q And my question was simply, from 2000 to
    24   at New Castle also included reporting orders to      24   2018 as director of operations for New Castle, you
                                                   Page 43                                                   Page 45
     1   the DEA that were deemed to be suspicious, right?     1   would agree with me that if you guys found a
     2      A Yes.                                             2   suspicious order for a controlled substance, you
     3       Q And if a suspicious order was identified        3   weren't supposed to ship it, right?
     4   during that 18-year time period, it was not           4           MR. COLLINS: Objection. Argumentative,
     5   supposed to be shipped, right?                        5   assumes facts not in evidence. It's a
     6           MR. COLLINS: Objection. Form, legal           6   mischaracterization of this document.
     7   conclusion, foundation.                               7           MR. BOGLE: I'm not talking about the
     8           THE WITNESS: Can you repeat the               8   document -- just to be clear, I'm not talking
     9   question?                                             9   about this document.
    10   BY MR. BOGLE:                                        10           MR. COLLINS: Oh, I'm sorry.
    11       Q Sure.                                          11           MR. BOGLE: I'm talking generally.
    12      A Because there's different forms of the          12           MR. COLLINS: Objection to form.
    13   Controlled Substance Monitoring Program.             13           THE WITNESS: I can't answer that, no.
    14       Q Okay. Well, I'll make it as specific as        14   BY MR. BOGLE:
    15   possible. From 2000 to 2018 at New Castle, if you    15       Q You don't know?
    16   identified a suspicious order for an opioid          16      A No.
    17   product, you would agree with me that that order     17       Q Okay. So as you sit here today, if you
    18   should not be shipped, right?                        18   identify a suspicious order at New Castle, do you
    19           MR. COLLINS: Objection. Form,                19   ship it for a controlled substance?
    20   foundation, assumes facts not in evidence, and       20           MR. COLLINS: Objection. Calls for a
    21   calls for a legal conclusion.                        21   hypothetical.
    22           THE WITNESS: I can't answer that.            22           THE WITNESS: I can't answer that. I
    23   BY MR. BOGLE:                                        23   don't know what I'd do today. What -- I don't
    24       Q You don't know at all?                         24   understand suspicious order, what you're --

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     1   BY MR. BOGLE:                                         1   question. He can answer my question. There's a
     2        Q You don't --                                   2   question pending.
     3       A No, you're -- you're generalizing, and I        3           MR. COLLINS: I'm going to finish my
     4   can't answer a general question about every order     4   objection, if you don't mind.
     5   that we've shipped.                                   5           Objection to form, calls for a legal
     6        Q I'm not asking about every order that          6   conclusion, asked and answered, and
     7   you've shipped. I'm asking about suspicious           7   mischaracterization.
     8   orders.                                               8   BY MR. BOGLE:
     9            Have you ever heard the term "suspicious     9       Q You can answer.
    10   order" as it pertains to controlled substance?       10      A Can you repeat the question?
    11       A Yes.                                           11       Q Sure. From 2000 to 2018, if you
    12        Q What do you understand that to mean?          12   identified a suspicious order at New Castle, you
    13       A An order that has -- over time it's            13   would agree with me that your responsibility was
    14   evolved to what it means according to the DEA. So    14   not to ship that order, right?
    15   at first it was an order above an average or a       15           MR. COLLINS: Same objections. Lack of
    16   norm. That's what I understand it -- understood      16   foundation, form, assumes facts not in evidence,
    17   it to be in the year 2000.                           17   calls for a legal conclusion.
    18        Q Okay. And how has that understanding          18           THE WITNESS: I would not agree with
    19   evolved from your perspective? What do you           19   you.
    20   understand that to mean?                             20   BY MR. BOGLE:
    21            MR. COLLINS: Objection. Vague, form.        21       Q Okay. So you think it's okay to ship a
    22            THE WITNESS: To report unusual or           22   suspicious order once you've identified it?
    23   suspicious orders.                                   23           MR. COLLINS: Objection. Argumentative.
    24   BY MR. BOGLE:                                        24   BY MR. BOGLE:
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     1        Q Right. And also to not ship them. Just         1       Q I'm just trying to make sure I
     2   to report them is not enough, right?                  2   understand your testimony.
     3           MR. COLLINS: Objection. Argumentative,        3           MR. COLLINS: Objection.
     4   asked and answered, calls for a legal conclusion,     4   Mischaracterization.
     5   and it's a mischaracterization of his prior           5           THE WITNESS: Can you repeat the
     6   testimony.                                            6   question, please?
     7           THE WITNESS: No.                              7   BY MR. BOGLE:
     8   BY MR. BOGLE:                                         8       Q Okay. From 2000 to 2018, was there ever
     9        Q You can answer. "No" to what?                  9   a point in time that you felt it was okay to ship
    10       A Your question.                                 10   a suspicious order that you identified at New
    11        Q Okay. So if you find a suspicious order       11   Castle?
    12   at New Castle, you understand that at all points     12           MR. COLLINS: Objection. Form, calls
    13   in time from 2000 to 2018, you weren't supposed to   13   for a legal conclusion, foundation.
    14   ship it, right?                                      14           THE WITNESS: It depends on the context
    15           MR. COLLINS: Objection. Asked and            15   of the program.
    16   answered.                                            16   BY MR. BOGLE:
    17           Do you have another line of questioning?     17       Q How?
    18           MR. BOGLE: I haven't got --                  18       A It -- it's the unusual purchase
    19           MR. COLLINS: This has been asked and         19   notification program. At the early stages, it was
    20   answered multiple times.                             20   an average -- it was evolved over time. So I
    21           MR. BOGLE: You can state a form              21   can't say that something was identified as -- I
    22   objection. That's what you're allowed to state.      22   believe in here it was called unusual purchases,
    23           MR. COLLINS: Listen, I'm trying to --        23   that we didn't ship it but we notified the DEA.
    24           MR. BOGLE: I'm going to ask my               24       Q Okay. And I guess I'm still not clear

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     1   on -- on where you stand on this point.               1   the word "okay." Calls for a legal conclusion,
     2           Can you identify me any point in time         2   and asked and answered.
     3   from 2000 to 2018 where you feel that at New          3          THE WITNESS: No.
     4   Castle it was okay to ship an order you had           4   BY MR. BOGLE:
     5   identified as suspicious?                             5       Q It was not okay to do that.
     6           MR. COLLINS: Objection to form, vague,        6       A No.
     7   calls for a legal conclusion, mischaracterization,    7       Q Okay. So -- and when it comes to due
     8   and asked and answered.                               8   diligence at the distribution center level at New
     9           THE WITNESS: If the format of 2000 to,        9   Castle, you understand that the distribution
    10   I believe, 2006, we identified unusual purchases     10   center had the responsibility to investigate and
    11   to the DEA, and then shipped it after notifying      11   review thoroughly threshold change requests,
    12   the DEA.                                             12   right?
    13   BY MR. BOGLE:                                        13          MR. COLLINS: Objection. Form, vague,
    14       Q Okay. And starting in 2006, did you            14   time frame, calls for a legal conclusion.
    15   continue shipping suspicious orders that you had     15          THE WITNESS: What -- I'm sorry. What
    16   identified?                                          16   was the question? What years?
    17       A No.                                            17   BY MR. BOGLE:
    18       Q Okay. And why did that change in 2006          18       Q At all points in time, from 2000 to
    19   at New Castle?                                       19   2018, at the distribution center level --
    20       A We develop -- I think it was 2006 or '7,       20   actually, strike that. Let me back up.
    21   we developed a new program. Because on this          21          Threshold change requests, that process
    22   program, 2000 to 2006, we faxed unusual purchases    22   was developed starting in '07, right?
    23   to the DEA every day so they could look at it, and   23       A Yes.
    24   we sent monthly programs to them. And in 2006 or     24       Q Okay. So let me rephrase the time
                                                   Page 51                                                   Page 53
     1   '7, I don't remember which, the program even got      1   period.
     2   more robust and data driven.                          2           From '07 to present, at the distribution
     3        Q Where did you have the understanding           3   center level, there was -- there was and is a
     4   that from 2000 to 2006 it was okay to ship            4   responsibility to thoroughly investigate and
     5   suspicious orders that you had identified?            5   review threshold change requests, right?
     6           MR. COLLINS: Objection to form. Calls         6           MR. COLLINS: Objection. Form, calls
     7   for a legal conclusion.                               7   for a legal conclusion, foundation.
     8           THE WITNESS: I think you're putting           8           THE WITNESS: The threshold change
     9   words into my mouth, which you're calling unusual     9   requests were handled by -- we did the independent
    10   or suspicious purchases. We notified the DEA that    10   in the distribution center from 2006 to '7, and
    11   something was above the average.                     11   then the national accounts handled the thresholds
    12   BY MR. BOGLE:                                        12   for national accounts, and sometimes we did the
    13        Q Well, I'm sorry, I wasn't trying to put       13   hospitals also or long-term care.
    14   words in your mouth. I thought that's what you       14   BY MR. BOGLE:
    15   just said.                                           15       Q Okay. You recall my question?
    16       A I -- I --                                      16       A Did I review thresholds was I thought
    17        Q Okay. So from 2000 to 2006 -- I'll ask        17   your question.
    18   it again to make sure we're on the same page.        18       Q Thoroughly investigate and review --
    19       A Okay.                                          19           MR. COLLINS: Objection.
    20        Q From 2000 to 2006, if at your New Castle      20   BY MR. BOGLE:
    21   facility you identified a suspicious order, did      21       Q -- from '07 to 2018.
    22   you -- were you under the understanding it was       22           MR. COLLINS: Objection. Form,
    23   okay to ship that order?                             23   argumentative, calls for a legal conclusion,
    24           MR. COLLINS: Objection to the use of         24   foundation.

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                                                   Page 54                                                  Page 56
     1           THE WITNESS: I did not thoroughly             1   right?
     2   investigate all, and I mentioned the national         2      A Yes.
     3   accounts and some of the hospitals.                   3       Q Okay. And you would agree that during
     4   BY MR. BOGLE:                                         4   that time period, you, as a distribution center,
     5        Q Okay. So you mentioned independent             5   had to be proactive in carrying out that
     6   pharmacies, I think, were within the distribution     6   responsibility, right?
     7   center purview when it comes to threshold change      7           MR. COLLINS: Objection to the form,
     8   requests, right?                                      8   vague, calls for a legal conclusion.
     9       A Yes.                                            9           THE WITNESS: I'm always trying to be
    10        Q Okay. So when I asked you about               10   proactive in all the business dealings and
    11   thoroughly investigating and reviewing threshold     11   everything I do. That's kind of a general
    12   change requests, certainly for any pharmacy that     12   statement, but I hope I'm proactive.
    13   was within the DC's responsibility, you would        13   BY MR. BOGLE:
    14   thoroughly investigate and review those, right?      14       Q And you understood that's what was
    15           MR. COLLINS: Objection to form. Calls        15   expected of your distribution center and all
    16   for a legal conclusion.                              16   distribution centers by the DEA, right?
    17           THE WITNESS: I think you're twisting         17           MR. COLLINS: Objection. Foundation,
    18   it. I said "independent," and it's kind of coming    18   form, vague.
    19   out national and the hospital, and I didn't always   19           THE WITNESS: Well, I understand my
    20   investigate those because we had national accounts   20   distribution center, it was based on "know your
    21   and hospital experts, and the DRAs did those.        21   customer," and -- and I did that.
    22   BY MR. BOGLE:                                        22   BY MR. BOGLE:
    23        Q I'm just asking as to any accounts that       23       Q And the "know your customer" program is
    24   you were responsible for reviewing at the            24   part of being proactive in trying to prevent
                                                   Page 55                                                  Page 57
     1   distribution center level, would you thoroughly       1   diversion, right? Getting out there and getting
     2   investigate and review those threshold change         2   to know your customer, completing questionnaires
     3   requests?                                             3   and knowing what activities your customer was
     4       A Yes.                                            4   engaged in, right?
     5        Q Okay. And you understand that was part         5      A As much as possible, yes.
     6   of your responsibility, right?                        6       Q And you have an understanding that
     7       A Yes.                                            7   diversion of controlled substances, including
     8        Q Okay. And you understand from the New          8   opioids, can be prevented by way of compliance
     9   Castle's perspective from 2000 to 2018 that your      9   with the Controlled Substances Act, right?
    10   distribution center had a responsibility not just    10           MR. COLLINS: Objection. Form, calls
    11   to monitor but to also prevent diversion of          11   for a legal conclusion.
    12   opioids, right?                                      12           THE WITNESS: I think it helps.
    13           MR. COLLINS: Objection. Form. Legal          13   BY MR. BOGLE:
    14   conclusion.                                          14       Q Okay. So would you agree that if New
    15           THE WITNESS: We prevented diversion of       15   Castle complies with the Controlled Substances
    16   all our controlled substances.                       16   Act, that goes a long way in preventing diversion
    17   BY MR. BOGLE:                                        17   of opioids, right?
    18        Q You knew that was your responsibility,        18           MR. COLLINS: Objection to the form,
    19   right?                                               19   vague, calls for a legal conclusion.
    20       A Can you repeat the question? I --              20           THE WITNESS: I think it helps.
    21        Q Right. From 2000 to 2018, you knew at         21   BY MR. BOGLE:
    22   all times that your distribution center had          22       Q Do you agree there is currently an
    23   responsibility for not just monitoring but also      23   opioid epidemic in this country?
    24   preventing diversion of controlled substances,       24      A Yes.

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     1       Q And do you agree that the diversion of          1   that?
     2   controlled substances is a cause of that epidemic?    2       A Yes.
     3           MR. COLLINS: Objection. Calls for a           3       Q It says: "The U.S. continues to
     4   legal conclusion. Foundation.                         4   experience an opioid epidemic which has worsened
     5           THE WITNESS: You keep using the word          5   over the last two decades. Opioid-involved
     6   "diversion." In the control of McKesson New           6   overdose deaths are the leading cause of injury
     7   Castle, I believe if there were diversion, that       7   death in the U.S. and take the lives of 115
     8   would not help the opioid crisis.                     8   Americans per day."
     9   BY MR. BOGLE:                                         9          Do you see that?
    10       Q All right. And the opioid crisis that          10       A Yes.
    11   we are dealing with today, do you understand was     11       Q Have you ever seen or heard of that stat
    12   caused, in part, by diversion of controlled          12   before?
    13   substances?                                          13          MR. COLLINS: Objection. Foundation.
    14           MR. COLLINS: Objection. Form, calls          14          THE WITNESS: No.
    15   for a legal conclusion, lack of foundation.          15   BY MR. BOGLE:
    16           THE WITNESS: I don't know that.              16       Q Any reason to dispute that?
    17   BY MR. BOGLE:                                        17          MR. COLLINS: Objection. Foundation,
    18       Q You don't know.                                18   form, asked and answered.
    19           Are you aware that opioid overdoses are      19          THE WITNESS: I couldn't say.
    20   the leading cause of injury-related death in the     20   BY MR. BOGLE:
    21   United States?                                       21       Q Okay. It goes on to say: "According to
    22           MR. COLLINS: Objection. Form.                22   a recent report issued by the Centers for Disease
    23           THE WITNESS: No, I'm not.                    23   Control and Prevention, prescription or elicit
    24   BY MR. BOGLE:                                        24   opioids were involved in nearly two-thirds of all
                                                   Page 59                                                  Page 61
     1       Q Okay. I'm going to hand you what I'm            1   drug overdose deaths in the U.S. during 2016, a
     2   marking as Exhibit 1.264, also marked as Snider       2   27.7 percent increase from 2015."
     3   Exhibit 2.                                            3          Do you see that?
     4           (Snider Exhibit No. 2 was marked              4      A Yes.
     5           for identification.)                          5       Q And it says: "In total, more than
     6           MR. COLLINS: Thank you.                       6   351,000 people have died since 1999 due to an
     7   BY MR. BOGLE:                                         7   opioid-involved overdose. The crisis has become
     8       Q Do you see here, to introduce the               8   so severe that the average life expectancy
     9   document, at the top it says "E&C, U.S. House of      9   declined in 2016 from the previous year largely
    10   Representatives, Committee on Energy and             10   because of opioid overdoses."
    11   Commerce."                                           11          Do you see that?
    12           Do you see that?                             12      A Yes.
    13       A Yes.                                           13       Q Okay. Have you ever heard that before,
    14       Q And it's dated May 4, 2018?                    14   that the life expectancy in this country has
    15       A Yes.                                           15   declined largely because of opioid overdoses?
    16       Q And do you -- below that it says:              16          MR. COLLINS: Objection. Form,
    17   "Regarding hearing entitled 'Combatting the Opioid   17   foundation.
    18   Epidemic,' examining concerns about distribution     18          THE WITNESS: No.
    19   and diversion."                                      19   BY MR. BOGLE:
    20           Do you see that?                             20       Q That's news to you?
    21       A Yes.                                           21          MR. COLLINS: Objection. Argumentative.
    22       Q Okay. And if you go to the second page         22          THE WITNESS: Yes.
    23   of this document, the paragraph below the chart      23   BY MR. BOGLE:
    24   that starts with "The U.S. continues." Do you see    24       Q Let's go back to Exhibit 1 of the Drug

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     1   Operations Manual. Now, this manual you               1        Q Okay. And just so we're -- we're
     2   understand was put in place in the year 2000,         2   speaking the same language here, if you can go in
     3   right?                                                3   Exhibit 1 to page 0.29.
     4      A Yes.                                             4           MR. COLLINS: I'm sorry. Can you give
     5       Q Okay. And it existed until 2007, when           5   that to me again?
     6   the Lifestyle Drug Monitoring Program went into       6           MR. BOGLE: .29. Should be a number.
     7   place, right?                                         7           MR. COLLINS: Where are you reading?
     8      A Yes.                                             8           MR. BOGLE: .29 is at the top right.
     9       Q Okay. And just to finish working                9           MR. COLLINS: Oh, at the top right.
    10   through that calendar, the Lifestyle Drug            10           MR. BOGLE: Yeah.
    11   Monitoring Program existed for about a year, from    11   BY MR. BOGLE:
    12   2007 to 2008, right?                                 12        Q Are you there, Mr. Snider?
    13      A Yes.                                            13        A I can't see it. Can someone help me get
    14       Q Okay. In 2008, McKesson employs the            14   that?
    15   Controlled Substances Monitoring Program, which      15           THE WITNESS: Sorry.
    16   has existed in some form from 2008 to today,         16           MR. COLLINS: That's all right.
    17   right?                                               17   BY MR. BOGLE:
    18      A Yes.                                            18        Q We're going to blow it up on the screen
    19       Q Okay. When you worked at other                 19   here too as much as we can, if that helps. You
    20   distribution centers prior to 2000, was there any    20   obviously don't have to utilize the screen, but
    21   standard operating procedure in place for the        21   it's there if you need --
    22   monitoring of controlled substances at McKesson?     22        A I got it. 1555.29.
    23      A I don't remember --                             23        Q Yes, sir.
    24       Q Okay.                                          24        A Okay.
                                                   Page 63                                                   Page 65
     1      A -- in the North Canton or Cincinnati.            1        Q So I just want to make sure we're
     2       Q Okay.                                           2   speaking the same language as far as terms, and
     3      A We thought of diversion as loss within           3   we'll talk in more detail about these in a minute.
     4   the distribution center, doctor adulteration or       4           But you see in the middle of the page, a
     5   that kind of thing.                                   5   little past the middle, there's a letter C, and it
     6       Q So prior to 2000 when you worked at             6   says: "Daily Controlled Substance Suspicious
     7   other distribution centers, the notion of             7   Order Warning Report," and it's referred to as
     8   individuals abusing opioids was not something that    8   DU45L500.
     9   was a consideration from diversion; is that true?     9       A Yes.
    10      A Hadn't really heard much about it that I        10        Q Do you see that?
    11   knew of.                                             11       A Yes, I do.
    12       Q Okay. Now, the Drug Operations Manual          12        Q Okay. So you understand from 2000 to
    13   and the portions that pertained to controlled        13   2007, that was one of the reports that you would
    14   substances, it was mandatory for McKesson            14   have received at your distribution center, right?
    15   employees, including yourself, to comply with all    15       A Yes.
    16   aspects of that manual, correct?                     16        Q Okay. And if you go to the next page,
    17      A Yes.                                            17   letter -- letter D refers to a "Monthly Controlled
    18       Q Now, during the time that -- from 2000         18   Substance Suspicious Purchases Report," also
    19   to 2007, would the New Castle Distribution Center    19   DU45L, this time 650. Do you see that?
    20   receive what were called suspicious order warning    20       A Yes.
    21   reports?                                             21        Q Okay. That again would be another
    22      A Yes. It was either unusual purchase             22   report that you would have received at your
    23   order reports or suspicious, I don't remember        23   distribution center during the 2000 to '07 time
    24   which.                                               24   period, right?

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     1       A Yes.                                            1       A I would think. I'm not sure.
     2       Q Okay. And do I understand correctly             2        Q Okay.
     3   that reports -- or strike that.                       3       A If -- if it's in here, I would -- I
     4           Do I understand correctly that orders         4   would agree with it.
     5   would show up as -- on these suspicious order         5        Q Well, let me ask you this: During the
     6   warning reports if the orders were three times the    6   2000 to 2007 time period, were there any other
     7   value that you would see from customers in your       7   reports that you would have reviewed to determine
     8   distribution center?                                  8   whether an order was potentially suspicious for a
     9           MR. COLLINS: Objection. Vague.                9   controlled substance, other than these two reports
    10           THE WITNESS: I don't remember at this        10   we talked about?
    11   time how many times it was, but they did -- orders   11           MR. COLLINS: Objection. Vague, form.
    12   did show up for a certain number of above a norm.    12           THE WITNESS: No, not a report. I just
    13   BY MR. BOGLE:                                        13   remember the daily one.
    14       Q Okay. So go back to page .29, and I'm          14   BY MR. BOGLE:
    15   in letter c.                                         15        Q I'm sorry. I don't think I understand.
    16           And in that first paragraph, again we        16       A The daily report and the monthly.
    17   read the title of the report. It says: "When an      17        Q Right, right.
    18   order is entered through the central system (EOE     18       A And then we reported all ARCOS
    19   or CRT), controlled substance items are extracted    19   transmissions also.
    20   (after passing through front end order processing)   20        Q Right. And we'll get to that.
    21   and compared in a subroutine to the purchases        21           But as far as reports go, we've talked
    22   month-to-date by customer/customer average           22   about the daily and monthly suspicious order
    23   purchases, average purchases by customer class and   23   reports. Those would be the two reports you would
    24   product."                                            24   utilize from 2000 to 2007 to potentially detect
                                                   Page 67                                                       Page 69
     1           And then it goes on and says: "The same       1   suspicious orders, right?
     2   factors that are used for the customer recap          2       A Yes.
     3   variance," and it references this -- the report,      3        Q Okay. Now, when a customer showed up on
     4   "are also used for the daily controlled substance     4   the suspicious order warning report from 2000 to
     5   suspicious order warning report," and then it         5   2007, it was McKesson's practice at New Castle to
     6   says: "3X monthly average for Schedule II and III     6   still ship those orders, right?
     7   reportables and 8X monthly averages for IIIN to       7           MR. COLLINS: Objection. Form, asked
     8   Schedule V."                                          8   and answered.
     9           Do you see that?                              9           THE WITNESS: Yes.
    10       A Yes.                                           10   BY MR. BOGLE:
    11       Q Okay. So, first of all, opioid                 11        Q And going back to Exhibit 1, I'm at page
    12   products have always been either Schedule II or      12   .30 now. About two-thirds of the way down the
    13   Schedule III, right?                                 13   page, there's a big B that says "Reporting." Do
    14       A Yes.                                           14   you see that?
    15       Q Okay. So does this refresh your                15       A Yes.
    16   recollection that when it comes to the suspicious    16        Q Okay. And below that it says: "With
    17   order warning reports you received from 2000 to      17   the release of the daily controlled substance
    18   2007, a customer would show up on that report if     18   suspicious order warning report, there are several
    19   they were at three times the monthly average for     19   significant advantages to enhance our compliance
    20   other customers at your distribution center?         20   efforts."
    21       A Yes.                                           21           And I'm looking -- the second paragraph
    22       Q Okay. And that was true for the -- for         22   below that, it says: "It does not rely on an
    23   the monthly report as well. That was the same        23   individual's judgment or knowledge to determine
    24   criteria that was used, right?                       24   reporting appropriateness but, rather, on

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     1   statistical fact."                                          1       Q Okay. So there were blocked order
     2           Do you see that?                                    2   reports provided to us in this litigation -- and
     3       A Is that -- I'm sorry. I --                            3   we can talk about it in more detail later, but I
     4           MR. COLLINS: I don't see it.                        4   want to make sure of your understanding first --
     5           THE WITNESS: I did not see that.                    5   that tend to indicate that from New Castle, at
     6           MR. COLLINS: Where are you? I'm sorry.              6   least for pharmacies in Summit and Cuyahoga
     7           THE WITNESS: Oh, you skipped down to                7   County, that there were no reports provided to the
     8   the last paragraph in B?                                    8   DEA of blocked orders until August of 2013.
     9           MR. BOGLE: Correct.                                 9           Is that your understanding?
    10           MR. COLLINS: Okay. Neither he or I                 10           MR. COLLINS: Objection.
    11   knew where you were quoting from.                          11           THE WITNESS: No.
    12           THE WITNESS: Yes, I see that.                      12   BY MR. BOGLE:
    13   BY MR. BOGLE:                                              13       Q Okay. It's your understanding that you
    14       Q Okay. So, and -- and what's being                    14   provided blocked order reports to the DEA --
    15   referred to there is the suspicious order warning          15      A I --
    16   report, the benefit of that was felt to be that if         16       Q -- prior to that?
    17   you were at three times the average and you showed         17      A I don't know a blocked order report.
    18   up on the report, it would not require judgment to         18   I'm sorry.
    19   assess whether those reports needed to be provided         19       Q That's how it was phrased and how it was
    20   to the DEA, right?                                         20   given to us. You never heard of that term?
    21           MR. COLLINS: Objection. Form.                      21      A No.
    22   Mischaracterization.                                       22       Q Okay. When you decided not to ship an
    23           THE WITNESS: They were sent, yes.                  23   order to a customer, reports were not provided to
    24   BY MR. BOGLE:                                              24   the DEA along those lines until about August 2013
                                                        Page 71                                                    Page 73
     1       Q Okay.                                                 1   as it pertains to New Castle's customers in Summit
     2       A The judgment was, yes, to send the                    2   and Cuyahoga County, right?
     3   report.                                                     3           MR. COLLINS: Objection. Foundation.
     4       Q Okay. And the reports were sent, but as               4           THE WITNESS: No.
     5   we talked about, the orders were sent as well,              5   BY MR. BOGLE:
     6   right?                                                      6       Q That's not right?
     7       A Yes.                                                  7       A No.
     8           Can I add something to that?                        8       Q Okay. Actually, strike that. We'll
     9       Q Go ahead.                                             9   come back to that later.
    10       A The orders sometimes were marked down                10           Do you recall getting information from
    11   and not completely sent, if we felt it was                 11   the DEA in 2006 stating that if a suspicious order
    12   suspicious and we could check on that. For                 12   was detected that it should not be shipped and
    13   instance, customers may order 33 of something, and         13   should be reported to the DEA?
    14   it would show up on the report, and they had -- we         14           MR. COLLINS: Objection. Form.
    15   called them fat fingers, and it was just three,            15           THE WITNESS: I don't remember that,
    16   and we knew that because we knew the customer.             16   2006.
    17       Q Okay. That's a -- that's a policy                    17   BY MR. BOGLE:
    18   that's been changed, though, right? You can't              18       Q I'm going to hand you what I'm marking
    19   modify orders --                                           19   as Exhibit 1.1464, also marked as Exhibit 3.
    20       A Right.                                               20           (Snider Exhibit No. 3 was marked
    21       Q -- from the forms anymore, right?                    21           for identification.)
    22       A Right, back then. So we'd sign off on                22   BY MR. BOGLE:
    23   the report and look at it, and if there were               23       Q This is a letter from the U.S.
    24   errors on it, that we did mark down.                       24   Department of Justice, Drug Enforcement

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     1   Administration, September 27, 2006.                   1       A Yes.
     2           Do you see that?                              2        Q Do you agree with that statement?
     3       A Yes.                                            3           MR. COLLINS: Objection. Form.
     4        Q Okay. Have you ever seen this letter           4   Foundation.
     5   before?                                               5           THE WITNESS: Yes.
     6       A No, I haven't.                                  6   BY MR. BOGLE:
     7        Q You have not. Okay.                            7        Q It says: "This responsibility is
     8           Communications from the DEA regarding         8   critical as Congress has expressly declared that
     9   your responsibilities at New Castle, do those         9   the illegal distribution of controlled substances
    10   generally not make their way to you?                 10   has a substantial and detrimental effect on the
    11           MR. COLLINS: Objection. Assumes facts        11   health and general welfare of the American
    12   not in evidence, argumentative, foundation, form.    12   people."
    13           THE WITNESS: Yes, they made their way        13           Do you see that?
    14   to us, and we would adopt -- adapt the manual and    14       A Yes.
    15   follow the SOPs and new procedures.                  15        Q If you go to the second page here, I'm
    16   BY MR. BOGLE:                                        16   about three-quarters of the way down the page, the
    17        Q Okay. But you've never seen this              17   paragraph starting with "Thus." Do you see that?
    18   letter?                                              18       A Yes.
    19       A No, I'm sorry, I don't remember seeing         19        Q It says: "Thus, in addition to
    20   it.                                                  20   reporting all suspicious orders, a distributor has
    21        Q Well, let me ask you about a couple of        21   a statutory responsibility to exercise due
    22   things in here.                                      22   diligence to avoid filling suspicious orders that
    23           To start, it says: "This letter is           23   might be diverted into other than legitimate
    24   being sent to every commercial entity in the         24   medical, scientific and industrial channels."
                                                   Page 75                                                   Page 77
     1   United States registered with the Drug Enforcement    1           Do you see that?
     2   Administration to distribute controlled               2       A Yes.
     3   substances. The purpose of this letter is to          3        Q Okay. But in 2006, I think we just
     4   reiterate the responsibilities of controlled          4   talked about the fact that when a suspicious order
     5   substance distributors in view of the prescription    5   was detected at your facility at least, it was
     6   drug abuse problem our nation currently faces."       6   filled, right?
     7           Do you see that?                              7           MR. COLLINS: Objection. Form,
     8       A Yes.                                            8   foundation.
     9       Q Okay. And then the third paragraph on           9           THE WITNESS: Not always.
    10   the first page which starts with "Distributors       10   BY MR. BOGLE:
    11   are," do you see that sentence? It's the second      11        Q Okay.
    12   sentence in that paragraph.                          12       A I testified that not always. We would
    13           MR. COLLINS: Third paragraph, the            13   cut orders down on occasion.
    14   second sentence.                                     14        Q When you thought they had fat fingers.
    15           THE WITNESS: Oh, okay.                       15   I think that was the term you used.
    16   BY MR. BOGLE:                                        16       A Or they -- yeah, or they made a mistake.
    17       Q It says: "Distributors are of course           17        Q Right. But if you thought that they
    18   one of the key components of the distribution        18   were ordering what they were -- intended to order,
    19   chain. If the closed system is to function           19   that order was filled, even though you're saying
    20   properly as Congress envisioned, distributors must   20   that a suspicious order report would have been
    21   be vigilant in deciding whether a prospective        21   provided to the DEA, right?
    22   customer can be trusted to deliver controlled        22           MR. COLLINS: Objection. Form.
    23   substances only for lawful purposes."                23           THE WITNESS: If the definition is off
    24           Do you see that?                             24   of that report, three times or the eight times,

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     1   yes.                                                     1           MR. COLLINS: Objection.
     2   BY MR. BOGLE:                                            2   BY MR. BOGLE:
     3       Q Then it would have been filled, right?             3       Q In '06.
     4      A Yes.                                                4           MR. COLLINS: Objection. Vague, calls
     5       Q Okay. And this letter from the DEA                 5   for a legal conclusion.
     6   indicates that you shouldn't be filling those kind       6           THE WITNESS: I don't know that.
     7   of prescriptions, right?                                 7   BY MR. BOGLE:
     8          MR. COLLINS: Objection.                           8       Q Okay. Do you have any disagreement that
     9   BY MR. BOGLE:                                            9   that's what the law required in '06?
    10       Q If you've identified them as suspicious.          10           MR. COLLINS: Objection. Calls for
    11          MR. COLLINS: Objection. Foundation,              11   speculation, legal conclusion, asked and answered.
    12   compound, argumentative, calls for a legal              12           THE WITNESS: I have no disagreement
    13   conclusion.                                             13   with that it's -- that it's written there.
    14          THE WITNESS: I don't see it that way.            14   BY MR. BOGLE:
    15   BY MR. BOGLE:                                           15       Q Okay. And would you agree with the
    16       Q You don't think that's what that says?            16   notion that reporting a suspicious order to the
    17      A No.                                                17   DEA and not filling it gives the DEA the
    18       Q Okay. And the responsibility to avoid             18   opportunity to investigate that order without
    19   shipment of orders deemed suspicious by a               19   having the potential of getting into the public
    20   distributor, that policy has always been in effect      20   for potential diversion?
    21   since the Controlled Substances Act was enacted in      21           MR. COLLINS: Objection, if that's a
    22   1970, right?                                            22   question. Calls for a legal conclusion, it's
    23          MR. COLLINS: Objection. Form, assumes            23   compound, it's vague.
    24   multiple facts, legal conclusion.                       24   BY MR. BOGLE:
                                                       Page 79                                                  Page 81
     1            THE WITNESS: I can't say that. 1970,            1        Q You can answer.
     2   I -- I don't know that.                                  2           MR. COLLINS: And it calls for
     3   BY MR. BOGLE:                                            3   speculation.
     4        Q Well, do you think this -- this sentence          4           THE WITNESS: I can't answer to that. I
     5   I read to you here about avoiding filling                5   don't know.
     6   suspicious orders was something new that was added       6   BY MR. BOGLE:
     7   to the regulations in '06?                               7        Q Okay. Do you think the DEA has the same
     8            MR. COLLINS: Objection. Calls for a             8   ability to investigate and prevent diversion after
     9   hypothetical, speculation.                               9   you've filled the order versus if you hadn't
    10            THE WITNESS: I don't know.                     10   filled it at all?
    11            MR. COLLINS: Calls for a legal                 11           MR. COLLINS: Objection. Foundation,
    12   conclusion.                                             12   argumentative, compound.
    13   BY MR. BOGLE:                                           13           THE WITNESS: I know in New Castle, we
    14        Q You don't know?                                  14   had a relationship with the DEA, and I talked to
    15       A No.                                               15   them, they called me. At one point the DEA agent
    16        Q And the next paragraph down, the last            16   in charge was my neighbor, so I knew them, and I
    17   sentence says: "Again, to maintain effective            17   knew if there was a problem, they would let me
    18   controls against diversion, as Section 823(e)           18   know.
    19   requires, the distributor should exercise due care      19           MR. BOGLE: Move to strike as
    20   in confirming the legitimacy of all orders prior        20   nonresponsive.
    21   to filling." Right?                                     21   BY MR. BOGLE:
    22       A Yes.                                              22        Q My -- my question simply was, if you
    23        Q Okay. And you know that's not a new              23   fill an order that you deem suspicious, then it
    24   policy either, right?                                   24   naturally is going to be harder to the DEA to

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     1   prevent diversion from that suspicious order as           1           MR. COLLINS: Objection. Foundation,
     2   opposed to if you had reported it and not filled          2   vague, calls for a legal conclusion.
     3   it at all, right?                                         3           THE WITNESS: Yeah, operationally.
     4            MR. COLLINS: Objection. Closing                  4   BY MR. BOGLE:
     5   argument. Assumes facts not in evidence, calls            5        Q Yeah. And if you go to page .3, the
     6   for speculation, form, compound, vague.                   6   slide is titled "Public Health Issues," and it
     7            THE WITNESS: I don't know that.                  7   says -- the first bullet point below that says:
     8   BY MR. BOGLE:                                             8   "Abuse of prescription drugs has risen 66 percent
     9        Q You don't know.                                    9   since 2000." And the third bullet point says:
    10       A No.                                                10   "Opioid painkillers kill more than cocaine and
    11        Q Okay. Are you aware that in 2006 the              11   heroin combined."
    12   DEA began investigating McKesson concerning its          12           Do you see that?
    13   diversion practices as it pertains to controlled         13       A Yes.
    14   substances?                                              14        Q Is that a statistic you were familiar
    15            MR. COLLINS: Objection. Form,                   15   with in 2007?
    16   foundation.                                              16           MR. COLLINS: Objection. Form.
    17            THE WITNESS: I'm aware now. Yes.                17           THE WITNESS: I -- I was there I believe
    18   BY MR. BOGLE:                                            18   at the -- his meeting.
    19        Q When you say "now," when did you become           19   BY MR. BOGLE:
    20   aware of that?                                           20        Q Okay. So you would have been made aware
    21       A I'm not sure.                                      21   of that statistic at that meeting?
    22        Q Okay. What -- what caused you to become           22       A Yes.
    23   aware of that?                                           23        Q Okay. So you were -- you were present
    24       A McKesson. My bosses.                               24   when this was actually presented, this PowerPoint

                                                      Page 83                                                        Page 85
     1       Q Okay. Do you have any idea what year                1   deck, right?
     2   even you were made aware of that?                         2       A I believe so, yes.
     3      A No, I'm not sure. I can't remember.                  3        Q Okay. Where was it presented?
     4       Q Okay. I'm going to hand you what I'm                4       A At a national meeting, I believe. I
     5   marking as Exhibit 1.1830, Exhibit 4 to your              5   don't know the date -- what's the date here?
     6   deposition.                                               6        Q It just says 2007, I think.
     7          (Snider Exhibit No. 4 was marked                   7       A It would have to be that -- I'd have to
     8          for identification.)                               8   check the date, depending -- I can't remember
     9          MR. COLLINS: Thank you.                            9   where I was.
    10   BY MR. BOGLE:                                            10        Q Okay. And if you go to .4, the next
    11       Q And you see this is a PowerPoint titled            11   slide says "DEA Focus." And under "Wholesalers,"
    12   "Lifestyle Drugs and Internet Pharmacies" from the       12   it says "DEA Expects." Do you see that?
    13   National Operations Conference 2007. Do you see          13       A Yes.
    14   that?                                                    14        Q And it says: "We know our customers."
    15      A Yes.                                                15   That's the first bullet point.
    16       Q And the author is noted to be Donald               16       A Yes.
    17   Walker, Senior Vice President, Distribution              17        Q The second bullet point is "Wholesalers
    18   Operations, right?                                       18   accountable for controlling quantities shipped."
    19      A Yes.                                                19   Right?
    20       Q Are you familiar with Mr. Walker?                  20       A Yes.
    21      A Yes, I am.                                          21        Q Okay. You understand that concept to
    22       Q And his role in this point in time in              22   mean the DEA expected you guys to not ship
    23   2007 would be to oversee the operations of all the       23   suspicious orders, right?
    24   distribution centers within U.S. pharma, right?          24           MR. COLLINS: Objection.

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     1   Mischaracterization. Form. Calls for a legal           1   right?
     2   conclusion.                                            2           MR. COLLINS: Objection. Vague.
     3           THE WITNESS: Right here it talks about         3           THE WITNESS: I'm not sure I understand.
     4   knowing our customers. Wholesaler accountable for      4   BY MR. BOGLE:
     5   controlling quantities, and then I remember            5        Q Let me rephrase it.
     6   talking about the internet pharmacies.                 6           So in 2007, the Lifestyle Drug
     7   BY MR. BOGLE:                                          7   Monitoring Program established
     8       Q Okay. So --                                      8   8,000-dose-unit-a-month thresholds for oxycodone
     9      A Or the rogue pharmacies that were -- we           9   and hydrocodone, right?
    10   didn't have any of those.                             10       A Yes.
    11       Q It's your understanding that leading up         11        Q Okay. And that's around the same point
    12   to 2006, that McKesson was not supplying any          12   in time where the DEA, at least what's being
    13   controlled substances to rogue internet               13   conveyed here by Mr. Walker, is that 5,000 dose
    14   pharmacies?                                           14   units is average, right?
    15           MR. COLLINS: Objection. Form.                 15       A Yes.
    16           THE WITNESS: It was my understanding,         16        Q Okay. And again, under the Lifestyle
    17   yes.                                                  17   Drug Monitoring Program, if a customer exceeded
    18   BY MR. BOGLE:                                         18   that 8,000 threshold in a month, their orders
    19       Q Okay. Is that still your understanding?         19   would not be blocked; they would still be shipped,
    20      A I don't know that now, no.                       20   right?
    21       Q Okay. The last bullet point here under          21           MR. COLLINS: Objection. Compound,
    22   "DEA Expects" says: "5,000 dose units is,             22   lacks foundation, form, speculative.
    23   quote/unquote, "average." Do you see that?            23           THE WITNESS: I don't remember that, if
    24      A Okay.                                            24   they were cut off or shipped systematically. I'm
                                                    Page 87                                                       Page 89
     1        Q You see that reference there?                   1   sorry.
     2       A Yeah.                                            2   BY MR. BOGLE:
     3        Q Okay. And they're talking again about           3       Q Okay.
     4   controlled substances, right?                          4          MR. COLLINS: Are you moving on to
     5       A Yes.                                             5   something else?
     6        Q That's what they felt the averages were         6          MR. BOGLE: Yeah.
     7   at that point in time, right?                          7          MR. COLLINS: Can we take a short break?
     8           MR. COLLINS: Objection. Foundation.            8   We've been going 70 minutes.
     9           THE WITNESS: Yes.                              9          MR. BOGLE: That's fine.
    10   BY MR. BOGLE:                                         10          THE VIDEOGRAPHER: The time is 9:42 a.m.
    11        Q Okay. And what ends up happening in            11   We're going off the record.
    12   2007, we mentioned this briefly, is the Lifestyle     12          (Recess.)
    13   Drug Monitoring Program comes into place, right?      13          THE VIDEOGRAPHER: The time is 9:55 a.m.
    14       A Yes.                                            14   We're back on the record.
    15        Q Okay. And that's the first time in             15   BY MR. BOGLE:
    16   which there are actually thresholds established       16       Q Okay. Mr. Snider, just to reorient to
    17   for, for example, hydrocodone and oxycodone,          17   where we were at, I had asked you whether during
    18   right?                                                18   the time period that the Lifestyle Drug Monitoring
    19       A Yes, that I can recall.                         19   Program was in place, when a customer exceeded the
    20        Q Okay.                                          20   8,000 unit threshold for hydrocodone and
    21       A Except for the thresholds on the unusual        21   oxycodone, that those orders were not blocked
    22   purchase report.                                      22   thereafter, correct?
    23        Q Right. But those weren't hard and fast         23          MR. COLLINS: Objection. Vague.
    24   thresholds that were the same across the board,       24          THE WITNESS: I don't remember that.

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     1   BY MR. BOGLE:                                            1       Q -- as a customer that New Castle has
     2        Q Okay. Now, I'm going to hand you what             2   serviced over time?
     3   I'm marking as 1.1864, and Exhibit 5 to your             3       A Yes.
     4   deposition.                                              4       Q And there is oxycodone referenced there
     5           (Snider Exhibit No. 5 was marked                 5   as to Franklin Pharmacy. Do you see that?
     6           for identification.)                             6       A Yes.
     7           MR. COLLINS: Thank you.                          7       Q And it's noted that on November 13,
     8   BY MR. BOGLE:                                            8   2007, they would have exceeded their threshold for
     9        Q If you look at the bottom e-mail on the           9   oxycodone, right?
    10   first page here, do you see it's an e-mail from         10           MR. COLLINS: Objection. Foundation.
    11   Diane Martin to several individuals that you're         11           THE WITNESS: If I'm -- if I'm reading
    12   cc'd on, right?                                         12   this correctly, number of doses at the end of the
    13       A To Diane, copy Blaine Snider and Brian            13   month, and then 9,733, it looks like -- it looks
    14   Ferreira, yes.                                          14   like that's what it says.
    15        Q No, I'm looking at the bottom e-mail on          15   BY MR. BOGLE:
    16   the first page, not the top one.                        16       Q Okay. Let me walk step by step so this
    17       A Oh. It's from Diane Martin to Lisa,               17   is clear.
    18   Jim, John, and Alex, copy Blaine.                       18           Just talking about the date first, based
    19        Q Right. And this is from December 7,              19   on this column, which is the column that says
    20   2007, right?                                            20   "Date threshold exceeded," for Franklin Pharmacy,
    21       A Okay. Yes.                                        21   it would note on that November 13, 2007, was the
    22        Q You see that?                                    22   date that their threshold was exceeded for
    23       A Yeah.                                             23   oxycodone, right?
    24        Q And the subject is "November LDMP." Do           24       A Yes.
                                                       Page 91                                                      Page 93
     1   you see that as well?                                    1        Q And then the next column says "Number of
     2      A Yes.                                                2   doses on date doses exceeded the limit," and
     3       Q Okay. And then there's a list that                 3   there's 97 -- 9,733 doses as of November 13, 2007,
     4   extends a little more than a page of customers at        4   right, for oxycodone?
     5   New Castle for the month of November 2007 that had       5           MR. COLLINS: Objection. Foundation.
     6   exceeded their 8,000 unit threshold for                  6           THE WITNESS: Yes.
     7   hydrocodone, oxycodone, and alprazolam.                  7   BY MR. BOGLE:
     8          Do you see that?                                  8        Q Okay. And it indicates, the next
     9          MR. COLLINS: Objection. Form.                     9   column, "Number of doses at end of month." And
    10          THE WITNESS: Let me take a look at it            10   for Franklin Pharmacy for oxycodone that month,
    11   here. (Peruses document.)                               11   it's noted 22,250 doses provided to them by the
    12          It looks like that, yes.                         12   end of the month. Right? That's what this chart
    13   BY MR. BOGLE:                                           13   indicates.
    14       Q Okay. And I want to look at a couple of           14           MR. COLLINS: Objection. Foundation.
    15   these customers so we can understand what we're         15           THE WITNESS: It looks like that.
    16   seeing here.                                            16   BY MR. BOGLE:
    17          So if you turn to point 2, the second            17        Q Okay. So this would indicate as to
    18   page of the document, do you see three customers        18   Franklin Pharmacy that in November of 2007, while
    19   down, there's Franklin Pharmacy HM? Do you see          19   the LDMP was in place, they exceeded their
    20   that?                                                   20   threshold, but their orders that exceeded the
    21      A Yes, I see that.                                   21   8,000 unit threshold for oxycodone were not
    22       Q Are you familiar with Franklin                    22   blocked and went all the way up to 22,250 doses
    23   Pharmacy --                                             23   for that month, right?
    24      A Yes.                                               24           MR. COLLINS: Objection. Compound.

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     1   Foundation.                                          1   disagree that for Franklin Pharmacy, they exceeded
     2           THE WITNESS: I don't know that they          2   their threshold on November 13, 2007 for
     3   weren't blocked, and that a Level II could have      3   oxycodone, and continued to be supplied the drug,
     4   been done on that customer, which I believe was      4   up to 22,250 doses for that month?
     5   done. I'd have to check on that.                     5           MR. COLLINS: Objection. Foundation.
     6   BY MR. BOGLE:                                        6   Mischaracterization of prior testimony.
     7       Q Okay. So if you look at the e-mail             7           THE WITNESS: I don't know that they
     8   above that from three days later, December 10,       8   didn't have a Level II already done. The DRA had
     9   2007, the first line pertains to Franklin            9   looked at it, and they had a new business or
    10   Pharmacy. Do you see that?                          10   whatever. I don't know that here.
    11           MR. COLLINS: Objection. Foundation.         11           MR. BOGLE: Move to strike as
    12           THE WITNESS: Yes.                           12   nonresponsive.
    13   BY MR. BOGLE:                                       13   BY MR. BOGLE:
    14       Q It says: "Franklin appeared new last          14       Q All I asked you at this point was, what
    15   month for oxycodone. The Level II review is         15   this chart indicates is that Franklin Pharmacy
    16   almost complete. Blaine got Frank's signature on    16   received 22,250 doses of oxycodone after exceeding
    17   the declaration, and I'm finishing up the survey    17   their threshold on November 13, 2007, right?
    18   questionnaire."                                     18           MR. COLLINS: Objection. Foundation,
    19           Do you see that?                            19   argumentative, compound. Mischaracterizes his
    20      A Yes.                                           20   prior answer, which was appropriate.
    21       Q Okay. So three days after the report we       21           THE WITNESS: I don't know. It's what
    22   just looked at, the Level II for Franklin was not   22   you say is on the chart.
    23   yet complete, right?                                23   BY MR. BOGLE:
    24           MR. COLLINS: Objection. Foundation,         24       Q Well, that's what the chart says, right?

                                                  Page 95                                                Page 97
     1   calls for speculation.                               1         MR. COLLINS: Objection. Vague, form.
     2   BY MR. BOGLE:                                        2         THE WITNESS: I don't know that for
     3       Q That's what this says.                         3   sure.
     4           MR. COLLINS: Foundation.                     4   BY MR. BOGLE:
     5           THE WITNESS: According to Diane.             5       Q You don't know that that's what the
     6   BY MR. BOGLE:                                        6   chart says right here?
     7       Q It -- and that's actually according to         7          MR. COLLINS: Objection. Foundation.
     8   Alexandra, right?                                    8          THE WITNESS: Yes.
     9      A Or Alex -- Alexandra, yes.                      9   BY MR. BOGLE:
    10       Q Okay. What did she do at McKesson at          10       Q Yes, you don't know?
    11   that point in time? What was her job?               11      A Yes.
    12      A Sales.                                         12       Q Okay. Have you read charts like these
    13       Q Okay. When Alexandra said something,          13   before in your job at McKesson?
    14   was it generally accurate?                          14      A Yes.
    15           MR. COLLINS: Objection. Calls for           15       Q Okay. When you got this e-mail in
    16   speculation.                                        16   December 2007, did you write back and say, What is
    17   BY MR. BOGLE:                                       17   this chart? I don't know what this means?
    18       Q Did you find her to be inaccurate             18          MR. COLLINS: Objection. Calls for
    19   frequently in her e-mails?                          19   speculation, foundation.
    20           MR. COLLINS: Objection. Speculation.        20          THE WITNESS: I don't know from 2007.
    21           THE WITNESS: I can't -- I can't respond     21   BY MR. BOGLE:
    22   to her accuracy on e-mails.                         22       Q Okay. Well, I can tell you I looked,
    23   BY MR. BOGLE:                                       23   and I didn't see any e-mail from you that said, I
    24       Q Well, do you have any specific reason to      24   don't understand what this chart means, guys. Can

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     1   somebody explain this to me? I didn't see an          1   BY MR. BOGLE:
     2   e-mail like that. I'm sure if your counsel has        2        Q Okay. Well, let's look at some of the
     3   got one, they'll show it to you in his exam.          3   other pharmacies here on this chart.
     4          MR. COLLINS: You don't have to answer.         4           Do you see Mace's Pharmacy on there as
     5   That's not a question.                                5   well for oxycodone and hydrocodone?
     6   BY MR. BOGLE:                                         6       A Yes.
     7       Q Do you have any reason to testify under         7        Q Do you see for hydrocodone, it's noted
     8   oath today that you sent a response saying you        8   on this chart that they exceeded their threshold
     9   don't understand what this chart means?               9   on November 8, 2007, right?
    10          MR. COLLINS: Objection. Argumentative.        10           MR. COLLINS: Objection. Lack of
    11          THE WITNESS: I don't know what it means       11   foundation.
    12   specifically. I see what it says.                    12           THE WITNESS: That's what it says here.
    13   BY MR. BOGLE:                                        13   BY MR. BOGLE:
    14       Q Okay.                                          14        Q Okay. And it's noted they were provided
    15      A I can't remember from 2007.                     15   28,100 doses of hydrocodone that month, right?
    16       Q And what it says about whether a               16           MR. COLLINS: Objection. Lack of
    17   Level II had been done for Franklin, which is        17   foundation, mischaracterization, assumes facts not
    18   another thing you referenced, is that it was not     18   in evidence or testified to by this witness.
    19   yet complete as of three days of you receiving       19           THE WITNESS: It's under "Number of
    20   this chart in December 2007, right?                  20   doses at the end of the month." I can't remember
    21          MR. COLLINS: Lack of foundation as to         21   if they had exceeded it.
    22   this entire inquiry. It's not been established       22   BY MR. BOGLE:
    23   what this document means. Given that this one --     23        Q Well, we know the threshold at this
    24   this witness wasn't the author of the document.      24   point in time would have been 8,000, right?
                                                   Page 99                                                  Page 101
     1           MR. BOGLE: You're not -- you're making        1       A Yes.
     2   speaking objections clearly now.                      2        Q Okay. And so 28,100 is more than 8,000,
     3           MR. COLLINS: No, this is an entirely          3   right?
     4   improper line of inquiry.                             4       A Yes.
     5           MR. BOGLE: It's not. He's on the              5        Q Okay. And we know that's how much they
     6   e-mail. He's saying he doesn't understand it.         6   got that month per this chart, right?
     7   I'm trying to figure out why he doesn't understand    7           MR. COLLINS: Objection.
     8   it.                                                   8   BY MR. BOGLE:
     9           MR. COLLINS: Because he didn't write          9        Q "Number of doses at end of month,"
    10   the e-mail.                                          10   that's what that means, doesn't it?
    11           THE WITNESS: I don't know that it            11           MR. COLLINS: Objection. Lack of
    12   wasn't done.                                         12   foundation. This witness hasn't testified to
    13   BY MR. BOGLE:                                        13   firsthand knowledge as to what this chart means.
    14       Q Okay. So --                                    14   BY MR. BOGLE:
    15       A If Alex -- you mentioned Alex. I don't         15        Q I'm asking you, that's what that means,
    16   know if she was right or not.                        16   doesn't it?
    17       Q Okay. So -- but do you have any                17           MR. COLLINS: Same objection, and lack
    18   specific reason, as you sit here today, that when    18   of foundation.
    19   she wrote her e-mail on December 10, 2007, saying    19           THE WITNESS: I don't know that.
    20   that the Level II review was not done yet, that      20   BY MR. BOGLE:
    21   she was wrong?                                       21        Q You don't know if that's what that
    22           MR. COLLINS: Objection. Calls for            22   means?
    23   speculation.                                         23       A Correct.
    24           THE WITNESS: I don't know that.              24        Q You have no idea what "Number of doses

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     1   at end of month" means?                              1        Q And under the column "Number of doses at
     2          MR. COLLINS: Objection. Foundation.           2   end of month," it says what, sir?
     3          THE WITNESS: Yes. Yes.                        3       A 8,700.
     4   BY MR. BOGLE:                                        4        Q For hydrocodone, Town & Country?
     5       Q Yes what?                                      5       A 12,017.
     6       A I don't know what that means.                  6        Q I think you're looking at Troutman.
     7       Q Okay. Do you have any understanding of         7       A Oh, I'm sorry.
     8   what it could possibly mean other than that's how    8        Q Do you see where it says 28,900 --
     9   many doses they got that month?                      9       A I -- I apologize. If you'll slow down a
    10       A I don't know if that means there was a        10   little bit.
    11   Level II done or --                                 11            Did you say Town -- Town & Country
    12       Q That's not my question, sir.                  12   you're looking at?
    13          MR. COLLINS: He's -- I'm sorry.              13        Q Yes, sir.
    14          MR. BOGLE: Not my question.                  14       A Okay. What -- what's the question
    15          MR. COLLINS: The witness is entitled to      15   again?
    16   respond.                                            16        Q For the column "Number of doses at end
    17          Please finish your answer, Mr. Snider.       17   of month," what is the number for hydrocodone for
    18          THE WITNESS: I don't know that a             18   Town & Country Pharmacy?
    19   Level II was done. I don't know -- I don't have     19       A 28,932.
    20   the information about the account. If Mace's got    20        Q What is the number for oxycodone for
    21   long-term care facilities, if they had a hospital   21   Town & Country Pharmacy for that month?
    22   account connected to it, I don't know that.         22       A 15,783.
    23          MR. BOGLE: Move to strike as                 23        Q And you don't have any reason to dispute
    24   nonresponsive.                                      24   these are all customers serviced by New Castle, do
                                                 Page 103                                                  Page 105
     1   BY MR. BOGLE:                                        1   you?
     2       Q My only question, sir, was that Mace's         2      A No.
     3   Pharmacy for hydrocodone, based on this chart,       3       Q Okay.
     4   received 28,100 doses by the end of the month.       4      A I know those customers. I actually
     5   True or false?                                       5   visited those customers.
     6          MR. COLLINS: Objection. Assumes facts         6       Q Okay. And for any of these customers,
     7   not in evidence. It's certainly not testified to     7   if McKesson at New Castle wanted to block those
     8   by this witness, and this witness has clearly        8   orders, that was within your authority to do so,
     9   stated he has no firsthand knowledge about the       9   right?
    10   chart.                                              10          MR. COLLINS: Objection. Calls for
    11          THE WITNESS: False. I don't know that        11   speculation, legal conclusion.
    12   for sure.                                           12          THE WITNESS: Can you repeat the
    13   BY MR. BOGLE:                                       13   question, please?
    14       Q Okay. Do you see Town & Country on            14   BY MR. BOGLE:
    15   there as well, Town & Country Pharmacy?             15       Q Sure. If you wanted to block the orders
    16       A Yes.                                          16   for any of these pharmacies we just talked about,
    17       Q It's noted per this chart that for            17   Town & Country, Franklin's, Mace's, for the month
    18   hydrocodone, they exceeded their threshold          18   of November 2007, after they got over 8,000 doses,
    19   November 12, 2007, right?                           19   that was within your authority as director of
    20          MR. COLLINS: Assumes facts not in            20   operations to say, no more for them that month,
    21   evidence, mischaracterization of the document.      21   right? You're not getting any more.
    22          THE WITNESS: That's what the chart           22          MR. COLLINS: Objection.
    23   says.                                               23   BY MR. BOGLE:
    24   BY MR. BOGLE:                                       24       Q You could have done that, true?

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     1           MR. COLLINS: Object --                       1   BY MR. BOGLE:
     2           THE WITNESS: I believe I did it --           2        Q Let me ask you this: If you had
     3           MR. COLLINS: I'm sorry.                      3   concerns about controlled substances going, and
     4           THE WITNESS: Sorry.                          4   specifically opioids, going to a New Castle
     5           MR. COLLINS: Please let me make my           5   customer from 2000 to 2018, it was, first of all,
     6   objection.                                           6   your responsibility to raise that concern, right?
     7           The question was compound in multiple        7           MR. COLLINS: Objection. Compound.
     8   ways, and it's vague.                                8   Assumes facts not in evidence.
     9   BY MR. BOGLE:                                        9           THE WITNESS: Yes.
    10       Q You had authority to stop any of the          10   BY MR. BOGLE:
    11   pharmacies we just talked about from getting more   11        Q Okay. You knew that was your job,
    12   than 8,000 doses in November 2007, true?            12   right?
    13       A Yes.                                          13       A Yes.
    14       Q Okay. Because as director of                  14        Q Okay. And ultimately, if you raised
    15   operations, the license given to McKesson for New   15   that concern, you were in a position of management
    16   Castle to distribute controlled substances is       16   at the DC when you did so, right?
    17   ultimately your responsibility to keep, right?      17       A Yes.
    18       A Yes.                                          18        Q Okay. You're somebody that people
    19       Q Right?                                        19   listen to, right?
    20       A And I knew those customers, and actually      20       A I can't answer that. I don't know.
    21   visited those customers and did threshold visits.   21        Q You don't know if people listen to you?
    22           MR. BOGLE: Move to strike everything        22       A I'm sure they do. Some do, some don't.
    23   after "yes."                                        23        Q Okay. As to Franklin's Pharmacy, for
    24   BY MR. BOGLE:                                       24   example, you never stood up and said, I don't -- I
                                                 Page 107                                                  Page 109
     1      Q     That was within your authority, true?       1   don't want these people getting more opioids from
     2           MR. COLLINS: Objection. Asked and            2   my distribution center, did you?
     3   answered.                                            3       A Yes.
     4           THE WITNESS: Yes.                            4        Q You did?
     5   BY MR. BOGLE:                                        5       A Yes.
     6       Q Okay. And the same is true from 2008 --        6        Q Okay. When was that?
     7   2000 to 2018, if at any point in time you had a      7       A I don't recall the time.
     8   concern as director of operations about opioids      8        Q Okay.
     9   being supplied to a customer for New Castle, you     9       A But, yes, Frank Manios was not able to
    10   had the ultimate authority to say, They're not      10   get any more opiates.
    11   getting these pills, true?                          11        Q But that wasn't at your direction, was
    12           MR. COLLINS: Objection. Vague. Calls        12   it?
    13   for a legal conclusion.                             13       A Yes, it was.
    14           THE WITNESS: No.                            14        Q Okay. All right. We'll take a look at
    15   BY MR. BOGLE:                                       15   that momentarily then.
    16       Q You couldn't stand up and say, I'm            16       A Okay.
    17   against this. I don't want them getting these       17        Q For Mace's, you could have stood up at
    18   pills. This is my license. I have control over      18   any point in time and said, No more oxycodone or
    19   this distribution center?                           19   hydrocodone for you, Mace's. I think that what
    20           MR. COLLINS: Objection. Incomplete          20   you're doing is suspicious. Right? You had that
    21   hypothetical to a fact witness.                     21   authority.
    22           THE WITNESS: You -- you asked about         22       A Yes.
    23   ultimate authority. I'm sorry. Can you define       23        Q Okay. Let's go back to Exhibit 1.1830,
    24   that?                                               24   I think it's Exhibit 4 to the deposition. We were

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     1   talking about this --                                     1   first of all, the distribution center management,
     2           MR. COLLINS: I'm sorry, hold on a                 2   including yourself, right?
     3   second.                                                   3       A Yes.
     4           MR. BOGLE: Yeah, it's the PowerPoint              4        Q Okay. And that included going out and
     5   deck you have right next to you, the Lifestyle            5   visiting the customer and sometimes having a
     6   Drug.                                                     6   questionnaire completed by them, right?
     7   BY MR. BOGLE:                                             7       A Well, Level I was the visit that I would
     8        Q We were talking about this a few moments           8   do. Level II was usually done by a DRA and the
     9   ago. I want to go to page .7 in this slide deck.          9   salesperson.
    10           It's noted here, the slide is titled             10        Q Okay. So you weren't involved in the
    11   "Lifestyle Drug Monitoring Program," and it says         11   Level II reviews at all under the lifestyle drug
    12   "Focus on four drugs." Do you see that?                  12   management program?
    13       A Yes.                                               13       A Not that I recall.
    14        Q Two of those four drugs that were the             14        Q Okay. What about under the CSMP,
    15   focus in the Lifestyle Drug Monitoring Program           15   Level IIs?
    16   were hydrocodone and oxycodone, right?                   16       A I don't think so.
    17       A Yes, I believe so.                                 17        Q Okay. Just Level I is your testimony is
    18        Q Okay. And the third bullet point, we              18   all you would have been involved in?
    19   talked about this a little bit, established              19       A That's all I remember.
    20   threshold for excessive quantities, 8,000 dose           20        Q Okay. And you were also involved in
    21   units. Do you see that?                                  21   reviewing threshold request increases and signing
    22       A Yes.                                               22   off on those if you felt appropriate, right?
    23        Q And that threshold was established for            23           MR. COLLINS: Objection to form, to the
    24   all customers as it pertained to hydrocodone and         24   word "signing off," vague, calls for a legal
                                                       Page 111                                                Page 113
     1   oxycodone, right?                                         1   conclusion.
     2          MR. COLLINS: Objection. Form, vague.               2           THE WITNESS: I would push it up to the
     3          THE WITNESS: Yes.                                  3   director of Regulatory Affairs, yes, for their
     4   BY MR. BOGLE:                                             4   review.
     5       Q Okay. And the next bullet point says:               5   BY MR. BOGLE:
     6   "Thorough due diligence of customers exceeding            6        Q But ultimately on many of the threshold
     7   threshold." Do you see that?                              7   requests -- strike that.
     8       A Yes.                                                8           On the threshold request approvals, the
     9       Q Okay. And that due diligence was done               9   DRA, the regulatory individual, and yourself or
    10   through a sort of three-level process, right?            10   somebody you designated at your distribution
    11       A As I recall.                                       11   center, would sign off on those threshold
    12       Q Okay. For example, Level I, when a                 12   increases for anything that went out of New
    13   customer exceeded the threshold, a Level I review        13   Castle, right?
    14   meant you kind of -- "you" meaning the management        14           MR. COLLINS: Objection to the use of
    15   of the distribution center was responsible for           15   the term "sign off." Form.
    16   evaluating that customer to assess whether you           16           THE WITNESS: I wanted to make clear if
    17   thought the orders were suspicious, right?               17   I sign off, it's to go to the director of
    18          MR. COLLINS: Objection. Form.                     18   Regulatory Affairs. That's what "sign off" meant
    19          THE WITNESS: Yes.                                 19   to me.
    20   BY MR. BOGLE:                                            20   BY MR. BOGLE:
    21       Q Okay. And then if you -- it was                    21        Q But your authority had to matter too,
    22   inconclusive, you went to Level II, right?               22   right? You would sign -- literally sign those
    23       A Yes.                                               23   forms too, right?
    24       Q Okay. And at Level II, that involved,              24           MR. COLLINS: Objection. Form,

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     1   foundation.                                           1       Q But if you had concerns about a
     2           THE WITNESS: I would sign off to              2   threshold being increased, you certainly had the
     3   proceed to send it to the director of Regulatory      3   authority and ability to raise that objection,
     4   Affairs --                                            4   correct?
     5   BY MR. BOGLE:                                         5      A I would raise that objection.
     6       Q And if --                                       6       Q And if you had an objection, you
     7       A -- and ask for their expertise.                 7   wouldn't sign the threshold increase form, would
     8       Q And if you thought that, based on your          8   you?
     9   expertise and review, that a threshold increase       9      A From -- if I knew something, that I
    10   was not appropriate, you would not put your          10   would let the director of Regulatory Affairs know.
    11   signature on that, would you?                        11       Q Right. And you wouldn't sign a
    12       A Not necessarily.                               12   threshold increase approval form if you had such
    13       Q Well, would you sign threshold                 13   concerns, right?
    14   increase -- to approve threshold increases in        14      A I would not.
    15   situations where you felt that was not               15       Q Right. Going back to the slide deck in
    16   appropriate?                                         16   Exhibit 4, on the same page, it says "Reducing
    17           MR. COLLINS: Objection to the term           17   orders to customers" is the next bullet point. Do
    18   "approve."                                           18   you see that?
    19           THE WITNESS: I would send it up to the       19      A Yes.
    20   correct -- the director of Regulatory Affairs for    20       Q And that was part of establishing
    21   their expertise.                                     21   this -- these thresholds was an effort to try to
    22   BY MR. BOGLE:                                        22   reduce the overall purchases of these four
    23       Q Okay. But you would actually sign these        23   specific products, right?
    24   forms too, right?                                    24           MR. COLLINS: Objection. Calls for a
                                                  Page 115                                                    Page 117
     1       A Yes.                                            1   legal conclusion, foundation.
     2       Q Okay. And so in signing that form, that         2          THE WITNESS: It was to make sure
     3   requires you to literally put your signature on       3   they're going to the right customers.
     4   the page approving that request, right?               4   BY MR. BOGLE:
     5          MR. COLLINS: Objection.                        5       Q Right. And the last reference here says
     6   BY MR. BOGLE:                                         6   "Documentation and reporting to DEA." Do you see
     7       Q From your perspective.                          7   that?
     8          MR. COLLINS: Objection.                        8      A Yes.
     9   Mischaracterization. It's been asked and              9       Q Meaning if you've got a suspicious order
    10   answered.                                            10   you've identified, you report it, correct?
    11          THE WITNESS: From my perspective, it          11          MR. COLLINS: Objection. Calls for a
    12   was clear I was submitting it to the director of     12   legal conclusion. Form.
    13   Regulatory Affairs so they could review it and do    13          THE WITNESS: Yes.
    14   the proper due diligence on usually a Level II.      14   BY MR. BOGLE:
    15   BY MR. BOGLE:                                        15       Q Okay. And -- strike that.
    16       Q So if we see your signature on any             16          (Snider Exhibit No. 6 was marked
    17   threshold increase requests under the approval       17          for identification.)
    18   section, we should not interpret that to mean that   18   BY MR. BOGLE:
    19   you were approving anything. Is that your            19       Q I'm going to hand you -- I'm marking as
    20   testimony?                                           20   Exhibit 1.1333, Exhibit 6 to your deposition.
    21       A I'm approving it to go to the director         21          Do you see this is a copy of the
    22   of Regulatory Affairs for their perusal, and then    22   Lifestyle Drug Monitoring Program? Do you see
    23   they have to approve -- I can't do it on my own.     23   that?
    24   I cannot increase a threshold.                       24      A Yes.

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     1       Q Okay. You've seen this document before,              1   customer could order more than 8,000 without
     2   right?                                                     2   having their orders blocked, right?
     3       A Yes, I have.                                         3          MR. COLLINS: Objection. Form, vague.
     4       Q Okay. And this is the document you                   4          THE WITNESS: I'm not sure. If you
     5   would utilize when you were conducting due                 5   could rephrase that.
     6   diligence during the 2007 into 2008 time frame,            6   BY MR. BOGLE:
     7   right?                                                     7       Q Well, as it indicates in this sentence,
     8       A It was the MOM -- we called it the MOM               8   this Daily Dosage Summary Report was used to
     9   or the SOPs, standard operating procedures, and it         9   identify customers who had already ordered more
    10   was McKesson's operation manual.                          10   than 8,000 units, right?
    11       Q Right. And this is what you had to                  11      A Yes.
    12   comply with when you were conducting due diligence        12       Q Okay. Meaning if you've already ordered
    13   as it related to, for example, oxycodone and              13   more than 8,000, you've already exceeded the
    14   hydrocodone during the '07 into '08 time frame,           14   established threshold, right?
    15   right?                                                    15      A Yes.
    16           MR. COLLINS: Objection to form.                   16       Q And it says: "For example, all sales
    17           THE WITNESS: I believe so, yes.                   17   and credits of McKesson items containing
    18   BY MR. BOGLE:                                             18   hydrocodone will be added together and reported if
    19       Q Okay. And if you look at the first                  19   the total doses exceed 8,000 unit. The daily
    20   page, in the middle, the four drugs are listed            20   report will systemically be sent via e-mail to the
    21   there that the 8,000 unit threshold would be              21   DCM" -- what does DCM stand for?
    22   applied to.                                               22      A Distribution center manager.
    23           Do you see that?                                  23       Q And that was you; is that right?
    24       A Yes.                                                24      A Yes.
                                                      Page 119                                                   Page 121
     1        Q Okay. So it says there above those four             1       Q Okay. Director of operations is another
     2   drug listings: "This reporting process is                  2   way to say distribution center manager. Those are
     3   targeting controlled substances that the DEA               3   used interchangeably at McKesson, right?
     4   considers lifestyle drugs. These drugs are highly          4       A Yes.
     5   abused and are commonly found in illegal internet          5       Q -- "and their -- their designee, Sales
     6   pharmacies. Currently the controlled substances            6   Management, and regulatory department. It will be
     7   being monitored by these reports are," and it              7   the DCM's responsibility to review and act on the
     8   lists the four.                                            8   reports according to the processes listed below."
     9           The first of the two is oxycodone, the             9          Do you see that?
    10   second is hydrocodone, correct?                           10       A Yes.
    11       A Yes.                                                11       Q And again, that's you. The DCM for New
    12        Q And if you go down a little further on             12   Castle, that's you, right?
    13   that page, you see where it says "Daily Dosage            13       A Yes.
    14   Summary Report"?                                          14       Q Okay. And then you talked a little bit
    15       A Yes.                                                15   before about Level I reviews.
    16        Q Okay. It says: "This report will                   16          Do you remember talking about that
    17   summarize customers who have purchased quantities         17   generally with me?
    18   of all products containing the identified base            18       A Yes.
    19   code in excess of the threshold for the item."            19       Q Okay. And Level I reviews will be
    20           Do you see that?                                  20   triggered when a customer exceeded this 8,000 unit
    21       A Yes.                                                21   threshold, right?
    22        Q Okay. So that sentence in and of itself            22       A Not necessarily.
    23   indicates that the 8,000 unit threshold was not a         23       Q Okay. What would be triggered then?
    24   hard stop, meaning that in a given month a                24       A We were -- at the distribution center in

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     1   New Castle, we had a goal to go through all           1   It's on page .2, the next page.
     2   independent pharmacies and do a Level I review,       2           Under 1.1, it says: "If the customer
     3   part of "know your customer."                         3   appears on a previous month's report for the same
     4          So starting then, we would schedule all        4   item," and then it kind of gives you some -- some
     5   the customers, sometimes prioritizing these, but      5   criteria to evaluate, right? Below that.
     6   we would try to get a Level I review with every       6       A I'd have to look. If I could -- could I
     7   independent customer that we serviced.                7   look?
     8       Q Okay. But my question was more specific         8        Q Sure. I'm just talking about 1.1 right
     9   to you. If a customer appears on this Daily           9   now.
    10   Dosage Summary Report as being over 8,000 units,     10       A (Peruses document.)
    11   for example, for oxycodone or hydrocodone, that      11           Okay. What was your question?
    12   would trigger a Level I review, right? That was      12        Q Yeah. I'm just kind of orienting you at
    13   the SOP?                                             13   this point. You said you wanted to look at it, so
    14          MR. COLLINS: Objection to the form.           14   I didn't really have one. I was trying to orient
    15          THE WITNESS: Not necessarily.                 15   you to where we were at.
    16   Sometimes we already had one.                        16       A Okay.
    17   BY MR. BOGLE:                                        17        Q Okay. So below that, it says:
    18       Q Okay. So if you already had one and            18   "Evaluate the customer's purchases relative to the
    19   they appeared on a subsequent report, you would      19   past three months' purchases. The evaluation
    20   not redo the Level I review; is that your            20   should include, but not necessarily be limited to,
    21   testimony?                                           21   the following criteria," and then below that there
    22          MR. COLLINS: Objection.                       22   are five bullet points.
    23   Mischaracterization.                                 23           Do you see that?
    24          THE WITNESS: I don't know specifically        24       A Yes, I do.
                                                 Page 123                                                   Page 125
     1   which customer you're talking about, but sometimes    1       Q Okay. Now, these five bullet points, is
     2   we would ask for a Level II.                          2   that the criteria that you would apply in doing a
     3   BY MR. BOGLE:                                         3   Level I review?
     4       Q Yeah, I'm just asking about the general         4       A Yes, at that time.
     5   procedures followed at New Castle. I'm not            5       Q Were there any other criteria that you
     6   talking about any specific customer right now.        6   applied that are not listed here?
     7       A Oh, I'm sorry, I completely                     7       A I don't -- there were more. Yes.
     8   misunderstood your question then.                     8       Q Yeah, so what -- what other criteria
     9       Q I'm saying --                                   9   would you apply during this time period?
    10       A If you could start over.                       10       A I remember looking for red flags. If
    11       Q Yeah. If a customer shows up on this           11   there were people -- out-of-state licenses in the
    12   Daily Dosage Summary Report, while the lifestyle     12   parking lot, we would look for that. We were
    13   drug management program was in place, that, under    13   trained if there wasn't any signage on the
    14   the standard operating procedure here, would         14   building, that that was a red flag. We were asked
    15   trigger automatically a Level I review, correct?     15   about internet pharmacies, because that was a red
    16          MR. COLLINS: Objection. Form.                 16   flag that usually would push it up to Level II.
    17          THE WITNESS: I don't know that. I             17   And we looked at just lines of pharmacies. And
    18   would have to read through it again. It's been 10    18   then we would get sales data and look at that. I
    19   or 12 years.                                         19   believe three months of sales data.
    20   BY MR. BOGLE:                                        20       Q Okay. And the red flags that you refer
    21       Q As you sit here today, you don't know          21   to here -- actually, strike that. We'll get to
    22   either way. Is that your testimony?                  22   that in a minute.
    23       A Yes.                                           23           You would also have responsibility as
    24       Q Okay. And let's look at Level I review.        24   the distribution center manager or director of

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     1   operations for doing site examinations and                1   threshold system applied under the CSMP, right,
     2   interviews with the customer under the Level II           2   different than the LDMP?
     3   phase as well, right?                                     3       A I believe so, yes.
     4      A Not usually, no.                                     4       Q Okay. And that system for existing
     5       Q You have no role in that process?                   5   customers was based on looking at the last six
     6      A Not that I recall.                                   6   months of sales data for controlled substances,
     7       Q Okay. You're saying that's just                     7   taking the highest months of sales during that
     8   regulatory that would do that, right?                     8   period and adding 10 percent to it, and that was
     9      A Usually regulatory, yes.                             9   the threshold, right?
    10       Q Now, there's also a Level III identified           10          MR. COLLINS: Objection. Form.
    11   here under the Lifestyle Drug Monitoring Program.        11          THE WITNESS: I don't know specifically
    12   And I looked during the period of time the               12   about the 10 percent, but I do know it was based
    13   documents that were produced for customers of New        13   on sales.
    14   Castle and Level III reviews. I could not find           14   BY MR. BOGLE:
    15   any.                                                     15       Q Okay. Any reason to disagree that that
    16          That's -- there were actually no                  16   was the process employed?
    17   Level III reviews done under the Lifestyle Drug          17          MR. COLLINS: Objection. The question
    18   Monitoring Program for New Castle customers, were        18   is vague.
    19   there?                                                   19          THE WITNESS: I don't know.
    20          MR. COLLINS: Objection. Assumes facts             20   BY MR. BOGLE:
    21   not in evidence.                                         21       Q You don't know?
    22          THE WITNESS: I don't know that.                   22          Did you ever -- so you would have to
    23   BY MR. BOGLE:                                            23   review threshold request increases. Those came to
    24       Q Okay. So, again, assuming that all the             24   you and -- both you and the regulatory individual
                                                       Page 127                                                Page 129
     1   documents that need to be produced have been              1   responsible for New Castle, right?
     2   produced here, me not finding any, you would agree        2      A Yes.
     3   with me, is indicative of the fact that there were        3       Q Okay. So when you were reviewing those,
     4   no Level III reviews done during this time period,        4   you had no concept of how the threshold was set to
     5   were there?                                               5   begin with?
     6           MR. COLLINS: Objection. Assumes facts             6           MR. COLLINS: Objection. Form,
     7   not in evidence.                                          7   argumentative.
     8           THE WITNESS: I can't agree with that.             8           THE WITNESS: I said I don't remember.
     9   BY MR. BOGLE:                                             9   I don't remember that it was 10 percent. It
    10       Q You don't know one way or the other; is            10   doesn't state that in what I remember. I'm sorry.
    11   that true?                                               11   BY MR. BOGLE:
    12      A I don't recall a Level III right now,               12       Q Let's talk about how threshold increases
    13   no.                                                      13   were dealt with under the CSMP. Let's start in
    14       Q You can't recall as you sit here any               14   2008 when the program was launched.
    15   specific Level III reviews that were done, can           15           From 2008 to present, in order to
    16   you?                                                     16   increase a threshold, a customer had to document a
    17      A What period of time, please?                        17   legitimate business reason for increasing that
    18       Q 2007 to 2003 under the LDMP.                       18   threshold, right?
    19      A Not that I remember, no.                            19      A They had to give us a reason or the DRA,
    20       Q Now, let's talk about for a few minutes            20   national accounts, et cetera.
    21   the Controlled Substances Monitoring Program.            21       Q But there was a specific requirement
    22   That went into effect in 2008, right?                    22   that the business reason needed to be documented,
    23      A I believe so, yes.                                  23   right?
    24       Q Okay. And there was a separate                     24      A It should be.

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     1       Q Okay. For example, if a customer tells              1           MR. COLLINS: Objection to the form.
     2   you that their business is increasing without             2           THE WITNESS: I would not always know
     3   providing any documentation to support that and to        3   what the increase was, like in national accounts,
     4   support that increase is legitimate, the threshold        4   but they would supply that.
     5   increase should not be approved, should it?               5           MR. BOGLE: Move to strike as
     6          MR. COLLINS: Objection. Calls for a                6   nonresponsive.
     7   legal conclusion and form.                                7   BY MR. BOGLE:
     8          THE WITNESS: They would usually supply             8       Q So my question is simply --
     9   data for that salesperson or the DRA to push it up        9       A I didn't understand.
    10   the line.                                                10       Q -- a customer saying, My business is
    11   BY MR. BOGLE:                                            11   increasing, without any documentary support, is
    12       Q Okay. My question was simply that if a             12   not a legitimate reason under the CSMP to increase
    13   customer doesn't provide data to support both the        13   a threshold, true?
    14   business increases occurring and that it's               14           MR. COLLINS: Objection to the use of
    15   legitimate, then a threshold increase should not         15   the legalese, "legitimate," so it calls for a
    16   be approved under the CSMP, right?                       16   legal conclusion. Incomplete hypothetical.
    17          MR. COLLINS: Objection. Incomplete                17           THE WITNESS: Can you repeat the
    18   hypothetical, form.                                      18   question again? I'm sorry.
    19          THE WITNESS: That data wasn't always              19   BY MR. BOGLE:
    20   supplied to me. It would be supplied to the DRA          20       Q Sure. A customer saying that their
    21   who approved.                                            21   business is increasing, without documentary
    22          MR. BOGLE: Move to strike as                      22   support for that increase, does not provide a
    23   nonresponsive.                                           23   legitimate reason to increase the threshold under
    24   BY MR. BOGLE:                                            24   the CSMP, true?
                                                     Page 131                                                   Page 133
     1       Q I'm just asking about the process.                  1          MR. COLLINS: CS -- same objections.
     2   So --                                                     2          THE WITNESS: I would not -- I would not
     3       A I'm sorry, I misunderstood.                         3   provide an increase for that.
     4       Q Yeah. So when an increase is requested,             4   BY MR. BOGLE:
     5   the increase needs to be documented and justified         5       Q Okay. Because that would not be
     6   with supporting documentation showing the reason          6   appropriate under the Controlled Substances
     7   for the increase and that it's legitimate, right?         7   Monitoring Program, right?
     8          MR. COLLINS: Objection. Calls for a                8      A It wouldn't be my job to do that. It
     9   legal conclusion. Form. Incomplete hypothetical.          9   would be the DRA's.
    10          THE WITNESS: Can you repeat the                   10       Q My question simply is -- I mean you have
    11   question? I'm sorry.                                     11   an understanding of the Controlled Substances
    12   BY MR. BOGLE:                                            12   Monitoring Program, right? You sign off on
    13       Q Sure. Well, I'll rephrase it to help               13   threshold increases, true?
    14   you out here.                                            14          MR. COLLINS: Objection. We've been
    15          So if a customer under the CSMP requests          15   over this. Asked and answered,
    16   a threshold increase based on increased business,        16   mischaracterization of his prior testimony.
    17   they have to supply documentary support for that         17          THE WITNESS: I send them up to the DRA
    18   request, true?                                           18   so they can do the due diligence, which we do.
    19       A Yes, a legitimate reason for the                   19   BY MR. BOGLE:
    20   increase.                                                20       Q I'm going to hand you what I'm marking
    21       Q Right. They can't simply say, My                   21   as Exhibit 1.1679, also Exhibit 7.
    22   business is increasing, and you guys take their          22          (Snider Exhibit No. 7 was marked
    23   word for it and increase the thresholds, right?          23          for identification.)
    24   That would not be appropriate under the protocols.       24   BY MR. BOGLE:

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     1       Q Are you familiar with Dave Gustin?              1   acceptable reason unless sales data supports it."
     2      A Yes.                                             2          Do you see that?
     3       Q Okay. He was in the regulatory                  3      A Yes.
     4   department at McKesson, right?                        4       Q And you agree that granting threshold
     5      A Yes.                                             5   increases based on business increases without
     6       Q Okay. I want to take a look at page .2          6   supporting data is not appropriate under the
     7   here, the second page.                                7   Controlled Substances Monitoring Program, right?
     8           MR. COLLINS: I'm sorry. If you need to        8          MR. COLLINS: Objection. Form,
     9   take more time to review it to familiarize            9   incomplete hypothetical.
    10   yourself with the document, please do.               10          THE WITNESS: I believe exactly what
    11   BY MR. BOGLE:                                        11   he's saying here.
    12       Q There's an e-mail from Dave Gustin,            12   BY MR. BOGLE:
    13   looking at the bottom e-mail on that page, from      13       Q Okay. So you agree with that statement,
    14   April 15, 2011, to a big group of people. Do you     14   what I just read about --
    15   see that?                                            15      A I agree that Dave said it to -- to that
    16      A I see it, yes.                                  16   group, yes.
    17       Q Okay. He says there in that e-mail:            17       Q Do you think that's an accurate
    18   "My contribution to today's call centers around      18   statement?
    19   how we, through the CSMP, will meet the              19      A I can't testify --
    20   expectations of the program itself and, more         20       Q That the SOP says clearly it's not an
    21   urgently, the DEA under the terms of the agreement   21   acceptable reason for business increase unless
    22   of May '08. The expectation is that we know our      22   data supports it?
    23   customer and their customers too, at least to the    23      A Yes.
    24   point where we are seeing and responding to any      24       Q Okay. I'm also going to hand you what
                                                  Page 135                                                 Page 137
     1   diversion that may be taking place, if not            1   I'm marking as 1.795, Exhibit 8 to your
     2   preventing it up front."                              2   deposition.
     3           Do you see that?                              3           (Snider Exhibit No. 8 was marked
     4       A Yes.                                            4           for identification.)
     5       Q Okay. And he wrote this, by the way, in         5   BY MR. BOGLE:
     6   an e-mail, April 15, 2011. Do you see that?           6        Q So this is a PowerPoint deck titled
     7   That's the date of the e-mail?                        7   "McKesson's Controlled Substances Monitoring
     8           MR. COLLINS: Objection. Foundation.           8   Program," and the metadata indicates this is from
     9           THE WITNESS: Yes.                             9   2015.
    10   BY MR. BOGLE:                                        10           Do you see that title there?
    11       Q Okay. And then it goes on in the next          11        A I'm sorry, what's the date, please?
    12   paragraph -- you see where it says "What I           12        Q It doesn't have one on the document.
    13   believe" in the second sentence?                     13   I'm saying the data as provided to us indicated
    14           It says: "What I believe needs to be         14   it's 2015.
    15   tightened up are the follow-up visits to our         15           MR. COLLINS: Objection. Foundation.
    16   accounts that have undergone significant changes     16           THE WITNESS: Okay.
    17   in their controls purchases in either volume or      17   BY MR. BOGLE:
    18   percentage. We also need to tighten up the           18        Q Do you see the title of the document --
    19   process regarding granting increases. We have        19        A Yes.
    20   gotten to a point where a certain percentage of      20        Q -- "McKesson's Controlled Substances
    21   increase are almost automatic, and we are too        21   Monitoring Program"?
    22   easily accepting of reasons like," quote/unquote,    22        A Yes.
    23   "business increase for raising thresholds by small   23        Q Did you ever receive training materials
    24   amounts. The SOP says clearly that this is not an    24   like this on the Controlled Substances Monitoring

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     1   Program to tell you how to implement your portions      1   BY MR. BOGLE:
     2   of it?                                                  2       Q Those principles?
     3       A We received training, yes.                        3           MR. COLLINS: Objection to the form.
     4        Q Okay. If you go to page .37 in this              4           THE WITNESS: I don't know. I know this
     5   PowerPoint deck. It's titled "General Principles        5   was the -- you said, what date was this?
     6   for Threshold Increases," and in the middle, there      6   BY MR. BOGLE:
     7   is a bubble that says "Approved Threshold               7       Q The document is from 2015.
     8   Increases."                                             8      A Yeah, I don't know if I've ever seen
     9          Do you see that?                                 9   this. It was directed to the DRAs.
    10       A Yes.                                             10       Q Okay.
    11        Q And around it, it says "Customer                11      A But we documented thresholds whenever we
    12   Generated Request." That -- that's a general           12   went to it, and then after that, the thresholds
    13   principle surrounding threshold increases is that      13   were only increased by the DRAs, and it was an
    14   they should be customer generated, right?              14   automated system. So I couldn't do it just
    15          MR. COLLINS: Objection. Form.                   15   myself.
    16          THE WITNESS: Okay.                              16       Q And that started just in the last couple
    17   BY MR. BOGLE:                                          17   years, right?
    18        Q Is that your understanding?                     18           MR. COLLINS: Objection. Vague.
    19          MR. COLLINS: Objection.                         19           THE WITNESS: I don't remember exactly.
    20   Mischaracterization.                                   20   '13?
    21          THE WITNESS: Okay.                              21   BY MR. BOGLE:
    22          MR. COLLINS: Foundation.                        22       Q It's a recent change, right?
    23   BY MR. BOGLE:                                          23           MR. COLLINS: Objection. Vague.
    24        Q Do you understand that to be the case?          24           THE WITNESS: Well, it depends on what

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     1           MR. COLLINS: Objection. The question            1   you call recent. It's been a while that we've had
     2   is vague.                                               2   it that way.
     3   BY MR. BOGLE:                                           3   BY MR. BOGLE:
     4       Q Is that threshold increases should be             4        Q These general --
     5   customer generated?                                     5       A After the lifestyle drugs, then the DRA
     6       A Yes.                                              6   automatically has to approve and get the
     7       Q Okay. Threshold increases should also             7   documentation.
     8   be for a legitimate business justification, right?      8        Q These general principles for threshold
     9           MR. COLLINS: Objection. Vague.                  9   increases that we've reviewed, the
    10           THE WITNESS: Yes.                              10   well-documented, customer-generated, legitimate
    11   BY MR. BOGLE:                                          11   business justification, appropriate level of
    12       Q Threshold increases should be made only          12   diligence, any of those principles that you think
    13   after the appropriate level of diligence, right?       13   should not have been followed since the launch of
    14           MR. COLLINS: Objection. Calls for a            14   the CSMP in 2008? Any of those principles you
    15   legal conclusion.                                      15   think that are not appropriate, don't matter?
    16           THE WITNESS: Yes.                              16           MR. COLLINS: Objection. The question
    17   BY MR. BOGLE:                                          17   is confusing, compound, vague.
    18       Q And threshold increases should be well           18           THE WITNESS: Those are the general
    19   documented, right?                                     19   principles.
    20       A Yes.                                             20   BY MR. BOGLE:
    21       Q Okay. And that's been true the entire            21        Q Okay. And have always been, right?
    22   time the threshold increase system has been in         22       A I can't answer to that.
    23   place at McKesson, right?                              23        Q You don't know?
    24           MR. COLLINS: Objection.                        24       A I don't know.

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     1        Q And when a threshold increase is                  1   based on the last six months of sales, that's been
     2   requested, there's a form that has to be                 2   a red flag -- if you go above that number, that's
     3   completed, right?                                        3   a red flag that requires due diligence, right?
     4       A Yes. A form or a SharePoint site.                  4       A Well, we didn't call that a red flag.
     5        Q Okay. And the SharePoint site, there's            5   By red flags, I meant customers that we did
     6   dropboxes that you complete and documentation that       6   Level I visits on.
     7   is attached, right?                                      7       Q Okay. But do you consider a customer
     8       A That's what I recall.                              8   going over their threshold number a red flag that
     9        Q Okay. And those forms or the SharePoint           9   requires due diligence?
    10   information is supposed to be completed at the          10       A Can you define "red flag"?
    11   time the threshold request is made, not at some         11       Q How would you define it? You used the
    12   time thereafter, right?                                 12   term earlier in the deposition.
    13           MR. COLLINS: Objection. Vague.                  13       A But I used it in the context of Level I,
    14           THE WITNESS: It could be after the              14   red flags to know your customer. So when we did
    15   request, because they were doing the due                15   the visit, we would make sure they met all the
    16   diligence. So I can't honestly say I put one in         16   criteria, et cetera.
    17   if I thought there was more due diligence to be         17       Q Okay. So would you consider a customer
    18   done.                                                   18   exceeding their threshold for hydrocodone or
    19   BY MR. BOGLE:                                           19   oxycodone as being something that requires due
    20        Q Okay. But it would not be appropriate            20   diligence to assess whether that was legitimate
    21   to increase a threshold, supply product to a            21   for them to do so?
    22   customer before a threshold request increase form       22           MR. COLLINS: Objection. Form, vague,
    23   had been completed, true?                               23   and calls for a legal conclusion.
    24           MR. COLLINS: Objection. The question            24           THE WITNESS: Yes, there would be some
                                                    Page 143                                                   Page 145
     1   is vague.                                                1   kind of due diligence.
     2           THE WITNESS: Well, from 2000 to 2006,            2   BY MR. BOGLE:
     3   we usually reported those, but we already shipped        3        Q And another mechanism that's been
     4   them. I didn't get the report till afterwards.           4   employed more recently at McKesson to assess red
     5   After the lifestyle drugs, it was more proactive         5   flags for customers is looking at the percentage
     6   in that I could get the data and send it to them         6   of controlled substances a customer purchases
     7   electronically for them to review and then               7   versus their overall prescription purchases,
     8   approve. So it may take some time.                       8   right?
     9   BY MR. BOGLE:                                            9       A Yes, the DRAs do the -- some analysis.
    10       Q Let me make sure that my question is              10   There is a lot of data-driven analysis that's
    11   clear.                                                  11   evolved, and I know Izzy and those guys do a good
    12           From 2008 on, under the Controlled              12   job of that.
    13   Substances Monitoring Program when a threshold          13        Q And that's not something that was done
    14   increase was requested, the drug should not be          14   until the 2014, 2015 time frame, right, doing that
    15   shipped under that increased amount without a           15   sort of analysis?
    16   form -- threshold increase form having already          16           MR. COLLINS: Objection. Vague.
    17   been completed, true?                                   17           THE WITNESS: I don't know. If they did
    18       A Yes.                                              18   it in 2008 or not, I don't know -- I don't know
    19       Q Okay. You mentioned red flags from a              19   that.
    20   due diligence perspective a moment ago, and I want      20   BY MR. BOGLE:
    21   to ask you something about that. One sort of red        21        Q That's an important metric, though, to
    22   flag aspect of the McKesson system has been             22   look at to assess whether a customer's orders are
    23   setting the threshold number, whether it be 8,000       23   suspicious or not is to look at whether the
    24   under the Lifestyle Drug Monitoring Program or          24   percentages of controlled substances versus

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     1   overall purchases exceeds a normal level, right?      1         A   No, I don't, but --
     2           MR. COLLINS: Objection. Vague, calls          2         Q   Okay. You want to go back and look at
     3   for a legal conclusion.                               3   it?
     4           THE WITNESS: And that's what the DRAs         4       A Yeah.
     5   did.                                                  5       Q It's 1.1830, Exhibit 4. It's the one
     6   BY MR. BOGLE:                                         6   that looks like this (indicating) on the front.
     7        Q I'm asking whether you think that's            7   Yep. And so it was specifically page .4.
     8   something that's useful.                              8          And it's under "DEA Expects," and it
     9           MR. COLLINS: Objection. Asked and             9   talks about 5,000 dose units is average,
    10   answered, form.                                      10   quote/unquote. Do you see that?
    11           THE WITNESS: The DRAs found it very          11       A I see that.
    12   useful, I'm sure.                                    12       Q Okay. And at points after 2007, the
    13   BY MR. BOGLE:                                        13   DEA did provide information to McKesson about
    14        Q And another mechanism that can be             14   controlled substances averages so that McKesson
    15   utilized is to look at the percentage of             15   could utilize that in their due diligence
    16   controlled substances by category, meaning what      16   processes, right?
    17   percentages the oxycodone purchases are over their   17          MR. COLLINS: Objection. Lack of
    18   overall prescriptions, right? You've heard of        18   foundation, calls for speculation.
    19   that too?                                            19          THE WITNESS: I'm sorry --
    20           MR. COLLINS: Objection. Form,                20          MR. COLLINS: Calls for a legal
    21   speculation, vague.                                  21   conclusion.
    22   BY MR. BOGLE:                                        22          THE WITNESS: I'm sorry, I don't recall
    23        Q You've heard of that concept?                 23   that. Did --
    24       A I've heard of that.                            24   BY MR. BOGLE:
                                                  Page 147                                                        Page 149
     1       Q Okay. And from the 2008 to 2013 time            1       Q Okay. I'm going to hand you what I'm
     2   frame, that's not something, to your                  2   marking as Exhibit 1.1568, as Exhibit 9.
     3   understanding, that was utilized at McKesson,         3           (Snider Exhibit No. 9 was marked
     4   using those sort of percentages of controlled         4           for identification.)
     5   versus overall purchases and looking at specific      5   BY MR. BOGLE:
     6   percentages of controlled purchases for drugs,        6       Q Okay. Do you see here this is titled
     7   right?                                                7   "Understand ARCOS Data"? Do you see that?
     8          MR. COLLINS: Objection. Form, vague,           8      A Yes.
     9   compound.                                             9       Q Okay. Below that, it says, and this is
    10          THE WITNESS: My understanding was it          10   a point later in time than the 2007 reference we
    11   probably was used. That's my recollection.           11   looked at: "According to the DEA's 2012 ARCOS
    12   BY MR. BOGLE:                                        12   data, the following are a few commonly abused
    13       Q Okay. Did you ever look at any kind of         13   drugs with the annual average -- averages number
    14   data or ask for any data like that?                  14   of dosage units purchased by a retail pharmacy for
    15      A Yes.                                            15   each of the following drugs."
    16       Q You did?                                       16           And then you see there is hydrocodone,
    17      A Yes.                                            17   oxycodone, methadone, morphine, hydromorphone and
    18       Q Okay. In the 2008 to 2013 time frame?          18   oxymorphone.
    19      A I can't recall specifically.                    19           Do you see those listed?
    20       Q Okay. And we looked earlier at the             20      A Yes.
    21   PowerPoint slide deck from 2007 for Mr. Walker       21       Q And then there is an annual average
    22   where the DEA indicated that 5,000 dosage units      22   provided for each. Do you see that?
    23   was average. Do you recall that reference for        23      A I see the numbers, yes.
    24   controlled substances?                               24       Q Okay. And then there's a reference

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                                                 Page 150                                                        Page 152
     1   below that says: "Diversion can occur in              1           THE WITNESS: It says, "Percent of
     2   purchases below the DEA national averages."           2   total, plus or minus .25 percent." I see that.
     3           Do you see that?                              3   BY MR. BOGLE:
     4      A I see that.                                      4       Q Right. And it's 5 percent listed there
     5       Q Okay. And if you go to the next page of         5   of oxycodone. The 5 percent of oxycodone -- 5
     6   this document, it says: "McKesson Regional            6   percent of the total purchases is the regional
     7   Statistical Norms." Do you see that?                  7   norm for oxycodone in your region. Do you see
     8      A Yes.                                             8   that?
     9       Q Okay. And I want to look at your                9           MR. COLLINS: Objection. Lack of
    10   region, which is under the Northeast. Do you see     10   foundation.
    11   that for New Castle there under Northeast?           11           THE WITNESS: I'm sorry, I don't
    12      A Yes.                                            12   understand the regional norm that you're saying.
    13       Q And it says total prescription                 13   BY MR. BOGLE:
    14   percentage of which controlled substances should     14       Q Have they ever shown this document to
    15   be, the norm is 19 percent in your region.           15   you?
    16           Have you seen that number before?            16       A I don't remember seeing this.
    17           MR. COLLINS: Objection. Lack of              17       Q McKesson? Anybody? So nobody has ever
    18   foundation.                                          18   talked to you about what the regional norms are
    19           THE WITNESS: No.                             19   for your -- the region that your distribution
    20   BY MR. BOGLE:                                        20   center covers --
    21       Q You've never seen that reference before?       21           MR. COLLINS: Objection --
    22      A No.                                             22   BY MR. BOGLE:
    23       Q Okay. Then it lists out the norms for          23       Q -- for these controlled substances?
    24   various other controlled substances specifically.    24           MR. COLLINS: Objection. The question

                                                 Page 151                                                      Page 153
     1   Do you see that?                                      1   is compound and argumentative.
     2          MR. COLLINS: Objection. Lack of                2           THE WITNESS: No, I've never seen the
     3   foundation.                                           3   Northeast for all these DCs: Boston, New Castle,
     4          THE WITNESS: What is a norm? I'm not           4   Rockhill, Buffalo.
     5   sure. You'll have to help me with this.               5   BY MR. BOGLE:
     6   BY MR. BOGLE:                                         6       Q Okay. You see this is an internal
     7       Q Well, the document is titled "McKesson          7   McKesson document, right?
     8   Regional Statistical Norms." Do you see that?         8           MR. COLLINS: Objection. Lack of
     9       A Yes.                                            9   foundation.
    10          MR. COLLINS: Objection. There's been          10   BY MR. BOGLE:
    11   no testimony this witness has any firsthand          11       Q It says "McKesson" on it.
    12   knowledge of this document. Lack of foundation.      12       A I don't -- I don't have any knowledge.
    13   BY MR. BOGLE:                                        13       Q It's got a Bates stamp produced from
    14       Q So for oxycodone, it says --                   14   defense counsel for McKesson, coming from
    15          MR. COLLINS: I'm sorry. Please let me         15   McKesson's files. Do you see that?
    16   finish my objection.                                 16           MR. COLLINS: Objection. If you're
    17   BY MR. BOGLE:                                        17   testifying to that, that's fine. He doesn't have
    18       Q -- 5 percent of the total prescriptions        18   any knowledge of that.
    19   for oxycodone is a regional statistical norm for     19   BY MR. BOGLE:
    20   your region. Do you see that?                        20       Q Do you see that?
    21          MR. COLLINS: Objection. Lack of               21       A I'm sorry. Can you --
    22   foundation. No firsthand knowledge has been          22       Q First of all, McKesson, you see that?
    23   established this witness has any knowledge of this   23           MR. BOGLE: Can we highlight that?
    24   document.                                            24           THE WITNESS: I think I'll testify that

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     1   I've never seen this document before.                 1   would also depend on the era that we're talking
     2   BY MR. BOGLE:                                         2   about. I don't know if I -- 2000 to 2006, I
     3       Q Yeah, I'm just asking.                          3   would -- I would necessarily know that.
     4           So the annual data from 2012, the ARCOS       4   BY MR. BOGLE:
     5   data, the averages, nobody has ever told you about    5       Q Okay. Well, let me hand you what I'm
     6   that -- those numbers either?                         6   marking as Exhibit 1.1829, Exhibit 10.
     7       A I've never seen this document.                  7          (Snider Exhibit No. 10 was marked
     8       Q Outside of this document, anybody ever          8          for identification.)
     9   talk to you about what the averages are nationally    9          MR. COLLINS: Thank you.
    10   for any of these drugs?                              10   BY MR. BOGLE:
    11       A No, not nationally.                            11       Q You see here this is a letter from a law
    12       Q No. Or regionally?                             12   firm, Hyman, Phelps and McNamara, April 25, 2007.
    13       A No.                                            13   Do you see that?
    14           MR. COLLINS: Objection to the word           14      A Yes.
    15   "regionally."                                        15          MR. COLLINS: Objection. Lack of
    16   BY MR. BOGLE:                                        16   foundation.
    17       Q When you're out there conducting reviews       17   BY MR. BOGLE:
    18   of customers, your due diligence component of --     18       Q And they're sending this to Linden
    19   of your job, you would agree with me that            19   Barber, Associate Chief Counsel for the DEA. Do
    20   assessing whether the customer has significant       20   you see that?
    21   business coming from pain clinics is relevant in     21      A Yes.
    22   assessing whether to increase an opioid threshold,   22       Q Okay. And if you look at this letter,
    23   right?                                               23   specifically page .3, number 5 says: "The
    24           MR. COLLINS: Objection. Form,                24   McKesson DC management or regulatory staff, where

                                                  Page 155                                                    Page 157
     1   foundation.                                           1   appropriate, will conduct a further review to
     2          THE WITNESS: I would assess all aspects        2   verify information provided by its customers. For
     3   of the customer.                                      3   example, if a pharmacy claims that it is receiving
     4   BY MR. BOGLE:                                         4   increased prescriptions from a pain clinic,
     5       Q Right. And specifically, whether they           5   McKesson will attempt to verify such information
     6   do substantial business with pain clinics is          6   with the clinic as well as request further
     7   relevant to consider whether to increase an opioid    7   documentation that the clinic is issuing
     8   threshold, right?                                     8   prescriptions in the course of legitimate medical
     9       A I'm not sure.                                   9   practice."
    10       Q You don't know whether that's a red            10           Do you see that?
    11   flag?                                                11      A Yes.
    12       A Yes, if it's over. But I've seen               12       Q Do you see the statement was provided to
    13   customers supply to pain clinics and they aren't     13   the DEA in April 25, 2007?
    14   over the threshold.                                  14           MR. COLLINS: Objection.
    15       Q Okay. So I'm talking about increasing a        15   BY MR. BOGLE:
    16   customer's threshold. You would agree with me        16       Q Do you see that's the date?
    17   that one thing to look for that would be a           17           MR. COLLINS: Objection. Lack of
    18   potential red flag is doing substantial business     18   foundation. This witness hasn't testified he has
    19   with a pain clinic. Right?                           19   any knowledge of this letter, nor to establish
    20          MR. COLLINS: Objection. Form, the             20   that.
    21   question is vague.                                   21           THE WITNESS: I have no knowledge of
    22          THE WITNESS: It would be a red flag           22   this. I can't testify -- only to what it says
    23   only if it exceeded the thresholds by large          23   here on the document.
    24   amounts and they couldn't substantiate it. And it    24   BY MR. BOGLE:

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     1       Q That's where we're starting. I'm going           1   "The McKesson DC management or regulatory staff,"
     2   from there.                                            2   we'll start with that. Do you see that?
     3      A Okay.                                             3       A Yeah, I don't know what this document
     4       Q So that's what it says, right?                   4   even is. I have to apologize.
     5      A I'm sorry, you asked me if it was                 5        Q I'm asking you a question. Okay. Just
     6   supplied to the DEA or to -- from the DEA. I           6   listen to my question.
     7   don't know that.                                       7       A Okay.
     8       Q We know this letter was written to the           8        Q When McKesson DC management or
     9   DEA, to Chief Counsel of the DEA. That's what it       9   regulatory staff -- so DC management, that's you,
    10   says, right?                                          10   right?
    11           MR. COLLINS: Objection. You haven't           11           MR. COLLINS: Objection. You haven't
    12   established that.                                     12   established this witness has any firsthand
    13           THE WITNESS: I don't know.                    13   knowledge of this document.
    14   BY MR. BOGLE:                                         14           MR. BOGLE: That's the whole purpose is
    15       Q Okay. Well, let's establish that. By            15   that if he doesn't, that's a big problem.
    16   facsimile confirmation by mail, a copy by mail,       16           MR. COLLINS: The witness has already
    17   "Linden Barber, Associate Chief Counsel, Diversion    17   testified, and you're testifying as to what the
    18   and Regulatory Litigation Section, Drug               18   contents are. Typically it goes question and
    19   Enforcement Administration."                          19   answer where you elicit information from a
    20           Do you see that?                              20   witness.
    21      A I see that.                                      21           MR. BOGLE: You're -- you're -- you're
    22       Q Okay, thank you.                                22   not even objecting. You're just talking.
    23           Now, going back to the sentence that I        23           MR. COLLINS: No, no, because you're
    24   read to you --                                        24   ignoring the objection. The witness has no

                                                   Page 159                                                      Page 161
     1          MR. COLLINS: I'm sorry, that hasn't             1   firsthand knowledge about the document.
     2   established anything.                                  2   BY MR. BOGLE:
     3   BY MR. BOGLE:                                          3        Q "For example, if the pharmacy claims it
     4       Q -- did anyone tell you in --                     4   is receiving increased prescriptions from a pain
     5          MR. COLLINS: I'm sorry, let me --               5   clinic, McKesson will attempt to verify such
     6          MR. BOGLE: I'm asking a question.               6   information with the clinic as well as request
     7   BY MR. BOGLE:                                          7   further documentation that the clinic is issuing
     8       Q Did anyone tell you in 2007 --                   8   prescriptions in the course of legitimate medical
     9          MR. COLLINS: I'm sorry, I need -- let           9   practice."
    10   me finish my objection, please.                       10           Do you see that sentence?
    11   BY MR. BOGLE:                                         11       A I see it.
    12       Q Did anyone tell you in 2007 that part of        12        Q That's something that you and the
    13   your responsibilities as DC management included       13   regulatory staff should have been doing when
    14   when a customer requested a threshold increase, to    14   assessing threshold increases for your customers,
    15   assess whether they have significant business from    15   true?
    16   a pain clinic and to verify the legitimacy of that    16           MR. COLLINS: Objection. Lack of
    17   business? Did anyone ever tell you to do that?        17   foundation, lack of establishing the witness's
    18          MR. COLLINS: Objection. The question           18   firsthand knowledge of this document or the
    19   is compound in multiple ways. So it's vague.          19   question or the foundation for it.
    20          THE WITNESS: I don't recall                    20           THE WITNESS: I don't know this document
    21   specifically, but the director of Regulatory          21   at all. I'm sorry.
    22   Affairs would in fact get that information.           22   BY MR. BOGLE:
    23   BY MR. BOGLE:                                         23        Q Is that -- is that something that you
    24       Q It says -- let's go back to number 5.           24   should have been doing?

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                                                     Page 162                                                   Page 164
     1           MR. COLLINS: Objection. Form.                     1          Do you recall ever seeing this portion
     2           THE WITNESS: Not in 2000 to 2006, and             2   of the Controlled Substances Monitoring Program?
     3   the DRAs did that, I'm sure.                              3       A I do recall.
     4   BY MR. BOGLE:                                             4       Q You do?
     5       Q What about from 2007 on?                            5       A Yes.
     6      A The DRAs did that.                                   6       Q Okay. And I want to look at a couple of
     7       Q Okay. So nobody ever told you --                    7   aspects of this here. Under that, it says:
     8   because DC management is also referenced here,            8   "McKesson CSMP has identified certain,"
     9   nobody ever told you you had any role in that             9   quote/unquote, "red flags that are indicators or
    10   process?                                                 10   areas of possible concern regarding shipments of
    11      A I did the Level Is and I did the                    11   controlled substances. Additionally, the red
    12   threshold increases. It was handled by the DRA           12   flags discussed herein are not intended to be all
    13   whether it was approved or not. I couldn't do it         13   inclusive as they can change over time depending
    14   on my own unilater -- unilateral.                        14   on a variety of factors, e.g., new regulations,
    15       Q So is it your testimony that for New               15   new drugs coming to market or advancements of
    16   Castle at least after 2007, that this assessment         16   technology."
    17   that's talked about in this sentence I read to you       17          Do you see that?
    18   was actually done for the New Castle customers?          18       A Yes.
    19      A As part of the SOP, I believe it was                19       Q In the second paragraph, the last
    20   done by the DRA, yes.                                    20   sentence, it says: "Nevertheless, it is important
    21       Q Okay. Your testimony is it was done for            21   that when red flags are identified, they are
    22   New Castle customers.                                    22   reviewed to ensure appropriate due diligence."
    23      A For the -- yes, by the DRA.                         23          Do you see that?
    24       Q Okay. Have you reviewed the Controlled             24       A Yes.
                                                       Page 163                                                 Page 165
     1   Substances Monitoring Program that was -- that has        1       Q Okay. And below that, it says: "This
     2   been in place since 2008, the various versions of         2   document is designed to separate red flags into
     3   it?                                                       3   two categories. The first section, apparent red
     4          MR. COLLINS: Objection. Vague.                     4   flags, list those that are readily identifiable."
     5          THE WITNESS: Yes.                                  5           Do you see that?
     6   BY MR. BOGLE:                                             6       A Yes.
     7       Q Have you read the SOPs itself?                      7       Q Okay. I want to look at a couple of
     8       A Yes.                                                8   those. Section 1 says "Apparent red flags." Do
     9       Q Okay. And you know starting in 2015 the             9   you see that section?
    10   Controlled Substances Monitoring Program included        10       A Yes.
    11   a specific section talking about red flags, right?       11       Q It says: "Below is a list of examples
    12       A I don't recall that. If you could show             12   of the more readily identifiable red flags. These
    13   me, I would be more inclined to remember.                13   do not require expertise or extensive analysis in
    14       Q All right.                                         14   order to identify them."
    15          MR. BOGLE: What number are we on?                 15           Do you see where I read that?
    16          MR. COLLINS: 11, I think.                         16       A Yes.
    17          (Snider Exhibit No. 11 was marked                 17       Q Okay. And if you go to page .3, this is
    18          for identification.)                              18   under the section "Responses in the customer
    19          MR. COLLINS: Are you okay?                        19   questionnaire," do you see letter M says: "The
    20          THE WITNESS: Yeah.                                20   pharmacy's primary business model involves filling
    21   BY MR. BOGLE:                                            21   prescriptions for or dispensing directly to pain
    22       Q All right. I'm handing you Exhibit 11,             22   clinics."
    23   which is also Exhibit 1.1146. This is titled             23           Do you see that?
    24   "McKesson CSMP Red Flags, May 2015."                     24       A Yes.

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     1       Q Okay. So that's identified as one of                1           MR. COLLINS: Objection. Form.
     2   the apparent red flags, right?                            2   Compound.
     3      A Yes.                                                 3           And I'm sorry, is that a question?
     4       Q Okay. And that's something, quite                   4           MR. BOGLE: Yeah.
     5   frankly, that as we saw back in 2007, was already         5   BY MR. BOGLE:
     6   identified as a red flag of something McKesson            6       Q Does that make common sense to you that
     7   should be concerned about, right?                         7   that would be a red flag?
     8      A Yes. I believe it said internet                      8      A That would be --
     9   pharmacy on the Level I questionnaire.                    9           MR. COLLINS: Objection. Vague.
    10       Q Okay. I'm talking -- this talks about              10           THE WITNESS: That would be something I
    11   pain clinics. Do you see that, though?                   11   would look at or the DRA would look at.
    12      A Oh, yes.                                            12   BY MR. BOGLE:
    13       Q Okay. And business with pain clinics               13       Q Okay. Because that's a potential red
    14   has long been identified as a potential red flag         14   flag, right?
    15   at McKesson, right?                                      15           MR. COLLINS: Objection to form.
    16           MR. COLLINS: Objection. Vague. Form.             16   BY MR. BOGLE:
    17           THE WITNESS: At least that's down here,          17       Q Yes or no, sir?
    18   yes.                                                     18      A Okay. Yes.
    19   BY MR. BOGLE:                                            19       Q Section 2 -- I'm on page .4 now -- talks
    20       Q At least as 2007, the document we saw              20   about detailed red flags. And under
    21   that was sent by counsel for McKesson to the DEA         21   "Nonstatistical red flags," the first is
    22   identified this as something that was going to be        22   geographic location. Do you see that?
    23   investigated back in 2007, right?                        23      A Yes.
    24           MR. COLLINS: Objection. Assumes facts            24       Q And it says under A there: "The
                                                       Page 167                                                      Page 169
     1   not in evidence. The witness has no firsthand             1   pharmacy located in a geographic area known or
     2   knowledge of that letter, as we've already                2   suspecting -- suspected of having higher than
     3   established.                                              3   normal prescription drug diversion or level of
     4           THE WITNESS: I don't have any knowledge           4   prescribing. This would include areas where
     5   of that.                                                  5   diversion schemes are known to be centrally
     6   BY MR. BOGLE:                                             6   located."
     7       Q Do you have any reason to think that the            7           Do you see that?
     8   primary business model involving filling                  8       A Yes.
     9   prescriptions for or dispensing directly to pain          9       Q Do you think that makes sense as a
    10   clinics is a red flag that could not have been           10   common sense red flag?
    11   identified prior to 2015?                                11           MR. COLLINS: Objection. Vague. Form.
    12           MR. COLLINS: Objection. The question             12           THE WITNESS: It would make sense to me.
    13   is compound, it's vague.                                 13   BY MR. BOGLE:
    14           THE WITNESS: I have no reason to                 14       Q Okay. Let's go to under number 2. Do
    15   believe.                                                 15   you see where it says "Pharmacy's business model"
    16   BY MR. BOGLE:                                            16   on that page?
    17       Q Okay. Let's look at Q. It says: "The               17       A Yes.
    18   pharmacy's business model centers on controlled          18       Q And then on the next page, continuing
    19   substances where the pharmacy is planning to             19   that section, letter D says: "There is a pain
    20   expand its controlled substance business."               20   clinic located inside of or is part of the
    21           Do you see that?                                 21   pharmacy."
    22       A Yes.                                               22           Do you see that?
    23       Q That's a common sense red flag, right?             23       A Yes.
    24   That makes logical sense.                                24       Q Do you think that's a common sense red

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     1   flag?                                                   1       Q And then the last couple I want to do
     2      A It would be something to look at, yes.             2   here, and then we can take a -- a break if you
     3       Q Okay. Number 3 says: "Governmental                3   need to.
     4   information/inquiry." Letter A says:                    4           Number 5 on page .6, talks about other
     5   "Inquiry/subpoena by government agency regarding        5   distributors. Do you see that?
     6   customer."                                              6      A Yes.
     7          Do you see that?                                 7       Q And A, it says: "Pharmacy purchases
     8          MR. COLLINS: Objection. Vague.                   8   controlled substances from other distributors."
     9   BY MR. BOGLE:                                           9           Do you see that?
    10       Q Do you -- do you agree that's a common           10      A Yes.
    11   sense red flag for McKesson?                           11       Q Okay. Is that something that you would
    12          MR. COLLINS: Objection. Vague as to             12   investigate when evaluating a customer's opioid
    13   time frame.                                            13   purchases going back even to 2006 to present?
    14          THE WITNESS: It's something to inquire,         14           MR. COLLINS: Objection. Form. Vague.
    15   I agree with that.                                     15           THE WITNESS: I couldn't always
    16   BY MR. BOGLE:                                          16   investigate, but it would be something I think
    17       Q And that's something if you got a                17   they ask on the questionnaire. And then later on,
    18   subpoena from a governmental agency regarding your     18   now we have software that's involved that we
    19   customer and their dispensing of opioids back in       19   can -- I think the DEA has provided that, that we
    20   2008, that would be a red flag too, right?             20   can see all of the wholesaler purchases. So the
    21          MR. COLLINS: Objection. Vague. Form.            21   DRA can take a look at that. I'm not privy to
    22          THE WITNESS: If I -- if I got the               22   that, but the DRAs know that information.
    23   subpoena?                                              23   BY MR. BOGLE:
    24   BY MR. BOGLE:                                          24       Q But that's the sort of information that
                                                   Page 171                                                      Page 173
     1       Q Yeah.                                             1   would be useful to know, especially when trying to
     2       A Yes, that's something I would know and            2   decide whether to increase the threshold for
     3   look at.                                                3   opioids, right?
     4       Q Okay. Number 4 says: "Integrity                   4           MR. COLLINS: Objection to the form.
     5   concerns," and specifically under E, it says:           5   The question is vague, incomplete.
     6   "Discipline of any pharmacy employee by a state         6           THE WITNESS: Okay. I'm sorry, can you
     7   licensing authority or other regulatory agency          7   repeat the --
     8   within the past 10 years."                              8   BY MR. BOGLE:
     9           Do you see that?                                9       Q Sure.
    10       A Yeah -- yes.                                     10           Whether the pharmacy purchases from
    11       Q And at all times that you've been                11   multiple distributors would at all times be
    12   director of operations at New Castle, that would       12   something that would be important for McKesson to
    13   be a common sense red flag to be investigated,         13   know when considering whether to increase a
    14   right?                                                 14   threshold for opioids, for example?
    15           MR. COLLINS: Objection. Form.                  15           MR. COLLINS: Objection to the form, the
    16           THE WITNESS: I remember I didn't know          16   use of --
    17   that until the internet searches, probably 2006 or     17   BY MR. BOGLE:
    18   '7.                                                    18       Q Do they buy opioids from another
    19   BY MR. BOGLE:                                          19   distributor?
    20       Q Okay. So starting in 2006, 2007, to you          20           MR. COLLINS: Objection to the question
    21   going forward, that would be a common sense red        21   to the extent it references "at all times."
    22   flag if you saw that, that needed investigating,       22           THE WITNESS: I would like to know that.
    23   right?                                                 23   BY MR. BOGLE:
    24       A Yes.                                             24       Q All right. B says: "Other distributors

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     1   have restricted or ceased selling controls to the         1           MR. COLLINS: Objection. Form.
     2   customer or potential customer in the past five           2           THE WITNESS: I don't remember
     3   years."                                                   3   testifying to that.
     4          Do you see that?                                   4   BY MR. BOGLE:
     5       A Yes.                                                5       Q Okay. We looked at the DEA document
     6       Q And again, from the period of time that             6   where they provided these kind of averages.
     7   you started as director of operations in 2000 to          7           MR. COLLINS: Objection. Lack of
     8   present, that's something you think is reasonable         8   foundation.
     9   for McKesson to want to know, right?                      9           THE WITNESS: I'm not sure that I
    10          MR. COLLINS: Objection to the form,               10   testified to that.
    11   compound, calls for a legal conclusion.                  11   BY MR. BOGLE:
    12          THE WITNESS: I'd like to know why.                12       Q Okay. Well, is this something you're
    13   BY MR. BOGLE:                                            13   familiar with prior to today?
    14       Q Okay. But you can't know why unless you            14       A Yes.
    15   know if, right?                                          15       Q Okay. And do you agree that that's a
    16          MR. COLLINS: Objection. The question              16   reasonable red flag that requires further due
    17   is vague.                                                17   diligence?
    18          THE WITNESS: That's vague to me. Can              18           MR. COLLINS: Objection. The question
    19   you restate that, please?                                19   is vague as to time frame.
    20   BY MR. BOGLE:                                            20           THE WITNESS: Yes. I agree that when
    21       Q Yeah. You can't ask why if you don't               21   that data became available, that that was a part
    22   know whether it's happened, right?                       22   of the due diligence.
    23          MR. COLLINS: Same objection.                      23   BY MR. BOGLE:
    24          THE WITNESS: Okay. I'm not sure --                24       Q Well, it's always been available.
                                                       Page 175                                                 Page 177
     1   BY MR. BOGLE:                                             1   McKesson just never asked for it until the last
     2       Q Do you agree with that premise?                     2   few years, right?
     3          MR. COLLINS: The question doesn't make             3           MR. COLLINS: Objection.
     4   any sense. Objection to form.                             4   Mischaracterization.
     5   BY MR. BOGLE:                                             5           THE WITNESS: I don't agree with that.
     6       Q You can't ask why another distributor               6   BY MR. BOGLE:
     7   cut off or restricted or ceased selling controls          7       Q Okay. So are you saying McKesson was
     8   to a customer unless you've asked whether that            8   unable to, say, for example, in 2009, ask for the
     9   actually has occurred, right?                             9   complete dispensing data from a -- from a customer
    10      A Yes.                                                10   and then run the numbers?
    11       Q Okay. And then the last one under                  11      A I don't know that.
    12   "Statistical red flags," under A, and this is what       12       Q Okay. Have you ever asked a customer
    13   we looked at a minute ago, it says: "A customer's        13   for complete dispensing data so an analysis could
    14   control/Rx ratio, when compared to similar               14   be done as to how much of those purchases were
    15   customers serviced by the same distribution              15   controlled substances?
    16   center seems unusually high. As a benchmark, DEA         16      A Between what years, please?
    17   has previously stated that an average retailer           17       Q 2008 to 2013.
    18   pharmacy's controls/prescription ratio is                18      A Have I?
    19   approximately 20 to 25 percent."                         19       Q Sure.
    20          Do you see that?                                  20      A No. That's usually the DRA.
    21      A Yes.                                                21       Q Have you ever seen a DRA do it during
    22       Q I think you said earlier that's not a              22   that five-year time frame for a New Castle
    23   concept that you were familiar with before today,        23   customer?
    24   right?                                                   24      A What five years?

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     1       Q 2008 to 2013.                                 1   sorry.
     2       A Yes.                                          2   BY MR. BOGLE:
     3       Q You've seen them do this specific             3       Q Okay. You've never been told that?
     4   analysis?                                           4      A No.
     5       A Yes.                                          5       Q Okay.
     6       Q Okay. So you know it can be done.             6          (Snider Exhibit No. 12 was marked
     7       A Yes.                                          7          for identification.)
     8       Q Okay. And it's a reasonable analysis to       8   BY MR. BOGLE:
     9   conduct, right?                                     9       Q I'm going to hand you 1.44, Exhibit 12
    10          MR. COLLINS: Objection. Vague, form.        10   to your deposition.
    11          THE WITNESS: If you can, I think it         11          Okay. This is noted at the top to be
    12   would be a good idea.                              12   from the House of Representatives, Congress of the
    13          MR. BOGLE: Yeah. Let me look real           13   United States, February 15, 2008. Do you see
    14   quick. I think -- yeah. We can take a break now    14   that?
    15   is good.                                           15      A Yes.
    16          MR. COLLINS: Yep.                           16       Q Okay. And it's a letter sent to
    17          THE VIDEOGRAPHER: The time is               17   Mr. John Hammergren. That's the CEO of McKesson,
    18   11:14 a.m. We're going off the record.             18   right?
    19          (Recess.)                                   19          MR. COLLINS: Objection. Lack of
    20          THE VIDEOGRAPHER: The time is 11:29         20   foundation.
    21   a.m., and we're back on the record.                21          THE WITNESS: Yes.
    22   BY MR. BOGLE:                                      22   BY MR. BOGLE:
    23       Q All right. Mr. Snider, the -- your New       23       Q Do you see where it's -- he's noted to
    24   Castle Distribution Center is in -- located in     24   be the recipient, "Dear Mr. Hammergren"?

                                                Page 179                                                    Page 181
     1   Pennsylvania, right?                                1      A     I would think he got it.
     2      A Yes.                                           2           MR. COLLINS: Objection.
     3       Q Okay. But you guys service customers          3   BY MR. BOGLE:
     4   outside of the state of Pennsylvania, correct?      4        Q Do you see that this was designed to be
     5      A Yeah -- oh, yes.                               5   sent to him, right?
     6       Q For example, you service customers in         6           MR. COLLINS: Objection. The witness
     7   Ohio, right?                                        7   has no firsthand knowledge.
     8      A Yes.                                           8           THE WITNESS: I don't know anything
     9       Q You service customers in West Virginia,       9   about this document, so I can't answer to that.
    10   right?                                             10   BY MR. BOGLE:
    11      A Yes.                                          11        Q All right. But you see it says, "Dear
    12       Q Okay. And we talked a little bit about       12   Mr. Hammergren," right? Do you see that on the
    13   the opioid epidemic earlier in your deposition,    13   first page?
    14   but you understand that West Virginia is one of    14       A Yeah, I see that.
    15   the states that's been hit hardest by the opioid   15        Q You see that?
    16   epidemic, right?                                   16       A Yeah.
    17      A Yes.                                          17        Q Okay. And so if you look at the first
    18       Q And In fact, there have been                 18   page of this document, it says in the second
    19   congressional investigations into McKesson's       19   paragraph, "As part of our investigation." Do you
    20   conduct specific to pharmacies supplied in West    20   see that?
    21   Virginia.                                          21       A Yes.
    22           Do you understand that?                    22        Q It says: "As part of our investigation,
    23           MR. COLLINS: Objection. Form.              23   the Committee wrote to you on May 8, 2017,
    24           THE WITNESS: I don't know that. I'm        24   regarding your distribution practices generally,

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     1   and in particular with respect to West Virginia.         1          MR. COLLINS: The question was asked and
     2   As we mentioned in the letter, the opioid epidemic       2   answered last -- a moment ago.
     3   has been particularly devastating to West                3   BY MR. BOGLE:
     4   Virginia. For example, in 2015, West Virginia had        4       Q Correct?
     5   the highest opioid overdose death rate in the            5          MR. COLLINS: Same -- same objection.
     6   nation."                                                 6   Asked and answered.
     7           And then it goes on, the last sentence           7          THE WITNESS: A -- a portion probably
     8   in that paragraph says: "Court filings also              8   did.
     9   indicate that between 2007 and 2012, McKesson            9   BY MR. BOGLE:
    10   distributed 46,179,600 doses of hydrocodone and         10       Q Well, you know they did, right? From
    11   54,304,980 doses of oxycodone, meaning that             11   2007 to 2012, you know that the New Castle
    12   McKesson shipped a total of 100,484,580 doses to        12   Distribution Center was servicing West Virginia
    13   West Virginia during this time period."                 13   pharmacies, right? So it has to be part of this
    14           Have you ever seen that kind of data            14   number, true?
    15   talking about the number of hydrocodone and             15          MR. COLLINS: Objection.
    16   oxycodone pills McKesson distributed to West            16   BY MR. BOGLE:
    17   Virginia during this time frame?                        17       Q You know that.
    18       A No, I haven't.                                    18          MR. COLLINS: Objection. The question
    19       Q Okay. You know that a fair amount of              19   is compound three different ways. It's
    20   those pills that are being referenced here came         20   argumentative. It's been asked and answered.
    21   from your distribution center, right?                   21   BY MR. BOGLE:
    22           MR. COLLINS: Objection. Lack of                 22       Q You know that, don't you?
    23   foundation. Lack of firsthand knowledge.                23          MR. COLLINS: Objection. Form.
    24           THE WITNESS: I don't know that.                 24          THE WITNESS: I've never seen this

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     1   BY MR. BOGLE:                                            1   document. And we do have customers in West
     2       Q Okay. Well, you know from 2007 to 2012             2   Virginia.
     3   that -- that the New Castle Distribution Center          3   BY MR. BOGLE:
     4   was sending hydrocodone and oxycodone to                 4       Q Okay. But you know that -- okay. I
     5   pharmacies in West Virginia, right?                      5   think the document speaks for itself.
     6       A Yes.                                               6          Now, specifically in West Virginia,
     7       Q Okay. So, therefore, you must present              7   Mace's is one of the pharmacies that New Castle
     8   some of this number coming from New Castle, right?       8   has serviced over time, right?
     9           MR. COLLINS: Objection. The question             9      A I believe so.
    10   is vague.                                               10       Q Okay. You recall we saw Mace's Pharmacy
    11           THE WITNESS: If I could answer that,            11   referenced in that 2007 chart which indicated them
    12   the DEA has done audits on us. We've never been         12   exceeding their thresholds in opioids in November
    13   found to do anything wrong. New Castle has an           13   2007. Do you recall discussing that?
    14   exemplary record.                                       14          MR. COLLINS: Objection.
    15           MR. BOGLE: Move to strike as                    15   Mischaracterization, lack of foundation, lack of
    16   nonresponsive.                                          16   knowledge.
    17   BY MR. BOGLE:                                           17          THE WITNESS: I do recall seeing the
    18       Q My question simply was, of these 100              18   document. I believe Mace's was on it.
    19   million plus doses referenced here, you know that       19   BY MR. BOGLE:
    20   a portion of those came from your distribution          20       Q Okay. Now, at your distribution center
    21   center --                                               21   for the conduct that occurred prior to McKesson
    22           MR. COLLINS: Objection.                         22   switching over to SharePoint, you actually have
    23   BY MR. BOGLE:                                           23   hard copy files for many of the pharmacies that
    24       Q -- during this time frame, correct?               24   you serviced, right?

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     1           MR. COLLINS: Objection. The question             1   litigation, though, didn't you?
     2   is vague. In multiple ways it's vague.                   2       A Yes.
     3           THE WITNESS: We have Level I visits              3        Q Okay. All right. I'm going to hand
     4   documented. I believe I sent that data in.               4   you -- marking as Exhibit 13, also Exhibit 1.1824.
     5   BY MR. BOGLE:                                            5           (Snider Exhibit No. 13 was marked
     6       Q As well as threshold request increases             6           for identification.)
     7   prior to you guys going to SharePoint, right?            7   BY MR. BOGLE:
     8       A Yes.                                               8        Q Okay. And you see this is a document;
     9       Q Okay. In addition, you've got any                  9   the first page entitled "Mace's Pharmacy"; do you
    10   documentation that was sent to you by the pharmacy      10   see that?
    11   to review the Level Is or threshold request             11       A Yes.
    12   increases during that time frame, right?                12        Q Okay. Thereafter, this is all provided
    13           MR. COLLINS: Objection. The question            13   to us as one document.
    14   is vague.                                               14           Does this look like your file from
    15           THE WITNESS: I don't know that.                 15   Mace's Pharmacy for 2008 to 2010?
    16   BY MR. BOGLE:                                           16           MR. COLLINS: Objection.
    17       Q Okay. Well, you keep -- you tried to              17           THE WITNESS: I don't know all of it.
    18   keep a complete file during that time frame,            18   BY MR. BOGLE:
    19   right?                                                  19        Q You don't -- excuse me?
    20           MR. COLLINS: Objection. The question            20       A I don't know all of it. I haven't seen
    21   is vague.                                               21   it yet.
    22           THE WITNESS: What's complete?                   22        Q Okay. Let's take a look at it.
    23   BY MR. BOGLE:                                           23       A I'd have to go through them.
    24       Q You tell me.                                      24        Q Okay. Let's take a look at it. First
                                                      Page 187                                                      Page 189
     1          MR. COLLINS: Wait a second.                       1   of all, if you go to page .11, do you see there's
     2   BY MR. BOGLE:                                            2   a pharmacy questionnaire there dated June 4, '07?
     3       Q You try to keep everything that a                  3   Do you see that?
     4   customer gives you to support any threshold              4      A Yes.
     5   increase that you would have approved, right?            5       Q Okay. And you see you actually signed
     6          MR. COLLINS: Same objection. The                  6   off on this questionnaire. You're the third
     7   question is vague as to time frame. Are you              7   signature down --
     8   talking about present possession of documents?           8            MR. COLLINS: Objection.
     9          THE WITNESS: E-mails or phone calls, I            9   BY MR. BOGLE:
    10   couldn't -- I couldn't tell you.                        10       Q -- right?
    11   BY MR. BOGLE:                                           11            MR. COLLINS: Objection to the term
    12       Q Okay. But we can agree that from the              12   "signed off."
    13   time period when the CSMP was implemented in 2008       13   BY MR. BOGLE:
    14   until you guys went to SharePoint, which I believe      14       Q Is that your signature, "Blaine Snider,
    15   was sometime in 2010, during that two or so year        15   DO"?
    16   window, there's hard copy files kept of due             16      A Yes.
    17   diligence related documents at New Castle for your      17       Q Okay. So this is obviously something
    18   customers, right?                                       18   you've seen before, right, this questionnaire for
    19          MR. COLLINS: Objection. Assumes facts            19   this pharmacy?
    20   not in evidence.                                        20      A Yes.
    21          THE WITNESS: I don't have those files            21       Q Okay. And if you go to the next
    22   anymore, no.                                            22   page .12, number 8 on the questionnaire asks:
    23   BY MR. BOGLE:                                           23   "How many prescriptions for the following products
    24       Q You turned them over for this                     24   does the pharmacy fill on a daily basis?"

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     1           And the information conveyed for                 1   in West Virginia, right, just so we're clear?
     2   hydrocodone was 15 and oxycodone .41, and then           2      A Yes.
     3   it's noted, "Less than half a person, OxyContin          3       Q Okay. And what ended up happening
     4   only."                                                   4   thereafter is another visit and another
     5           Do you see those two?                            5   questionnaire was completed in December 2007
     6       A Yes.                                               6   related to Mace's, right?
     7        Q Okay. And you recall that pretty                  7          MR. COLLINS: Objection. Lack of
     8   quickly after this questionnaire was completed in        8   foundation.
     9   June 2007, you specifically had concerns about           9   BY MR. BOGLE:
    10   whether Mace's was diverting opioids, correct?          10       Q To investigate your concerns here.
    11       A I don't remember.                                 11          MR. COLLINS: Objection. Lack of
    12        Q Okay. Well, let's take a like at                 12   foundation.
    13   page .49 in this document.                              13          THE WITNESS: I'm sorry, I'd have to
    14           I'm looking at the e-mail on the bottom         14   look through it.
    15   of this page that carries over to the next page.        15   BY MR. BOGLE:
    16   It's from you, October 9, 2007, to a Jim                16       Q Okay.
    17   Gavatorta, cc Brian Ferreira.                           17      A You want me to do that?
    18           Do you see that?                                18       Q We're going to go there. I'm just
    19       A Yes.                                              19   asking your recollection first.
    20        Q Entitled "Mace's Hydrocodone."                   20          But, actually, before we go there, this
    21       A Yes.                                              21   e-mail was sent October 9, 2007, and references
    22        Q Okay. And who is -- who is Jim                   22   purchases from July, August, and September of 2007
    23   Gavatorta? What did he do?                              23   for hydrocodone, right?
    24       A He was the executive salesperson.                 24          MR. COLLINS: Objection. Form.

                                                      Page 191                                                    Page 193
     1        Q Okay. And Brian Ferreira, I think you             1   BY MR. BOGLE:
     2   said was vice president/general manager?                 2       Q That's what you say.
     3       A Yes.                                               3      A Yeah, as part of the Level I to get a
     4        Q What sort of oversight did Brian                  4   three-month purchase report.
     5   Ferreira provide for you?                                5       Q Right. And so at this point in time, we
     6       A He was in charge of the distribution               6   can see that for July, August and September of
     7   center over all the operations, my boss, and Jim         7   2007, Mace's did end up actually filling more than
     8   reported to him directly.                                8   8,000 doses for hydrocodone, right, based on your
     9        Q Reported to him, you said?                        9   e-mail here?
    10       A Yeah.                                             10      A Okay. (Peruses document.)
    11        Q Okay. All right. Let's go to the next            11          I see August, September. I'm not sure
    12   page for the substance of the e-mail.                   12   of July, but --
    13           You say: "Jim, let me know re Mace's.           13       Q July says 10,764 doses.
    14   Could be a good candidate for a Level II,"              14      A Okay.
    15   question mark. "They, 868673, had 10,764 doses of       15       Q That's your first or your second --
    16   hydrocodone in July. In August it was 27,716,           16      A Oh, yeah, I see that now. Yep.
    17   possibly due to duplicate T&T orders. The account       17       Q Okay. So we can agree at least for
    18   still had 26,464 doses in September. Can you look       18   those three months in 2007, per your e-mail,
    19   into? This customer and Town & Country are the          19   you're saying they got more than 8,000 doses of
    20   only two retail accounts that have over 20,000          20   hydrocodone in those months, right?
    21   doses in any of the lifestyle drugs this month."        21      A I would say yes.
    22           Do you see that?                                22       Q Okay. Let's look at --
    23       A Yes.                                              23      A Now, I just want to make clear that
    24        Q Okay. And Mace's was a -- is a pharmacy          24   trade and travel order, or the T&T, that could be

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     1   a duplicate that they returned. You don't know          1       Q Okay.
     2   the credit. It's not in here either.                    2      A Yes, it looks like I sent it -- just
     3       Q But we do know that you don't raise that          3   from what the documents show, that we did a
     4   concern for September, right, in your e-mail?           4   Level I, a Level II, and then sent that up to the
     5   That was only as to August.                             5   DRA for review, and they took it from there.
     6       A Right. Right.                                     6       Q Okay. My question is, in 2007, did you
     7       Q Okay. So let's go to the -- the                   7   personally investigate what was causing such a
     8   pharmacy questionnaire from December 2007, which        8   significant increase over a four-month period of
     9   is page .60.                                            9   time in hydrocodone and oxycodone prescriptions?
    10          And you see here there's "Mace's                10          MR. COLLINS: Objection. Asked and
    11   Pharmacy, December 10, 2007, Pharmacy                  11   answered.
    12   Questionnaire." Do you see that?                       12          THE WITNESS: I don't remember.
    13       A Yes.                                             13   BY MR. BOGLE:
    14       Q And again, your signature appears on             14       Q Okay. And if you do the math, for
    15   this page, right?                                      15   example, on hydrocodone, at 475 prescriptions a
    16       A Yes.                                             16   day with an average of 30 pills a prescription, an
    17       Q If we go to the next page, page .61, it          17   average of 30 days, that's actually 427,500 doses
    18   says in number 8, which is the same question you       18   a month.
    19   asked a few months earlier of them: "How many          19          Do you want to do the math on that?
    20   prescriptions for the following products does the      20      A No, I don't.
    21   pharmacy fill on a daily basis?"                       21       Q Okay. So if you guys are giving them
    22          Do you see here they've said, 475               22   20,000 or so doses a month based on your prior
    23   prescriptions for hydrocodone; 103 for oxycodone?      23   e-mail, how do you explain how they're prescribing
    24          Right?                                          24   this much?
                                                    Page 195                                                  Page 197
     1      A Yes.                                               1       A I would have to go through the due
     2       Q That's what the form indicates.                   2   diligence that was done here.
     3      A Yes.                                               3       Q Okay.
     4       Q Which is, you would agree with me, a              4       A As you can see, there's quite a bit of
     5   huge increase from what they told you four months       5   documentation on this that we did for that. I
     6   earlier in June 2007, right?                            6   don't recall everything, but I'm sure --
     7           MR. COLLINS: Objection to the form.             7       Q Wouldn't that raise a red flag --
     8           THE WITNESS: I wouldn't agree that it's         8           MR. COLLINS: I'm sorry.
     9   a huge increase unless I knew what kind of              9   BY MR. BOGLE:
    10   business they gained.                                  10       Q -- that they're using other
    11   BY MR. BOGLE:                                          11   distributors?
    12       Q Okay. But we can agree that in                   12           MR. COLLINS: I'm sorry. Please let the
    13   June 2007, on page .12, they tell you 15               13   witness finish his answer before you cut him off.
    14   prescriptions of hydrocodone a day and .41 for         14   I've let you do that a couple of times. I'm going
    15   oxycodone. Right?                                      15   to insist the witness answer.
    16      A Yes, as I recall.                                 16           Finish your answer.
    17       Q And October the same year, that number           17   BY MR. BOGLE:
    18   has risen to 475 a day for hydrocodone and 103 a       18       Q Go ahead.
    19   day for oxycodone, right? We can agree those are       19       A I sent this up to the DRA for review.
    20   the numbers.                                           20   You can tell that. So I don't know what their
    21      A Yes.                                              21   result was. I don't know if we cut them off or --
    22       Q All right. Did you investigate what was          22   or what right now. I would have to go through
    23   causing that increase?                                 23   this.
    24      A I don't remember.                                 24       Q Would that math indicate to you a

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     1   potential red flag that they're using more           1   there's a total population there noted to be 2,966
     2   distributors than just McKesson for hydrocodone      2   people in 2010?
     3   and oxycodone?                                       3           MR. COLLINS: Objection. Lack of
     4            MR. COLLINS: Objection. Form.               4   foundation. You haven't established this witness
     5            THE WITNESS: The increase would cause       5   has any knowledge of this.
     6   concern that I would push it up to the DRA.          6           MR. BOGLE: I think that's the problem.
     7   BY MR. BOGLE:                                        7   BY MR. BOGLE:
     8        Q Okay. Now, Mace's -- let's take a look        8       Q Do you not -- did you not know that?
     9   at -- find the spot here -- the threshold change     9      A I did not --
    10   request that was submitted December 16th, 2008,     10           MR. COLLINS: Object --
    11   which is .63 in this document.                      11           THE WITNESS: Sorry.
    12            MR. COLLINS: Any time you want to          12           MR. COLLINS: I'm sorry. Please let me
    13   review the document, go ahead.                      13   object.
    14            THE WITNESS: Okay.                         14           Argumentative. Object to the theatrics.
    15   BY MR. BOGLE:                                       15           THE WITNESS: I did not know there were
    16        Q Okay. You see here this is a threshold       16   2,966 people in the Philippi -- is that the whole
    17   change form for Mace's Pharmacy in -- hope I'm      17   area or is that just the town?
    18   pronouncing this correctly -- Philippi, West        18   BY MR. BOGLE:
    19   Virginia.                                           19       Q It's the city.
    20            Do you see that?                           20      A Okay.
    21       A Yes.                                          21       Q You didn't know that.
    22        Q Do you know about how many people live       22      A No.
    23   in Philippi, West Virginia?                         23       Q Okay. Let's go back and look at the
    24       A I don't.                                      24   threshold change form request from December 16,
                                                 Page 199                                                  Page 201
     1       Q Is that something you guys would look at       1   '08, for Mace's.
     2   back in 2008 when evaluating a request like this?    2           Do you see here they're requesting to
     3       A I can't --                                     3   increase their amount 20 percent for hydrocodone,
     4          MR. COLLINS: Object -- objection to the       4   and their current threshold is set at 34,000 doses
     5   term we -- "you would look at."                      5   a month? Do you see that?
     6   BY MR. BOGLE:                                        6       A Yes.
     7       Q Would you?                                     7       Q Okay. And the reason for change that's
     8       A No, I don't know.                              8   given here, it says: "Threshold is set too low
     9       Q Okay.                                          9   for this customer. Their monthly purchases are
    10       A I can't speculate on that.                    10   400,000 a month. We need to increase the
    11       Q Okay. So if, for example, the city of         11   hydrocodone family amount by 6800 units."
    12   Philippi, West Virginia, had fewer than 3,000       12           Do you see that?
    13   people in it around this time frame, would that     13       A Yes.
    14   raise concerns to you about how much hydrocodone    14       Q There's no other reason given here for
    15   you're giving this company -- this pharmacy?        15   this increase, is there?
    16          MR. COLLINS: Objection. Assumes facts        16       A No.
    17   not in evidence, lack of foundation.                17       Q Okay. And you, in fact, signed off on
    18          MR. BOGLE: Let's put it into evidence.       18   this increase, right, under "Approved by DCM
    19   Exhibit 14, 1.1892.                                 19   Blaine Snider, 12/16/08." That's your signature,
    20          (Snider Exhibit No. 14 was marked            20   right?
    21          for identification.)                         21           MR. COLLINS: Objection. The question
    22   BY MR. BOGLE:                                       22   is compound. I object to the term "signed off."
    23       Q Here is the Census Bureau data for            23   We've gone over and over this again.
    24   Philippi, West Virginia, from 2010. Do you see      24   Mischaracterization of his prior testimony.

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     1           MR. BOGLE: Yeah, I'm sorry. I'll --              1   prescriptions being written, you guys -- you and
     2   I'll withdraw the question.                              2   Mr. Oriente actually approve an additional
     3   BY MR. BOGLE:                                            3   threshold increase for hydrocodone; is that right?
     4        Q Do you see where it says "Approved by"            4          MR. COLLINS: Objection.
     5   on that form?                                            5   Mischaracterization, assumes facts not in
     6        A Yes.                                              6   evidence.
     7        Q Okay. Who's that below that that's                7          You're testifying to that. He has no --
     8   noted?                                                   8   he said he has no knowledge of this, and he needs
     9        A Michael Oriente. He's the director of             9   to look at the documents. So --
    10   Regulatory Affairs.                                     10   BY MR. BOGLE:
    11        Q You skipped your signature, didn't you?          11       Q Take a look at it. You see your
    12        A Oh, I thought you meant who was below my         12   signature?
    13   name. I apologize.                                      13          MR. COLLINS: You don't have all the
    14        Q Your name is there right below "Approved         14   documents here, he just pointed out.
    15   by," isn't it?                                          15   BY MR. BOGLE:
    16        A Yep.                                             16       Q This is the whole file.
    17        Q Okay. That's your signature, true?               17       A I keep trying to tell you my signature
    18        A To go up to the DRAs, that was the               18   represents that it went to Michael Oriente, who
    19   process.                                                19   was the director of Regulatory Affairs, who could
    20        Q That's your signature, true?                     20   look at all the data, make a judgment. Also he
    21           MR. COLLINS: Please let the witness             21   could call the customer or he could check with the
    22   finish his answer.                                      22   federal regs or the State Board of Pharmacy.
    23           THE WITNESS: It's true it was to go up          23       Q But I believe you told me earlier you
    24   to the DRA. Also there's attachments in here.           24   wouldn't put your signature on something approving

                                                      Page 203                                                   Page 205
     1   You don't know what that was.                            1   a threshold increase request if you thought it was
     2   BY MR. BOGLE:                                            2   inappropriate, right?
     3       Q Oh, I looked at them. I've looked at               3       A If I knew it was inappropriate, I
     4   them.                                                    4   wouldn't put it on there.
     5       A Okay.                                              5        Q Right. Let's go to page .66 on this
     6       Q So what's noted here is that you                   6   document.
     7   approved these to go -- as you say, to go to             7           See this is another threshold change
     8   Mr. Oriente, right?                                      8   form from January 28, '09, for Mace's, and this
     9       A Yes, the --                                        9   pertains to their thresholds for oxycodone, right?
    10       Q You didn't raise any concerns that this           10       A Yes.
    11   wasn't appropriate, did you?                            11        Q Okay. And you see the current threshold
    12          MR. COLLINS: Objection. Argumentative.           12   is noted to be 13,000 at this point in time,
    13          THE WITNESS: I'm sure I talked to him.           13   right?
    14   BY MR. BOGLE:                                           14       A I'm sorry. Yes.
    15       Q Did -- ultimately you put your signature          15        Q Okay. And there's an increase approved
    16   on this line under "Approved by," right?                16   here to increase their oxycodone threshold by
    17       A Yes.                                              17   20 percent, right?
    18       Q Not disagrees with. "Approved by,"                18       A I'm sorry, I'm not seeing the 20.
    19   right?                                                  19        Q See where it says "Increase amount,
    20       A Yes.                                              20   20 percent"?
    21       Q Okay. So after these concerns are                 21       A Oh, yes.
    22   raised by you in 2007, and the subsequent               22        Q Okay. And then for reason for change,
    23   questionnaire was completed in December 2007 that       23   it says: "Threshold is set too low for this
    24   shows a huge spike in hydrocodone and oxycodone         24   customer. Their monthly purchases are 400,000 a

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     1   month. We need to increase the oxycodone family      1       A Okay.
     2   amount by 2500 units."                               2        Q This is noted to be a permanent change,
     3           Right, that's the reason given on this       3   right?
     4   form?                                                4       A Yes.
     5      A Yes.                                            5        Q Increasing their threshold from 17,600
     6       Q Okay. And then there's a different             6   doses a month by 10 percent, right?
     7   signature on this. It says "BPM," and then           7       A Yes.
     8   there's some -- a signature after that. Do you       8        Q Okay. Submitted by you, right? That's
     9   know who that is?                                    9   your signature. Right?
    10      A Yes. Dale Nusser.                              10       A Yes.
    11       Q I'm sorry?                                    11        Q Okay. And also John Kuczynski of sales
    12      A Dale Nusser, my -- one of my managers.         12   and approved by Michael Oriente, right?
    13       Q Okay. So Dale Nusser worked underneath        13       A Yes.
    14   you at your direction, right?                       14        Q Okay. Do you see any evidence from
    15      A Yes.                                           15   around this time frame in December 2009 in this
    16       Q Okay. And this indicates it was also          16   file that you actually got any prescription data
    17   approved by Michael Oriente in Regulatory, right?   17   to support this?
    18      A Oh, yes.                                       18       A I don't know. I'd have to go through
    19       Q Okay. All right. Let's go to page .80.        19   it.
    20           You see here this is another threshold      20        Q Yeah.
    21   change form, December 30, 2009, for Mace's. Do      21           MR. BOGLE: Let's go off the record.
    22   you see that?                                       22   You can go through it.
    23      A Yes.                                           23           MR. COLLINS: No, no, we're going to
    24       Q Okay. And at this point 9143 is the           24   stay on the record.
                                                 Page 207                                                  Page 209
     1   code. That's for oxycodone, correct?                 1          MR. BOGLE: We don't need to stay on the
     2       A I don't remember. I'm sorry.                   2   record. If he wants time to look at it, he can,
     3        Q Okay. It says -- well, first of all,          3   but don't stay on the record. There's no such
     4   you see that under "Reason for requested change,"    4   requirement.
     5   it says: "Tom Dadisman, pharmacist, has requested    5          MR. COLLINS: Well, listen, to go off
     6   an increase of 10 percent on oxycodone due to        6   the record, you need an agreement. So if you want
     7   increased number of prescriptions received per       7   to have him start leafing through documents, we're
     8   category from local doctors who are changing         8   staying on the record.
     9   patients from morphine-based items to oxycodone-     9          MR. BOGLE: Okay. That's fine. We'll
    10   based items."                                       10   do that.
    11           Do you see that?                            11   BY MR. BOGLE:
    12       A Yes.                                          12       Q You can't point me to anything that
    13        Q Okay. So this would indicate that this       13   shows that you requested any prescription data,
    14   is related to oxycodone based on the --             14   can you?
    15       A Yes.                                          15          MR. COLLINS: He just asked to go
    16        Q -- request, right? Okay.                     16   through documents. You want him to go through
    17           And that's the only information             17   documents --
    18   supporting this request that's located here,        18          MR. BOGLE: He's not going to blow
    19   right?                                              19   through hours of my time looking at something that
    20           MR. COLLINS: Objection. Form.               20   he should already be familiar with.
    21           THE WITNESS: That I can see, yes.           21          MR. COLLINS: Well, no, he -- this isn't
    22   BY MR. BOGLE:                                       22   a 30(b)(6) deposition.
    23        Q Okay. And if you see anything else,          23          MR. BOGLE: Doesn't have to be.
    24   please let me know.                                 24          MR. COLLINS: This is in his personal

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     1   capacity. So, listen, if you want him to look         1   page, that request was approved by Dale Nusser,
     2   through documents, he will do it for you, but it's    2   who I think you indicated works for you, and
     3   on your time.                                         3   Michael Oriente. Do you see that?
     4          Take as much time as you want.                 4      A I see it was approved by Michael
     5          THE WITNESS: (Peruses document.)               5   Oriente, the director of Regulatory Affairs, and
     6   BY MR. BOGLE:                                         6   the change was made.
     7       Q We're in December 2009.                         7       Q Do you see it says "Dale Nusser,
     8      A (Peruses document.)                              8   approved 10/28/2010" right above that?
     9          On the questionnaire on page .13, Dale         9      A By approved, Dale was one of my
    10   reviewed the scripts.                                10   managers. He sent it up to the director of
    11       Q .13?                                           11   Regulatory Affairs so he could run the scripts and
    12      A Yes.                                            12   the numbers.
    13       Q So that's from June 2007, right?               13       Q So he sent it up there 10/28/2010 at
    14      A Yes.                                            14   3:19 p.m. Three minutes later it was approved by
    15       Q Okay. We're talking about December             15   Mr. Oriente. That's what this indicates?
    16   2009.                                                16           MR. COLLINS: Objection. Lack of
    17      A Oh.                                             17   foundation. Lack of witness's knowledge.
    18       Q And a specific increase that they're           18           THE WITNESS: I -- it may indicate phone
    19   saying -- in request in December 2009.               19   calls, conversations and data, especially the
    20      A (Peruses document.)                             20   script data.
    21       Q All right. I've got too many documents         21   BY MR. BOGLE:
    22   to go through. I'll strike the question and keep     22       Q What this document says is: "DC
    23   going.                                               23   approval date, Dale Nusser, 10/28/2010, 3:19,"
    24          Let's look at page .84.                       24   right? That's what the document says.
                                                  Page 211                                                  Page 213
     1          You see there's another threshold change       1      A     That's what it says.
     2   request. This looks like it's done through            2           MR. COLLINS: Objection.
     3   SharePoint, 10/28/2010 for oxycodone. Do you see      3   BY MR. BOGLE:
     4   that?                                                 4       Q Okay. And it says approval date for
     5      A Yeah, I'm not familiar with these. I             5   Mr. Oriente, 10/28/2010, 3:22 p.m. That's what
     6   don't get these copies like this. This is for the     6   the document says, right?
     7   director of Regulatory Affairs. It says               7       A Yes. It's through SharePoint, so it's
     8   "Pharmacy Regulatory Affairs."                        8   an automated system.
     9       Q You guys keep these files in your               9       Q Right. But it's an automated system
    10   distribution center, though, don't you?              10   that can keep track of time, can't it?
    11      A I do not.                                       11       A Yes. But it doesn't keep track of the
    12       Q You don't?                                     12   time that they did the due diligence.
    13      A I do not.                                       13       Q Right. Well, it shows that three
    14       Q Okay. That's where it's been                   14   minutes after this was sent to Mr. Oriente --
    15   represented this came from, but okay.                15       A It doesn't show --
    16      A It's -- it's on SharePoint.                     16       Q -- he approved it.
    17       Q Okay. So supporting information, it            17       A It doesn't show the time between what
    18   says: "Competitor down the street does not order     18   Dale did and what Michael did on -- look at the
    19   controls, which elevates their business."            19   scripts or whatever, it does not show that.
    20          And the request is for a permanent            20       Q What it show is it was sent to
    21   increase due to business growth of 600 doses for     21   Mr. Oriente, and three minutes later he approved
    22   oxycodone for Mace's. Do you see that?               22   it. That's what it shows.
    23      A Yes.                                            23           MR. COLLINS: Objection.
    24       Q Okay. And it shows that, on the next           24   Mischaracterization.

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     1          MR. BOGLE: It's what the document says.       1       Q For this increase?
     2   The document speaks for itself.                      2      A That's important. Yes.
     3          MR. COLLINS: Objection.                       3       Q That their competitor doesn't sell
     4   Mischaracterization --                               4   controls, right?
     5          MR. BOGLE: You can put whatever you           5      A Yes.
     6   want on top if it, that's what the document says.    6       Q Okay. But it says: "Business growth
     7          THE WITNESS: I just want to put on the        7   should be supported by corresponding sales
     8   record that you don't know the due diligence         8   increase." Right? That's what it says.
     9   there.                                               9      A It says that also, yes.
    10   BY MR. BOGLE:                                       10       Q All right. So that should be somewhere
    11       Q Right. But the due diligence that --          11   that we can locate, right, that such documentation
    12   would be in this file, wouldn't it?                 12   exists to support that statement, right?
    13          MR. COLLINS: Objection. The witness          13           MR. COLLINS: Objection. Assumes facts
    14   has testified --                                    14   not in evidence. Assumes it's reflected in
    15   BY MR. BOGLE:                                       15   documents.
    16       Q And our jury can look at that and decide      16   BY MR. BOGLE:
    17   for themselves, right?                              17       Q True?
    18      A Not necessarily. Michael --                    18      A I don't know that.
    19       Q Okay.                                         19       Q But we know it should be supported by a
    20      A Michael could have done that on the            20   corresponding sales increase, right?
    21   internet, had the scripts. It may not -- it         21      A I can't testify to what I don't know.
    22   wouldn't be in my file.                             22       Q Okay. But you do know, as we talked
    23       Q But you don't have any idea whether he        23   about before, that when a request is made for a
    24   actually did that, do you? You're just saying he    24   TCR increase based on business growth, you have to

                                                 Page 215                                                    Page 217
     1   may have.                                            1   have supporting documentation for that, right?
     2      A I don't know.                                   2       A The director of Regulatory Affairs had
     3       Q Right. What we do know is this was             3   the supporting documentation, and the program
     4   approved, right, 10/28/2010, increasing the          4   changed 2007 on.
     5   oxycodone threshold, right?                          5           MR. BOGLE: Move to strike as
     6      A Yes. It says, "Approved, Michael."              6   nonresponsive.
     7       Q And the reason for TCR, as noted on            7   BY MR. BOGLE:
     8   page .84, is noted as business growth, right?        8        Q My question simply was, under the CSMP,
     9      A It says: "Competitor down the street            9   you must have supporting documentation to support
    10   does not order controls, which elevates their       10   a threshold increase based on business growth,
    11   business." And they -- they were one of our         11   true?
    12   largest customers.                                  12       A It depends on the era. 2000 to 2006, I
    13       Q Stay with me. "Reason for TCR" --             13   did not have supporting document.
    14      A Oh, sorry.                                     14        Q Okay. What about 10/28/2010, you should
    15       Q -- it says "Permanent business growth,"       15   have documentation to support that?
    16   right?                                              16       A I don't necessarily have it.
    17      A I was going --                                 17        Q Okay. That should be in the McKesson
    18           MR. COLLINS: It says more than that.        18   file, shouldn't it?
    19   I'm sorry.                                          19       A I don't know.
    20   BY MR. BOGLE:                                       20        Q Okay. But you do know the CSMP requires
    21       Q It should be supported by corresponding       21   that, right, documentation?
    22   sales increase.                                     22       A Not on my file, no.
    23      A You aren't telling the whole story.            23        Q That's not my question, sir.
    24   Supporting information is there too.                24           The CSMP requires documentation

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     1   supporting any change made to a threshold based on    1   documentation if the CSMP was followed, right?
     2   business growth, right?                               2   I'm not saying in your files or whose files. It
     3          MR. COLLINS: Objection. Assumes facts          3   should be in somebody's files.
     4   not in evidence.                                      4       A I don't know that.
     5   BY MR. BOGLE:                                         5       Q You don't know.
     6       Q We just looked at this a few minutes            6       A I can't testify to what's in their
     7   ago.                                                  7   files.
     8          MR. COLLINS: Objection. Show it to him         8       Q I didn't ask -- I didn't say "is it." I
     9   again.                                                9   said "should it be."
    10   BY MR. BOGLE:                                        10       A I can't --
    11       Q You don't recall that?                         11          MR. COLLINS: Objection. Calls for a
    12      A I'm sorry. I don't -- you'll have to            12   legal conclusion.
    13   repeat the question.                                 13          THE WITNESS: I can't testify. It was
    14       Q My question was, to support a threshold        14   electronic.
    15   change based on business growth, supporting          15   BY MR. BOGLE:
    16   documentation is required under the CSMP, right?     16       Q Okay. Was there a policy at McKesson in
    17          MR. COLLINS: Objection. Assumes --            17   2010 to destroy evidence of due diligence review?
    18   BY MR. BOGLE:                                        18          MR. COLLINS: Objection. Argumentative.
    19       Q As of 10/2010?                                 19   Object to the theatrics.
    20          MR. COLLINS: Objection. Assumes facts         20   BY MR. BOGLE:
    21   not in evidence.                                     21       Q There's a question.
    22          THE WITNESS: I don't know that that           22       A Can you repeat the question?
    23   wasn't provided.                                     23       Q Was there a policy written or unwritten
    24   BY MR. BOGLE:                                        24   at McKesson in October 2010 to destroy evidence of

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     1       Q Not my question, sir. That was                  1   due diligence review?
     2   required, wasn't it?                                  2          MR. COLLINS: Object to the theatrics
     3          MR. COLLINS: Objection. Form.                  3   and the argument.
     4   BY MR. BOGLE:                                         4          THE WITNESS: No.
     5       Q Yes or no?                                      5   BY MR. BOGLE:
     6          MR. COLLINS: Objection.                        6       Q Okay. Target, that's another -- that's
     7   BY MR. BOGLE:                                         7   another large customer for McKesson over time,
     8       Q Or you don't know?                              8   right?
     9          MR. COLLINS: Objection to form.                9          MR. COLLINS: Objection. Form, vague.
    10          THE WITNESS: I don't know.                    10          THE WITNESS: They aren't our customer
    11   BY MR. BOGLE:                                        11   anymore.
    12       Q You don't know if that was required?           12   BY MR. BOGLE:
    13      A It was required for Michael maybe, but          13       Q Okay. Back in 2008, they were, right?
    14   not for me.                                          14      A I would -- I would think, yes.
    15       Q Okay. So you -- so for Dale Nusser to          15       Q Okay. Let's take a look at Exhibit 15,
    16   sign off on his portion, he didn't need any          16   which is 1.1782.
    17   documentation to support this.                       17          (Snider Exhibit No. 15 was marked
    18      A Correct.                                        18          for identification.)
    19       Q Okay. But Michael, you understand,             19       Q All right. This is another file that
    20   Oriente would?                                       20   was produced to us. You see it's pertaining to
    21      A Yes.                                            21   Target No. 2231. Do you see that?
    22       Q Okay. So in the McKesson files that            22      A Yes.
    23   have been produced to us pertaining to this          23       Q Okay. Let's start back at page .7.
    24   increase, we should find some supporting             24   There's an e-mail chain there.

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     1           And do you see the e-mail at the bottom         1      A Yes, it was. Sometimes the vendors --
     2   of that page from Dave Gustin to Michael Bishop         2   like I just got a notice today, the vendors close
     3   dated September 16, 2008, titled "Could you do me       3   during the holidays and product is unavailable.
     4   a favor?" Do you see that?                              4   And my customers know that too, hospitals, nursing
     5       A Yes.                                              5   homes, pharmacies. So at that time they want to
     6       Q Okay. It says there: "I just need a               6   make sure they get it before the pharmacy closes.
     7   TCR form you signed and dated the 30th. I will          7       Q And that's a justification to increase
     8   use it for the 30 percent increases I made for the      8   30 percent permanently?
     9   RNAs that day after you e-mailed me all those           9      A I believe so. It looks like it was
    10   reports."                                              10   approved.
    11           Do you see that?                               11       Q Okay. So each time that a big holiday
    12       A Yes.                                             12   would come, thereafter you get 30 more percent
    13       Q And then Mr. Bishop responds: "This is           13   increase permanently?
    14   the Thanksgiving increases," question mark.            14           MR. COLLINS: Objection.
    15           Do you see that?                               15   BY MR. BOGLE:
    16       A Yes.                                             16       Q Is that what you're saying?
    17       Q Okay. And if you follow the e-mail               17           MR. COLLINS: Objection.
    18   chain to the next page, Mr. Gustin says: "Yep,         18   Mischaracterization.
    19   11/28."                                                19           THE WITNESS: I did not say that.
    20           Do you see that?                               20   BY MR. BOGLE:
    21       A Yes.                                             21       Q Okay. Well, you're saying the 30
    22       Q Okay. Then if you go to page .5, it's            22   percent increase here was justified by the fact
    23   another e-mail from Dave Gustin to several             23   that it was a Thanksgiving holiday and that could
    24   individuals, December 17, 2008. It says: "All:         24   justify a permanent increase, right?
                                                     Page 223                                                 Page 225
     1   On November 28, I was sent requests by Michael for      1           MR. COLLINS: Objection.
     2   over 200 thresholds to get 30 percent increases         2   Mischaracterization.
     3   for various national accounts. The attached TCR         3           THE WITNESS: I don't know the due
     4   form covers all RNA increases made that date.           4   diligence that Dave did, but he was the national
     5   Please sign and file."                                  5   acts DRA and he justified it.
     6          Do you see that?                                 6   BY MR. BOGLE:
     7      A Yes.                                               7        Q Okay. Well, the reason for change given
     8       Q Okay. And if you go to page .4, it's a            8   here is what we just read, increase due to
     9   threshold change form from 11/28/08, the same day.      9   Thanksgiving holiday, 30 percent increase, right?
    10   Do you see that? It's referenced earlier by            10       A That's what -- did I say that?
    11   Mr. Gustin.                                            11        Q That's what's stated here for reason for
    12      A Yes.                                              12   change, right? It's what the form says.
    13       Q And it's noted to be for various                 13       A Who -- oh, the form, yes.
    14   controlled substances, right?                          14        Q Right.
    15      A Yes.                                              15       A Okay.
    16       Q And a 30 percent increase. Do you see            16        Q And under "Approved by," whose signature
    17   that?                                                  17   is that?
    18      A Yes.                                              18       A Blaine Snider. "B. Snider."
    19       Q What's the reason for the change given           19        Q That's you, right?
    20   there on the form?                                     20       A Yep.
    21      A Thanksgiving holiday.                             21        Q And if we go to page .2, this is another
    22       Q Okay. Do -- was it a McKesson policy in          22   threshold change form from 11/28/08 for the Target
    23   2008 to give permanent threshold increases based       23   store in Triadelphia, West Virginia. Do you see
    24   on holidays?                                           24   that?

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                                                      Page 226                                                       Page 228
     1       A Yes.                                               1           THE WITNESS: I don't know that.
     2       Q Okay. And this is for a 30 percent                 2   BY MR. BOGLE:
     3   increase to their morphine thresholds, and under         3        Q You don't know if there's any reason
     4   "Reason for change," you would agree with me there       4   listed?
     5   is nothing listed there, right?                          5       A Correct.
     6       A Yes.                                               6        Q Okay. Can you see the form?
     7       Q Okay. And again, under "Approved by,"              7       A Yes.
     8   that's your signature, isn't it?                         8        Q Okay. Do you see any indication on this
     9       A That I sent it to Regulatory, if I did.            9   form that you disapproved this request with zero
    10       Q That's your signature, isn't it?                  10   information provided for a reason?
    11       A Yes.                                              11           MR. COLLINS: Object to the terminology,
    12       Q Okay. Did you raise any questions as to           12   "disapproved" and "approved."
    13   why there was no reason given to you here?              13           THE WITNESS: I dispute that there
    14       A I don't even know that it was -- the              14   was -- wasn't any evidence of that.
    15   threshold was increased.                                15   BY MR. BOGLE:
    16       Q Well, it says "Approved by."                      16        Q Well, we've got the file right here.
    17           MR. COLLINS: Objection. We've been              17   This one -- this one's shorter, so this is eight
    18   over this --                                            18   pages. I'd like you to show me where in this file
    19   BY MR. BOGLE:                                           19   there is specific documentary evidence showing why
    20       Q Right?                                            20   a Target in West Virginia needed a 30 percent
    21           MR. COLLINS: -- a dozen times.                  21   increase on this date.
    22   Objection. Mischaracterization.                         22       A Okay. On page .6.
    23   BY MR. BOGLE:                                           23        Q .6. Okay.
    24       Q Right?                                            24       A There was an e-mail on December 17th

                                                    Page 227                                                       Page 229
     1       A That does not mean I approved it. I                1   about a -- with an attachment threshold change
     2   cannot send a -- make a threshold change. I can't        2   form, that could have had the reason on it. I
     3   do it.                                                   3   don't know. It's -- it's not here.
     4        Q But you didn't raise any concerns at              4       Q Okay. This is what was produced to us.
     5   this point in time about forwarding this on to --        5   Can you point to anything that was produced to us
     6       A There's nothing on this paper --                   6   in this file that indicates a reason for this
     7        Q -- approve it, correct?                           7   threshold change increase?
     8       A There's nothing on this paper that says            8           MR. COLLINS: Objection. Asked and
     9   he approved it or raised any concerns.                   9   answered.
    10        Q There's nothing on this paper that               10           THE WITNESS: Not to my knowledge.
    11   indicates that you raised any concerns or in this       11   BY MR. BOGLE:
    12   file that indicates that you raised any concerns        12       Q Okay. Best Care Pharmacy, are you
    13   about this threshold change form, does it?              13   familiar with them?
    14       A I don't know if it even was complied              14       A I -- I do know them, yes.
    15   with.                                                   15       Q It's another one of New Castle's former
    16           MR. BOGLE: Okay. Not my question, sir.          16   customers in West Virginia, right?
    17   Move to strike as nonresponsive.                        17       A Yes.
    18   BY MR. BOGLE:                                           18       Q Okay. And actually, Best Care actually
    19        Q There's nothing in this file that                19   operated multiple pharmacies in West Virginia,
    20   indicates you raised concerns about the lack of         20   didn't they?
    21   reason for threshold increase in this form, is          21       A As I recall.
    22   there?                                                  22           (Snider Exhibit No. 16 was marked
    23           MR. COLLINS: Objection. Foundation,             23           for identification.)
    24   form.                                                   24   BY MR. BOGLE:

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     1        Q Okay. I'm going to hand you what is             1      A Yes.
     2   marked as 1.1812, Exhibit 16.                          2       Q That would surprise you?
     3           You see here this is another document,         3      A Yes.
     4   file folder document with the name "Best Care" on      4          (Snider Exhibit No. 17 was marked
     5   the front.                                             5          for identification.)
     6           Do you see that?                               6   BY MR. BOGLE:
     7       A Yes.                                             7       Q I hand you Exhibit 1.1909 marked as
     8        Q Okay. And if we go to page .10, do you          8   Exhibit 17.
     9   see this is your signature related to an approval      9          It says: "Population data for Weston,
    10   that a questionnaire has been completed and           10   West Virginia," indicated to have a population of
    11   affidavit signed for this customer, right?            11   4,085 people. Do you see that?
    12       A It's a -- I testified that it's a               12          MR. COLLINS: Objection. Lack of
    13   Level I observation form.                             13   foundation, lack of authentication, lack of
    14        Q No, .10.                                       14   knowledge.
    15       A I testified that that's a Level I               15          THE WITNESS: What year is this, please?
    16   observation form.                                     16   BY MR. BOGLE:
    17        Q We may be on different pages.                  17       Q This is the current data.
    18           Do you see what's pulled up here on the       18          MR. COLLINS: Yeah, I mean -- it's the
    19   screen?                                               19   internet, it's accurate.
    20       A Yes.                                            20          THE WITNESS: What's that?
    21        Q Okay. That's your signature related to         21          MR. BOGLE: Well, I'm sure you guys are
    22   Best Care Pharmacy, you are saying for, what, a       22   going to produce census data that shows otherwise,
    23   Level I observation?                                  23   so we'll just wait to see that.
    24       A Yes. It says "CSMP Observation Level I          24          MR. COLLINS: I'll withdraw my
                                                    Page 231                                                Page 233
     1   Documentation Form."                                   1   objection.
     2        Q On this page?                                   2          MR. BOGLE: I would hope so.
     3           MR. COLLINS: Page 9.                           3          MR. COLLINS: It's a lack of foundation,
     4           THE WITNESS: Oh, I'm sorry. It's a --          4   lack of knowledge.
     5   it's a continuation of that.                           5   BY MR. BOGLE:
     6   BY MR. BOGLE:                                          6       Q 4,085 people, right? That's what it
     7        Q Okay. Well, let's look at the pharmacy          7   says.
     8   questionnaire that follows thereafter.                 8       A That's what it says right here.
     9       A Okay.                                            9       Q Right. That's wrong; is that your
    10        Q You see this customer is noted to be a         10   testimony?
    11   new customer as of October 1, 2009, right?            11          MR. COLLINS: Objection. Lack of
    12       A Yes.                                            12   foundation. You haven't established the witness
    13        Q And it's for Best Care Pharmacy in             13   has any knowledge about this issue.
    14   Weston, West Virginia. Do you see that?               14          MR. BOGLE: Well, he said he thought it
    15       A Yes.                                            15   was wrong.
    16        Q Okay. Do you know about how many people        16          THE WITNESS: I said I was surprised,
    17   lift in Weston, West Virginia?                        17   and I am. I'm sorry.
    18       A A lot more than Philippi.                       18   BY MR. BOGLE:
    19        Q Think so?                                      19       Q You're surprised?
    20       A Yes.                                            20       A Yes.
    21        Q Okay. Would it surprise you that it's          21       Q Okay. All right. Let's go back to
    22   fewer than 5,000 people?                              22   Exhibit 1.1812, back on .11. See the pharmacist's
    23       A In that area?                                   23   name there is a Matthew Genin. Do you see that?
    24        Q In Weston, West Virginia.                      24       A Yes.

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                                                 Page 234                                                 Page 236
     1        Q Okay. And further on in this form,            1          MR. COLLINS: Objection. Asked and
     2   page .14, under "Purchasing Information," it's       2   answered.
     3   asked what percentage of their purchases are         3          THE WITNESS: It depends on their
     4   controlled substances, and they indicate 40          4   business.
     5   percent. Right?                                      5   BY MR. BOGLE:
     6           MR. COLLINS: Sorry. Where are you?           6       Q Okay. That's -- that's well above the
     7   BY MR. BOGLE:                                        7   norm, isn't it?
     8        Q Page .14 under Section IV(c).                 8      A It's above the average, yes.
     9           Right?                                       9       Q Yeah. If you go to the next page,
    10       A Yes.                                          10   page .15, they provide more detail on their
    11        Q And this was, if you look at the next        11   controlled substance purchases. They indicate
    12   page, as of October 2009. Do you see that's when    12   6,199 doses dispensed per month for hydrocodone.
    13   all this form was signed?                           13   Do you see that?
    14       A Yes.                                          14      A Yes.
    15        Q Okay. That in and of itself would be         15       Q And 4,905 doses of oxycodone per month
    16   a red flag for potential diversion, right, that     16   is what they are telling you, right, as of this
    17   40 percent of their purchases are controlled        17   time?
    18   substances?                                         18      A Yes.
    19           MR. COLLINS: Objection. Form.               19       Q Okay. And there's a request for
    20           THE WITNESS: I would have sent this up      20   anything over 5,000 to provide a reason, which is
    21   to the DRA to make sure they vet it out.            21   indicated as -- they underlined "Frequent
    22   BY MR. BOGLE:                                       22   referrals from pain clinics," et cetera. Do you
    23        Q I'm asking your opinion, though, sir.        23   see that?
    24   40 percent, is that a red flag to you?              24      A Yes.
                                                 Page 235                                                 Page 237
     1       A And my opinion is I definitely would           1       Q Okay. Again, that's a potential red
     2   send this up to the DRA so they can vet it out,      2   flag if they're getting frequent referrals from
     3   yes.                                                 3   pain clinics, right? We talked about that
     4        Q Because that's a concern, right, 40           4   earlier.
     5   percent?                                             5           MR. COLLINS: Objection. Form,
     6       A I would send it to the DRA so they could       6   compound.
     7   vet it out for sure.                                 7           THE WITNESS: That one I would do the
     8        Q Because that's a concern. 40 percent of       8   due diligence on for sure.
     9   their purchases being controlled substances, that    9   BY MR. BOGLE:
    10   is a concern, a potential red flag, right?          10       Q Right.
    11       A At the time I don't remember, but I know      11      A And send it up to the director of
    12   I sent it up to the DRA for vetting out.            12   Regulatory Affairs, yes.
    13        Q Okay. My question was simply whether         13       Q And you would hope that they would vet
    14   that would be concerning to you in October 2009,    14   that closely, right?
    15   when you signed this form.                          15      A Yes.
    16       A I don't know that --                          16       Q That issue.
    17        Q When you read this form, you don't know?     17           All right. Let's go to page .43.
    18       A I don't know that when I signed that.         18           So you've got a threshold change form
    19        Q Okay.                                        19   here from -- dated October 9, 2009. Do you see
    20       A There's documentation as to why, and          20   that?
    21   then they do their due diligence. That's part of    21      A Yes.
    22   the process of that year also.                      22       Q Okay. And this is for a permanent
    23        Q But 40 percent is a high figure, right,      23   change regarding 9193, which I will represent is
    24   for controlled substances?                          24   hydrocodone. That's y'all's code for hydrocodone.

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     1            Do you see that code listed there?           1   change," what's provided there?
     2       A Where is that listed?                           2      A Nothing. Just the date.
     3        Q "CS requested" -- 9191 is slashed              3       Q And if we go then to the next form --
     4   through and 9193 is written.                          4      A If I could say on there, also it says
     5       A Oh, on the left. I'm sorry.                     5   "Question of declaration on file: Yes, dated
     6        Q Yeah. Do you see that?                         6   10/1/09." So someone was just in there nine days
     7       A 9193, yes.                                      7   before this threshold request.
     8        Q Okay. And if you see here, the current         8          MR. BOGLE: Move to strike as
     9   threshold at this point in time in October 2009 is    9   nonresponsive.
    10   8,000, and they're requesting an increase by         10   BY MR. BOGLE:
    11   12,000 additional doses.                             11       Q I asked you what was written there under
    12            Do you see that?                            12   "Reason for requested change" section.
    13       A Sorry. It says 5,000.                          13          MR. COLLINS: His answer is what it is.
    14            MR. COLLINS: I'm -- I'm confused, and I     14   BY MR. BOGLE:
    15   think the witness is too.                            15       Q All right. Let's go to Bates page
    16   BY MR. BOGLE:                                        16   ending 4225, since my pages are wrong on this
    17        Q Current threshold, 8,000. Do you see          17   document, which is bottom right, 4225.
    18   that?                                                18          It's another threshold change form,
    19       A No, I don't see 8,000.                         19   October 26, 2009, for a permanent change for
    20            MR. COLLINS: I don't see it either.         20   hydrocodone for Best Care.
    21   BY MR. BOGLE:                                        21          Do you see that?
    22        Q On .43. Let me check my page here.            22      A Yes.
    23            All right. So, I'm sorry. Actually,         23       Q Okay. And at this point because the
    24   it's .44. My fault.                                  24   threshold has just been increased a couple of
                                                  Page 239                                                Page 241
     1       A Okay.                                           1   weeks earlier, which we just saw, now their
     2        Q All right. So this is -- let's go back         2   current threshold is at 20,000, right?
     3   and make sure we're talking about the same thing.     3      A I don't remember when the other one was.
     4           October 9, 2009, threshold change form,       4       Q Sure. We just looked at it. We can
     5   right?                                                5   look at it again.
     6       A Yes.                                            6      A If you can just give me the date, I
     7        Q For Best Care, right?                          7   would be fine.
     8       A Yes.                                            8       Q It was October 9, 2009 is what we just
     9        Q 9193 is the base code entered, which           9   looked at. I can take you back to that page if
    10   again I'll represent to you is hydrocodone.          10   you want.
    11   That's how you guys code that.                       11      A Okay. And this one is --
    12       A Yes.                                           12       Q So here you go, page -- Bates page
    13        Q Okay. And you see the current threshold       13   ending 4227, two pages later as the one we just
    14   is at 8,000.                                         14   looked at.
    15       A Yes.                                           15      A Yes.
    16        Q It's a permanent -- request for a             16       Q Okay. We see hydrocodone, there's a
    17   permanent increase, right?                           17   requested increase from 8 to 20.
    18       A Yes.                                           18      A Yes.
    19        Q Increase by 12,000 units, right?              19       Q Okay. Which was submitted by you that
    20       A Yes.                                           20   day. So we're now a couple of weeks later, same
    21        Q And this threshold change request was         21   product, we show the threshold is 20,000, which
    22   submitted on October 9, 2009, by you, correct?       22   you indicated it was approved previously, right?
    23       A Yes.                                           23      A Yes.
    24        Q Okay. And under "Reason for requested         24       Q Okay. And now there's a request for an

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     1   additional 5,000 dosage units for hydrocodone,           1   written there, nothing, right?
     2   right?                                                   2           MR. COLLINS: Object. That's a
     3      A Yes.                                                3   mischaracterization of the document and his
     4       Q Okay. And is there any specific reason             4   testimony.
     5   for the requested change given here?                     5           THE WITNESS: The document says: "Refer
     6      A It says questionnaire declaration was               6   to questionnaire or -- and declaration on file
     7   done two weeks previously, or a week and a half.         7   10/1/09." So that was within nine days.
     8   And it was a new customer.                               8   BY MR. BOGLE:
     9       Q Okay. My question was, under "Reason               9       Q No, this is now three weeks, and you
    10   for requested change," what's the reason provided       10   already increased it after that.
    11   there?                                                  11       A Right.
    12          MR. COLLINS: Asked and answered.                 12       Q What I'm saying, though, this whole
    13          THE WITNESS: Only that I referenced the          13   "Reason for requested change" section is supposed
    14   questionnaire and declaration on file.                  14   to be completed, right? You don't just refer to a
    15   BY MR. BOGLE:                                           15   declaration. That's the whole purpose of this,
    16       Q Right. You don't give any specific                16   right, you document your reason for the business
    17   reason for the change that's being requested, do        17   change?
    18   you?                                                    18           MR. COLLINS: Objection.
    19          MR. COLLINS: Objection.                          19   BY MR. BOGLE:
    20   Mischaracterization, asked and answered.                20       Q You don't say "See declaration."
    21          THE WITNESS: Only that I would                   21           MR. COLLINS: Objection.
    22   reference the questionnaire.                            22   BY MR. BOGLE:
    23   BY MR. BOGLE:                                           23       Q Right?
    24       Q Right. There's no documented reason why           24           MR. COLLINS: There's about four

                                                      Page 243                                                   Page 245
     1   there's an increase here, especially given that          1   questions within one. Compound, form, asked and
     2   you've already increased it just two weeks before.       2   answered.
     3   Right?                                                   3   BY MR. BOGLE:
     4           MR. COLLINS: Objection. It's a                   4       Q Sure, I'll reask it.
     5   mischaracterization of the document and his prior        5          The reason for requested change
     6   testimony.                                               6   is supposed to be -- there's supposed to be a
     7           MR. BOGLE: So I'll strike that.                  7   written reason documented as to why this change is
     8   BY MR. BOGLE:                                            8   needed, right?
     9       Q We can agree this was increased just two           9       A In totality, I would have to refer to
    10   weeks prior, right?                                     10   the questionnaire on file.
    11      A Yes.                                               11          MR. BOGLE: Move to strike as
    12       Q Okay. And we can agree there's an                 12   nonresponsive.
    13   additional request being submitted two weeks later      13   BY MR. BOGLE:
    14   without any additional documentation supporting         14       Q "Reason for requested change, be
    15   why they would need 5,000 more doses a month just       15   specific."
    16   two weeks later, is there?                              16          MR. COLLINS: If that's --
    17           MR. COLLINS: Objection.                         17   BY MR. BOGLE:
    18   Mischaracterization of the document and his prior       18       Q That's what it says, right?
    19   testimony.                                              19          MR. COLLINS: If that's a question,
    20           THE WITNESS: I would have to reference          20   objection. Asked and answered.
    21   the questionnaire and the visit.                        21   BY MR. BOGLE:
    22   BY MR. BOGLE:                                           22       Q Does it say "Be specific"?
    23       Q Right. So -- but for the reason for               23          MR. COLLINS: Objection. Asked and
    24   requested change, we can agree there is zip             24   answered multiple times.

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     1   BY MR. BOGLE:                                         1      A I did.
     2       Q Does it say "Be specific"?                      2       Q -- requested increase 10/9?
     3       A And I had the same response: Be                 3      A And it's a new customer, yes.
     4   specific, and refer to the questionnaire and          4       Q Okay. But this is the second increase
     5   declaration on file.                                  5   in a month.
     6       Q Does it say, "Be specific, please refer         6      A Yes.
     7   to questionnaire"? Does that say that's good          7       Q And there's -- you would agree with me,
     8   enough?                                               8   other than saying "Questionnaire and declaration
     9       A It's right underneath that.                     9   on file, yes," there's no written justification
    10       Q No, you -- it says "Questionnaire or           10   here provided, right?
    11   declaration." It just asks whether it's there.       11           MR. COLLINS: Objection.
    12   It doesn't say that that's sufficient, does it?      12   Mischaracterization. It's been asked and
    13       A It's -- it's --                                13   answered.
    14          MR. COLLINS: Objection. Argumentative.        14           THE WITNESS: I would agree to reference
    15   I would ask you to move on to something else.        15   the questionnaire and also the DRA's approval.
    16   BY MR. BOGLE:                                        16   BY MR. BOGLE:
    17       Q So is it your testimony that your              17       Q So the questionnaire, which tells us how
    18   understanding that as of 2009, you could simply      18   much they're dispensing of controlled substances,
    19   put "See questionnaire," and that was fine?          19   and the declaration that they claim they're doing
    20          MR. COLLINS: Objection.                       20   everything above board, that's good enough, right?
    21   BY MR. BOGLE:                                        21           MR. COLLINS: Objection. Argumentative.
    22       Q Or "See declaration," and that was --          22   BY MR. BOGLE:
    23   that was justified to increase any threshold based   23       Q Right?
    24   on that?                                             24      A I don't know that.
                                                  Page 247                                                  Page 249
     1           MR. COLLINS: Object --                        1       Q Okay. Okay. Let's take a look at Bates
     2   BY MR. BOGLE:                                         2   page ending 4234.
     3        Q Is that your testimony?                        3          See it's another threshold change form
     4           MR. COLLINS: Objection. The question          4   for Best Care, 11/24/09, right?
     5   is compound. It's about three or four questions.      5       A Yes.
     6   It's been asked and answered.                         6       Q This time the request is to increase the
     7   BY MR. BOGLE:                                         7   oxycodone threshold from 8,000 to 12,000, right?
     8        Q Is that your testimony?                        8       A Yes.
     9           MR. COLLINS: It's been asked and              9       Q Permanently, right?
    10   answered. It's a mischaracterization of his          10       A Yes.
    11   testimony.                                           11       Q And the reason for change provided here
    12           THE WITNESS: No, my testimony is that I      12   is: "Store business warrants increase to 12,000,"
    13   did the due diligence and sent it up to Michael      13   right?
    14   Oriente, the director of Regulatory Affairs.         14       A Yes.
    15   BY MR. BOGLE:                                        15       Q And that would have been provided by
    16        Q You're saying you did your due diligence      16   you, that information, right?
    17   because there was a questionnaire and declaration    17          MR. COLLINS: Objection. Form.
    18   on file, right?                                      18          THE WITNESS: I don't know that.
    19       A Yes. You can see quite a bit of                19   BY MR. BOGLE:
    20   information on the store for Best Care, and sales    20       Q Your name appears under "Approved by,"
    21   data and vetting out the store. And I -- I'm         21   right?
    22   sorry, it was 10/26, so it was done on 10/1.         22       A Yes.
    23        Q Right. Which we already discussed             23          MR. COLLINS: Objection. Asked and
    24   that -- and you've already increased it --           24   answered, mischaracterization.

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                                                    Page 250                                                          Page 252
     1   BY MR. BOGLE:                                            1       A Yes.
     2        Q That's what it says, right?                       2        Q Okay. And you see the next page, there
     3       A Yes.                                               3   are approvals from Dale Nusser and Michael Oriente
     4        Q Okay. And is there any other reason               4   on July 8, 2010, right?
     5   listed for the change other than "Store business         5       A Yes.
     6   warrants increase to 12,000" --                          6        Q Okay. And Dale Nusser, I think we
     7       A No.                                                7   talked about earlier works -- worked beneath you
     8        Q -- provided on this form?                         8   at this point in time, right?
     9           MR. COLLINS: Objection. Objection.               9       A Yes.
    10   Mischaracterization.                                    10        Q So to approve this based on business
    11   BY MR. BOGLE:                                           11   growth, you would agree there should be some
    12        Q If we go to Bates page ending 4239.              12   supporting documentation somewhere to support
    13           So this has indicated a Level I review          13   that, right, that their business has in fact grown
    14   for hydrocodone from June 2010. Do you see that?        14   legitimately?
    15       A Yes.                                              15       A I don't know that.
    16        Q And it's noted that they've omitted for          16        Q You don't know whether that should be
    17   hydrocodone, right?                                     17   there?
    18           It says "EOM omit" under "Supporting            18       A I don't know if Mike got that or not.
    19   Information" -- or next to "Supporting                  19        Q I'm asking whether it should be there.
    20   Information."                                           20   I'm not asking whether it is there.
    21       A Yes. I'm sorry, I'm not familiar with             21       A I don't know.
    22   these. These are only documents the DRA has             22        Q You don't know whether that should be
    23   knowledge of.                                           23   there or not?
    24        Q What is an omit?                                 24       A That would be up to Michael.

                                                      Page 251                                                     Page 253
     1      A It means something wasn't filled.                   1        Q Okay.
     2       Q Okay. And one way in which somebody can            2       A I don't know if he had to keep that or
     3   omit is because they've reached their threshold,         3   he disposed of it. I don't know.
     4   right?                                                   4        Q You don't in fact know whether they got
     5      A Yes.                                                5   it, do you?
     6       Q Okay. If you go to the next page here,             6           MR. COLLINS: Objection. Calls for
     7   do you see where it says "Supporting Information"?       7   speculation.
     8           Do you see that, the next page, Bates            8           THE WITNESS: I'll testify that I never
     9   page ending 4240?                                        9   saw this document, and I'm not responsible for the
    10      A Yes.                                               10   document, but it's Michael Oriente that had the
    11       Q Okay. "Supporting Information" says:              11   document.
    12   "Due to an increase in local prescriptions for          12   BY MR. BOGLE:
    13   hydrocodone, Matt has requested we raise his            13        Q Okay. Do you see page 4242 in this
    14   threshold on this item."                                14   document?
    15           Do you see that?                                15           It's another threshold change request,
    16      A Yes.                                               16   this time from July 23rd, 2010. Do you see that?
    17       Q And the reason for TCR, two below that,           17   The date's on the second page.
    18   says: "Business growth should be supported by           18       A Oh, thank you.
    19   corresponding sales increase."                          19        Q Do you see that date on there?
    20           Do you see that?                                20       A Yes.
    21      A Yes.                                               21        Q Okay. And this is to increase
    22       Q Okay. And the specific request is to              22   hydrocodone doses by 5,000 doses at this point in
    23   increase the number of hydrocodone doses by 5,000       23   time, right?
    24   units, right? 5,000 doses.                              24           MR. COLLINS: Objection. Lack of

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     1   foundation.                                           1      Q     You don't know if he should have?
     2          THE WITNESS: Yes.                              2           MR. COLLINS: Let me object. Lack of
     3   BY MR. BOGLE:                                         3   foundation, lack of firsthand knowledge, calls for
     4       Q Okay. And the reason cited is again             4   a legal conclusion.
     5   business growth, right?                               5   BY MR. BOGLE:
     6      A It says -- if I could interject, it              6        Q You see on the next page, page 4243,
     7   says: "Should be supported by corresponding sales     7   this was approved by Michael Oriente and Duane
     8   increase."                                            8   McPherson. Do you see that?
     9       Q Yeah. That's what it says, right?               9       A Yes.
    10      A Yes.                                            10        Q Does Duane McPherson work at your
    11       Q And then "Supporting Information," it          11   distribution center?
    12   says: "The account opened last October 2009. The     12       A Yes.
    13   new owner is trying to increase his business in      13        Q Okay. Works beneath you?
    14   the area and reestablish the pharmacy. He has        14       A Yes.
    15   increased a number of prescriptions and requesting   15        Q We'll look at another one from the same
    16   another increase for hydrocodone. He was already     16   month for oxycodone, July 2010, which is page
    17   given an increase of 5,000 on the 8th of this        17   4244.
    18   month."                                              18           Do you see they've omitted here for
    19          Do you see that?                              19   oxycodone, July 2010? Do you see that?
    20      A Yes.                                            20           MR. COLLINS: Objection. Lack of
    21       Q So, again, whoever is approving this,          21   foundation. The witness hasn't testified he has
    22   Michael Oriente or otherwise, should be requesting   22   firsthand knowledge of this.
    23   documentation to support that increase, right?       23           THE WITNESS: Yeah, I don't know what
    24          MR. COLLINS: Objection. Form.                 24   this is. If it doesn't respond to another
                                             Page 255                                                       Page 257
     1         THE WITNESS: I don't know. He may have          1   threshold change request earlier, is this the same
     2   it.                                                   2   one we went over?
     3   BY MR. BOGLE:                                         3   BY MR. BOGLE:
     4       Q Should he? Should he, right? He                 4       Q We're about to walk through that. Just
     5   should.                                               5   bear with me.
     6          MR. COLLINS: Objection. Calls for a            6      A Okay.
     7   legal conclusion.                                     7       Q What it says here is an oxycodone omit,
     8          THE WITNESS: He may have it. I don't           8   July 2010, right?
     9   know.                                                 9          MR. COLLINS: Objection. Lack of
    10   BY MR. BOGLE:                                        10   foundation. Lack of firsthand knowledge.
    11       Q Right. My question is, should he?              11          THE WITNESS: This document is new to
    12          MR. COLLINS: Same objection. Calls for        12   me, but that's what it says.
    13   a legal conclusion.                                  13   BY MR. BOGLE:
    14          THE WITNESS: I don't know that he             14       Q And it notes a Level I review, right?
    15   doesn't have that.                                   15          MR. COLLINS: Objection. Lack of
    16   BY MR. BOGLE:                                        16   foundation.
    17       Q That, sir, was not my question. I'm            17          THE WITNESS: Yes, it says "Document
    18   asking should he have requested it. I'm not          18   type."
    19   asking whether he did or whether he's got it or      19   BY MR. BOGLE:
    20   what happened to it. I'm just asking if he           20       Q Yep, Level I review. And Level I
    21   should.                                              21   reviews at this point in time in 2010 were to be
    22       A I don't know that.                             22   done by you or your designee at the distribution
    23          MR. COLLINS: I'm sorry --                     23   center, right?
    24   BY MR. BOGLE:                                        24      A Or director of regular -- Regulatory

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     1   Affairs, either of -- either of them.                 1   questionnaire?
     2       Q Okay. But there's a -- the CSMP spells          2       Q I'm referencing what they're talking
     3   out involvement for the distribution center in        3   about, a review and site visit.
     4   that process, right?                                  4          MR. COLLINS: Objection. Lack of
     5      A I can't remember 2010. I apologize. I            5   foundation.
     6   just don't know.                                      6          THE WITNESS: By "site visit," can you
     7       Q You don't know. Okay.                           7   be more specific?
     8          Do you see here then, if you go to the         8   BY MR. BOGLE:
     9   next page, this is again related to Best Care,        9       Q I'm talking about what's in this
    10   where they're requesting an additional threshold     10   document. If you don't know, that's fine. We'll
    11   increase for hydrocodone, right, 2,000 doses?        11   keep going.
    12          MR. COLLINS: Objection. Lack of               12          But if you see here, this -- this
    13   foundation, lack of firsthand knowledge.             13   threshold increase request from August 2010,
    14   BY MR. BOGLE:                                        14   approved by Diane Martin and Michael Oriente,
    15       Q It's what the document indicates, right?       15   right?
    16          MR. COLLINS: Same objections.                 16          MR. COLLINS: Objection. Lack of
    17          THE WITNESS: I don't know if this is          17   foundation.
    18   Michael's document, but I see it.                    18   BY MR. BOGLE:
    19   BY MR. BOGLE:                                        19       Q Do you see that on the next page?
    20       Q Okay.                                          20      A That's what it says here.
    21      A It says, "Amount, 2,000."                       21       Q All right. Diane Martin, is that
    22       Q And the reason for the request is noted        22   someone that worked for you as well?
    23   to be business growth, should be supported by        23      A Yes.
    24   corresponding sales increase, right?                 24       Q Okay. What was your oversight of the
                                                  Page 259                                                  Page 261
     1           MR. COLLINS: Same objections. Lack of         1   people that worked for you when they're -- they're
     2   foundation, lack of firsthand knowledge.              2   signing off and approving these sort of requests?
     3           THE WITNESS: Yes.                             3   When you say you're not involved, what was your
     4   BY MR. BOGLE:                                         4   oversight of people like Mr. McPherson and
     5        Q Okay. And then "Supporting Information"        5   Mrs. Martin when they're approving these?
     6   says: "This account's purchases are up overall.       6          MR. COLLINS: Objection. Lack of
     7   A review and site visit was done by Dale Nusser       7   foundation, form, vague, confusing.
     8   and Jim Gavatorta in the fall of 2009."               8          THE WITNESS: I didn't testify that I
     9           Right?                                        9   wasn't involved. I testified that they worked for
    10           MR. COLLINS: Objection. Foundation.          10   me.
    11           THE WITNESS: Yes.                            11   BY MR. BOGLE:
    12   BY MR. BOGLE:                                        12       Q Mm-hmm. Yeah, I'm asking what your
    13        Q Okay. And that's the same one you             13   level of oversight was in this process.
    14   referred to having occurred a year earlier, right?   14          MR. COLLINS: Objection. Form, vague,
    15   That we looked at earlier, sorry.                    15   assumes facts not in evidence.
    16           MR. COLLINS: Objection. Form.                16          THE WITNESS: To make sure that they did
    17   BY MR. BOGLE:                                        17   the proper procedure and SOPs for New Castle.
    18        Q Do you recall when we started looking         18   BY MR. BOGLE:
    19   through this document?                               19       Q Okay. Okay. Let's go to page -- Bates
    20       A Yes.                                           20   page ending 4249 in this document.
    21        Q The first documentation, the first            21          You see here is another threshold change
    22   questionnaire related to a site visit was from the   22   request for oxycodone requesting a temporary
    23   fall of 2009?                                        23   increase by 50. Do you see that?
    24       A Are you referencing the Level I                24      A Yes.

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     1       Q Okay. And a reference is made back to,          1   I'm sorry.
     2   again, the site visit from more than a year prior,    2       Q Right, but they're asking to increase
     3   right, October 1, 2009?                               3   the amount of doses for oxycodone by 8,000 and
     4           MR. COLLINS: Objection. Lack of               4   hydrocodone by 5,000, right?
     5   foundation, lack of firsthand knowledge.              5           MR. COLLINS: Objection. Foundation.
     6           THE WITNESS: Can you repeat that              6   BY MR. BOGLE:
     7   question for me, please?                              7       Q That's what the document says, right?
     8   BY MR. BOGLE:                                         8           MR. COLLINS: Same objection. Same
     9       Q Yeah. They refer back to a site visit           9   foundation objection.
    10   from October 2009 for this request in December       10           THE WITNESS: That's what the DRA's
    11   2010, right?                                         11   document says.
    12           MR. COLLINS: Objection. Lack of              12   BY MR. BOGLE:
    13   foundation, lack of firsthand knowledge.             13       Q And "Supporting Information," it says:
    14           THE WITNESS: It says "Temporary." I          14   "Best Care has a new pain clinic, Edita Milan,
    15   don't know if it was increased or not by this        15   that it services." Do you see that?
    16   document.                                            16      A Yes.
    17   BY MR. BOGLE:                                        17       Q Okay. And you agree when there's a
    18       Q We'll get there. The reason for TCR            18   reference to a pain clinic, that's something that
    19   noted on this page is increase in scripts, right?    19   somebody needs to investigate, right?
    20      A That's what it says, yes.                       20           MR. COLLINS: Objection.
    21       Q Okay. And the next page notes that it          21   BY MR. BOGLE:
    22   was approved by Joel Zwick and Michael Oriente,      22       Q As a potential red flag.
    23   December 16, 2010.                                   23           MR. COLLINS: Objection. Form, calls
    24           Do you see that?                             24   for a legal conclusion.
                                                  Page 263                                                 Page 265
     1          MR. COLLINS: Objection. Lack of                1          THE WITNESS: I don't know about Eda --
     2   foundation.                                           2   Edita Milan, but that is something that Michael
     3          THE WITNESS: Yes. Yes, DRA.                    3   would have vetted out.
     4   BY MR. BOGLE:                                         4   BY MR. BOGLE:
     5       Q Joel Zwick is somebody that also worked         5       Q Okay. Something that should be
     6   for you at this point in time?                        6   investigated, right?
     7      A Yes. Yes.                                        7      A That I think was.
     8       Q Okay. The last one I want to look at            8       Q Okay. Do you have any proof here that
     9   for Best Care is on page 40 -- Bates page 4253.       9   that was investigated?
    10          And you see here this is a threshold          10      A Not with this document. I'm not
    11   change request related to oxycodone and              11   familiar with this.
    12   hydrocodone from January 2011.                       12       Q Okay. So you have no reason to
    13          Do you see that?                              13   specifically say that Mr. Oriente vetted this
    14      A Yes, I do.                                      14   because you don't have any documentary support of
    15       Q Okay. They're requesting 8,000                 15   that, do you?
    16   additional doses for oxycodone and 5,000             16          MR. COLLINS: Objection.
    17   additional doses for hydrocodone, right?             17   Mischaracterization, argumentative.
    18          MR. COLLINS: Objection. Foundation.           18          THE WITNESS: I can't speak to what
    19          THE WITNESS: Yes, but it says threshold       19   Michael did.
    20   wasn't reached.                                      20   BY MR. BOGLE:
    21   BY MR. BOGLE:                                        21       Q Right. And the reason for the TCR is:
    22       Q Yeah, I'm just asking what request             22   "Business growth should be supported by
    23   they're making here.                                 23   corresponding sales increase." Right?
    24      A Yes, but I don't know how much it is.           24          MR. COLLINS: Objection. Foundation.

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     1           THE WITNESS: That's what it says there.        1       A Yes.
     2   BY MR. BOGLE:                                          2        Q Okay. And I want to walk through, first
     3       Q And this was one approved January 27,            3   of all, the pharmacy questionnaire when they were
     4   2011, by Diane Martin and Michael Oriente. Do you      4   onboarded.
     5   see that, the next page?                               5            So if you go to page .2, you see there's
     6      A Yes. Michael's director of Regulatory             6   a signature there on that page from you. Do you
     7   Affairs.                                               7   see that?
     8       Q Also approved by Diane Martin, as                8       A Yes.
     9   indicated on that form, right?                         9        Q Okay. Related to Lumberport Pharmacy.
    10      A She evidently put it in.                         10   And would this be you signing off on the pharmacy
    11       Q Right. Do you recall another location           11   questionnaire that follows?
    12   of Best Care being in Lumberport, West Virginia?      12       A Yes. And the affidavit was signed by
    13           MR. COLLINS: Are you -- I'm sorry.            13   the pharmacist, I believe.
    14   We've been going 70 minutes. Is this a good time      14        Q Okay. So let's go to the questionnaire
    15   to break?                                             15   that starts on page .3. And you see there,
    16           MR. BOGLE: That's fine. I'm moving to         16   they're noted to be a new customer going live
    17   a different pharmacy. That's fine.                    17   October 1, 2009. Do you see that?
    18           THE VIDEOGRAPHER: The time is 12:47           18       A Yes.
    19   p.m. We're going off the record.                      19        Q Okay. And the pharmacist's name there
    20           (Lunch recess.)                               20   is a Matt Genin. Do you see that at the bottom?
    21           THE VIDEOGRAPHER: The time is                 21       A Yes.
    22   1:35 p.m., and we're back on the record.              22        Q Okay. You recognize that is the same
    23   BY MR. BOGLE:                                         23   name we just saw going through the Best Care
    24       Q All right, Mr. Snider, we're back from          24   Pharmacy at Weston, West Virginia. Do you recall
                                                   Page 267                                                  Page 269
     1   lunch. I wanted to pick up from where we were          1   that name?
     2   talking about before we broke.                         2       A I don't remember, but it could be.
     3           So we were talking about Best Care             3        Q Okay. Well, I can show you if you want
     4   Pharmacy. You recall that generally?                   4   to refresh on it. Let me -- give me one second to
     5       A Yes.                                             5   find that document.
     6       Q Okay. And I want to talk to you about            6            MR. COLLINS: I honestly don't remember
     7   their pharmacy in Lumberport, West Virginia. Are       7   it, but --
     8   you familiar with that pharmacy?                       8            MR. BOGLE: It's not a huge point, but I
     9       A A little bit, yeah.                              9   decided I wanted to make it, so we're --
    10       Q Okay. And that's a pharmacy that New            10            MR. COLLINS: Fine. Fair enough. It's
    11   Castle has serviced historically, right?              11   your depo.
    12       A Yes. It -- I believe it -- the                  12   BY MR. BOGLE:
    13   documents show 2009, was it, it went onboard.         13        Q All right. So it's 1.1812, which I
    14       Q Okay. Yeah. So I want to take a look            14   believe would be Exhibit 17 as well, the Best Care
    15   at some documents related to that location.           15   document we looked at right before lunch. I think
    16           (Snider Exhibit No. 18 was marked             16   it's the one you've got in your hand right there.
    17           for identification.)                          17            MR. COLLINS: That's 16.
    18   BY MR. BOGLE:                                         18            MR. BOGLE: Oh, is it 16? Okay. Then
    19       Q I'm going to hand you Exhibit 1.1821,           19   that's the one I want, 16.
    20   also marked as Exhibit 18 to your deposition.         20            MR. COLLINS: What page? I'm sorry.
    21           All right. This is another one of these       21   BY MR. BOGLE:
    22   files, and you see the name on the outside is         22        Q So if you go to page on this one .11.
    23   "Lumberport."                                         23   It's again the pharmacy questionnaire.
    24           Do you see that?                              24            Do you see the pharmacist's name there?

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     1       A Yes.                                           1   investigated, correct?
     2       Q Do you see it's the same individual            2      A It's something that I think the director
     3   we're talking about there?                           3   of Regulatory Affairs should look at.
     4       A Yes. Same license.                             4       Q All right. Now, Lumberport, you
     5       Q Yeah, same license number as well.             5   understand that's another very small city, right?
     6   Okay.                                                6          MR. COLLINS: Objection.
     7           So we're dealing with the same               7   BY MR. BOGLE:
     8   pharmacist involved with this Lumberport location    8       Q In West Virginia.
     9   here. So in looking further, he's also noted on      9          MR. COLLINS: Objection to form.
    10   .4 as the owner of the pharmacy.                    10          THE WITNESS: I don't remember.
    11           Do you see that?                            11   BY MR. BOGLE:
    12       A I believe the owner, it says Bob Reep.        12       Q Okay. Have you ever been to Lumberport?
    13       Q Are you at -- are you back on                 13      A No, I don't remember being there.
    14   Exhibit 18? Because I'm looking at page .4.         14       Q Okay.
    15       A Well, I'm not sure who's the owner. Is        15          (Snider Exhibit No. 19 was marked
    16   it Bob Reep or Matt Genin?                          16          for identification.)
    17       Q Well, let's look at .4, and we can take       17   BY MR. BOGLE:
    18   a look at that first.                               18       Q I hand you Exhibit 19.
    19       A Okay.                                         19          Actually, let me ask you this: If the
    20       Q So on .4, it says "Ownership/business         20   census data indicated there were fewer than a
    21   history," and it says "Owner's name: Matt Genin,    21   thousand people living in Lumberport, would you
    22   dba," which I believe means doing business as,      22   have reason to dispute that?
    23   "Best Care Pharmacy."                               23          MR. COLLINS: Again, foundation.
    24           Do you see that?                            24          THE WITNESS: I wouldn't know. I'd have
                                                 Page 271                                                       Page 273
     1       A Yes.                                           1   no reason to dispute it.
     2        Q Okay. And it's actually got the Weston        2   BY MR. BOGLE:
     3   address of the Best Care Pharmacy we just looked     3       Q Okay. Let's just take a look real quick
     4   at, right?                                           4   then. Exhibit 19, also marked as 1.1908, is what
     5       A Yes.                                           5   I'm handing you.
     6        Q And continuing further on in this             6           All right. It's another printout with
     7   questionnaire, page .7, and you see here again       7   population and other data. You see it's for
     8   they're outlining their controlled substances        8   Lumberport, West Virginia?
     9   purchases as of October 2009, and they note 80       9       A Yes, I see.
    10   percent of the controlled substances purchases      10       Q And this is the most current data that I
    11   were for hydrocodone.                               11   was able to obtain. The population noted here for
    12           Do you see that?                            12   Lumberport is 881 people. Do you see that?
    13       A Yes.                                          13       A Yes.
    14        Q Okay. And you would agree 80 percent of      14       Q Okay. Do you have any specific
    15   their controlled substances purchases being         15   knowledge that would contradict that being the
    16   hydrocodone is a potential red flag that needs to   16   most current population data for Lumberport?
    17   be reviewed from the perspective of diversion,      17           MR. COLLINS: Objection. Foundation.
    18   right?                                              18           THE WITNESS: I don't have any knowledge
    19       A I would agree that the director of            19   of the surrounding area of Lumberport.
    20   Regulatory Affairs would have to look at that.      20   BY MR. BOGLE:
    21        Q Okay. It's something that should be          21       Q Okay. All right. So let's go back to
    22   looked at. I'm not saying -- again, I'm not         22   Exhibit 1.1821, and I want to specifically look at
    23   saying necessarily that it's you on the front       23   .19 is the page.
    24   lines looking at that, but that should be           24       A Can you give me that exhibit again?

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     1       Q It's 1.1821, the page is .19. The page         1        Q They're asking to add 8,000 to the
     2   should look like this (indicating).                  2   existing threshold, right?
     3           MR. COLLINS: He's referring to the           3        A Yes.
     4   numbers at the top.                                  4        Q Okay. So -- and it says for -- the
     5           THE WITNESS: Oh, 1821.19, okay.              5   reason for the requested change -- actually,
     6   BY MR. BOGLE:                                        6   strike that.
     7       Q Yeah.                                          7            When it's noted to increase a threshold,
     8      A Thank you.                                      8   and we talk about by a certain number of doses, a
     9       Q Are you at that page?                          9   dose when it comes to hydrocodone or oxycodone is
    10      A Yes.                                           10   a pill, right?
    11       Q Okay. And you see here this is for            11        A Usually a pill or an ounce.
    12   threshold change form, October 19, 2009, for a      12        Q All right. When it comes in pill form,
    13   permanent threshold change. Do you see that?        13   it's going to be a single pill, right?
    14           MR. COLLINS: Objection. Form.               14        A Usually, yes.
    15           THE WITNESS: I don't know if it's to        15        Q Okay.
    16   start them. It looks like the day we opened them.   16        A That I know of.
    17   BY MR. BOGLE:                                       17        Q Okay. And the reason noted for the
    18       Q Yeah, I'm just saying the date is             18   requested change here is: "Brand new account.
    19   October 19, 2009, right?                            19   Family threshold is set too low." Do you see
    20      A Yes.                                           20   that?
    21       Q Okay. And it's a threshold change form        21        A Yes.
    22   requesting a permanent threshold change, right?     22        Q Okay. And this was submitted by you on
    23      A Yes, but I think it's the start of their       23   October 20th, 2009, right?
    24   ownership. I'm not sure because I'm -- we had a     24        A Yes.

                                                 Page 275                                                     Page 277
     1   Level I questionnaire on that date.                  1       Q And in addition, from sales, Jim
     2       Q Okay. But all I'm --                           2   Gavatorta; approved by Michael Oriente, right?
     3      A So I'm --                                       3       A Yes.
     4       Q Okay. All I'm asking, though, is it's          4       Q Okay. And to establish that the
     5   indicated to be a permanent change being             5   threshold is too low for the specific product, you
     6   requested, right?                                    6   would need to be able to look at the prescription
     7      A Yes.                                            7   data for hydrocodone and the overall prescription
     8       Q Okay. And this is related to 9193,             8   data to indicate whether this is too low.
     9   which I believe is hydrocodone. Do you see that?     9           You agree with that, right?
    10      A Yes.                                           10           MR. COLLINS: Objection. Form.
    11       Q And the current threshold is noted to be      11           THE WITNESS: I would not have to look
    12   8,000 at this point in time, right?                 12   at that. I'd look at the --
    13      A Yes.                                           13           What year was this, please?
    14           MR. COLLINS: Objection.                     14   BY MR. BOGLE:
    15   Mischaracterization.                                15       Q October 2009.
    16   BY MR. BOGLE:                                       16       A I believe I would get the sales and the
    17       Q And there is a request to increase that,      17   director of Regulatory Affairs or the -- or Jim
    18   to double that, to 16,000 doses per month, right?   18   would have gotten the script information.
    19           MR. COLLINS: Objection. Foundation.         19       Q Right. But my question simply was,
    20           THE WITNESS: Well, I'd have to -- oh,       20   to -- whoever is making this determination at
    21   plus -- plus 8,000.                                 21   Regulatory would need to look at how much they're
    22   BY MR. BOGLE:                                       22   selling of hydrocodone and how that compares to
    23       Q Right.                                        23   their overall prescription sales at that time,
    24      A Yes.                                           24   right?

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     1       A Yes. It says "80 percent,                       1      A Okay. I didn't see the second page, I'm
     2   Medicare/Medicaid." They would verify that too.       2   sorry. It has "DC approver, Duane" on it, and
     3        Q Okay. So looking at this file,                 3   "DRA, Michael Oriente" on it.
     4   though -- again, it's a fairly small file -- I did    4       Q Okay. And then going back to .13 to see
     5   not see any indication of such data being attached    5   what request was made here, this is a request for
     6   to this form or in this file. Am I missing            6   an increase for hydrocodone by 5,000 doses.
     7   something here?                                       7          Do you see that?
     8       A On the questionnaire of the same day, it        8      A Yes.
     9   says: "Call doctors to verify." So I don't know       9       Q And for "Supporting Information," it
    10   what all due diligence was done on that. There's     10   says: "Account purchase are up overall for the
    11   no record of a call.                                 11   month due to an increase in local prescriptions."
    12        Q Right. And there's also no new actual         12          Do you see that as the supporting
    13   documentation of their prescription sales either     13   information?
    14   for hydrocodone or overall sales in this packet,     14      A I see that as under that column, yeah.
    15   is there?                                            15       Q Okay. And the reason for TCR is the
    16       A I don't see it.                                16   same one we've seen several times today, "Business
    17        Q Okay. And I want to look at the next          17   growth should be supported by corresponding sales
    18   threshold change request, which is page .13. Do      18   increase."
    19   you see here this is a threshold change request      19          Do you see that reference?
    20   that was approved July 19, 2010, by Duane            20      A Yes, but I don't know that isn't on the
    21   McPherson and Michael Oriente?                       21   original TCR or that he didn't have that. I can't
    22           Do you see that --                           22   answer to that.
    23           MR. COLLINS: Object --                       23       Q Yeah, just -- I'm just -- right now I'm
    24   BY MR. BOGLE:                                        24   just saying that's what the document says, and I'm
                                                  Page 279                                                  Page 281
     1       Q -- on page .14?                                 1   going to get to my next question. Just bear with
     2          MR. COLLINS: Objection. Foundation.            2   me.
     3          THE WITNESS: I see those names on              3           That's what it says, first of all.
     4   there.                                                4   That's the reason for TCR that's listed here,
     5   BY MR. BOGLE:                                         5   right? "Business growth should be supported by
     6       Q Okay. And it's noted to be approved as          6   corresponding sales increase."
     7   the approval status for both, right?                  7      A What's your question, please?
     8       A I'm not familiar with this document. It         8       Q That's what it says, right?
     9   went to the Pharmacy Regulatory Affairs.              9      A Under "Reason for TCR" --
    10       Q Okay.                                          10       Q Yes, sir.
    11       A So I wouldn't have seen this before.           11      A -- yes. Yes.
    12       Q But for Mr. McPherson, it says: "DC            12       Q Okay. And we just talked about -- in
    13   approval status, approved," right, next to it?       13   the file that was provided here for this pharmacy,
    14       A That's what it says.                           14   there are -- there's no purchase data included
    15       Q What the document says.                        15   here, is there, documentary purchase data?
    16       A Yes.                                           16           MR. COLLINS: Objection. Form.
    17       Q Same for Mr. Oriente, where it says "DRA       17           THE WITNESS: I don't -- I don't see
    18   approval status," next to it, it says "Approved,"    18   that. I do see an attachment on October 20th from
    19   right?                                               19   Michael.
    20       A It says DR -- is this number 13?               20   BY MR. BOGLE:
    21       Q This is .14.                                   21       Q Attachment of what?
    22       A Sorry.                                         22      A It doesn't say. A Word document.
    23       Q The -- this document starts .13. I was         23       Q Okay. All right. But to my -- do you
    24   trying to give you the sense of both pages of it.    24   recall my question, though? Do you see anything

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     1   that indicates an attachment here, there's actual     1       Q Okay. Do you see that there, though,
     2   physical documentation attached here showing          2   the request for 2,000 additional doses for
     3   purchase data?                                        3   hydrocodone?
     4           MR. COLLINS: Objection. Form.                 4          MR. COLLINS: Same objections.
     5           THE WITNESS: I don't see anything             5          THE WITNESS: It's what it looks like,
     6   except that Word document attachment that's not       6   yes.
     7   attached here.                                        7   BY MR. BOGLE:
     8   BY MR. BOGLE:                                         8       Q And on .16, this was approved by Diane
     9       Q Okay. And how do you know that's not            9   Martin at your facility and Michael Oriente,
    10   attached?                                            10   October 26, 2010 -- or August 26, 2010, right?
    11       A I don't see it.                                11          MR. COLLINS: Objection. Foundation.
    12       Q Okay. Do you see there's a -- on that          12          THE WITNESS: That would mean Diane
    13   same day -- I think you're looking at page .20.      13   would have sent it in to the director of
    14       A Yes.                                           14   Regulatory Affairs.
    15       Q Okay. And that references a Lumberport         15   BY MR. BOGLE:
    16   TCF, hydrocodone, 10/19/09, right?                   16       Q Right. But what's noted in the document
    17       A I don't know.                                  17   is approval dates, August 26, 2010, for both of
    18       Q So the document -- that's what it says,        18   them, right?
    19   the attachment, right, that you're referring to?     19       A I believe that's when Diane sent it in,
    20       A Yes. Yeah.                                     20   yes.
    21       Q Okay. And you see the previous page,           21       Q Okay. And what's noted here, if you go
    22   10/19/09, I believe is the one we just looked at a   22   back to page .15 for supporting information, it
    23   minute ago, same date, hydrocodone, increase         23   says: "This accounts purchases are up overall. A
    24   request?                                             24   review and visit were done by Dale Nusser and Jim
                                                  Page 283                                                  Page 285
     1           MR. COLLINS: Objection. Form.                 1   Gavatorta in the fall of 2009."
     2           THE WITNESS: I -- I --                        2           Do you see that?
     3           MR. COLLINS: What's the question?             3      A Yes.
     4           THE WITNESS: I see it.                        4       Q Okay. So that's a full year prior to
     5   BY MR. BOGLE:                                         5   this request when this review was done, right?
     6       Q It's the same date and for the same             6           MR. COLLINS: Objection. Misstates the
     7   product that you're refer- -- that's being            7   document.
     8   referenced in the attachment there, right? And        8           THE WITNESS: I would think that's
     9   the same pharmacy.                                    9   reasonable.
    10      A Yes, it is.                                     10   BY MR. BOGLE:
    11       Q Okay. And TCF is threshold change,             11       Q Okay. So the supporting information for
    12   right, form?                                         12   this increase in August 2010 is that there had
    13      A Yes. That's usually what we refer to.           13   been a review and site visit nearly a year before,
    14       Q All right. Let's go to next page .15 in        14   right?
    15   this document.                                       15      A I don't know what else was included with
    16           And on .15 and .16 is an additional          16   Michael's DRA due diligence.
    17   threshold change request for hydrocodone for an      17       Q But that's what's indicated here for
    18   additional 2,000 doses.                              18   supporting information on this form, right?
    19           Do you see that?                             19      A The form says that, yes.
    20           MR. COLLINS: Objection. Foundation.          20       Q Right. And it's for a permanent
    21           THE WITNESS: Yeah, this is a Pharmacy        21   request, again based on "Business growth should be
    22   Regulatory Affairs document. I didn't always see     22   supported by corresponding sales increase."
    23   these, and I didn't see this.                        23   That's what's indicated on the form, right?
    24   BY MR. BOGLE:                                        24           MR. COLLINS: Objection. Form.

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     1           THE WITNESS: That's what it says on the      1   them on hydrocodone is 12,000. Do you see that?
     2   form. I don't know that he doesn't have that.        2      A Increase amount 2,000 -- current
     3   BY MR. BOGLE:                                        3   threshold, 12, yes.
     4       Q Right. You don't know either way,              4       Q Right. And they're asking for 2,000
     5   right?                                               5   more, right?
     6       A No.                                            6      A Yes.
     7       Q And for Lumber -- I'm sorry, strike            7       Q Okay. And the reason for change noted
     8   that.                                                8   here is: "Increase in business, stopped buying
     9           For Best Care, they also had a pharmacy      9   from competitor Bellco. All hydrocodone bought
    10   in Belington, West Virginia, right? Do you recall   10   from McKesson."
    11   that, servicing that pharmacy too?                  11          Do you see that as the reason noted?
    12       A Yes, I do.                                    12      A I see that, yes.
    13       Q Okay. And Belington, West Virginia, do        13       Q Okay. When customers tell you that
    14   you know anything about the population for that     14   they've stopped buying from one of your
    15   city?                                               15   competitors, that's something you would ask for
    16       A No, I don't. I don't. I don't think I         16   them to substantiate, right, to prove that?
    17   remember being there.                               17      A That's something Michael would ask to
    18       Q Okay. Any reason to dispute they have         18   substantiate that so he could get the data.
    19   about 2,000 people in Belington, West Virginia?     19       Q And that -- that should be confirmed,
    20           MR. COLLINS: Objection. Foundation.         20   right?
    21           THE WITNESS: I wouldn't dispute that.       21          MR. COLLINS: Objection. Form.
    22   I don't know.                                       22          THE WITNESS: I can't answer if he did
    23           (Snider Exhibit No. 20 was marked           23   or didn't.
    24           for identification.)                        24   BY MR. BOGLE:
                                                 Page 287                                                 Page 289
     1   BY MR. BOGLE:                                        1       Q I didn't ask you that. That should be
     2       Q Okay. And I want to look at some of the        2   confirmed, right?
     3   documentation on the Belington location. I hand      3           MR. COLLINS: Objection. Calls for a
     4   you Exhibit 20, also marked as Exhibit 1.1822.       4   legal conclusion. Form. Foundation.
     5          All right. We see here, we start with         5           THE WITNESS: I can't answer if he did
     6   page .5. It's a threshold change form from           6   or didn't.
     7   August 20, 2009. Do you see that?                    7   BY MR. BOGLE:
     8      A It's a Level I documentation, yes.              8       Q Okay. Listen to my question.
     9       Q Right. You say Level I documentation.          9           That should be confirmed, right? I
    10   I'm looking at the threshold change form. Are we    10   didn't ask you whether he did confirm. I'm
    11   looking at something different?                     11   asking, that's something that should be confirmed
    12      A Oh, I'm sorry. Yeah, .5?                       12   when a customer tells you that?
    13       Q Yes. Yes, sir.                                13           MR. COLLINS: Objection. Calls for a
    14      A I apologize, I was.                            14   legal conclusion, form, foundation.
    15       Q That's all right.                             15           THE WITNESS: I answered. I can't --
    16          Okay. You see -- you see August 20,          16   I'm not sure if he did or didn't.
    17   2009, there on that one, right?                     17   BY MR. BOGLE:
    18      A Yes.                                           18       Q Right. But should he have, from your
    19       Q Where it says "Belington Prescription in      19   perspective?
    20   Belington, West Virginia."                          20      A I can't answer for him, sir.
    21      A Yes.                                           21       Q Okay. And this is noted as being
    22       Q Do you see that name?                         22   approved by both yourself and Michael Oriente on
    23      A Yep.                                           23   August 20, 2009, right?
    24       Q And the current threshold noted here for      24           MR. COLLINS: Objection to the term

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     1   "approved."                                           1       Q Right. That's what they were
     2           THE WITNESS: I signed the threshold           2   requesting, and that's what they got, right?
     3   change request to be put through.                     3      A Well, I don't see the TCR with this, but
     4   BY MR. BOGLE:                                         4   I do see this form.
     5       Q Right. This says "Approved by," and             5       Q Okay. And "Supporting Information"
     6   there's your name and there's Michael Oriente's       6   says: "Belington was recently sold to Best Care
     7   name, right?                                          7   Pharmacy Group in May 2010. New scripts from this
     8           MR. COLLINS: Objection.                       8   acquisition has caused a need for an increase in
     9   Mischaracterization.                                  9   their hydrocodone threshold."
    10           THE WITNESS: I signed it to be sent to       10          Do you see that?
    11   the Regulatory Affairs director.                     11      A Yes.
    12   BY MR. BOGLE:                                        12       Q Okay. And again, business growth is the
    13       Q And if you go to page .11.                     13   reason provided, right?
    14           MR. BOGLE: .11 and .12, can we just          14      A No, it was sold.
    15   pull those up side by side on the screen? Thanks.    15       Q Right. But the reason for TCR, it says:
    16   BY MR. BOGLE:                                        16   "Business growth should be supported by
    17       Q Do you see this is a threshold change          17   corresponding sales increase." Right?
    18   request for hydrocodone for Belington approved       18          MR. COLLINS: Objection. Lack of
    19   August 16, 2010? Do you see that?                    19   foundation.
    20           MR. COLLINS: Objection. Foundation.          20          THE WITNESS: Yeah, supporting
    21           THE WITNESS: I didn't -- I don't know        21   correspondence above, yes.
    22   this document. I'm sorry. Can you go through it      22   BY MR. BOGLE:
    23   again?                                               23       Q Okay. And so, again, if there's an
    24   BY MR. BOGLE:                                        24   acquisition which has caused an increased need,

                                                  Page 291                                                     Page 293
     1       Q Yeah. You see on page .12, "DC approval         1   that's again something that would need to be
     2   status: Approved Duane McPherson, August 16,          2   confirmed with documentation, right?
     3   2010." Right?                                         3           MR. COLLINS: Objection. Calls for a
     4           MR. COLLINS: Objection. Foundation.           4   legal conclusion.
     5           THE WITNESS: Yes.                             5           THE WITNESS: I don't know. It could
     6   BY MR. BOGLE:                                         6   have been done with a phone call or a check of the
     7       Q And "DRA approval status: Approved by           7   pharmacy license or a call to the State Board of
     8   Michael Oriente," three minutes later, "August 16,    8   Pharmacy.
     9   2010." Right?                                         9   BY MR. BOGLE:
    10           MR. COLLINS: Objection. Foundation.          10       Q But just the purchase itself doesn't
    11           THE WITNESS: I already testified to how      11   mean they need more pills, right? You would need
    12   it works. I don't know what due diligence was        12   to show a business need documented beyond just the
    13   done before or after the call.                       13   purchase itself, right?
    14   BY MR. BOGLE:                                        14           MR. COLLINS: Objection. Calls for a
    15       Q Right. I'm just asking if that's --            15   legal conclusion, foundation, form.
    16   that's what is indicated here.                       16           THE WITNESS: I don't know what Michael
    17       A You said three minutes.                        17   did to show on that.
    18       Q Yeah, 10:59 to 11:02.                          18   BY MR. BOGLE:
    19       A Correct.                                       19       Q Okay. All right. So let's go to
    20       Q And then -- so going back to .11,              20   page .13 and .14.
    21   they're requesting here an increase of 4,000 doses   21           Do you see here this is another
    22   for hydrocodone, a permanent increase, right?        22   threshold change request for hydrocodone
    23       A It looks like this form says it was            23   requesting a temporary increase of 9,000 doses?
    24   increased.                                           24   Do you see that?

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     1      A Yes.                                            1       Q Huh?
     2       Q This was approved by Joel Zwick and            2       A I didn't produce it. I don't know.
     3   Michael Oriente, November 15, 2010, right?           3       Q I'm just asking you if you see the
     4      A Joel sent it to Michael.                        4   police report in this packet related to this
     5       Q The note is approving on November 15 --        5   pharmacy.
     6      A Oh, I'm sorry, I correct myself.                6           MR. COLLINS: Objection. Argumentative.
     7           Dale Nusser sent it to Michael.              7           THE WITNESS: I don't see it in here.
     8       Q Right. .14 indicates that Joel Zwick           8   BY MR. BOGLE:
     9   and Michael Oriente both noted as approving this     9       Q Okay. Are you aware that ultimately one
    10   on November 15, 2010, right?                        10   of the owners of Best Care was prosecuted for
    11           MR. COLLINS: Objection. Lack of             11   illegally diverting opioids?
    12   foundation, lack of firsthand knowledge.            12       A I am aware that an owner of Best Care
    13           THE WITNESS: Joel sent it, yes. I           13   was prosecuted, and we cut them off.
    14   believe. I don't know this form. But it shows       14       Q Well, you're aware that there was a --
    15   that Joel sent it, and then above here, it says     15   there was an arrest and a prosecution for one of
    16   "Submitter name: Dale Nusser."                      16   the owners of Best Care for diversion of opioid
    17   BY MR. BOGLE:                                       17   products, right?
    18       Q And it does show it was approved, right?      18           MR. COLLINS: Objection. Foundation.
    19           MR. COLLINS: Objection. Form.               19           THE WITNESS: I was aware that he was
    20           THE WITNESS: The way I see it, I don't      20   arrested. That's all.
    21   see a signature, but the -- the -- Michael          21           (Snider Exhibit No. 21 was marked
    22   Oriente's name is on the -- this document.          22           for identification.)
    23   BY MR. BOGLE:                                       23   BY MR. BOGLE:
    24       Q And it says "Approved," right?                24       Q Okay. Let me hand you 1.1251,
                                                 Page 295                                                  Page 297
     1          MR. COLLINS: Objection. Form.                 1   Exhibit 21.
     2   BY MR. BOGLE:                                        2           This is a news release from the U.S.
     3       Q On .14.                                        3   Department of Justice, June 3rd, 2014, titled
     4          MR. COLLINS: Objection. Form.                 4   "Pharmacist charged with illegal distribution of
     5          THE WITNESS: "DRA approval status:            5   painkillers."
     6   Approved."                                           6           Do you see that?
     7   BY MR. BOGLE:                                        7      A Yes.
     8       Q Yep. And for "Supporting Information"          8       Q Have you ever seen this press release
     9   on this one, it says: "The customer was robbed on    9   related to Best Care?
    10   Sunday. All hydrocodone products were stolen        10      A No, I haven't.
    11   except for two bottles of Vicodin 5/500. Customer   11       Q Okay. How did you become aware of the
    12   to send a copy of police report when received."     12   arrest then?
    13          Do you see that?                             13      A I don't remember. Probably the DRA.
    14       A Yes.                                          14       Q Okay. And if you look in the press
    15       Q Do you see a copy of the police report        15   release, it says: "A West Virginia pharmacist has
    16   here in this file?                                  16   been indicted on charges that he dispensed
    17          MR. COLLINS: Objection. Foundation.          17   prescription painkillers outside the scope of his
    18          THE WITNESS: I don't know that that's        18   professional practice."
    19   in here. I don't see it in what you gave me.        19           And then it says: "United States
    20   BY MR. BOGLE:                                       20   Attorney William Ihlenfeld, II, announced that
    21       Q Okay. This is the document as produced.       21   Mario Blount, 51, of Bridgeport, West Virginia,
    22   I'm giving you what was produced to us.             22   was arrested this morning on charges of conspiracy
    23          Do you see it in this?                       23   to possess and distribute Schedule II controlled
    24       A I didn't produce it.                          24   substances, distribution of oxycodone and a

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     1   failure to report the filling of a prescription."        1       Q You don't know if you were supplying
     2           Do you see that?                                 2   them?
     3       A Yes.                                               3      A No.
     4        Q And it says: "Blount, who was employed            4           MR. COLLINS: Objection.
     5   by Best Care Pharmacy, is alleged to have                5   BY MR. BOGLE:
     6   conspired with two other individuals over the last       6       Q You don't know if Best Care Pharmacy was
     7   three years to distribute prescription painkillers       7   a customer of yours for 2010 to 2014?
     8   for non-legitimate medical purposes."                    8           MR. COLLINS: Objection. Argumentative.
     9           Do you see that reference?                       9   BY MR. BOGLE:
    10       A Yes.                                              10       Q I'm just asking if you know or not.
    11        Q Okay. And skip a paragraph, the next             11           MR. COLLINS: Objection. You just asked
    12   one says: "The Greater Harrison County Drug Task        12   the same -- you've asked the same question two or
    13   Force executed search warrants in October 2013 at       13   three times.
    14   Best Care Pharmacy locations in the West Virginia       14           THE WITNESS: I don't know.
    15   towns of Bridgeport, Lumberport and Belington."         15   BY MR. BOGLE:
    16           Do you see that?                                16       Q You don't know?
    17       A Yes.                                              17           Okay. We just saw from all three of
    18        Q And that's the three facilities we've            18   those facilities threshold change requests
    19   just been looking at over the last hour or so,          19   approved for some of these very drugs covering all
    20   right?                                                  20   the way up until 2011, and it's your -- that came
    21       A Yes.                                              21   from your facility at New Castle, and it's your
    22        Q And then the last paragraph on this page         22   testimony that after seeing all that, you don't
    23   says: "Mr. Blount abused the trust of the               23   know if you supplied them with any oxycodone or
    24   citizens of Bridgeport and the customers of Best        24   oxymorphone pills?
                                                      Page 299                                                 Page 301
     1   Care Pharmacy. These arrests serve as a warning          1          MR. COLLINS: Objection. Assumes facts
     2   that the illicit distribution of controlled              2   not in evidence. The question is compound.
     3   substances will not be tolerated in Harrison             3          THE WITNESS: I don't -- I don't know
     4   County, said Karl C. Colder, Special Agent in            4   that. He could have other wholesalers. I don't
     5   Charge, Drug Enforcement Administration,                 5   know that.
     6   Washington, D.C. Field Division. Over                    6   BY MR. BOGLE:
     7   approximately three years, Mr. Blount illegally          7       Q You don't even know if he had other
     8   dispensed over 11,000 oxycodone and oxymorphone          8   wholesalers?
     9   pills."                                                  9      A I don't remember that, no.
    10           Do you see that?                                10       Q Okay.
    11       A I see that, yes.                                  11      A No.
    12       Q And you know McKesson was the supplier            12       Q Isn't that something you would need --
    13   of those pills, right?                                  13   that you would want to know?
    14           MR. COLLINS: Objection. Assumes facts           14          MR. COLLINS: Objection. Calls for a
    15   not in evidence, foundation.                            15   legal conclusion, argumentative.
    16           THE WITNESS: I don't know that.                 16          THE WITNESS: I would want the director
    17   BY MR. BOGLE:                                           17   of Regulatory Affairs to know that.
    18       Q Well, your New Castle facility was                18   BY MR. BOGLE:
    19   supplying Best Care with those very drugs during        19       Q You would want him to know that. It's
    20   that very time period, right?                           20   okay, as the guy who is responsible for making
    21           MR. COLLINS: Objection. Argumentative,          21   sure that the New Castle isn't involved in
    22   assumes facts not in evidence.                          22   diversion, you don't care if you know that or not?
    23           THE WITNESS: I don't know that.                 23          MR. COLLINS: Objection. Argumentative.
    24   BY MR. BOGLE:                                           24   Object to the theatrics.

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     1          THE WITNESS: Can you restate the               1   BY MR. BOGLE:
     2   question, if you want?                                2       Q You don't remember?
     3   BY MR. BOGLE:                                         3      A No.
     4       Q Well, I don't think there's anything            4       Q Okay.
     5   wrong with that question.                             5      A That would be the director of Regulatory
     6          MR. COLLINS: Objection. It's --                6   Affairs.
     7          THE WITNESS: Can you repeat it then?           7       Q Well, the pills come out of your
     8   BY MR. BOGLE:                                         8   facility, right?
     9       Q Yeah.                                           9           MR. COLLINS: Objection.
    10          You don't think that as the individual        10           THE WITNESS: I don't know that. I
    11   or director of operations for New Castle             11   answered to that.
    12   responsible for making sure that facility isn't      12   BY MR. BOGLE:
    13   involved in diversion, you don't think it's          13       Q Does -- does Regulatory Affairs run your
    14   important for you to know whether you were the       14   facility?
    15   only supplier of these pills to this -- these        15           MR. COLLINS: Objection. Form. The
    16   pharmacies or whether somebody else was too?         16   question is vague.
    17          MR. COLLINS: Objection. Argumentative,        17   BY MR. BOGLE:
    18   compound, object to the theatrics, asked and         18       Q I mean, do you defer all responsibility
    19   answered.                                            19   for the pills that go out of New Castle to
    20          THE WITNESS: I don't know.                    20   Regulatory Affairs?
    21   BY MR. BOGLE:                                        21           MR. COLLINS: Objection. Argumentative.
    22       Q You don't know whether that's something        22           THE WITNESS: No.
    23   you should know?                                     23   BY MR. BOGLE:
    24      A I've already answered that. You keep            24       Q Okay. Because that's -- it's your job,
                                                  Page 303                                                 Page 305
     1   asking me. I don't know. He could have had            1   right?
     2   another wholesaler. I don't know that. I don't        2          MR. COLLINS: Objection.
     3   remember.                                             3          THE WITNESS: What's my job, please?
     4       Q But you know you were one -- that your          4   I'm not sure --
     5   facility at New Castle certainly was one of the       5   BY MR. BOGLE:
     6   wholesalers, right?                                   6       Q To know what's leaving your facility and
     7           MR. COLLINS: Objection.                       7   to whom it's going to and whether they can be
     8   BY MR. BOGLE:                                         8   trusted.
     9       Q We've seen documentary support for that.        9       A I didn't --
    10           MR. COLLINS: Objection. The                  10          MR. COLLINS: Objection. The question
    11   question --                                          11   is compound, it's vague, calls for a legal
    12   BY MR. BOGLE:                                        12   conclusion, lacks foundation.
    13       Q Right?                                         13   BY MR. BOGLE:
    14           MR. COLLINS: Well, the question is now       14       Q I think it's a good question, so go
    15   compound three times.                                15   ahead.
    16           THE WITNESS: I -- I answered that, yes.      16          MR. COLLINS: My objections stand.
    17   BY MR. BOGLE:                                        17          THE WITNESS: I stand by my record and
    18       Q Yes, you were. Okay.                           18   what I do at the facility.
    19           And you said this pharmacy was cut off.      19   BY MR. BOGLE:
    20   They were cut off for about two weeks, right, Best   20       Q That's -- that's not my question, sir.
    21   Care?                                                21       A That's the best I can answer.
    22           MR. COLLINS: Objection. Assumes facts        22       Q My question is, is it your testimony
    23   not in evidence, foundation.                         23   that your responsibilities as director of
    24           THE WITNESS: I don't remember.               24   operations at New Castle does not include knowing

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     1   who you're selling to and what purpose they're          1   BY MR. BOGLE:
     2   using those pills for?                                  2       Q Did you trust them to let those pills
     3            MR. COLLINS: Objection. Argumentative,         3   out of your facility that ultimately they were --
     4   compound, vague, calls for a legal conclusion.          4   one of their owners was arrested for diverting?
     5            THE WITNESS: Can you repeat the                5           MR. COLLINS: Objection. The question
     6   question?                                               6   is vague, "them."
     7   BY MR. BOGLE:                                           7           THE WITNESS: I wouldn't trust an owner
     8        Q Right. Is it your testimony here today           8   that was arrested for diversion, no.
     9   that it's not your responsibility as director of        9   BY MR. BOGLE:
    10   operations for New Castle to know who you're           10       Q But you did trust that owner.
    11   selling to and what they're using the products for     11           MR. COLLINS: Objection. Argumentative.
    12   that you're selling them?                              12   BY MR. BOGLE:
    13            MR. COLLINS: Objection. Calls for a           13       Q Right?
    14   legal conclusion. It's compound and it's also          14           MR. COLLINS: Objection. Argumentative.
    15   vague.                                                 15           THE WITNESS: I protest to the word
    16            THE WITNESS: The best I can answer that       16   "trust." I didn't know him.
    17   is I know my customers, and when I don't, I make       17   BY MR. BOGLE:
    18   sure the DRA and the VP/GM know.                       18       Q Okay. Do you know anybody that did at
    19   BY MR. BOGLE:                                          19   McKesson?
    20        Q Okay. So you knew -- you knew the folks         20       A Yeah, Jim --
    21   at Best Care then, right?                              21       Q That did know that customer?
    22            MR. COLLINS: Objection. Assumes facts         22       A Yeah, Jim Gavatorta did, and so did
    23   not in evidence.                                       23   Brian.
    24            THE WITNESS: Not personally, no.              24       Q Brian Ferreira?
                                                     Page 307                                                 Page 309
     1   BY MR. BOGLE:                                           1      A Yeah.
     2       Q You say it's your responsibility to know          2       Q Okay. So they would be the ones to say
     3   the customer or the DRA knows them, so either you       3   whether they were trustworthy prior to this arrest
     4   knew them or the DRA knew them. Who knew them?          4   being made, right?
     5          MR. COLLINS: Objection. Argumentative,           5      A I can't answer to that. I just know
     6   compound.                                               6   they knew them.
     7          THE WITNESS: I can't answer that for             7       Q Okay. I'm going to hand you what I'm
     8   the DRA or the VP/GM.                                   8   marking as Exhibit 1.1794, also marked as
     9   BY MR. BOGLE:                                           9   Exhibit 22.
    10       Q What about you, did you know them?               10          (Snider Exhibit No. 22 was marked
    11       A I didn't --                                      11          for identification.)
    12          MR. COLLINS: Objection. Question is             12   BY MR. BOGLE:
    13   compound.                                              13       Q All right. And you see this is a
    14          THE WITNESS: -- know them personally.           14   monthly report from a Tim Foster to an Andrew
    15   BY MR. BOGLE:                                          15   Moore, June 2014 monthly report.
    16       Q Did you find them trustworthy to give            16          Do you see that?
    17   them all those pills?                                  17          MR. COLLINS: Objection. Found- --
    18          MR. COLLINS: Objection.                         18   BY MR. BOGLE:
    19          THE WITNESS: I didn't know --                   19       Q First page.
    20          MR. COLLINS: I'm sorry. Please let me           20          MR. COLLINS: Objection. Foundation.
    21   finish my objection.                                   21          THE WITNESS: It looks like it. I'm not
    22          THE WITNESS: Sorry.                             22   familiar with this document.
    23          MR. COLLINS: These questions are vague,         23   BY MR. BOGLE:
    24   compound, argumentative.                               24       Q Okay. Well, let me ask you, on page 2,

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     1   I think it references something on Best Care. I       1   "Rich Mace, owner of Mace's Pharmacies, purchased
     2   want to know if you knew this independent of this     2   the Best Care Belington location and closed on
     3   document.                                             3   this sale on May 16th."
     4           It says on point 2, it's the -- one,          4           Do you see that?
     5   two, three, four, five, six -- sixth bullet point     5      A Yes.
     6   that starts with "Mario Blount." Do you see that      6       Q Okay. And Mace's Pharmacy, that's
     7   paragraph?                                            7   another one we discussed earlier and reviewed some
     8       A Yes.                                            8   TCRs for, right? Remember talking about that
     9        Q Okay. It says: "Mario Blount, partial          9   earlier today with me?
    10   owner of the Best Care Group, was arrested in        10      A Yes, I do. Yes.
    11   early June on numerous narcotics charges, several    11       Q Okay. Same guy, right, Mace's?
    12   in relation to drug overdose deaths. As a result,    12           MR. COLLINS: Objection. Foundation.
    13   we shut off all narcotics at both Best Care          13   BY MR. BOGLE:
    14   locations, Bridgeport and Lumberport, on Friday,     14       Q Mace's Pharmacy, do you remember talking
    15   6/6. After a review of their dispensing and          15   about that?
    16   surveys, we were unable to turn narcotics back on    16           MR. COLLINS: What's the question?
    17   because Blount was still listed as a 10 percent      17           THE WITNESS: I answered that "yes."
    18   owner. As of 6/20, Blount was bought out of the      18   BY MR. BOGLE:
    19   group, and we were able to review them again. On     19       Q Okay. Are you familiar with Martella's
    20   6/24, Drew Schwichow did site visits and will make   20   Pharmacy in Pennsylvania?
    21   a determination from there, and from that, they      21      A Yes.
    22   were turned on 6/26."                                22       Q And that's a pharmacy that the New
    23           Do you see that?                             23   Castle Distribution Center has serviced over the
    24       A I do.                                          24   years, right?

                                                 Page 311                                                     Page 313
     1       Q Twenty days that you guys weren't               1      A Yes.
     2   providing them narcotics, right?                      2       Q Okay. And when they were brought on as
     3           MR. COLLINS: Objection. Assumes facts         3   a new customer in late 2010, they immediately
     4   not in evidence, lack of foundation.                  4   began requesting threshold increases for opioids,
     5   BY MR. BOGLE:                                         5   right?
     6       Q 6/6 to 6/26, that's 20 days that you            6      A I don't recall that.
     7   guys stopped providing them narcotics, including      7       Q You don't know. Okay.
     8   opioids, right?                                       8          Do you recall them in 2010 threatening
     9           MR. COLLINS: Objection --                     9   to go to another distributor if those increases
    10   BY MR. BOGLE:                                        10   weren't approved?
    11       Q Based on this document.                        11      A No.
    12           MR. COLLINS: Objection. Compound,            12          (Snider Exhibit No. 23 was marked
    13   argumentative, assumes facts not in evidence,        13          for identification.)
    14   lacks foundation.                                    14   BY MR. BOGLE:
    15           THE WITNESS: I can't say to what Tim         15       Q There's Exhibit 2- --
    16   put in this document.                                16          Do you need to --
    17   BY MR. BOGLE:                                        17      A No.
    18       Q Okay.                                          18       Q Exhibit 23, also marked as 1.1900.
    19      A I don't know that.                              19          MR. COLLINS: This is 23?
    20       Q Do you recall ceasing sales to any of          20          MR. BOGLE: Yeah.
    21   these Best Care locations for more than 20 days?     21   BY MR. BOGLE:
    22      A I don't recall how many days we ceased          22       Q Okay. It's a string of e-mails here,
    23   sales of any controls.                               23   but I want to start with the threshold change
    24       Q Okay. And the next bullet point says:          24   request e-mail, which is the last one in the

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     1   document on page .2.                                 1   a close eye on them. If they do happen to show up
     2          Do you see it's from SharePoint,              2   on the 80 percent report, I will do the TCR
     3   October 19, 2010?                                    3   immediately, if you don't mind."
     4      A Yes.                                            4           And then John responds: "Waiting for an
     5       Q To Dale Nusser, cc'ing other                   5   item to show up at 80 percent isn't going to work.
     6   individuals, including you?                          6   They omitted on an item yesterday before the 80
     7      A Yes.                                            7   percent report came out. We need to adjust their
     8       Q Okay. And this relates to threshold            8   numbers across the board. Please work with
     9   increases that were approved for multiple drugs,     9   Michael to get this issue resolved. We can't be
    10   including increasing the oxycodone threshold to     10   in a reactionary mode right now with them."
    11   12,000 doses on this date, right?                   11           Do you see that?
    12      A That's what it says, yes.                      12       A Yes.
    13       Q Okay. And it says in the paragraph            13       Q Okay. This 80 percent report, that
    14   above the three drugs that are noted to be          14   references customers at this point in time in
    15   increased: "New customer load. Customer was         15   2010, once they had reached a certain percentage,
    16   loaded to the lower thresholds than expected."      16   in this instance 80 percent, there would be a
    17          Do you see that?                             17   report sent to the folks at McKesson, which would
    18      A Yes.                                           18   then trigger them to reach out to the customer and
    19       Q Okay. And so if you go up to the              19   see if they wanted to increase their thresholds,
    20   e-mails that follow, going up from there, there's   20   right?
    21   an e-mail from Dale Nusser to John Kuczynski,       21           MR. COLLINS: Objection. Form, lack of
    22   October 19, 2010 thereafter.                        22   foundation, assumes facts not in evidence.
    23          Do you see that e-mail?                      23           THE WITNESS: No, they wouldn't -- we
    24      A Yes.                                           24   wouldn't call that. They would call us when it
                                                 Page 315                                                  Page 317
     1       Q Okay. There Dale says: "John,                  1   was over the threshold.
     2   Martella's is ready to go for ordering. Michael      2   BY MR. BOGLE:
     3   approved the TCR with no questions."                 3       Q So you're saying that in this time frame
     4           Do you see that?                             4   in October 2010, McKesson would not call on
     5       A Sorry.                                         5   customers and say, Hey, you've hit your 80 percent
     6       Q The e-mail starts on point -- the first        6   mark; do you want more?
     7   page and carries over to the second.                 7          MR. COLLINS: Objection.
     8           MR. COLLINS: If you need a moment to         8   BY MR. BOGLE:
     9   review it, why don't you review it.                  9       Q Do you want to increase your threshold?
    10           THE WITNESS: I'm sorry. Where is that,      10          MR. COLLINS: Objection. Form, vague.
    11   please? What part of that first page?               11          THE WITNESS: Not that I know of, no.
    12   BY MR. BOGLE:                                       12   BY MR. BOGLE:
    13       Q So the bottom of the first page just          13       Q Okay. Do you recall ever being copied
    14   introduces the e-mail. The text I just read you     14   on e-mails where customers were notified that they
    15   is on the top of page 2.                            15   had reached 75 or 80 percent of their threshold
    16       A Oh, okay. Yeah, I see that now.               16   and asked whether they want to increase it?
    17       Q Okay. Now, John Kuczynski, he's in            17       A I don't recall that, no.
    18   what, sales?                                        18       Q Okay. So you don't know what this
    19       A Yes.                                          19   80 percent report is that's being referenced here?
    20       Q Okay. So John responds back to Dale and       20       A I didn't say that. I do know what it
    21   says: "What about the overall thresholds? Is he     21   is.
    22   adjusting everything?"                              22       Q What's the 80 percent report then?
    23           And the response by Dale to that on the     23       A That they reached 80 percent of their
    24   next e-mail is: "Michael didn't say. I will keep    24   threshold.

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     1       Q Right. And that the customer will be            1   the middle. Do you see it's an e-mail from
     2   notified of that, right?                              2   Jennifer -- Jennifer Melvin to you and several
     3       A No, I already testified that that wasn't        3   others? Do you see that, October 21, 2010?
     4   the way I did it.                                     4      A Yes.
     5       Q And that's not how that would be done           5       Q And this references Martella's Pharmacy,
     6   for any customers of New Castle. Is that your         6   right?
     7   testimony?                                            7      A Yes.
     8       A Not that I know of, no.                         8       Q And it says: "ServiceFirst" --
     9       Q Okay.                                           9           What is ServiceFirst?
    10       A I also wanted to add that it says here:        10      A It's a customer care center.
    11   "Please attach usage report provided by customers    11       Q Okay. Part of McKesson?
    12   for all products as a part of the due diligence."    12      A Yes.
    13       Q Okay. But there's no report attached to        13       Q -- "has began calling on all of the NE
    14   the document provided to us, right?                  14   regions CSMP 85 to 99.99 percent threshold calls
    15       A But it says it in the e-mail, so --            15   this month."
    16       Q It asks for it to be attached, right?          16           Do you see that?
    17           MR. COLLINS: Objection.                      17      A Yes.
    18   Mischaracterization.                                 18       Q "Evidently, Martella's was called by the
    19   BY MR. BOGLE:                                        19   sales rep last month, and then both ServiceFirst
    20       Q There's no report attached. That's all         20   and the sales rep this month, and is upset that
    21   I can say. I mean, I see -- I hear what you're       21   his thresholds are not where he feels they should
    22   adding here.                                         22   be. Today ServiceFirst called on hydrocodone, the
    23       A Yeah.                                          23   account was at 91.58 percent, so they also would
    24       Q But it's not here.                             24   have received a notice on their invoice."
                                                  Page 319                                                 Page 321
     1           MR. COLLINS: Objection. It's a                1           And then it says: "ServiceFirst only
     2   mischaracterization of the exact language in the      2   makes one call per month to the account. We
     3   document.                                             3   wanted you to know that the account was very
     4   BY MR. BOGLE:                                         4   unhappy and threatened to pull his business from
     5       Q Is there any usage report attached to           5   McKesson. Please review and see if there's
     6   this e-mail chain?                                    6   anything else that may need to be looked at
     7      A I don't see that you have it here.               7   regarding his thresholds."
     8       Q Okay. I have what was given to me.              8           Do you see that e-mail?
     9           And I want to look at some further            9      A Yes.
    10   information on Martella's in this request for        10       Q Okay. And so this indicates that
    11   threshold increases. The threshold increase that     11   ServiceFirst and the sales rep responsible for
    12   were being requested in October of 2010, you're      12   this account were certainly calling this customer
    13   the one that ultimately approved those, right?       13   once -- in this instance, they reached the 85
    14           MR. COLLINS: Objection to the form.          14   percent mark, right?
    15           THE WITNESS: No.                             15           MR. COLLINS: Objection.
    16   BY MR. BOGLE:                                        16   BY MR. BOGLE:
    17       Q You weren't? Okay.                             17       Q Of the threshold.
    18           (Snider Exhibit No. 26 was marked            18           MR. COLLINS: Objection to the form.
    19           for identification.)                         19           THE WITNESS: I don't know if it doesn't
    20   BY MR. BOGLE:                                        20   mean that they called them because they were over
    21       Q I hand you Exhibit 26, also marked as          21   the threshold or that they called them first, but
    22   1.1842.                                              22   I don't recall ServiceFirst doing this.
    23           All right. So looking -- I want to           23   BY MR. BOGLE:
    24   start by looking at an e-mail on the first page in   24       Q Well, you see the sentence that says:

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     1   "Today ServiceFirst called on the hydrocodone, the    1        Q You don't know?
     2   account was at 91.85 percent."                        2       A No, I don't remember from this e-mail.
     3          So that indicates a call was made before       3        Q Okay. But you wouldn't have approved it
     4   they had reached the threshold, right? They're 91     4   anyway, right, because you don't -- you don't
     5   percent.                                              5   approve threshold increases, right?
     6          MR. COLLINS: Objection to the form.            6       A I submit them and let the DRA, which I
     7          THE WITNESS: I think that's what               7   think was Michael at the time, vet it out fully.
     8   Jennifer is trying to say here.                       8        Q But you don't approve them yourself.
     9   BY MR. BOGLE:                                         9   That's been your testimony throughout this
    10       Q Right. So that's news to you that those        10   deposition, right?
    11   kind of calls were being made before a threshold     11       A I submit them.
    12   was reached?                                         12        Q Right. But you don't approve them,
    13      A I did not remember that.                        13   right?
    14       Q Okay. It's your --                             14       A I submit them.
    15      A Or like I say, I can't testify that they        15        Q Okay. Well, I'm asking you, do you
    16   weren't called because the previous month they       16   approve them? Did you approve them in 2010?
    17   went over the threshold or that the customer         17           MR. COLLINS: Objection to the form.
    18   called them already. I don't know that.              18   It's vague.
    19       Q What we do know here indicated from            19           THE WITNESS: I submitted them.
    20   Jennifer, she is saying ServiceFirst called them     20   BY MR. BOGLE:
    21   on hydrocodone, at the very least, before the        21        Q Okay. Is there a difference in your
    22   threshold was reached.                               22   mind between submitting and approving a threshold
    23      A For whatever reason.                            23   increase?
    24          MR. COLLINS: Objection to the form.           24       A Yes. The way you put the words, it's
                                                  Page 323                                                  Page 325
     1   BY MR. BOGLE:                                         1   like I can make a threshold happen, and I'm trying
     2       Q All right. And then so John Kuczynski           2   to testify that I cannot of and on my own put a
     3   responds to that e-mail on October 22, 2010, the      3   threshold through.
     4   second paragraph, he says: "I'm meeting with          4           (Snider Exhibit No. 27 was marked
     5   Martella's in about an hour, and I'm going to         5           for identification.)
     6   reassure him that we are addressing this issue.       6   BY MR. BOGLE:
     7   Please make sure every effort is made to adjust       7       Q Okay. I'm handing you what's marked as
     8   their threshold levels prior to them hitting the      8   1.1843, Exhibit 27.
     9   85 percent level to prevent omits or SF from          9           This is a continuation of the discussion
    10   calling them."                                       10   regarding Martella's. And you see here the last
    11           SF being ServiceFirst, right?                11   e-mail, it's another SharePoint e-mail from
    12      A I would think.                                  12   October 25, 2010, noting that the threshold
    13       Q Okay. Do you see that reference there?         13   increase has been approved by you and Michael
    14      A Yes.                                            14   Oriente for five drugs, including hydrocodone and
    15       Q Okay. And so this -- strike that.              15   methadone, right, for Martella's?
    16           So the hydrocodone increase in October       16           MR. COLLINS: Objection to form.
    17   2010 that's being referenced here potentially, you   17           THE WITNESS: That's what this e-mail
    18   didn't approve that ultimately?                      18   says from SharePoint.
    19           MR. COLLINS: Object.                         19   BY MR. BOGLE:
    20   BY MR. BOGLE:                                        20       Q And the hydrocodone increase was by
    21       Q Is that your testimony?                        21   20 percent is what's indicated, right?
    22           MR. COLLINS: Objection to the form.          22       A Yes.
    23           THE WITNESS: No. I -- I don't know.          23       Q Methadone by 20 percent, right?
    24   BY MR. BOGLE:                                        24       A Yes.

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     1        Q Okay. And the change type is noted to             1       A I'm sorry, I skipped the -- I was
     2   be permanent. Right?                                     2   looking at the one before that. "I met with Joel
     3       A Yes.                                               3   Martella," you want the one above that?
     4        Q And this was approved without dispensing          4       Q I'm reading the e-mail that you sent on
     5   data, wasn't it?                                         5   October 26, 2010.
     6           MR. COLLINS: Objection. Assumes facts            6           MR. COLLINS: Objection. The witness is
     7   not in evidence, form.                                   7   confused and lost. If you could direct him to
     8           THE WITNESS: I -- I disagree with that.          8   where you're --
     9   BY MR. BOGLE:                                            9   BY MR. BOGLE:
    10        Q Okay. You see where it says "DRA                 10       Q Sure. October 26, 2010, second e-mail
    11   approval comments" at the bottom, "Completed.           11   on the page from you to John Kuczynski. I'll read
    12   Please secure from customer hydrocodone dispensing      12   it again.
    13   data ASAP." Do you see that?                            13           "Can you get what Michael requested?
    14       A I see it.                                         14   The usage was incomplete. I believe Dale said
    15        Q Okay. So you're saying he already had            15   something? I upped them to about the highest I've
    16   it, but for some reason he -- Mr. Oriente wanted        16   ever done anyone as per previous e-mails."
    17   to get it again?                                        17           That's what you said to Mr. Kuczynski,
    18           MR. COLLINS: Objection. Argumentative,          18   right?
    19   form.                                                   19       A Yes.
    20           THE WITNESS: I can't answer to what he          20       Q You didn't say that Michael Oriente
    21   meant, but he -- he could have meant it was -- we       21   upped them; you said you upped them, right?
    22   have the data.                                          22       A Yes, but I can't do that myself. I
    23   BY MR. BOGLE:                                           23   can't put a threshold through without DRA
    24        Q It could have meant he -- you had the            24   approval.
                                                    Page 327                                                  Page 329
     1   data when he said you need to get the data. Is           1       Q But what you say here is that you upped
     2   that your testimony?                                     2   them, right? And you were a little concerned
     3          MR. COLLINS: Objection. Form,                     3   about that, right --
     4   argumentative. Calls for speculation as to what          4          MR. COLLINS: Object --
     5   this witness thought somebody other -- somebody          5   BY MR. BOGLE:
     6   else meant when they wrote something.                    6       Q -- because you didn't have the usage
     7          THE WITNESS: I can't answer to what               7   data?
     8   Michael meant on that e-mail.                            8          MR. COLLINS: If that's a question, I
     9   BY MR. BOGLE:                                            9   object. It's compound multiple ways. It's
    10       Q Okay. Well, let's keep looking at this            10   argumentative.
    11   e-mail chain.                                           11          THE WITNESS: I asked the DRA to do his
    12          You then say on the next e-mail,                 12   due diligence, which he did. The pharmacy had
    13   October 25, 2010, at 1:52, to John Kuczynski:           13   trouble with the usage data, and I said it was
    14   "John, when can you get the usage?"                     14   incomplete. And I can't make it up them at any
    15          Do you see that?                                 15   point in time. I can't do that.
    16      A Yes.                                               16   BY MR. BOGLE:
    17       Q Okay. Then your next e-mail to John on            17       Q It was --
    18   October 26 says again: "Can you get what Michael        18      A I can't even do it in the system.
    19   requested? The usage was incomplete. I believe          19       Q It was incomplete, but the threshold was
    20   Dale said something," question mark. "I've upped        20   approved, right?
    21   them to about the highest I've ever done anyone as      21          MR. COLLINS: Objection.
    22   per previous e-mails. Will you be able to call to       22   BY MR. BOGLE:
    23   discuss?"                                               23       Q And you're still concerned the next day
    24          Do you see that?                                 24   where is the data, right? That's what you're

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     1   talking about here, isn't it?                      1       Q Sir, was that a false statement when you
     2           MR. COLLINS: Objection. It's three         2   made it in the e-mail?
     3   questions. Compound. It's argumentative. It's      3          MR. COLLINS: Objection. Calls for
     4   been asked and answered.                           4   speculation, argumentative.
     5   BY MR. BOGLE:                                      5          THE WITNESS: No.
     6       Q You're still looking for the data the        6   BY MR. BOGLE:
     7   next day, aren't you?                              7       Q Okay. And there were additional
     8       A I'm making sure the due diligence is         8   threshold increases approved for Martella's for
     9   done. I don't know what Michael had.               9   hydrocodone after this date, right?
    10       Q Well, you know that you had said that       10          MR. COLLINS: Objection. Assumes facts
    11   you upped it, and you wanted to see the data,     11   not in evidence. Lack of --
    12   right, because you didn't have it?                12   BY MR. BOGLE:
    13           MR. COLLINS: Objection. The question      13       Q Do you know?
    14   is compound again.                                14          MR. COLLINS: Lack of foundation.
    15   BY MR. BOGLE:                                     15          THE WITNESS: I don't know.
    16       Q Would you ask to see data that you had?     16          (Snider Exhibit No. 28 was marked
    17       A I didn't ask to see it.                     17          for identification.)
    18       Q You didn't. You said: "Can you get          18   BY MR. BOGLE:
    19   what Michael requested?"                          19       Q All right. Let's take a look at
    20       A Yes.                                        20   Exhibit 28, 1.1901.
    21       Q "I upped them to about the highest I've     21          This is the following month, the first
    22   ever done anyone."                                22   e-mail at the bottom from SharePoint, November 23,
    23       A Right. That doesn't mean I did it           23   2010, to Joel Zwick, cc'ing several individuals,
    24   because I can't. That's the point I'm trying to   24   including you, right?

                                               Page 331                                                    Page 333
     1   make: I can't up a threshold myself.               1      A I'm sorry. It's from -- oh, to Joel
     2        Q Okay. So that just wasn't true when you     2   Zwick?
     3   said that.                                         3       Q Yeah.
     4           MR. COLLINS: Objection. Argue- --          4      A Yeah.
     5   BY MR. BOGLE:                                      5       Q Cc'ing multiple people, including you,
     6        Q Right? That's a false statement?            6   right?
     7           MR. COLLINS: Objection. Argumentative.     7      A Yes.
     8           You don't have to answer that.             8       Q And this relates to a threshold change
     9   BY MR. BOGLE:                                      9   for Martella's in November 2010, right?
    10        Q True?                                      10      A Yes.
    11           Yeah, you do.                             11       Q Okay. And this notes that Dale Nusser
    12           MR. COLLINS: No, you don't.               12   and Michael Oriente approving a 2,000 dose
    13   BY MR. BOGLE:                                     13   increase for hydrocodone for Martella's on
    14        Q That was a false statement when you made   14   November 23rd, right?
    15   it in the e-mail --                               15          MR. COLLINS: Objection. Foundation.
    16           MR. COLLINS: Object.                      16          THE WITNESS: The director of Regulatory
    17   BY MR. BOGLE:                                     17   Affairs approved it. I don't see the -- the
    18        Q -- is that your testimony?                 18   record of it, but it looks like he says he
    19           MR. COLLINS: Objection. Argumentative.    19   approved it. I'm not sure.
    20   BY MR. BOGLE:                                     20   BY MR. BOGLE:
    21        Q You can answer it.                         21       Q Okay. Well, the -- okay.
    22           MR. COLLINS: Argumentative. Object to     22          And in the paragraph -- the second sort
    23   the theatrics.                                    23   of paragraph there notes "Change type:
    24   BY MR. BOGLE:                                     24   Permanent," right?

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     1       A Yes, that's right.                                  1   November 30, 2016."
     2       Q And the reason again being: "Business               2           And then it provides the location for
     3   growth should be supported by corresponding sales         3   Martella's, and it says it's currently serviced
     4   increase."                                                4   out of the New Castle No. 8772 Distribution
     5          The same thing we've seen throughout the           5   Center.
     6   deposition, right?                                        6           That's the number for New Castle, right?
     7       A It says: "New customer still adjusting              7       A Yes.
     8   thresholds to accommodate purchases. Also, there          8       Q "The DEA subpoena was faxed to director
     9   are four accounts under this DEA number. The              9   of operation for New Castle DC, Blaine Snyder."
    10   number of scripts have increased for all four            10           That's you, right?
    11   pharmacies."                                             11       A Yes. It's spelled wrong, but that's me.
    12       Q Okay. Do you see that there?                       12       Q I figured there is not another Blaine
    13       A Yes.                                               13   Snider.
    14       Q Okay. Do you see any proof of their                14           And if you go to .3, page .3 in this
    15   purchases attached to this e-mail?                       15   document, third page, there's a purchase history
    16       A No.                                                16   review section in the middle, and it says:
    17       Q And Dale Nusser responds to this e-mail            17   "Current solver information for fiscal year '17,
    18   to John Kuczynski saying: "John, they are                18   Quarter 2, revealed that the business control
    19   approved and ready to order for tomorrow."               19   ratio is 21.17 percent. This is above the mean
    20          Do you see that?                                  20   for control prescriptions in the New Castle DC."
    21       A Yes.                                               21           Do you see that?
    22       Q And in 2016, you actually received a               22       A Yes, I see it.
    23   subpoena from the DEA for information about              23       Q So you see this is identifying a
    24   controlled substances that McKesson -- that the          24   potential red flag with a ratio of the number of
                                                       Page 335                                                 Page 337
     1   New Castle center supplied to Martella's, right?          1   controlled substances versus total purchases,
     2          MR. COLLINS: Objection. Foundation.                2   right?
     3          THE WITNESS: I would have to see that.             3       A I can testify that I don't know this
     4   BY MR. BOGLE:                                             4   document and I've never seen this.
     5       Q You don't remember that?                            5       Q Okay. So you don't know what that means
     6          (Snider Exhibit No. 29 was marked                  6   when he says that?
     7          for identification.)                               7       A I can't speculate on that.
     8   BY MR. BOGLE:                                             8       Q Okay. Well, you did receive the
     9       Q All right. Exhibit 29, also                         9   subpoena, you don't dispute that when it says that
    10   Exhibit 1.1902.                                          10   in this document?
    11          Okay. We see this is McKesson's                   11       A No, I got -- if it says I did, I'm sure
    12   Controlled Substance Monitoring Program,                 12   I got it --
    13   Regulatory Investigative Report dated December 15,       13       Q Okay.
    14   2016.                                                    14       A -- and passed it on to Aaron.
    15          Do you see that?                                  15       Q And Martella's orders were not blocked
    16      A Yes.                                                16   for controlled substances after the subpoena was
    17       Q Related to customer's name, Martella's             17   received, right?
    18   Pharmacy, right?                                         18           MR. COLLINS: Objection. Foundation.
    19      A Yes.                                                19           THE WITNESS: I don't know.
    20       Q And in the first paragraph under                   20   BY MR. BOGLE:
    21   "Details," it says: "This report is in reference         21       Q You don't know if your distribution
    22   to a DEA administrative subpoena received on             22   center kept giving them pills?
    23   December 13, 2016, for all invoicing records for         23       A I don't remember when they were blocked.
    24   Martella's Pharmacy from January 1, 2015, through        24   I apologize. I just don't know.

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     1       Q Okay. You know, though, that just last         1   BY MR. BOGLE:
     2   week the owner of Martella's was indicted on 109     2        Q He was a customer of McKesson's New
     3   counts of diversion of controlled substances,        3   Castle Distribution Center --
     4   right?                                               4       A Yes.
     5      A Yes, I read that. Izzy sent that to me.         5        Q -- during that time frame, right?
     6       Q Okay. Sent it to you when?                     6           MR. COLLINS: Objection.
     7      A Tuesday or Wednesday.                           7           THE WITNESS: Yes, he was.
     8       Q Okay. So you've seen that recently,            8           MR. COLLINS: Objection. The question
     9   right?                                               9   is --
    10      A Yes.                                           10   BY MR. BOGLE:
    11       Q Okay. And you know that that indictment       11        Q And as we just saw from the e-mails we
    12   pertains to controlled substances that were         12   just -- the e-mail and the investigative report
    13   provided to Martella's by your distribution         13   from 2016, those purchases included four opioids,
    14   center, right?                                      14   right?
    15           MR. COLLINS: Objection. Lack of             15           MR. COLLINS: Objection. Assumes facts
    16   foundation, assumes facts not in evidence.          16   not in evidence.
    17           THE WITNESS: I don't know if it says        17           THE WITNESS: I don't know the subpoena,
    18   that. I did not read that.                          18   but he did have opioid purchases.
    19   BY MR. BOGLE:                                       19           (Snider Exhibit No. 30 was marked
    20       Q Do you know, though? I mean, when you         20           for identification.)
    21   got this just a couple of days ago, did you look    21   BY MR. BOGLE:
    22   and say, Boy, was my distribution center the one    22        Q Okay. I'm going to hand you what's
    23   giving them stuff?                                  23   marked as Exhibit 30, 1.1905.
    24           MR. COLLINS: Objection. Calls for           24           Do you see it's another DOJ press
                                                 Page 339                                                      Page 341
     1   speculation. Foundation.                             1   release from November 2nd, 2018, just a few days
     2           THE WITNESS: I read it.                      2   ago. And the title is "Johnstown pharmacist
     3   BY MR. BOGLE:                                        3   charged with -- charged in 109-count indictment
     4        Q Okay. But, again, you didn't follow up        4   with illegally creating bogus prescriptions and
     5   to see if you guys were the ones supplying them?     5   then dispensing the drugs."
     6       A I will say this: It was in Izzy's hands        6           Do you see that title?
     7   and the director of Regulatory Affairs. We used      7       A Yes, I do.
     8   to call it a Level III.                              8       Q Okay. Thereafter it says: "A
     9        Q Okay. But you do know as of 2016, with        9   Johnstown, PA, pharmacist has been indicted by a
    10   this DEA subpoena, and going back as far as 2010    10   federal grand jury in Pittsburgh on charges of
    11   in the documents we looked at, during that time     11   dispensing and distributing controlled substances
    12   period certainly McKesson and your distribution     12   and conspiring to distribute and dispense
    13   center specifically was supplying Martella's,       13   controlled substances, by United States Attorney
    14   right?                                              14   Scott W. Brady announced today."
    15           MR. COLLINS: Objection. The question        15           Then it says: "The 109-count indictment
    16   is vague. Form.                                     16   returned on October 30th named Joseph M. Martella,
    17           THE WITNESS: I don't know if we were        17   53, of Johnstown, Pennsylvania."
    18   supplying all of his controls or pharmaceuticals.   18           Then it says: "According to the
    19   BY MR. BOGLE:                                       19   indictment presented to the court, Martella owned
    20        Q I didn't ask you if you were supplying       20   and operated Martella's Pharmacy located on
    21   all. I said that you were supplying him, right?     21   Franklin Street in Johnstown. The indictment
    22       A Some.                                         22   alleges that Martella, a pharmacist, conspired
    23        Q He was a customer.                           23   with Dr. Peter James Ridella, who previously
    24           MR. COLLINS: Objection. Form.               24   pleaded guilty, and with an individual known as JR

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     1 to create and submit unlawful prescriptions for              1           MR. BOGLE: No.
     2 oxycodone; oxycodone and acetaminophen, also known           2           MR. COLLINS: Okay.
     3 as Percocet; oxymorphone, also known as Opana;               3           MR. BOGLE: You're entitled to nothing
     4 morphine sulfate, also known MS Contin; and                  4   of the sort.
     5 hydrocodone and acetaminophen, also known as                 5           MR. COLLINS: Okay. Well --
     6 Vicodin, and then unlawfully dispensed those                 6   BY MR. BOGLE:
     7 controlled substances to other persons."                     7       Q "From in and around April 2011 and
     8           Do you see that?                                   8   continuing thereafter to in and around June 2016
     9       A I see that, yeah.                                    9   in the Western District of Pennsylvania, the
    10       Q Okay. And have you done any sort of                 10   Defendant Joseph M. Martella," and it goes on to
    11   investigation in the last week as to the time             11   repeat sort of the allegations I talked about as
    12   period covered in this indictment when these              12   far as the diversion of controlled substances,
    13   alleged violations occurred?                              13   including opioids.
    14           MR. COLLINS: Objection. The question              14           Do you see that?
    15   is vague. It's compound.                                  15       A Yes, I see it.
    16           THE WITNESS: No, I actually didn't see            16       Q Okay. So the time period April 2011
    17   this article, but Izzy sent me another article            17   to June 2016 -- first of all, April 2011, that's
    18   about the newspaper.                                      18   just a few months after you noted in an e-mail
    19   BY MR. BOGLE:                                             19   that you approved a threshold increase as high as
    20       Q Okay. So --                                         20   you had ever done, right?
    21       A And --                                              21           MR. COLLINS: Objection.
    22       Q I'm sorry, go ahead.                                22   BY MR. BOGLE:
    23       A I was told by the manager, Izzy's boss,             23       Q Do you remember that e-mail?
    24   to make sure I cut off Franklin Street Pharmacy,          24           MR. COLLINS: Objection. The question
                                                        Page 343                                                Page 345
     1   and I did. Oh, he does that. I just make sure              1   is compound. It's actually three questions. It's
     2   there was no will-calls or anything.                       2   also vague.
     3       Q That was after the indictment, though,               3   BY MR. BOGLE:
     4   right?                                                     4       Q Do you remember the e-mail? We can pull
     5      A Yes. Well, I believe so. It was, I                    5   it back out.
     6   believe, Sunday or Monday. I don't remember which          6       A I sent --
     7   day.                                                       7       Q I'm happy to pull it back out.
     8       Q Okay.                                                8       A I sent a threshold. That's what I
     9           (Snider Exhibit No. 31 was marked                  9   testified to.
    10           for identification.)                              10       Q All right. Let's pull it back out.
    11   BY MR. BOGLE:                                             11           1.1843, Exhibit 27. Do you have that
    12       Q I'm handing you Exhibit 31 to your                  12   e-mail?
    13   deposition, 1.1904.                                       13           MR. COLLINS: Can you give an exhibit
    14           This is the actual indictment for                 14   number?
    15   Martella's. And if you look to the point I just           15           MR. BOGLE: 27.
    16   asked you about the covered period for this               16   BY MR. BOGLE:
    17   conduct, on page 10, do you see the paragraph             17       Q Do you recall looking at this e-mail,
    18   starts there "From in and around"?                        18   the one on the first page here, the second e-mail
    19           MR. COLLINS: I'm sorry. Can I have a              19   on the page from October 26, 2010, where you tell
    20   proffer as to the relevance of this? It certainly         20   John Kuczynski: "I upped them to about the
    21   doesn't involve Summit County, it doesn't involve         21   highest I've ever done anyone as per previous
    22   Cuyahoga County, it doesn't involve the cities of         22   e-mails"? Do you see that?
    23   Cleveland or Canton. Can I have a proffer as to           23       A I see this.
    24   the relevance?                                            24       Q And that involved threshold increases

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     1   for drugs including methadone and hydrocodone,      1   BY MR. BOGLE:
     2   right?                                              2       Q Do you see that?
     3           MR. COLLINS: Objection. Lack of             3          MR. COLLINS: See what?
     4   foundation.                                         4   BY MR. BOGLE:
     5   BY MR. BOGLE:                                       5       Q See that in the indictment? The covered
     6        Q That's what the form says on the second      6   period was just a few months after the threshold
     7   page.                                               7   that you said you upped.
     8           MR. COLLINS: Objection. Foundation.         8          MR. COLLINS: Objection.
     9   Vague. Argumentative.                               9   Mischaracterization.
    10           THE WITNESS: Yes. I see that Michael       10   BY MR. BOGLE:
    11   approved that.                                     11       Q For hydrocodone and methadone for this
    12   BY MR. BOGLE:                                      12   pharmacy.
    13        Q Okay. You also see your e-mail where        13          MR. COLLINS: Objection. The question
    14   you say you upped it, right?                       14   is compound. It's also argumentative.
    15       A I already discussed that. I didn't up        15          THE WITNESS: I see what it says now.
    16   it. I sent the threshold request. I keep saying    16          MR. BOGLE: I'm moving to a whole other
    17   that.                                              17   topic area. If we can take a break, and we'll
    18        Q Right, right.                               18   reload documents.
    19           Some few -- just a few months before the   19          THE VIDEOGRAPHER: The time is 2:47 p.m.
    20   covered period of conduct discussed in the         20   We're going off the record.
    21   indictment we just looked at, right?               21          (Recess.)
    22           MR. COLLINS: Objection. Compound.          22          THE VIDEOGRAPHER: The time is 3:03 p.m.
    23           THE WITNESS: I don't know.                 23   We're back on the record.
    24           MR. COLLINS: Lack of foundation.           24   BY MR. BOGLE:

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     1   BY MR. BOGLE:                                       1       Q All right. Mr. Snider, I want to shift
     2        Q The covered period starting April 2011?      2   gears to a different topic area.
     3           MR. COLLINS: I'm sorry. The question        3          We talked about earlier that Ohio was
     4   is irrelevant to this litigation.                   4   one of the states that customers -- that your New
     5           MR. BOGLE: I doubt that.                    5   Castle Distribution Center services, right?
     6   BY MR. BOGLE:                                       6      A Yes.
     7        Q Do you see that?                             7       Q And you know that Ohio in recent years
     8           MR. COLLINS: I'm sorry. What's the          8   has had a high level of abuse and diversion of
     9   question?                                           9   opioids within that state, right?
    10   BY MR. BOGLE:                                      10          MR. COLLINS: Objection. Form.
    11        Q Back to -- back to Exhibit 1.1904,          11   Foundation.
    12   Exhibit 31, covered period beginning April 2011.   12          THE WITNESS: I know it's in the papers,
    13           MR. COLLINS: What's the --                 13   yes.
    14   BY MR. BOGLE:                                      14   BY MR. BOGLE:
    15        Q Just a few months after the -- you          15       Q Okay. And you've read those stats,
    16   granting them the biggest increase you had ever    16   right?
    17   done.                                              17      A Yes.
    18           MR. COLLINS: What's the question?          18       Q On that topic.
    19   BY MR. BOGLE:                                      19          MR. COLLINS: Objection. Form.
    20        Q Do you see that?                            20          THE WITNESS: Yeah.
    21           MR. COLLINS: I'm sorry. That's not a       21   BY MR. BOGLE:
    22   proper question. You need to ask a legitimate,     22       Q Okay. I want to hand you what I'm
    23   proper question.                                   23   marking as Exhibit 1.1434, so Exhibit 32.
    24           MR. BOGLE: No, I'm good with that one.     24          (Snider Exhibit No. 32 was marked

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     1          for identification.)                           1   "Current Rx Drug Diversion Trends"? Do you see
     2   BY MR. BOGLE:                                         2   that?
     3       Q This is an e-mail from Krista Peck to a         3      A Yes.
     4   large group of individuals, June 10, 2014. Do you     4       Q Okay. And then it lists various states
     5   see that?                                             5   and various opioid products, right?
     6          MR. COLLINS: Objection. Foundation.            6      A Yes.
     7          THE WITNESS: Yes. It looks --                  7       Q Okay. And for oxycodone, for example,
     8   BY MR. BOGLE:                                         8   Ohio is ranked as number 5 for drug diversion,
     9       Q Okay. And noted in the e-mail, it says:         9   right?
    10   "Attached is the regulatory presentation to the DC   10           MR. COLLINS: Objection. Foundation.
    11   Ops team at National Sales Conference (NSC) in       11   BY MR. BOGLE:
    12   May."                                                12       Q As of 20 -- as of 2013 is what it
    13          Do you see that?                              13   indicates there.
    14      A Yes.                                            14      A That's I think what it indicates.
    15       Q So the DC ops is DC operations,                15       Q Okay. Hydrocodone -- Ohio is listed as
    16   distribution center operations?                      16   number 7 in drug diversion for hydrocodone, right?
    17      A Yes.                                            17      A That's what it looks like, yes.
    18       Q Okay. So that's a meeting you would            18       Q Hydromorphone, number 8 for Ohio, right?
    19   have attended, right?                                19      A Yes.
    20      A What year is it?                                20       Q And for oxymorphone, number 7 for the
    21          MR. COLLINS: Objection.                       21   state of Ohio as far as drug diversion.
    22   BY MR. BOGLE:                                        22      A Yes. I don't know the quantification
    23       Q 2014.                                          23   for drug diversion, but I see the slide for sure.
    24          MR. COLLINS: Objection. Form.                 24       Q And then as far as the authority for
                                                  Page 351                                                  Page 353
     1          THE WITNESS: I don't know if I attended        1   this, it's noted below the chart: "States with
     2   that one.                                             2   highest pharmacy dispensing data 2012. Source:
     3   BY MR. BOGLE:                                         3   DEA Distributors Conference, October 2013."
     4       Q Okay. Is that a meeting you generally           4            Do you see that as the reference?
     5   would attend?                                         5      A I see that.
     6       A Normally, I do. I'm not sure, in 2014,          6       Q Okay. As far as Ohio pharmacies go,
     7   I was exempted because I believe I was -- that's      7   Acme Pharmacy was a pharmacy that you guys
     8   when I was putting up a new distribution center in    8   serviced out of the New Castle Distribution
     9   Delran.                                               9   Center, right?
    10       Q Okay. Would you have -- if you did not         10      A Can you say that again?
    11   attend this specific session, would you generally    11       Q Acme, A-C-M-E.
    12   have requested the materials that were passed        12      A I'm sorry, I don't remember that.
    13   out --                                               13       Q You don't remember Acme?
    14          MR. COLLINS: Objection.                       14      A No.
    15   BY MR. BOGLE:                                        15       Q Okay. Specifically, Acme in Summit
    16       Q -- so you could catch up to speed?             16   County, does that ring a bell at all?
    17          MR. COLLINS: Objection. Form.                 17      A No. I'm sorry.
    18          THE WITNESS: I certainly would think          18       Q Okay. That's fair. That's fine.
    19   so, yes.                                             19            How about Summit Pain Specialists, do
    20   BY MR. BOGLE:                                        20   you recall hearing them, that name?
    21       Q Okay. So I want to look at the -- just         21      A No, I don't.
    22   one slide from this PowerPoint deck that was         22       Q Okay. Were you ever made aware that in
    23   presented in 2014. If you go to page .13.            23   2010, Summit Pain Specialists reached out to
    24          Do you see there is a slide titled            24   McKesson for assistance in opening up its own

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     1   pharmacy?                                             1           He says: "How many days a week would
     2       A No, I was not aware of that.                    2   this thing operate? If you do the math, you would
     3       Q Okay. I'm handing you what I'm marking          3   have 600 scripts a week per doctor. That's 100 a
     4   as Exhibit 33, 1.1896.                                4   day in a six-day week and 120 per day per doctor
     5           (Snider Exhibit No. 33 was marked             5   in a five-day. How much face time would each
     6           for identification.)                          6   patient be getting and does it pass the sniff test
     7   BY MR. BOGLE:                                         7   with the BOP?"
     8       Q I want to start with the e-mail that            8           What's BOP, do you know?
     9   starts on page .4 at the bottom, from Becky Suglio    9       A Board of Pharmacy, I would guess.
    10   to a Kim Diemand, October 18, 2010.                  10       Q Okay. "I am assuming they would be
    11           Do you see that e-mail at the very           11   getting all licenses and that it would be all
    12   bottom?                                              12   above board, but I'm curious as to how they handle
    13       A Yes.                                           13   that volume and extend the right time/care to each
    14       Q Okay. It says -- in the second                 14   patient. I would also want to know how the DEA or
    15   sentence, it says: "I am the administrator of        15   BOP views the potential for a built-in conflict of
    16   Summit Pain Specialists, and I'm considering         16   interest by having a financial benefit for doctors
    17   putting some type of pharmacy within the pain        17   and/or the owner of the pain clinic implied in
    18   center. The physicians write for approximately       18   writing more, not fewer, scripts. Do you know
    19   500 scripts per day, 3,000 per week."                19   what I mean?"
    20           And skipping a sentence, it says: "With      20           And he says: "We are not in a position
    21   this type of volume and professionalism and          21   to advise the customer, but certainly they will
    22   respect of this practice, I am certain that a        22   need to cross every T and dot every I."
    23   pharmacy that would just serve their patients        23           Do you see that e-mail?
    24   would be profitable for all parties."                24           MR. COLLINS: Objection. Lack of

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     1           And skipping a sentence thereafter, it        1   foundation. Lack of firsthand knowledge.
     2   says: "I think this would be an opportunity for       2            THE WITNESS: I see the e-mail.
     3   McKesson to get involved in some type of              3   BY MR. BOGLE:
     4   ownership/partnership with the physicians and         4        Q Okay. And you would agree that a doctor
     5   agree to put forth the meds until the pharmacy has    5   writing a hundred scripts a day for controlled
     6   cash flow 45 to 60 days out. What are your            6   substances, that's a -- that's a high number,
     7   thoughts?"                                            7   isn't it?
     8           Do you see that e-mail?                       8            MR. COLLINS: Objection. Vague, form,
     9      A I see that e-mail, yeah.                         9   calls for speculation.
    10       Q Okay. And then going up, there's a             10            THE WITNESS: I can't answer to this
    11   response from Kim Diemand, November 2nd, 2010,       11   e-mail what happened. I wasn't involved.
    12   that copies a few more people within McKesson.       12   BY MR. BOGLE:
    13           The second sentence she says: "This is       13        Q I'm not asking you what happened. I'm
    14   a pain clinic with five doctors that write around    14   asking a hundred scripts a day for controlled
    15   3,000 scripts a week."                               15   substances by one -- per doctor, do you think
    16           Do you see that?                             16   that's a high number?
    17           MR. COLLINS: Objection. Lack of              17      A I'm not sure.
    18   foundation, lack of firsthand knowledge.             18        Q You don't know. Okay.
    19           THE WITNESS: I see that.                     19            And then if you go to the first page of
    20   BY MR. BOGLE:                                        20   this e-mail chain, the top e-mail from John
    21       Q Okay. And then following up there,             21   Kuczynski, November 4, 2010, third paragraph he
    22   there's a response from Dave Gustin that starts at   22   says: "We are definitely going to have to do some
    23   the bottom of .3 and carries over on November 2nd,   23   serious diligence on this. Dave's point regarding
    24   2010.                                                24   the math not adding up to proper doctor/patient

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     1   relationship is a serious concern. Also of                 1   Access Health for contract management, but they
     2   concern, physicians owning the pharmacy may not be         2   are looking at taking their business model
     3   against the law in Ohio but raises the questions           3   national."
     4   of conflict of interest. The more you write, the           4           And the last paragraph says, to somebody
     5   more you make."                                            5   named Chris: "As we discussed, Dr. Bressi is
     6           And it says: "One of their primary                 6   talking about taking his concept national and
     7   offices seems to be in Cuyahoga Falls, close to            7   asked if we had people who helped to open new
     8   Klein's."                                                  8   pharmacies. That's where I thought you would come
     9           Klein's is a customer of New Castle as             9   in. He wants to get his pharmacy opened and then
    10   well, right?                                              10   take it to his peers, whom he says represent 45
    11      A Oh, Yes.                                             11   percent of the pain market."
    12       Q Okay. "I believe it opened within the               12           Do you see that?
    13   last year and has caused Klein's to request CSMP          13       A Yes.
    14   threshold increases due to scripts coming from the        14       Q Okay. And then going up from there, the
    15   clinic."                                                  15   next e-mail is from you forwarding that e-mail
    16           Do you see that?                                  16   below to Mr. Oriente, correct? You say "FYI."
    17      A I see that, yes.                                     17       A Yes.
    18       Q Okay. And shortly after these                       18       Q Okay. Then he responds back to you with
    19   communications went back and forth in late 2010,          19   the e-mail from June 16, 2011, that says: "Some
    20   you were looped in to the concerns about Summit           20   comments from patients. One not so good. His
    21   Pain Specialists and their prescribing practices,         21   brother OD'd, and the last comment says how busy
    22   right?                                                    22   they are. I think we would need a closer physical
    23           MR. COLLINS: Objection.                           23   visit."
    24   BY MR. BOGLE:                                             24           Do you see that?

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     1       Q Do you recall that?                                  1       A Yes.
     2          MR. COLLINS: Objection. Foundation.                 2        Q Okay. So does this jog your memory at
     3          THE WITNESS: No.                                    3   all about any discussions about Summit Pain
     4   BY MR. BOGLE:                                              4   Specialists?
     5       Q Okay.                                                5       A No. I don't even know if we put them on
     6          (Snider Exhibit No. 34 was marked                   6   as a customer, and I don't know Kim Diemand or
     7          for identification.)                                7   Steve Kravec was a sales exec. I don't really
     8   BY MR. BOGLE:                                              8   know him very well.
     9       Q Let's take a look at Exhibit 34, 1.1877.             9        Q Okay. And you said Acme Pharmacy
    10          First of all, we're going to start from            10   doesn't ring a bell for you either, huh?
    11   the earliest e-mail in time, but the top e-mail,          11       A No, I'm sorry.
    12   which includes all of the e-mails before it, do           12        Q Okay.
    13   you see it's from Michael Oriente to you, June 16,        13       A We don't have them now, I know that.
    14   2011, right? At the top.                                  14        Q I agree with that.
    15      A Yes.                                                 15          (Snider Exhibit No. 35 was marked
    16       Q Okay. Let's go back and look at the                 16          for identification.)
    17   e-mails that come before that. So it starts at            17   BY MR. BOGLE:
    18   the bottom of the first page from Steve Kravec,           18        Q Well, let's take a look then at the next
    19   June 14, 2011. And the substance of the e-mail is         19   exhibit, 1.1870, which is also Exhibit 35.
    20   on the second page.                                       20          MR. COLLINS: What number?
    21          It says there: "I just got off the                 21          MR. BOGLE: Exhibit 35.
    22   phone with Dr. James Bressi and Becky Suglio from         22          MR. COLLINS: Thank you.
    23   Summit Pain Specialists. The bulk of the                  23   BY MR. BOGLE:
    24   conversation was over their ability to utilize            24        Q Okay. And you see this is an e-mail

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     1   chain that pertains to Acme Pharmacy No. 30. Do         1           MR. COLLINS: Objection.
     2   you see that generally?                                 2           THE WITNESS: Acmestores.com.
     3       A I see "Topco" on here. It says "Acme"             3           MR. COLLINS: I'm sorry. Objection.
     4   at the top. Yes.                                        4   BY MR. BOGLE:
     5        Q Okay. So let's start with the e-mails            5       Q Acmestores.com, right?
     6   on page .2 and work our way back towards the            6           MR. COLLINS: Objection. Form, lack of
     7   front.                                                  7   foundation.
     8           The bottom e-mail on .2 says -- it's            8   BY MR. BOGLE:
     9   from Denise Joslyn to Joe Lahovich, December 5,         9       Q Do you see that?
    10   2010, entitled "CSMP Acme." Do you see that?           10       A I see it on here, yes.
    11       A Yes, on December 5th?                            11       Q Okay. So -- and this is who she sent
    12        Q Yep. And she says there: "Joe, I'm not          12   the initial e-mail to, so again this would
    13   sure who this should be sent to. Please let me         13   indicate that the thresholds at least for Acme,
    14   know if this account needs an increase to the          14   when they were reaching a certain percentage, were
    15   threshold below. Please provide a business reason      15   being sent to them. They were at 88.13 percent
    16   for this request."                                     16   when they were notified about their oxycodone
    17           And it lists -- Acme Pharmacy No. 30,          17   threshold, the first e-mail we looked at, right?
    18   oxycodone, lists their current monthly threshold       18           MR. COLLINS: Objection. Total lack of
    19   as 16,000. Do you see that?                            19   foundation for this entire line of inquiry. Lack
    20       A I see that.                                      20   of firsthand knowledge. You can testify to it.
    21        Q Okay. And then the next e-mail up               21   This witness hasn't.
    22   says -- from Joe, December 5, 2012, says: "Acme        22           MR. BOGLE: He's on the whole -- he's
    23   Pharmacy No. 30 is located in the local hospital       23   copied on the whole e-mail chain.
    24   systems medical building. The local hospitals'         24           MR. COLLINS: You haven't established
                                                     Page 363                                                 Page 365
     1   facility is Akron General Wellness Center. Within       1   this witness has any firsthand knowledge of this.
     2   the building is a large pain management practice,       2           MR. BOGLE: We're getting there, man.
     3   which the pharmacy serves its patients. Due to          3           MR. COLLINS: Well, establish it first
     4   the practice, Acme Pharmacy No. 30 dispenses a          4   and then we have a foundation.
     5   large quantity of oxycodone and other pain              5           MR. BOGLE: Well, we'll get there.
     6   medications."                                           6           THE WITNESS: I'm sorry.
     7           Do you see that reference?                      7   BY MR. BOGLE:
     8      A I see that sentence.                               8        Q Okay. So my question was, the bottom
     9       Q Okay. And then there's a discussion               9   e-mail I looked at with you first because you --
    10   with Denise Joslyn asking the pharmacy: "Based on      10   you said before that customers don't get notified
    11   the below, how much do we need to increase?"           11   of their thresholds prior to reaching them. Do
    12           MR. COLLINS: Objection.                        12   you remember that testimony?
    13   BY MR. BOGLE:                                          13       A Yes. I don't remember the context,
    14       Q Do you see that e-mail?                          14   though.
    15           MR. COLLINS: Objection. Foundation.            15        Q Yeah. Well, you see here the first
    16           THE WITNESS: I don't know what that is.        16   e-mail that I looked at with you from Denise
    17   I don't know Denise. It says "Joe." I'm not sure       17   Joslyn to Joe Lahovich at Acme, she's literally
    18   who this could be sent to.                             18   listing out his monthly threshold and telling him
    19   BY MR. BOGLE:                                          19   exactly how much they've used for that month,
    20       Q All right. Well, let's take a look.              20   right?
    21   The response from December 6, 2012, at the top of      21       A I have no recollection of ever seeing
    22   the e-mail from Joe Lahovich, his e-mail is noted      22   this e-mail.
    23   to be Acme Stores, right? At the top of .2, the        23        Q You see it now, don't you?
    24   top e-mail.                                            24       A I see what Joe and Denise were talking

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     1   about, yes.                                           1       Q Okay. Well, if you go back to
     2        Q Right. And what they're talking about          2   Exhibit 1.1568, which is Exhibit 9. Keep that one
     3   are the specific thresholds for Acme Pharmacy for     3   out there with the 70,000 doses.
     4   oxycodone, right?                                     4       A That what, keep --
     5           MR. COLLINS: Objection. Lack of               5       Q Keep that next to you, but I want you to
     6   foundation.                                           6   pull this one out too, Exhibit 9.
     7   BY MR. BOGLE:                                         7       A Nine?
     8        Q That's what the chart says, doesn't it?        8       Q Yeah.
     9           MR. COLLINS: Object.                          9           MR. COLLINS: I think they should be in
    10           THE WITNESS: I cannot testify to that.       10   order.
    11   BY MR. BOGLE:                                        11           THE WITNESS: Well, kind of.
    12        Q You don't know what that says?                12           MR. COLLINS: Let me get mine.
    13       A I can't testify what it says.                  13   BY MR. BOGLE:
    14        Q Okay. All right. Let's go back up             14       Q You got Exhibit 9?
    15   then, the top of this -- the top e-mail on this      15       A Yes.
    16   page where Joe says: "70,000 per oxycodone           16       Q Okay. So this was the "Understand
    17   products." And he says: "Query from No. 30           17   ARCOS" dated document talking about, on the first
    18   e-mailed. The warehouse says my oxycodone 30         18   page, the 2012 DEA ARCOS average numbers per
    19   milligram limit is 4,000, not 8,000. My limit is     19   dosage units for various opioids, and if you look
    20   16,000 total oxycodone. Of that 4,000 can be         20   at oxycodone, the annual average per the DEA in
    21   oxycodone, 30 milligrams. I need at least 10,000     21   2012 was 75,584 doses a year. Do you see that?
    22   generic Percocet, 10/325 alone to make it a month.   22       A (The witness nods.)
    23   I figure a limit of 70,000 is needed to safely get   23       Q Yes?
    24   through a month with all oxycodone products."        24       A Yes.
                                                  Page 367                                                        Page 369
     1           Do you see that?                              1        Q Okay. And what Acme is requesting here
     2       A I see what this Joe said. I don't know          2   is just about that much per month. Right?
     3   him.                                                  3           MR. COLLINS: Objection. Lack of
     4        Q Yeah. And 70,000 doses a month for             4   foundation.
     5   oxycodone is a huge number, isn't it?                 5   BY MR. BOGLE:
     6       A For Joe, it might be. I don't know. I           6        Q They're asking for 70,000 doses a month,
     7   can't testify to what Joe was doing there.            7   right?
     8        Q What about for the oxycodone that you          8           MR. COLLINS: Objection. Compound, lack
     9   historically distributed from New Castle, how does    9   of foundation, lack of firsthand knowledge.
    10   70,000 a month for oxycodone fit? Is that about      10           THE WITNESS: I'm not aware of anything
    11   right? Is that normal?                               11   except this e-mail right here. I can't testify to
    12           MR. COLLINS: Objection. The question         12   what he's asking for or if he's a hospital or
    13   is inherently vague.                                 13   anything else. I'm not --
    14   BY MR. BOGLE:                                        14   BY MR. BOGLE:
    15        Q I'm asking you if 70,000 seems high to        15        Q Well, you see that it says that they're
    16   you. This is what you do every day.                  16   a pharmacy located in a medical building that's
    17       A I can't --                                     17   affiliated with a pain medication facility.
    18           MR. COLLINS: Objection to the form.          18   That's what it says and what we just read, right?
    19           THE WITNESS: I can't testify that this       19           MR. COLLINS: Objection. Lack of
    20   person got 70,000. I've never seen this e-mail       20   foundation. You haven't established this witness
    21   before.                                              21   had any knowledge of this.
    22   BY MR. BOGLE:                                        22           THE WITNESS: I'm not even familiar if
    23        Q Do you think he didn't?                       23   we ever put this customer onboard. I'm sorry.
    24       A I don't know.                                  24   BY MR. BOGLE:

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     1       Q Okay. Well, you're copied on this whole         1           THE WITNESS: I'll testify that I don't
     2   e-mail chain, right?                                  2   remember reading it. I don't even remember the
     3      A I don't remember.                                3   Acme.
     4       Q Look at the top e-mail from Denise              4   BY MR. BOGLE:
     5   Joslyn to Michael Oriente, copying you. Do you        5       Q Do you typically not read e-mails
     6   see that? The top e-mail of the document.             6   you're -- you're copied on?
     7      A Yes.                                             7           MR. COLLINS: Objection. Argumentative.
     8       Q Okay. And you understand that when you          8           THE WITNESS: I can't say typically.
     9   get copied on something, you get included on the      9   BY MR. BOGLE:
    10   whole -- you get to see the whole chain before it,   10       Q Okay. But what you can say is that what
    11   right?                                               11   they're asking for per month is just shy of the
    12          MR. COLLINS: Objection to the form.           12   average per year for pharmacies in this country in
    13   BY MR. BOGLE:                                        13   2012, right? We can agree on that.
    14       Q That's how e-mails work, right?                14           MR. COLLINS: Objection. Assumes facts
    15      A I do know how e-mails work --                   15   not in evidence. It hasn't even been established.
    16       Q Right.                                         16           MR. BOGLE: It's right here, Exhibit 9.
    17      A -- but I don't remember this e-mail             17   Just talked about it.
    18   ever.                                                18           MR. COLLINS: Because -- because it's in
    19       Q Okay. That's fair.                             19   a document, it's established?
    20          But my simple question to you was, since      20           MR. BOGLE: Well, that's what -- I mean,
    21   you were copied on this e-mail chain, you've seen    21   if you dispute that's what the DEA says, I guess
    22   this e-mail before. Whether you read it, I don't     22   we can deal with that later, but --
    23   know. But 70,000 doses a month is what Acme is       23           MR. COLLINS: Objection.
    24   requesting, which is nearly the national average     24   BY MR. BOGLE:
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     1   per year for oxycodone for pharmacies at that         1        Q Do you see that in Exhibit 9? 75,584 a
     2   point in time.                                        2   year was the average in 2012.
     3           Do you see that reference at least?           3           MR. COLLINS: Objection. The entire
     4           MR. COLLINS: Object -- the question is        4   line of question lacks foundation.
     5   objectionable on multiple grounds. It assumes         5   BY MR. BOGLE:
     6   that he read the e-mail, which is what your           6        Q Do you see that?
     7   question said. You haven't established that.          7       A Yes.
     8   Lack of foundation. Lack of firsthand knowledge.      8        Q Okay. All right. Well, let's see --
     9   BY MR. BOGLE:                                         9   let's see what you guys did do with this.
    10       Q Okay. So do you see they were                  10           So, going back to Exhibit 1.1870, I'm
    11   requesting 70,000 doses of oxycodone a month,        11   going to the first page now, it's the second
    12   compare -- and you compare that to the DEA           12   e-mail in the chain down from Michael Oriente to
    13   national average annually for pharmacies, which      13   Denise Joslyn, copying you and Joe Lumpkin,
    14   was 75,584 a year was the average in 2012. Do you    14   December 6, 2012.
    15   see that?                                            15           He says: "Denise, submit a threshold
    16      A I can't testify to this. I've never             16   change for a 25 percent increase. A 70,000-dose
    17   seen this before.                                    17   threshold is more than most of our customers.
    18       Q Okay. Well, you're on the e-mail chain,        18   This account will be under Joe Lumpkin out of New
    19   right? You're saying you never read this e-mail      19   Castle. He will have the final say. I will
    20   chain?                                               20   approve a 25 percent for the month until Joe can
    21      A I don't remember reading it, no.                21   get there for a visit for such a threshold review.
    22       Q Okay. But are you saying you didn't            22   We'll want the top five prescribers that are
    23   read it definitively?                                23   writing scripts that are being filled at this
    24           MR. COLLINS: Objection. Argumentative.       24   location and dispensing data minus any patient

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     1   info for the last three months for all                1   "Please let me know if we need to make any
     2   oxycodone-based products."                            2   changes. If you need an increase, please provide
     3           Do you see that?                              3   a business reason."
     4       A I see that.                                     4          Again, similar chart except this time
     5       Q So on an e-mail you're copied on here,          5   showing a monthly threshold of 35,000 for
     6   you can at least see that a 25 percent increase       6   oxycodone. Do you see that?
     7   was approved without any further data being           7          MR. COLLINS: Objection. Foundation.
     8   provided, right?                                      8          THE WITNESS: I see what Denise wrote,
     9           MR. COLLINS: Objection. Foundation.           9   yes.
    10           THE WITNESS: I cannot answer to that.        10   BY MR. BOGLE:
    11   BY MR. BOGLE:                                        11       Q Okay. And you see that in the chart,
    12       Q Okay.                                          12   right?
    13       A I don't know.                                  13      A I see it now.
    14       Q Do you see any reference to any data           14       Q And you see Joe's response in the e-mail
    15   that he's reviewed? In fact, he's asking for data    15   above says: "Please increase the threshold to
    16   after he's already approved it, right?               16   70,000 units for this product class. Their limit
    17           MR. COLLINS: Objection. Foundation,          17   was 46,000 last month. They need a limit of
    18   form.                                                18   70,000 to meet the needs of the patients of Summit
    19           THE WITNESS: I don't know that.              19   Pain Management Practice in the pharmacy's medical
    20   BY MR. BOGLE:                                        20   building."
    21       Q Do you see any indication that he says,        21          Do you see that?
    22   I've reviewed data already to support this 25        22      A Yes, I see that.
    23   percent increase?                                    23       Q And prior to today, do you have any
    24           MR. COLLINS: Objection. Calls for            24   awareness that Summit Pain Management was actually

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     1   speculation, form, foundation.                        1   located in the same building as Acme Pharmacy?
     2   BY MR. BOGLE:                                         2      A No.
     3       Q If you see it in the e-mail, feel free          3       Q Were you aware that they were providing
     4   to point it out to me.                                4   almost a hundred percent of the prescriptions for
     5       A I can't respond to that. I don't know           5   Acme Pharmacy that they were filling for
     6   what he did.                                          6   controlled substances?
     7       Q Right. I'm asking in the e-mail does he         7          MR. COLLINS: Objection. Form,
     8   reference that he's reviewed any data to support      8   foundation.
     9   that increase?                                        9          THE WITNESS: No, I testified that I
    10       A I don't know that.                             10   don't remember anything about Acme Pharmacy and
    11       Q You don't know if the e-mail says that         11   wasn't on this e-mail.
    12   one way or the other?                                12   BY MR. BOGLE:
    13       A Yes.                                           13       Q Okay. So you don't know the
    14       Q Okay.                                          14   relationship between the two entities at all. Is
    15           (Snider Exhibit No. 36 was marked            15   that your testimony?
    16           for identification.)                         16      A I do not remember.
    17   BY MR. BOGLE:                                        17       Q Okay. Now, the increase to 70,000 doses
    18       Q All right. Let's take a look at                18   for oxycodone in January 2013, that was approved,
    19   Exhibit 36, 1.1874.                                  19   right?
    20           All right. Here's another series of          20          MR. COLLINS: Object --
    21   e-mails, this now from -- we're into -- from         21   BY MR. BOGLE:
    22   December now into January.                           22       Q You know that.
    23           It's an e-mail from Denise Joslyn again      23          MR. COLLINS: Objection. Assumes facts
    24   to Joe Lahovich at Acme, January 11, 2013, saying:   24   not in evidence.

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     1           THE WITNESS: I do not know that.             1      A Yes, I do.
     2   BY MR. BOGLE:                                        2       Q Okay. So you weren't aware that once
     3       Q You don't know that?                           3   this threshold increase was approved to 70,000
     4           MR. COLLINS: Mischaracterization of his      4   doses for oxycodone, that your distribution center
     5   prior testimony.                                     5   started giving them about that much every month?
     6   BY MR. BOGLE:                                        6           MR. COLLINS: Objection. Assumes facts
     7       Q You don't know that your distribution          7   not in evidence, lack of foundation.
     8   center started shipping them out 70,000 doses a      8           This witness has testified he has no
     9   month of oxycodone --                                9   idea what this is, and you're testifying to facts
    10           MR. COLLINS: Objection.                     10   that aren't -- haven't been established.
    11   BY MR. BOGLE:                                       11   BY MR. BOGLE:
    12       Q -- starting in January 2013?                  12       Q So you don't know when your distribution
    13           MR. COLLINS: Objection. Assumes facts       13   center sends out 70,000 doses a month to a
    14   not in evidence. Lack of foundation.                14   customer for oxycodone? That can go on without
    15           THE WITNESS: I testified that I did not     15   you even knowing it?
    16   remember this customer.                             16           MR. COLLINS: Objection. Argumentative.
    17   BY MR. BOGLE:                                       17   Form.
    18       Q All right. Well, what we got produced         18   BY MR. BOGLE:
    19   to us in this case was the threshold history        19       Q I'm a little baffled by that, sir.
    20   reports for all Summit and Cuyahoga pharmacies,     20           MR. COLLINS: Objection. Compound,
    21   and I'm going to hand you the one for Acme here.    21   form, argumentative. Closing argument.
    22           (Snider Exhibit No. 37 was marked           22           THE WITNESS: Well, I --
    23           for identification.)                        23   BY MR. BOGLE:
    24   BY MR. BOGLE:                                       24       Q Is that your testimony?
                                                 Page 379                                                  Page 381
     1        Q It's Exhibit 37, also marked as 1.1907.       1       A Yes, I can understand what you're
     2           And you see here in the middle of this       2   saying, but I don't know anything about this, and
     3   chart -- do you see where I'm at, TCR 1/14/13. Do    3   it's -- plus I don't know if you have the right
     4   you see that date?                                   4   account. It says Topco.
     5       A Yes.                                           5        Q They're one of the -- in the Topco
     6        Q Related to oxycodone?                         6   Group.
     7       A Yes --                                         7       A Okay.
     8        Q Okay.                                         8        Q Sir, this was provided to us. I can
     9       A -- I see the chart.                            9   tell you -- if it's wrong, I guarantee you your
    10        Q You see that's the same date as the          10   counsel will establish it's wrong. It ain't
    11   e-mail we just looked at from Joe Lahovich where    11   wrong. Okay?
    12   he asks for an increase from thirty-five to         12            This is Acme Pharmacy. This was
    13   70,000, right?                                      13   provided to us from your counsel coming from
    14       A I can't testify what this is. I don't         14   McKesson's files.
    15   know Joe Lahovich, and I don't know what this       15       A I'm --
    16   chart is. I'm sorry.                                16            MR. COLLINS: Objection.
    17        Q Okay. Well, let's -- let's take a look       17   BY MR. BOGLE:
    18   at the chart and see. I've got some questions for   18        Q Okay. So my question to you, though,
    19   you on it.                                          19   is -- because I just want to make sure I
    20       A Okay.                                         20   understand this.
    21        Q In that same column, it says "TCR            21            So a customer like Acme Pharmacy can get
    22   1/14/13, 35K to 70K. JL 1/14/13, Topco store,       22   70,000 doses a month of oxycodone from your
    23   business growth new."                               23   distribution center, and you don't even know it?
    24           Do you see that?                            24            MR. COLLINS: Objection.

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     1   BY MR. BOGLE:                                         1   to Acme Fresh Markets Pharmacy No. 30.
     2       Q Is that your testimony?                         2           Do you see that?
     3          MR. COLLINS: Objection. I'm sorry, let         3       A Yes.
     4   me finish my objection, sir.                          4       Q Okay. And in the "Detail" section
     5          Objection. Assumes facts not in                5   there, the middle of that first paragraph, it
     6   evidence. You haven't established that. This          6   says: "There is a pain management clinic, Summit
     7   witness has testified over and over again he has      7   Pain Specialists, located within Akron General
     8   no knowledge of that, and so this is just legal       8   Hospital medical building that the pharmacy is
     9   argument that's improper at a deposition.             9   located in."
    10   Typically lawyers ask questions, witnesses provide   10           Again, that's news to you today, right?
    11   testimony. Not the other way around.                 11       A I testified I don't remember this
    12          MR. BOGLE: You're just kind of                12   account. I'm sorry.
    13   complaining now. You're not objecting.               13       Q Okay. Let's continue a few more
    14          MR. COLLINS: No, no, I am objecting. I        14   sentences down. It says: "The majority of the
    15   mean, this is just total argument. It's not a        15   prescriptions that are filled at the pharmacy are
    16   question.                                            16   being written at Summit Pain Specialists. For the
    17          MR. BOGLE: No, it's not. It's not             17   period of 7/1/14 to 10/28/14, 89 percent of the
    18   argument. It is a question.                          18   scripts filled by Acme 30 were from the pain
    19   BY MR. BOGLE:                                        19   clinic."
    20       Q Can that go on at your distribution            20           Do you see that?
    21   center and you not know about it?                    21           MR. COLLINS: Objection. Foundation.
    22          MR. COLLINS: Objection for all the            22           THE WITNESS: I see this -- this e-mail.
    23   reasons I just stated.                               23   I've never seen this before.
    24          THE WITNESS: I don't remember this            24   BY MR. BOGLE:
                                                  Page 383                                                  Page 385
     1   account.                                              1       Q This is a report created by Michael
     2   BY MR. BOGLE:                                         2   Oriente. That's what is indicated, right?
     3       Q Right. So it obviously can go on and            3            MR. COLLINS: Objection. Lack of
     4   you not know about it, right?                         4   foundation, lack of firsthand knowledge.
     5          MR. COLLINS: Objection.                        5   BY MR. BOGLE:
     6   Mischaracterization, argumentative, form.             6       Q Where it says "By"?
     7   BY MR. BOGLE:                                         7       A It says "By" --
     8       Q Right?                                          8            MR. COLLINS: Objection. Form,
     9      A Can you repeat the question, please?             9   foundation.
    10       Q A customer like Acme Pharmacy can get          10   BY MR. BOGLE:
    11   70,000 doses a month of oxycodone from your          11       Q And, you know, there were some questions
    12   distribution center and you not even know it,        12   raised about whether you guys actually did provide
    13   right?                                               13   anything approaching 70,000 doses of oxycodone a
    14      A I don't remember that.                          14   month to this Acme Pharmacy, so let's take a look
    15       Q Right, that's my point.                        15   at that.
    16      A I don't know what this form is, and I           16            On page .3, there is a purchase history
    17   wasn't on the e-mails. I testified to that.          17   review. So for -- if you see there, for
    18          (Snider Exhibit No. 38 was marked             18   oxycodone, it provides the number of doses that
    19          for identification.)                          19   were provided to Acme Pharmacy over a period
    20   BY MR. BOGLE:                                        20   covering January 2014 to January 2015, right?
    21       Q All right. Let's take a look at                21            MR. COLLINS: Objection. Lack of
    22   Exhibit 38, 1.1899.                                  22   foundation, lack of firsthand knowledge.
    23          You see here this is a regulatory             23            THE WITNESS: I do not know this chart.
    24   investigative report from March 2nd, 2015, related   24   I see the dates and I see the doses, but I've

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     1   never seen this before.                               1   on that, and it's very important to me that I do
     2   BY MR. BOGLE:                                         2   that. This was vetted out by someone else, and a
     3       Q So for June 2014, they got 69,504 doses.        3   director of Regulatory Affairs and his boss also,
     4   July 2014, 70,000 doses. August 2014, 69,900          4   I see.
     5   doses. September 2014, 69,900 doses. October          5       Q Are you aware that both Summit Pain
     6   2014, 67,300 doses. And November 2014, 67,600         6   Specialists and Acme No. 30 are both closed now?
     7   doses of oxycodone right here. That's what it         7       A I'm not aware of that.
     8   says, right?                                          8       Q Not aware of that?
     9           MR. COLLINS: Objection. Form,                 9          I hand you what I'm marking Exhibit 39,
    10   foundation, lack of firsthand knowledge.             10   Exhibit 1.1895.
    11           THE WITNESS: I cannot and won't testify      11          (Snider Exhibit No. 39 was marked
    12   that that's what it says. I don't know.              12          for identification.)
    13   BY MR. BOGLE:                                        13   BY MR. BOGLE:
    14       Q You won't? You can't? You can't read           14       Q This is an article from the Akron Beacon
    15   that?                                                15   Journal/Ohio.com titled "Stow Pain Clinic closing
    16       A I can read that, you know that. I can't        16   after court upholds sexual imposition conviction
    17   testify that I understand that's what it is.         17   against doctor accused of abusing patients,"
    18       Q Okay. So you don't --                          18   posted August 11, 2016. Do you see that?
    19       A I've never seen this before, this              19       A I see that, yes.
    20   document.                                            20       Q Okay. The first sentence says: "Summit
    21       Q Okay. So, again, your -- your                  21   Pain Specialists in Stow is permanently closed
    22   distribution center services this area of Ohio,      22   Monday after years of wrangling over a sex abuse
    23   right?                                               23   scandal involving a doctor there."
    24       A Yes.                                           24          Do you see that?
                                                  Page 387                                                        Page 389
     1        Q Okay. And so 70,000 doses of oxycodone         1       A I see that, yes.
     2   can go out for multiple months or near it in 2014,    2        Q The third paragraph there says: "But
     3   and you don't even know, right?                       3   the Ohio Supreme Court on August 3 upheld the
     4            MR. COLLINS: First of all, totally           4   Summit County Common Pleas Court conviction a
     5   incorrect. Mischaracterization of his prior           5   former doctor James Bressi, who once co-owned the
     6   testimony.                                            6   business with former doctor Robert Stephen
     7            MR. BOGLE: Well, if he knows, he can         7   Geiger."
     8   certainly correct me.                                 8           Do you see that?
     9            MR. COLLINS: I'm sorry. Let me finish        9       A No. Can you tell me where you are?
    10   my objection. Lack of foundation. Lack of            10   I -- I was under what prompted the clinic to
    11   firsthand knowledge. Mischaracterization. Object     11   close.
    12   to the form. Otherwise, it's a fine question.        12        Q Right here, sir, if you look at my
    13            THE WITNESS: I don't know this account.     13   finger.
    14   I'm sorry. It was handled by the national            14       A I'm sorry. You skipped around. I
    15   accounts and the director of Regulatory Affairs,     15   didn't see that.
    16   and they vetted it out.                              16        Q You want me to reread that for you?
    17   BY MR. BOGLE:                                        17       A Please.
    18        Q So if national accounts handles it, but       18        Q So you can follow along.
    19   you distribute it at your facility, you're hands     19       A Please.
    20   off; is that right?                                  20        Q That's fair.
    21       A No.                                            21           The portion I read says: "But the Ohio
    22        Q Okay. It's still your pills coming out        22   Supreme Court on August 3 upheld the Summit County
    23   of your facility, right?                             23   Common Please Court conviction of former
    24       A I protect the supply chain. I do my job        24   doctor James Bressi, who once co-owned the

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     1   business with former doctor Robert Stephen Geiger.     1   BY MR. BOGLE:
     2   The clinic's troubles started in 2012 when             2       Q Okay. But again, this is not a customer
     3   patients began calling Stow police reporting they      3   you ever even recall dealing with at all, right?
     4   had been sexually abused by Bressi inside the pain     4      A I don't think I was in New Castle at the
     5   clinic. Stow police ultimately took reports from       5   time. I was in Delran, New Jersey.
     6   about 95 patients, including some in their 70s,        6       Q You weren't in New Castle at all from
     7   who made similar claims according to a detective's     7   when you -- this account started getting serviced
     8   court testimony."                                      8   in 2012 to 2016 when that -- it closed?
     9           Do you see that?                               9      A I was there in 2012, yes.
    10       A I see that, yes.                                10       Q Okay. For what period of time were you
    11       Q And Dr. James Bressi, that's the same           11   not at New Castle then?
    12   doctor that had reached out to McKesson to begin      12      A '14 and '15 or '15, '16. I don't
    13   with about their assistance in opening the            13   remember.
    14   pharmacy that ultimately became Acme Pharmacy,        14       Q Who was running New Castle while you
    15   right?                                                15   were gone?
    16           MR. COLLINS: Objection to form, lack --       16      A Andrew Moore, the VP/GM.
    17   BY MR. BOGLE:                                         17       Q Andrew Moore?
    18       Q Do you remember his name?                       18      A Yes.
    19       A No.                                             19       Q Okay. Did you have any communications
    20           MR. COLLINS: Objection to the form,           20   concerning New Castle during that time period that
    21   lack of foundation.                                   21   you were in Delran?
    22           THE WITNESS: I don't.                         22      A Not too many.
    23   BY MR. BOGLE:                                         23       Q Okay. There are many Giant Eagle
    24       Q You don't?                                      24   Pharmacies that -- in Summit and Cuyahoga County

                                                    Page 391                                                    Page 393
     1      A No.                                               1   that New Castle supplies opioids to, correct?
     2       Q Okay. Do you have any reason to dispute          2      A Supplied. We don't have them any
     3   that pretty quickly after Summit Pain Specialists      3   longer.
     4   closed so did Acme 30?                                 4       Q Okay. When did you stop?
     5          MR. COLLINS: Objection. Foundation,             5      A About a year ago -- less than a year
     6   form.                                                  6   ago.
     7          THE WITNESS: I do not know or remember          7       Q Okay. Do you know why you stopped
     8   any of that. I'm sorry.                                8   providing to them out of New Castle?
     9   BY MR. BOGLE:                                          9      A They got another wholesaler.
    10       Q Okay. Well, let's just close the loop           10       Q Okay. Who?
    11   here.                                                 11      A Cardinal.
    12          (Snider Exhibit No. 40 was marked              12       Q Okay. All right. So prior to losing
    13          for identification.)                           13   that business, you said about a year ago, that was
    14   BY MR. BOGLE:                                         14   one of the larger customers you had in Summit and
    15       Q Exhibit 40, 1.1911. I pulled this off           15   Cuyahoga counties, right?
    16   of Google before I came, pertaining to Acme           16      A Yes.
    17   Pharmacy in Stow, Ohio. Same address as we just       17          MR. COLLINS: Are we done with these?
    18   saw in the investigative report.                      18          MR. BOGLE: Yeah.
    19          Do you see it's noted to be permanently        19   BY MR. BOGLE:
    20   closed?                                               20       Q We talked about earlier in the
    21          MR. COLLINS: Objection. Foundation.            21   deposition that documentation is required to
    22          THE WITNESS: If you say -- I don't see         22   establish claims of business growth when you're
    23   where it says that. Please point to it.               23   reviewing a threshold increase, right?
    24   Permanently closed, yes.                              24      A Yes, we did.

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      1       Q As a general principle, that's what's              1        Q Do you understand he's agreeing to --
      2   required, right?                                         2   he's talking about bumping up thresholds, right?
      3      A We talked about that, yes.                          3           MR. COLLINS: Objection. Form.
      4       Q That wasn't historically done for Giant            4   Speculation.
      5   Eagle Pharmacies at Summit and Cuyahoga County,          5           THE WITNESS: I don't know that, but I
      6   though, was it?                                          6   could guess.
      7      A I don't know that. I know that was                  7   BY MR. BOGLE:
      8   handled by national accounts, and it depends on          8        Q Okay. No, we can keep going. I think
      9   the time period. But national accounts and DRAs          9   it establishes it going forward.
     10   handled Giant Eagle.                                    10           First of all -- well, hold on. I'll
     11       Q Okay. So if -- if the drugs were coming           11   strike that.
     12   out of your distribution center, and you believe        12           The next e-mail is a response from Rex
     13   that anyone handling national accounts wasn't           13   Catton, May 28, 2008, where he says: "Yes, please
     14   complying with the Controlled Substances                14   bump it up."
     15   Monitoring Program, you think you had an                15           What was Rex Catton's job in May 2008 at
     16   obligation to say something about that?                 16   McKesson?
     17          MR. COLLINS: Objection. Calls for a              17       A He was vice president of national
     18   legal conclusion.                                       18   accounts.
     19          THE WITNESS: If I knew wrongdoing was            19        Q Okay. On the sales side or regulatory
     20   happening, I would report it to McKesson or my          20   side?
     21   boss.                                                   21       A Sales side.
     22   BY MR. BOGLE:                                           22        Q Okay. Then Dave Gustin responds to that
     23       Q All right.                                        23   e-mail and says: "The list, by the way, is a long
     24          (Snider Exhibit No. 41 was marked                24   one. I need a reason to go in and bump all
                                                       Page 395                                                       Page 397
      1           for identification.)                             1   these -- all those stores' thresholds. They are
      2   BY MR. BOGLE:                                            2   all purchasing at well past their historic trends
      3        Q We're going to look at a few of the               3   or they would not be on the report."
      4   Giant Eagle stores in Summit and Cuyahoga County         4           Do you know what report is being
      5   here. I hand you 1.1840, Exhibit 41.                     5   referenced here? The CSMP report?
      6       A Thank you.                                         6       A I don't know the specific one.
      7        Q So it's another one of the hard copy              7        Q Okay. And it's embedded there in the
      8   file productions. You see it's "Giant Eagle 4009"        8   title "Threshold" -- "CSMP Threshold Warning
      9   on the front page, right?                                9   Report." Are you familiar with that report?
     10       A Yes.                                              10       A Yes, I am.
     11        Q Okay. And let's take a look at the               11        Q What is that report?
     12   e-mail starting on page .4.                             12       A I think it -- it prints out -- I believe
     13           The bottom e-mail there is an e-mail            13   we discussed that, but it depends on -- when was
     14   from Dave Gustin, May 28, 2008, to several              14   this, please? 2008?
     15   individuals, including you.                             15        Q Right.
     16           Do you see that?                                16       A It would print out -- I think it was
     17       A Yes.                                              17   when it was 85 percent or over the threshold.
     18        Q Regarding New Castle CSMP Report, 75             18   That's what I recall.
     19   percent plus, 5/28/08.                                  19        Q Okay. All right. And if we keep going
     20           And Mr. Gustin there says: "Rex, I              20   in the e-mail chain. I'm now on page .3.
     21   await your input. I can bump it if you agree to a       21           It's an e-mail from Diane Martin,
     22   small bump."                                            22   September 22nd, 2008, to Dave Gustin, copying you
     23           Do you see that there?                          23   and Rex Catton. It says: "Since these were
     24       A Yes.                                              24   bumped up without a TCR in late May, what is the

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      1   reason for the increase in dosages?"                     1   Mischaracterization.
      2           Dave Gustin responds: "Reason: RNA               2           THE WITNESS: Yes. And I don't know
      3   reasonable request for a small increase per Rex          3   what -- retail national accounts, yes.
      4   Catton."                                                 4   BY MR. BOGLE:
      5           Do you see that?                                 5       Q Yeah. And that seems consistent with
      6      A Yes.                                                6   what Diane Martin says in September 22nd, which is
      7       Q Okay. Now, I think we talked about this            7   that this TCR was approved in May without a form,
      8   before, but when a threshold increase is                 8   right?
      9   requested, a form has to be completed prior to           9      A Yes.
     10   that increase being approved, right?                    10       Q And this information was added in
     11      A Yes.                                               11   September.
     12       Q Okay. But you see here in September,              12           MR. COLLINS: Objection. That's a total
     13   Diane Martin is talking about increases that were       13   mischaracterization, assumes facts not in
     14   made in May without a TCR. And she's talking            14   evidence.
     15   about that in September, right?                         15   BY MR. BOGLE:
     16           MR. COLLINS: Objection. Lack of                 16       Q How do you explain the very same
     17   foundation.                                             17   language, word for word, that first appears in a
     18           THE WITNESS: She doesn't see there's a          18   September e-mail being put in there in May?
     19   TCR, yes.                                               19           MR. COLLINS: Object --
     20   BY MR. BOGLE:                                           20   BY MR. BOGLE:
     21       Q Okay. Well, let's take a look then at             21       Q How did he get that right?
     22   page .2. And this is the threshold change form          22           MR. COLLINS: Objecting to the form,
     23   that's being referenced here for Giant Eagle 4009,      23   compound, assumes facts not in evidence.
     24   hydrocodone. Now, it's dated May 28, 2008. Do           24           THE WITNESS: I can't explain why that

                                                       Page 399                                                  Page 401
      1   you see that?                                            1   was in there exactly as they repeated it, but it
      2      A Yes.                                                2   may have been something they did before.
      3       Q And the reason for the change is noted             3   BY MR. BOGLE:
      4   "RNA reasonable request for a small increase per         4       Q Okay. So you think that Diane was
      5   Rex Catton."                                             5   mistaken when she said that this request was
      6          Do you see that?                                  6   actually approved in May without a TCR, right?
      7      A Yes.                                                7       A Yeah. I don't know if she didn't find
      8       Q But that specific information, that                8   one or she was doing an audit of them or what.
      9   language specifically wasn't provided until              9       Q And as you noted, the form that is
     10   September 22nd by Dave Gustin, was it?                  10   attached here doesn't include even an increased
     11          MR. COLLINS: Objection.                          11   amount, does it?
     12   Mischaracterization of the document, assumes facts      12       A No.
     13   not in evidence.                                        13       Q But it is noted to be approved by you,
     14          THE WITNESS: I don't know when that was          14   right?
     15   done. I assume 5/28/08. It also doesn't include         15       A Yes.
     16   the increase amount, which is unusual.                  16       Q And Dave Gustin.
     17   BY MR. BOGLE:                                           17       A Yes.
     18       Q Right, I was going to get to that next.           18       Q And the pharmacy at issue here is Giant
     19          But if you look back at the e-mail from          19   Eagle 4009, which is in Parma, Ohio, and you
     20   Dave Gustin, September 22nd, 2008, the very same        20   understand that's in Cuyahoga County?
     21   language we just read from the form, identical, is      21       A Yes.
     22   what appears on the May 28, 2008 change form,           22       Q Have you ever been to that pharmacy to
     23   right?                                                  23   visit there?
     24          MR. COLLINS: Objection.                          24       A No, I don't think so.

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      1       Q Are you aware that there were actually         1   back to the same e-mail chain from September where
      2   multiple Giant Eagles approved at this very same     2   Diane Martin is telling everyone that threshold
      3   time for threshold increases for various opioid      3   change request forms weren't actually completed in
      4   products that include the same exact language on     4   May, right?
      5   the same exact date? Are you aware of that?          5           MR. COLLINS: Objection.
      6      A No, I'm not.                                    6   Mischaracterization, assumes facts not in
      7       Q Okay.                                          7   evidence.
      8          (Snider Exhibit No. 42 was marked             8           THE WITNESS: I can't testify that they
      9          for identification.)                          9   all did. You have included this, but I don't have
     10   BY MR. BOGLE:                                       10   the list.
     11       Q 1.1827, which is Exhibit 42.                  11   BY MR. BOGLE:
     12          We put together a compilation of these.      12        Q And they all include for the reason for
     13   We're just going to look at a couple of them.       13   the change the same exact language that was first
     14          MR. COLLINS: Do you have another copy        14   introduced in the e-mail chain on September 22nd,
     15   or no?                                              15   2008, correct?
     16          MR. BOGLE: Yeah, I think I actually do.      16           MR. COLLINS: Objection. Foundation,
     17          MR. COLLINS: Thank you. 42?                  17   form.
     18          MR. BOGLE: Yeah.                             18           THE WITNESS: They include that, but
     19   BY MR. BOGLE:                                       19   like I say, I don't know if it wasn't included on
     20       Q So I don't want to reread all of the          20   5/28.
     21   e-mails, but you see the e-mails on page .15 and    21   BY MR. BOGLE:
     22   .16, that's the same e-mail chain we just           22        Q You're supposed to list the actual
     23   reviewed.                                           23   increased amount on the threshold --
     24      A It looks like the same one, yes.               24       A Yes.

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      1      Q      Right. Okay.                               1       Q -- change request form, right?
      2           And then if you see what follow -- or        2      A Yes.
      3   what's before that in this packet, there are --      3       Q Okay. And reasonable request for a
      4   one, two, three -- four hydrocodone threshold        4   small increase, is that documented proof of a
      5   increases from the same date with the same           5   legitimate business reason?
      6   description as for the reason for the change, all    6      A I don't think that's a good enough
      7   without increased amounts.                           7   reason. I don't know what the DRA vetted out on
      8           Do you see those forms?                      8   that.
      9       A Let me -- can I check --                       9       Q Oh, I'm sorry. One more thing on that
     10        Q Yeah, yeah. I don't want you to take my      10   compilation I just gave you, and you can take
     11   word for it.                                        11   whatever time you need to look at this.
     12       A Yes. I don't know the amounts, though.        12          But all the pharmacies listed here,
     13   It's not complete.                                  13   we'll get there one by one, page .2, Middleburg
     14        Q Right. None of them include amounts, do      14   Heights, that's in Cuyahoga County, right?
     15   they?                                               15          MR. COLLINS: Give him a second.
     16       A No, they don't.                               16          MR. BOGLE: Sure.
     17        Q But all of them show as approved by both     17          THE WITNESS: Yeah, I believe that's
     18   you and Dave Gustin, don't they?                    18   south of Cleveland.
     19       A They show me submitting it to Dave            19   BY MR. BOGLE:
     20   Gustin, yes, national account.                      20       Q Okay. Page .6, Garfield Heights, that's
     21        Q And his name appears there too under         21   Cuyahoga County, right?
     22   "Approved by," right?                               22      A Yes.
     23       A Yes.                                          23       Q Page .10, Cuyahoga Falls, Cuyahoga
     24        Q Okay. All dated May 28, '08, and all go      24   County as well, right?

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      1       A No.                                                1        Q Okay. And the reason for change that is
      2       Q No?                                                2   noted, it says: "This store volume is up over 55
      3       A That's Summit County.                              3   percent with additional scripts for hydrocodone."
      4       Q Summit, you're right. You're right.                4           Do you see that?
      5   Fair clarification. Thank you. Summit County.            5        A Yes.
      6          .14, this pharmacy is in Cleveland,               6        Q Okay. And this was noted -- under
      7   Ohio, right?                                             7   "Approved by," there's your signature, dated
      8       A Yes, at Lorraine Road.                             8   7/18/08, right?
      9       Q Okay. All right. We're done with that.             9        A Yes.
     10          MR. COLLINS: When would be a good time           10        Q Okay. In this file for this Giant Eagle
     11   to take a break?                                        11   Pharmacy, I did not see any prescription data
     12          MR. BOGLE: It's fine now. Yeah, if he            12   associated with this or any other threshold change
     13   needs it, that's fine.                                  13   for this store in this packet. I mean, feel free
     14          THE VIDEOGRAPHER: The time is 3:56 p.m.          14   to look. Do you see any -- any data, purchase
     15   We're going off the record.                             15   data that's designated?
     16          (Recess.)                                        16        A Let me check. (Peruses document.)
     17          THE VIDEOGRAPHER: The time is 4:08 p.m.          17           No, I don't see it in this packet.
     18   We're back on the record.                               18        Q Okay. And if you go to .5, which is
     19   BY MR. BOGLE:                                           19   another threshold change form for the same store,
     20       Q Okay, Mr. Snider, we had stopped --               20   dated October 2nd, 2008, do you see that?
     21   broken after talking about some of the Giant Eagle      21        A October 7th, was it? Oh, I see that
     22   Pharmacies, and I want to talk about a couple more      22   it's 2. Yeah, okay.
     23   of those from Summit and Cuyahoga County.               23        Q Yeah. Your signature is the 7th, we'll
     24          (Snider Exhibit No. 43 was marked                24   get there, but the form is dated October 2nd,
                                                     Page 407                                                   Page 409
      1          for identification.)                              1   right?
      2   BY MR. BOGLE:                                            2      A Yes.
      3       Q I'm going to hand you what's marked as             3       Q Okay. And so this is some, less than,
      4   1.1811, Exhibit 43.                                      4   three months after the prior request for a
      5          Okay. This is a file pertaining to                5   hydrocodone increase was requested and approved,
      6   Giant Eagle 0357. Do you see that?                       6   right?
      7      A Yes.                                                7      A I believe so, yes.
      8       Q Okay. All right. If you can go to                  8       Q Right. Let me --
      9   page .2, do you see there's a threshold change           9      A I actually remember that, yeah.
     10   form for Giant Eagle 0357 from Parma, Ohio? Do          10       Q So this again is for hydrocodone
     11   you see that?                                           11   requesting a 10 percent increase for this store,
     12      A Yes.                                               12   right?
     13       Q That's in Cuyahoga County, right?                 13      A In Parma, yes.
     14      A Yes.                                               14       Q Right. And again, there's no current
     15       Q Okay. Requested on July 17, 2008. Do              15   threshold listed here either, is there?
     16   you see that date?                                      16      A No.
     17      A Yes.                                               17       Q Okay. It is noted to be a permanent
     18       Q And the request is for a 20 percent               18   change request, right? I'm right here if it
     19   increase of the hydrocodone thresholds for that         19   helps.
     20   pharmacy, right?                                        20      A Yeah, thank you. Yes.
     21      A Yes.                                               21       Q Okay. And the reason for change noted
     22       Q Okay. Now, the current threshold is not           22   there is "Per Donald M. -- I don't know if it's
     23   actually noted here at all, is it?                      23   Casar or Sasar (phonetic), I'm not sure how you
     24      A No.                                                24   say that, but "RPH manager, quality assurance and

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      1   compliance." "Please increase due to the business     1   there's an e-mail from Sabrina Cook to Gregory
      2   has increased substantially over the last few         2   Carlson, October 22nd, 2008.
      3   months."                                              3           Do you see that?
      4           Do you see that?                              4       A Yes.
      5      A Yes.                                             5        Q She notes: "Below are stores that are
      6       Q Okay.                                           6   at least 80 percent or above their thresholds.
      7      A It's their security manager.                     7   Please review and let me know if there is a
      8       Q All right. And so, again, for this              8   business reason for an increase."
      9   request, there's no dispensing data in this           9           Do you see that statement?
     10   packet, right?                                       10       A Yes.
     11           MR. COLLINS: Objection.                      11        Q Okay. And this e-mail does include
     12   Mischaracterization.                                 12   various thresholds for Giant Eagle Pharmacies for
     13           THE WITNESS: I wouldn't see that.            13   controlled substances including opioids, right?
     14   BY MR. BOGLE:                                        14       A I don't know what that is. It --
     15       Q Okay. Do you see that in this packet?          15        Q Do you see where it lists monthly
     16      A No. No.                                         16   thresholds and has numbers below?
     17       Q Okay. And -- well, let me ask you this:        17       A Yes. And then it's blank where it says
     18   For Giant Eagle specifically, and during this time   18   "Threshold percent." Month-to-date accumulator, I
     19   period, 2008 time period, for a larger pharmacy      19   don't really know what that is.
     20   like that, would you not require them to produce     20        Q Yeah, I'm just asking if the monthly
     21   dispensing data to support their request?            21   threshold amounts were provided in this e-mail to
     22      A I would not.                                    22   Gregory Carlson at Giant Eagle.
     23       Q You would not? Okay.                           23           MR. COLLINS: Objection. Foundation.
     24      A No, the director of Regulatory Affairs          24           THE WITNESS: It says Sabrina -- it
                                                  Page 411                                                        Page 413
      1   would.                                                1   says: "Below are other stores that are -- that
      2        Q Okay. A fair clarification.                    2   are at least 80 percent or above." I don't know
      3            Do you know if it was policy within the      3   if Greg asked for it or not.
      4   company to request dispensing data for larger         4   BY MR. BOGLE:
      5   pharmacies like Giant Eagle when they made            5       Q Yeah, let me rephrase. I wasn't asking
      6   requests like this?                                   6   if he asked for it.
      7       A I'm not sure what year, but I know at           7           I'm saying Sabrina Cook, that's what
      8   one point on the CSMP, they did ask for data.         8   she's giving him are the monthly thresholds for
      9   Previously, on Lifestyle, I think we asked for        9   these stores for opioid products and other
     10   three months sales.                                  10   controlled substances. Correct?
     11        Q Right. So either way you're asking for        11       A She's giving him these list of stores
     12   some sort of data to support this kind of change,    12   that are at least 80 percent or above.
     13   right?                                               13       Q Right. And the monthly threshold is
     14       A The DRA is, yes.                               14   provided for each in the chart, right?
     15        Q All right.                                    15       A I would guess. I'm not sure what that
     16            (Snider Exhibit No. 44 was marked           16   is.
     17            for identification.)                        17       Q Okay. We see where it says "Monthly
     18   BY MR. BOGLE:                                        18   threshold" and there's numbers below it, right?
     19        Q I'm going to hand you what's marked as        19       A Yes.
     20   1.1866, Exhibit 44 to your deposition.               20       Q Okay. There's a response from Gregory
     21            Okay. This is a series of e-mails with      21   Carlson, October 22nd, 2008, saying: "We need to
     22   some threshold change forms attached to them. So     22   bump stores 4078, 6537, 2108, 4075, 6523, and 6513
     23   let's start by looking at the e-mails.               23   up by 20 percent due to high volume growth. These
     24            On the bottom of the first page there,      24   are all either new stores or stores running

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      1   promotions causing increased volume."                    1           MR. COLLINS: Objection. Form.
      2          Do you see that?                                  2           THE WITNESS: And I -- what year is
      3       A Yes.                                               3   this, please?
      4       Q And then the very top e-mail is an                 4   BY MR. BOGLE:
      5   e-mail from Bill de Gutierrez-Mahoney saying:            5       Q 2008.
      6   "Done. Jim, Blaine, please file for your                 6       A I don't know if we asked for that in
      7   records."                                                7   2008. That was Lifestyle.
      8          Do you see that?                                  8       Q October 2008, you think was Lifestyle?
      9       A Yes.                                               9       A It may have been. I don't remember.
     10       Q And Bill Mahoney was another DRA, right?          10       Q Okay. So if it was under the Lifestyle
     11       A Yes.                                              11   Drug Monitoring Program, you wouldn't have asked
     12       Q And if you look, the -- look at a couple          12   for dispensing data at all. Is that's what you're
     13   of these, there's actually the threshold change         13   saying?
     14   forms attached to the e-mails here, they're being       14       A I wouldn't have asked for national
     15   discussed.                                              15   account dispensing data at any time. That was
     16          So, for example, on page .3, on that             16   handled by the director of Regulatory Affairs and
     17   same day, October 22, 2008, where the request is        17   Bill de Gutierrez-Mahoney. But he says he
     18   made by Giant Eagle, you see a 20 percent increase      18   attaches them, but I'm not sure if this was what
     19   amount request for 9193, which is hydrocodone,          19   was attached. If it was, it wasn't completed.
     20   right?                                                  20       Q Okay. So -- yeah, and again, I'm just
     21       A Yes.                                              21   giving you what was produced to us. This -- this
     22       Q Okay. And this is from Groveport, Ohio.           22   e-mail and attachments to the e-mail, these
     23   Do you know where that's at?                            23   threshold change forms, you would agree with me
     24       A I think it's by the river.                        24   there is no dispensing data included in here for

                                                       Page 415                                                    Page 417
      1       Q Okay. In which county, do you know?                1   any of these stores, right?
      2       A No, I don't.                                       2      A I don't normally get that ever.
      3       Q You don't know. Okay.                              3       Q I'm not asking if you get it. I'm
      4          You see here the reason for change is             4   asking, is it attached to this e-mail chain?
      5   basically just copied from the e-mail that Gregory       5      A No.
      6   Carlson sent. It says: "Per Gregory Carlson,             6       Q Do you see it?
      7   Director of Pharmacy Sourcing," and it gives his         7      A I don't see it here.
      8   number, "Please increase due to running promotions       8       Q Okay. All right. And -- strike that.
      9   causing increased volume." Right?                        9          Do you see there are multiple other --
     10          MR. COLLINS: Objection. Form.                    10   actually, we'll go through a couple more.
     11   BY MR. BOGLE:                                           11          There is one on .5 asking for a 20
     12       Q Is that what it states?                           12   percent increase for a Giant Eagle in Berea, Ohio.
     13       A Can you restate that, please?                     13   Do you see that?
     14       Q Yeah.                                             14      A Berea.
     15          So the reason for change noted in this           15       Q Berea. Okay. What county is that in?
     16   form is, "Per Gregory Carlson, Director of              16      A That's Cuyahoga.
     17   Pharmacy Sourcing: Please increase due to running       17       Q And that's for a 20 percent increase for
     18   promotions causing increased volume?"                   18   hydrocodone, right?
     19          That's the reason stated on the actual           19      A Yes. That has a lot of population area.
     20   form. Right?                                            20       Q Okay. And again, the same reason for
     21       A Yes.                                              21   change is provided there as was in the last
     22       Q Okay. And again, in this packet of                22   threshold change form, right?
     23   threshold change forms, there's no dispensing data      23      A Yes.
     24   attached, is there?                                     24       Q Okay. Is there any indication here of

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      1   Giant Eagle providing you, McKesson, with the         1   from July 31, '08, right?
      2   actual promotion they were even running that was      2      A What was the other one? I'm sorry, I
      3   causing this increased volume?                        3   forgot.
      4      A I wouldn't know that.                            4       Q May 28, '08.
      5       Q Right. I'm asking, is it -- do you see          5      A Thank you.
      6   that anywhere in the packet of information or the     6       Q This is July 31 on this one, '08, right?
      7   e-mails?                                              7      A Yes.
      8      A You haven't included it in this packet.          8       Q Okay. Again, requesting an increase for
      9   I don't see anything.                                 9   hydrocodone, this time by 5 percent, right?
     10       Q I haven't -- I have included what was          10      A Yes.
     11   given to us.                                         11       Q And the noted reason for change is:
     12      A Okay.                                           12   "Threshold adjustment is being requested due to
     13       Q Okay. So --                                    13   high growth rate. Please increase by 5 percent."
     14      A Then -- then you or us haven't included         14           Do you see that reference?
     15   that.                                                15      A Yes, I do.
     16       Q Do you have any independent recollection       16       Q Okay. And this was noted -- signed by
     17   that that information was even provided for these    17   you, August 1, 2008, right?
     18   change requests?                                     18      A It was, yes.
     19      A No, I don't. I don't.                           19       Q So in the packet of information for this
     20       Q Okay. I'm going to hand you what I'm           20   pharmacy, do you see any dispensing data that
     21   marking as 1.1777, also Exhibit 45 to your           21   would support this request?
     22   deposition.                                          22      A I never see that. It's a national
     23           (Snider Exhibit No. 45 was marked            23   account. They do the vetting.
     24           for identification.)                         24       Q I'm asking whether you see it in this
                                                   Page 419                                                 Page 421
      1   BY MR. BOGLE:                                         1   packet.
      2       Q Do you see this file pertains to Giant          2      A I -- no.
      3   Eagle 0465? Do you see on the first page?             3       Q Okay. So let's fast-forward to the same
      4       A Yes.                                            4   pharmacy to October 2nd, 2008, page .13.
      5       Q Okay. And if you look, there's some             5          Are you there?
      6   threshold change requests attached here.              6      A Yes.
      7           First of all, if you can go to page .10.      7       Q Okay. This is a threshold change
      8   Do you see this is a threshold change request made    8   request dated October 2nd, 2008, for the same
      9   May 28, 2008, for a Giant Eagle in Brook Park,        9   Giant Eagle Pharmacy, right?
     10   Ohio?                                                10      A Yes.
     11       A Yes.                                           11       Q Also for hydrocodone, this time to
     12       Q Okay. And that's in Cuyahoga County,           12   increase by 35 percent, right?
     13   right?                                               13      A Yes.
     14       A Yes.                                           14       Q Okay. And the reason for the change is
     15       Q Okay. And this is another one of those         15   noted per Gregory Carlson, Director of Pharmacy
     16   stores that in May 2008 had their thresholds         16   Sourcing: "Please increase due to volume growth."
     17   increased for hydrocodone, the reason being          17   Right?
     18   "Reasonable request for a small increase," per Rex   18      A Yes.
     19   Catton. Do you see that?                             19       Q And this was sent -- signed and sent by
     20       A Yes. I think that's the same date.             20   you, October 7, 2008, correct?
     21       Q Yeah, it is.                                   21      A Yes, but sent -- I -- I don't know if I
     22           All right. Let's go a couple of months       22   sent this to Regulatory or they sent it to me.
     23   later for the same pharmacy. I'm on page .2.         23   I'm not sure which.
     24   This is a threshold change form for hydrocodone      24       Q Okay. Fair enough.

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      1           Again, no dispensing data attached to             1           for identification.)
      2   support the volume growth?                                2   BY MR. BOGLE:
      3       A I -- I would not and do not see that.               3       Q Okay. I'm going to hand you Exhibit 46,
      4        Q Okay. Let's go to page .18.                        4   which is Exhibit 1.1816.
      5           So this is a couple of weeks later,               5           It's a file for Giant Eagle 0230. Do
      6   October 23rd, 2008. There's an e-mail from                6   you see that?
      7   Sabrina Cook at the bottom of this page to Gregory        7       A Yes.
      8   Carlson saying: "Below are stores that are above          8       Q Okay. If you go to .2 -- actually, I'm
      9   80 percent of their thresholds. The thresholds            9   sorry, let's go to .4 first. My apologies.
     10   will be reset in six business days. Let me know          10           There is an e-mail there in the middle
     11   if there is a business reason for the increase --        11   of the page from Sabrina Cook to the same two
     12   for an increase."                                        12   individuals at Giant Eagle on November 20, 2008,
     13           Gregory Carlson responds the same day            13   saying: "Please see below for the stores that hit
     14   saying: "Go ahead and bump 482, 1475 and 465 due         14   above 80 percent of their thresholds. If there's
     15   to increased volume. I would say 20 percent for          15   a business reason for an increase, please let us
     16   each."                                                   16   know."
     17           Do you see those references?                     17           Do you see that? And there's a chart
     18       A I do.                                              18   below with Giant Eagle 488 for oxycodone, Giant
     19        Q Okay. And if you go to page .16, you              19   Eagle 230 for hydrocodone, and Giant Eagle 224 for
     20   see there there's the threshold change request for       20   oxycodone in that chart.
     21   this store that corresponds to that e-mail               21       A Yes.
     22   requesting a 20 percent increase for hydrocodone,        22       Q Gregory Carlson then responds the same
     23   right?                                                   23   day in the next e-mail above saying: "All need to
     24           MR. COLLINS: Objection. Foundation.              24   be increased by 20 percent. These stores are all

                                                      Page 423                                                       Page 425
      1          THE WITNESS: Yes, it's the one that                1   experiencing high volume. 488 have significantly
      2   says per Greg Carlson with his phone number.              2   grown due to a remodel, and the other two are in
      3   BY MR. BOGLE:                                             3   Cleveland, which is a high growth market for us."
      4       Q Right. And this relates to the e-mail               4           Do you see that?
      5   we just looked at, October 23, 2008, where he             5       A I see that.
      6   makes the request for multiple stores, including          6       Q Did you have an understanding that in
      7   465, to get a 20 percent increase for hydrocodone,        7   late 2008 that Cleveland was a high growth market
      8   right?                                                    8   for controlled substances for Giant Eagle?
      9      A I would guess that, yes.                             9           MR. COLLINS: Objection. Form.
     10       Q That's the next day, right?                        10           THE WITNESS: No, I didn't. I know --
     11      A Well, I would -- your answer is I would             11   can you rephrase that? I apologize.
     12   guess that.                                              12   BY MR. BOGLE:
     13       Q Okay. And it's the same reason for                 13       Q Yeah. Did you know in late 2008 that
     14   change provided that he provides in the e-mail,          14   Cleveland was a high growth market for Giant Eagle
     15   volume growth, right?                                    15   for controlled substances?
     16      A I'm sorry. Per -- per Gregory Carlson:              16       A No, not for controlled substances, but I
     17   "Please increase due to volume growth." Yeah, it         17   know their volume increased. Whereas a typical
     18   has the phone number and everything on it too. I         18   pharmacy might be eighty to 100,000, these guys
     19   don't know why that's different, but...                  19   were three to 400,000 and doing multiple scripts.
     20       Q And that's for the same Giant Eagle                20   It was a high density area. I do know that.
     21   Pharmacy at Brook Park, Ohio, that we looked at          21       Q Okay. So, in his e-mails indicated
     22   for the last few change requests, right?                 22   here, it was a -- what they called a high growth
     23      A Yes.                                                23   market, right?
     24          (Snider Exhibit No. 46 was marked                 24       A That's what he says here.

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      1        Q All right. And then if you see on              1   literally.
      2   page .2, here's the threshold increase form that      2       A I'm on it.
      3   corresponds with that request dated November 21,      3        Q Okay. So it says on this e-mail from
      4   2008, for the Giant Eagle 230 in Cleveland, Ohio.     4   July 29, 2009, from Gregory Carlson: "Please
      5   Do you see that?                                      5   increase the following stores these percentages
      6       A Yes.                                            6   based on reasons listed. Thanks."
      7        Q It's for a 20 percent increase for             7           And you see specifically as to the store
      8   hydrocodone, right?                                   8   this packet pertains to, Giant Eagle 4030, there's
      9       A I'm sorry, I can't -- yes.                      9   a request for a 10 percent increase for oxycodone,
     10        Q And again, the same reason for change         10   and the reason given is "volume up." Do you see
     11   was given here that we've seen in the prior          11   that?
     12   threshold change forms, which is volume growth,      12       A 4030. Yes.
     13   right?                                               13        Q Okay. And then if you go to the actual
     14       A Yes, with Greg's phone number.                 14   form, which is page .2, you see here's the form
     15        Q All right. And there's no -- again, in        15   from July 29, 2009, for the Giant Eagle in
     16   this packet of information for this pharmacy that    16   Tallmadge, Ohio. Do you see that?
     17   we obtained, there is no dispensing data attached,   17       A Yes.
     18   is there?                                            18        Q And that's in Summit County, right?
     19       A I'm not privy to -- to any of that. I          19       A Yeah, I think it is. It's on the edge.
     20   don't see it here at all.                            20   I think so.
     21        Q Okay. And your signature on this              21        Q All right. And you see the reason given
     22   document appears on November 21, '08, right?         22   here for the change is volume growth. Do you see
     23       A Yes.                                           23   that?
     24        Q I'm going to hand you what I'm marking        24       A I'm sorry.
                                                   Page 427                                                    Page 429
      1   Exhibit 47, also noted as 1.1839.                     1       Q I'm just looking at "Reason for
      2           (Snider Exhibit No. 47 was marked             2   requested change."
      3           for identification.)                          3      A Oh, thank you. Yes, I see it now.
      4   BY MR. BOGLE:                                         4       Q Okay. And what's noted here, though, is
      5       Q This information relates to Giant Eagle         5   a 20 percent increase for this store for
      6   4030. Do you see that?                                6   oxycodone, right?
      7      A Yes.                                             7      A Yes.
      8       Q Okay. And if you look here on page .4,          8       Q They only actually requested 10, though,
      9   there is an e-mail at the bottom of the page from     9   right?
     10   Gregory Carlson to Telisca Lindsay, July 29, '09,    10          MR. COLLINS: Objection. Foundation.
     11   where he says: "Telisca, please increase the         11          THE WITNESS: Can you help me out?
     12   following stores these percentages based on          12   BY MR. BOGLE:
     13   reasons listed" --                                   13       Q Yep. So if you go back to .5, the chart
     14      A Excuse me, hold on one second. Could            14   provided by Gregory Carlson, for Giant Eagle 4030,
     15   you tell me where you're at?                         15   he's asking for a 10 percent increase for
     16       Q Yeah.                                          16   oxycodone. Do you see that in the middle of the
     17      A What page?                                      17   chart?
     18       Q It says .4 on the very --                      18      A It looks like it, yes.
     19      A Sorry. Thank you.                               19       Q Okay. But on the threshold change form
     20       Q -- bottom. Yeah.                               20   completed the same day and signed by you, there's
     21           Let me know when you get there, and I'll     21   a 20 percent increase approved, right? Which is
     22   reread it --                                         22   also signed off on by Regulatory.
     23      A I'm there.                                      23          MR. COLLINS: Objection. Form.
     24       Q -- so we'll be on the same page                24          THE WITNESS: Yes, Regulatory would have

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      1   vetted it out.                                           1   out-of-stock situation on the Vicodin from last
      2   BY MR. BOGLE:                                            2   month filling owes. Also bump the two with the
      3       Q Right. But you see that there is a                 3   oxycodone. 4012 had a recent acquisition, so
      4   20 percent increase approved for oxycodone whereas       4   their volume is way up, and 5863 is experiencing
      5   they asked for 10?                                       5   greater than average growth. Increase 4012 by
      6          MR. COLLINS: Objection. Foundation.               6   25 percent and 5863 by 20 percent."
      7   BY MR. BOGLE:                                            7          Do you see that?
      8       Q On the same day.                                   8      A I see it.
      9      A I don't know all the information that               9       Q Okay. And if you look, the form appears
     10   went to vet that out by the director of Regulatory      10   on page .2. This is the form for hydrocodone
     11   Affairs. I believe it was Dave Gustin.                  11   related to that request, and this pharmacy is
     12       Q Okay. But --                                      12   located in Bedford, Ohio. Do you see that?
     13      A It doesn't say that in the e-mail.                 13      A Yes.
     14       Q Yeah, but you see here that we just               14       Q It's another Cuyahoga County pharmacy,
     15   looked at the request being made for 10 percent         15   right?
     16   and granted at 20 percent, right?                       16      A Yes. It's where I bought my car.
     17          MR. COLLINS: Objection.                          17       Q Okay. And the request here is for the
     18   Mischaracterization, lacks foundation.                  18   25 percent increase to hydrocodone, right?
     19          THE WITNESS: I see what they put in the          19      A Yes.
     20   e-mail, yes.                                            20       Q Which was submitted by you December 19,
     21   BY MR. BOGLE:                                           21   2008, correct?
     22       Q And you see what's in the threshold               22      A Yes.
     23   change form, right?                                     23       Q And again, in this packet of
     24      A Yes, I do.                                         24   information, no dispensing data to support the
                                                     Page 431                                                       Page 433
      1       Q Okay. One says 10, the other says 20,              1   growth, right?
      2   right?                                                   2          MR. COLLINS: Objection. Foundation.
      3      A This e-mail says 10, the other says 20.             3          THE WITNESS: I don't know what due
      4   I don't know what else was vetted out by Dave and        4   diligence did -- they did with the RNA.
      5   with the customer.                                       5   BY MR. BOGLE:
      6       Q All right. I'm handing you what I'm                6       Q I'm just asking if in the packet of
      7   marking as Exhibit 1.1817, which is also marked as       7   materials here we've got dispensing data.
      8   Exhibit 48.                                              8       A I don't see it in this packet, no.
      9           (Snider Exhibit No. 48 was marked                9          (Snider Exhibit No. 49 was marked
     10           for identification.)                            10          for identification.)
     11   BY MR. BOGLE:                                           11   BY MR. BOGLE:
     12       Q This packet pertains to Giant Eagle               12       Q All right. I'm going to hand you
     13   2029. Do you see that on the first page?                13   1.1841, which is marked as Exhibit 49.
     14      A Yes.                                               14          Okay. Let's start on page .2 at the
     15       Q Okay. If you can go to page .7.                   15   bottom. Do you see an e-mail from October 29,
     16   Looking at the e-mail from -- sorry, e-mail from        16   2010, from pharmacy team leader to Gregory
     17   Sabrina Cook, the bottom e-mail on the page, to         17   Carlson, copying Michael Chappell, at the very
     18   Gregory Carlson and Donald Casar, December 19,          18   bottom?
     19   2008, where she says: "The below stores have hit        19       A Yes.
     20   above 80 percent. Please let me know if there is        20       Q It says there: "Greg, just received our
     21   a business reason for an increase."                     21   order from McKess, and we did not get the Endocet
     22           Gregory Carlson responds the same day in        22   and Roxicet that we need desperately. We have
     23   the e-mail above: "All the hydrocodones need to         23   increased our business, and with a pain management
     24   be bumped by 25 percent." It says: "All due to          24   specialist in town and several terminal patients,

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      1   we are seeing a rise in these products. According      1   get to see it, right?
      2   to McKesson, we are limited to 9,900 tablets, and      2           MR. COLLINS: Objection. Lacks
      3   they recommend 12,000 units. We need to get these      3   foundation.
      4   medications or lose our customers. Can anything        4           THE WITNESS: Yes. And I just -- Jeff
      5   be done?"                                              5   said, I'm going to call Randy on this, and so if I
      6          Do you see that e-mail?                         6   saw that, I don't recall specifically from 2010.
      7      A Yes, I see it.                                    7   BY MR. BOGLE:
      8       Q Okay. And then the next e-mail up in             8       Q Okay. So do you recall any other
      9   the chain, there's an e-mail from Randy Heiser at      9   discussions with Giant Eagle that -- about pain
     10   Giant Eagle to a Jeff Wallace saying: "Jeff, we       10   management clinics being a business opportunity
     11   are currently evaluating pain management as a         11   for them?
     12   corporate business opportunity. Looking at the        12       A No. I try to make it clear that it's
     13   Cleveland marketplace to begin. Already in            13   regarding the national accounts, they're vetted
     14   conversation with the Cleveland Clinic. Please        14   out by our national accounts folks and the
     15   give me a call this week to discuss."                 15   directors of Regulatory Affairs. So I wouldn't
     16          Do you see that?                               16   have had that discussion at my level, no.
     17      A Yes.                                             17       Q So if Giant Eagle was looking at pain
     18       Q Did you know that around this time in           18   management clinics as a business opportunity in
     19   2010 that Giant Eagle was looking at pain             19   the Cleveland market, even though that's a market
     20   management clinics as a corporate business            20   that you service with your distribution center,
     21   opportunity?                                          21   you don't think you would be aware of that?
     22          MR. COLLINS: Objection. Foundation.            22       A I think I would be aware that it's been
     23          THE WITNESS: I don't remember that.            23   fully vetted by the director of Regulatory Affairs
     24   BY MR. BOGLE:                                         24   and our national accounts folks.
                                                    Page 435                                                  Page 437
      1       Q Okay.                                            1        Q So you would totally defer to them as to
      2       A That was 2010. I -- I do know Jeff               2   whether that was a business opportunity that
      3   Wallace. He was the account manager. So I don't        3   McKesson should participate in. Is that fair?
      4   remember this e-mail in particular.                    4            MR. COLLINS: Objection.
      5       Q Well, you see, though, the next e-mail           5   Mischaracterization. Foundation.
      6   up, Jeff does copy you on it.                          6            THE WITNESS: I would defer to their
      7       A Yes.                                             7   data and expertise, especially in the 2010 time
      8       Q So you would have seen this e-mail that          8   frame, yes.
      9   I just read to you, right?                             9   BY MR. BOGLE:
     10           MR. COLLINS: Objection. Foundation.           10        Q Okay. But you don't recall being made
     11           THE WITNESS: He sends it back to me           11   aware of it around that time frame, though?
     12   just saying, "I will call Randy," yes.                12       A No.
     13   BY MR. BOGLE:                                         13        Q Other than being copied on that e-mail.
     14       Q Right. So this is an e-mail, the one I          14       A No. I know who Randy Heiser is and I
     15   just read to you about the pain management as         15   know who Jeff Wallace is. And I -- my due
     16   being a corporate business opportunity for Giant      16   diligence was to send it to two Regulatory people
     17   Eagle, is one you would have received, right?         17   to make sure they're aware.
     18           MR. COLLINS: Objection. Foundation.           18        Q Do you recall receiving correspondence
     19           THE WITNESS: I did not receive it. I          19   in late 2013 regarding the subject of enhanced
     20   was copied --                                         20   controlled substance monitoring by McKesson?
     21   BY MR. BOGLE:                                         21       A I do recall a change in 2013 to enhance
     22       Q You didn't receive --                           22   it, yes.
     23       A I was copied on it.                             23        Q And you're aware that that change was
     24       Q Right. So when you're copied on it, you         24   prompted by renewed investigations by the

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      1   Department of Justice and DEA as to McKesson's        1       A Yes.
      2   practices, right?                                     2       Q Okay. Do you recall attending this
      3          MR. COLLINS: Objection. Foundation.            3   training?
      4          THE WITNESS: I don't remember that. I          4       A I think it was a Webex.
      5   would have to see what the correspondence said. I     5       Q Okay.
      6   don't remember that.                                  6       A And I don't recall specifically, but I'm
      7   BY MR. BOGLE:                                         7   sure I was there.
      8       Q You do know that McKesson ultimately in         8       Q Okay. Pertaining to this training, it's
      9   2016 paid a $150 million fine for violations of       9   stated here: "Team" -- sent on behalf of Don
     10   the Controlled Substances Act, right?                10   Walker -- "As you are aware, we are in the process
     11          MR. COLLINS: Objection. Calls for a           11   of implementing an enhanced suspicious order
     12   legal conclusion.                                    12   monitoring program. As a pharmaceutical
     13   BY MR. BOGLE:                                        13   distributor, McKesson has a responsibility to
     14       Q Do you know whether that occurred?             14   ensure pharmaceutical controlled substances are
     15          MR. COLLINS: I'm sorry. Lack of               15   not diverted for nonmedical or other illegal
     16   foundation. Form.                                    16   purposes. To that end, we are further enhancing
     17   BY MR. BOGLE:                                        17   our controlled substances distribution policies
     18       Q Do you know that?                              18   and procedures."
     19      A I heard it was a settlement with the            19          Do you see that?
     20   DEA.                                                 20       A Yes.
     21       Q Okay. Do --                                    21       Q Okay. McKesson's responsibility is to
     22      A And that's what I was told.                     22   ensure that controlled substances are not diverted
     23       Q You weren't told how much?                     23   for nonmedical or other illegal purposes. You
     24      A I was told it was --                            24   understand that McKesson has had that
                                                   Page 439                                                  Page 441
      1       Q For how much or for what for?                   1   responsibility since you've been running the
      2       A I was told it was a settlement for              2   distribution center in New Castle in 2000, right?
      3   $150 million.                                         3          MR. COLLINS: Objection to the form.
      4       Q Okay. But you didn't -- you never asked         4          THE WITNESS: I don't know if that was
      5   what for?                                             5   the language.
      6       A I'm sure I did.                                 6   BY MR. BOGLE:
      7       Q Okay. Do you remember being told what           7       Q Okay. Do you have an understanding that
      8   it was for?                                           8   that was the general responsibility from 2000 to
      9       A Not the people that know, no.                   9   present?
     10       Q Okay. I'm going to hand you --                 10          MR. COLLINS: Objection to the form.
     11   actually, strike that -- 1.1775, which I'm marking   11          THE WITNESS: I know the SOPs that
     12   as Exhibit 50.                                       12   McKesson had, and I tried to follow those.
     13          (Snider Exhibit No. 50 was marked             13   BY MR. BOGLE:
     14          for identification.)                          14       Q Okay. So you have no opinion one way or
     15   BY MR. BOGLE:                                        15   the other whether that was McKesson's
     16       Q Okay. And do you see here on the first         16   responsibility from 2000 to present while you were
     17   page, there's an e-mail from 10/24/13 sent by Elie   17   distribution center manager?
     18   Rio, the subject being "Suspicious order             18          MR. COLLINS: Objection. Vague, form.
     19   monitoring awareness training."                      19          THE WITNESS: I don't know if those
     20          Do you see that?                              20   words were used.
     21       A Yes.                                           21   BY MR. BOGLE:
     22       Q Okay. And if you go to the second page,        22       Q Okay. Those words do not look familiar
     23   required attendees, there's a list there, and in     23   to you?
     24   the second row names, you see -- you see you?        24          MR. COLLINS: Objection. Argumentative.

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      1           THE WITNESS: I can't answer that. I                1           Do you see that?
      2   don't know.                                                2      A Yes.
      3   BY MR. BOGLE:                                              3       Q Okay. So you have familiarity and
      4        Q Okay. So -- but after this enhanced                 4   experience looking at this ratio we talked about
      5   suspicious order monitoring program was                    5   before, the controls percentage versus the overall
      6   implemented, your distribution center began                6   percentage of prescriptions filled, right?
      7   looking closer at its customers to see if any of           7      A This data was given to me, yes.
      8   their orders were out of the ordinary, right?              8       Q Right. And you actually describe the
      9       A I would say that the director of                     9   data in pretty good detail there in the e-mail I
     10   Regulatory Affairs took that over in 2013 because         10   just read, right?
     11   they could get the data, and it was more of a             11           MR. COLLINS: Objection. Vague.
     12   data-driven evolving of it. So they would get the         12           THE WITNESS: Joe sent this on April
     13   script data, and they would do the searches for           13   2013, so I scheduled due diligence to get the
     14   it.                                                       14   salesperson and Dale to do an observation or
     15        Q Okay. You were involved in actually                15   Level I at each one of these stores.
     16   vetting the customers as well, though, right?             16   BY MR. BOGLE:
     17           MR. COLLINS: Objection. Form.                     17       Q Okay. My question was simply --
     18   BY MR. BOGLE:                                             18      A Sorry.
     19        Q In 2013.                                           19       Q -- what I just read is your recitation
     20           MR. COLLINS: Objection. Form.                     20   which provides your understanding of what this
     21           THE WITNESS: I don't remember if we               21   data actually even means, right?
     22   still did Level I observations or the DRAs did it.        22           MR. COLLINS: Objection. Vague.
     23   BY MR. BOGLE:                                             23           THE WITNESS: Recitation. Please, I
     24        Q Okay. Let's take a look here then.                 24   don't -- can you rephrase that?
                                                         Page 443                                                 Page 445
      1          (Snider Exhibit No. 51 was marked                   1   BY MR. BOGLE:
      2          for identification.)                                2       Q What I just read -- I'm trying to avoid
      3   BY MR. BOGLE:                                              3   reading the whole thing to you again -- but the
      4       Q I hand you Exhibit 51, also marked as                4   highlighted information on the screen here for you
      5   1.1876.                                                    5   is your specific understanding of what the ratios
      6          Do you see here this is an e-mail from              6   of controlled substance purchases to overall
      7   you, April 17, 2013, to several individuals? Do            7   prescription purchases means in addition to
      8   you see that?                                              8   OxyContin prescription of controls purchase data,
      9      A Yes.                                                  9   which we talked about before.
     10       Q Titled "Monthly Drug Usage Report,                  10       A This shows, yes, that Joe Lumpkin sent
     11   March." Do you see that there?                            11   me information, so I scheduled within 60 days a
     12      A Yes.                                                 12   visit to all these stores.
     13       Q And you say: "John, Alex and Kim: We                13       Q And your discussion specifically of your
     14   are going to set up CSMP visits for all of the            14   understanding of what that data means, right?
     15   accounts below. This is based on Joe Lumpkin's            15           MR. COLLINS: Objection. Form.
     16   monthly reports attached. The first column                16           THE WITNESS: I do remember most of it,
     17   represents higher than normal controls percent to         17   yes.
     18   total purchases. This would be ISMC over 25               18   BY MR. BOGLE:
     19   percent. The second column represents high                19       Q Okay. And I just want to look at a
     20   oxycodone purchases to control purchases. This is         20   couple of these here.
     21   over 25 percent. Based on this data, it's                 21           So there's Best Care of Bridgeport, the
     22   recommended that we do CSMP visits, with usage and        22   second pharmacy listed, you see there at this
     23   questionnaires completed within the next 60 to 90         23   point in time, March 2013, their controls
     24   days."                                                    24   percentage to overall prescription purchases was

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      1   53.97 percent.                                          1   example, you wouldn't have already known when you
      2          Do you see that?                                 2   completed this e-mail and attached the chart
      3      A Yes.                                               3   whether they had another distributor?
      4       Q Okay. You know that's very high, right?           4           MR. COLLINS: Objection to the form.
      5      A I also know I don't know how many                  5           THE WITNESS: No.
      6   wholesalers they had or what they were buying from      6   BY MR. BOGLE:
      7   other pharmaceuticals. So that is higher than the       7       Q You wouldn't know that?
      8   norm, and I would have scheduled a visit there.         8       A No.
      9       Q Okay. And their -- their sales of                 9       Q If you can go back to Exhibit 9 real
     10   oxycodone and hydrocodone had been high for years      10   quick. And keep this one I'm looking at with you
     11   leading up to 2013. We looked at that earlier in       11   out too, but...
     12   the deposition. You recall that, don't you?            12       A Eight.
     13          MR. COLLINS: Object -- objection.               13           MR. COLLINS: One more. Getting warmer.
     14   Argumentative, compound, assumes facts not in          14           THE WITNESS: 10.
     15   evidence, lack of foundation.                          15           MR. COLLINS: Getting warmer.
     16          THE WITNESS: I don't remember when we           16           THE WITNESS: 11. Sorry. Where is 9?
     17   required a -- you would have to refresh me on that     17   It has to be behind there. I'm sorry. 15. I
     18   again.                                                 18   don't see 9 here. Let me look at that other --
     19   BY MR. BOGLE:                                          19   BY MR. BOGLE:
     20       Q You don't recall looking at all the              20       Q You can follow me up on the screen if
     21   pharmacy information on Best Care earlier today?       21   you want. It doesn't matter to me.
     22      A I meant I didn't require -- I didn't              22           MR. COLLINS: It's got to be in this
     23   remember when we acquired Best Care.                   23   stack.
     24       Q Okay.                                            24           THE WITNESS: If it's okay with you, I

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      1       A So --                                             1   will go ahead and follow it here.
      2        Q You don't remember at all?                       2   BY MR. BOGLE:
      3       A I don't remember what year.                       3       Q This is the last document I want to
      4        Q Okay. So, now the information about              4   cover with you, so I'm just trying to -- so if you
      5   whether they had another distributor is                 5   look -- if we can turn to the second page of the
      6   information that you should have been aware of at       6   document, you see here -- you remember us talking
      7   this point in time, right?                              7   earlier about this regional statistical norms
      8           MR. COLLINS: Objection.                         8   chart?
      9   BY MR. BOGLE:                                           9      A Yes.
     10        Q In April 2013, you should have already          10       Q Okay. And we talked about New Castle,
     11   known that, right?                                     11   the controlled substances to total prescription
     12           MR. COLLINS: Objection. That's                 12   norm was 19 percent. Do you see that in the
     13   multiple questions. It's compound. Foundation.         13   Northeast chart there?
     14           THE WITNESS: No, I didn't have that            14      A That's not New Castle. That's all the
     15   information.                                           15   distribution centers combined.
     16   BY MR. BOGLE:                                          16       Q Right. That applies to all of them in
     17        Q You didn't ask that?                            17   the Northeast. You understand that, right?
     18       A I may have --                                    18      A Yes. Yes, I understand that.
     19           MR. COLLINS: Objection. Vague.                 19       Q And New Castle is included there, right?
     20           THE WITNESS: I may have asked that, but        20      A Yes. Yes.
     21   it asks that in the Level I questionnaire, and         21       Q Okay. So with a 19 percent controlled
     22   that's not attached.                                   22   substances to overall prescription purchases norm,
     23   BY MR. BOGLE:                                          23   you would agree with me that Best Care of
     24        Q Okay. So -- but for Best Care, for              24   Bridgeport is multiple times over that number,

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      1   right, in 2013?                                      1           MR. COLLINS: Well, here, I'm going to
      2           MR. COLLINS: Objection to form,              2   hand it to him so he can look at it.
      3   foundation.                                          3           THE WITNESS: Thank you.
      4           THE WITNESS: Yes, that number is higher      4           MR. BOGLE: Yeah, that's fine.
      5   than that.                                           5           THE WITNESS: It says 19 percent of
      6   BY MR. BOGLE:                                        6   total Rx, so that refers to controls percent to Rx
      7       Q Right. Significantly higher, right?            7   purchase line.
      8           MR. COLLINS: Objection. Vague.               8   BY MR. BOGLE:
      9           THE WITNESS: Two-and-a-quarter times.        9       Q Right. And for oxycodone specifically,
     10   BY MR. BOGLE:                                       10   that's noted to be 5 percent. Do you see that for
     11       Q Okay. And the last one I want to look         11   your region?
     12   at here is, for oxycodone for your region, 5        12      A You said percent of total Rx, yes.
     13   percent is noted to be the regional norm of total   13       Q Right. And so that's the same sort of
     14   prescriptions should be oxycodone. That's the       14   calculations that are being run here in
     15   regional norm. Do you see that?                     15   Exhibit 1.1876, and for Martella's, for their
     16           MR. COLLINS: Objection. Lack of             16   three different DEA numbers, they're coming out at
     17   foundation.                                         17   between 37 and 57 percent, right?
     18           THE WITNESS: These numbers are not          18      A Correct.
     19   guidelines for appropriate dispensing. They are     19           MR. COLLINS: Object to the form.
     20   simply national average derives from McKesson       20           MR. BOGLE: No further questions at this
     21   data. Yes, I see that.                              21   time.
     22   BY MR. BOGLE:                                       22           MR. COLLINS: Why don't we take five
     23       Q You see where it says --                      23   minutes? I have some redirect.
     24       A Yeah.                                         24           THE VIDEOGRAPHER: The time is 4:59 p.m.

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      1       Q -- "Diversion can occur in purchases           1   We're going off the record.
      2   below these statistical norms"?                      2           (Recess.)
      3       A Yes.                                           3           THE VIDEOGRAPHER: The time is 5:12
      4       Q I think you missed that sentence.              4   p.m., and we're back on the record.
      5       A Yes.                                           5             REDIRECT EXAMINATION
      6       Q Okay. And then so if you look here for         6   BY MR. COLLINS:
      7   Martella's, which is another pharmacy we just --     7       Q Good afternoon, Mr. Snider.
      8   we talked about earlier. Do you recall them?         8      A Good afternoon.
      9       A Yes.                                           9       Q I'm Kevin Collins.
     10       Q Okay. So the oxy percentage of controls       10      A Yes.
     11   purchased, they have three different listings.      11       Q Where do you currently live?
     12   They're between 37 and 57 percent for their three   12      A I currently live in -- south of
     13   different DEA numbers. Do you see that on this      13   Youngstown, Ohio -- Poland, Ohio.
     14   chart from 1.1876?                                  14       Q Can you keep your voice up. I know it's
     15       A Yeah, but I see -- I think the 19 refers      15   been a long day. One more time?
     16   to our controls percent of Rx purchase, doesn't     16      A Poland, Ohio.
     17   it? Or am I wrong on that?                          17       Q Okay. And what county is that?
     18       Q 19? I'm not sure I'm following you.           18      A It's Mahoning County.
     19       A On the chart before.                          19       Q All right. And where is that county
     20       Q Can we go back to the other chart?            20   related to Summit and Cuyahoga counties?
     21           MR. COLLINS: Yeah, we've got a copy of      21      A It's about three or four counties over
     22   it. Hold on one second so he can see it.            22   east, directly east towards the PA line.
     23           MR. BOGLE: We'll go back to the chart       23       Q And how long have you resided there?
     24   either way on the screen.                           24      A Twenty -- 18 years.

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      1       Q All right. Where were you born and                 1   facility opened in 2000?
      2   raised?                                                  2      A Yes. May of 2000.
      3       A I was born in Coshocton, Ohio, and was             3       Q And when it opened, what was your title?
      4   raised in Cuyahoga Falls in Summit County.               4      A I don't remember if it was DCM or DO,
      5       Q Where did you go to high school?                   5   but it was one of those, and I ran the
      6       A Cuyahoga Falls High School.                        6   distribution center. We got -- started it up, and
      7       Q What did you do after high school?                 7   then I'm still there. So I've always been in the
      8       A I went to Kent State University.                   8   Ohio/PA market.
      9       Q And after Kent State, when did you                 9       Q What geographic territory does the New
     10   graduate?                                               10   Castle distribution service -- distribution center
     11       A I graduated in -- I'm sorry -- 1978.              11   service?
     12   Sorry. That's a long time ago.                          12      A Our distribution center services -- if I
     13       Q Okay. And when did you start working              13   could say what towns, you might know, but on the
     14   for McKesson?                                           14   east is State College, which is the -- central PA;
     15       A I believe '79, '80.                               15   on the north is Erie, Pennsylvania, which is the
     16       Q Can you briefly describe the positions            16   north side; northwest is -- is Cleveland; and then
     17   you've held, starting from your earliest position       17   southwest would be down to the Zanesville area;
     18   at McKesson to your current position and where --       18   and then south would be -- I believe it was
     19   where you were located.                                 19   Morgantown, Weston; and then back up to New
     20       A Okay. Sure. Started in North Canton,              20   Castle. So we're in the geographic center.
     21   Ohio. I don't remember exactly how long, but I          21       Q How many employees do you manage?
     22   was first a trainee for a couple of months, and         22      A About 133 right now.
     23   then a night supervisor after that couple of            23       Q And how many employees are direct
     24   months of -- in there. And then I did that for          24   reports to you?
                                                       Page 455                                                 Page 457
      1   quite a few years, and then I got promoted to            1      A About ten.
      2   operations manager there, and I'm not sure what          2       Q In your almost 19 years of managing the
      3   year that was. It would be on -- probably on my          3   New Castle Distribution Center, how would you
      4   resume, but I don't remember.                            4   describe the performance of the distribution
      5           And then after that, we built a new              5   center?
      6   facility in Cincinnati, Ohio. Fairfield, Ohio, to        6          MR. BOGLE: Object to form, vague and
      7   be exact. And I ran -- I went there as the               7   ambiguous.
      8   operations manager. And I --                             8          THE WITNESS: The distribution center
      9       Q What year was that?                                9   won the DC of the year seven times, and that's
     10      A 1978. No, '75. I think so.                         10   twice as many as any other distribution center has
     11       Q Would it be --                                    11   received that, and that's based on the quality and
     12      A No, no. No, no. I'm sorry. I have the              12   the performance of the distribution center.
     13   wrong -- '95 or '6. Sorry about that.                   13   BY MR. COLLINS:
     14       Q I'm sorry. Where did you go after that?           14       Q Are there ever any internal audits
     15      A After Cincinnati, I went back to North             15   performed about the operations of the distribution
     16   Canton, and then they promoted me to distribution       16   center at New Castle?
     17   center manager over in Sewickley, Pennsylvania,         17      A Yes. We have four or five kinds of
     18   and after that I was promoted to manager over           18   audits. The first kind is called a STARS audit
     19   Sewickley and North Canton. And we had closed           19   that we do internally to match our SOPs to our
     20   Cincinnati, and then we closed North Canton, which      20   performance. And that's done -- right now it's
     21   was in Stark County, and we combined it into New        21   done by an accounting team. But before that, all
     22   Castle in 2000, and I was made the director of          22   those years, it was done by McKesson Regulatory
     23   operations there.                                       23   Affairs folks.
     24       Q So is it true that the New Castle                 24          Then we have a specific --

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      1        Q I'm sorry. Can you tell me how often                1   records.
      2   that's done?                                               2   BY MR. COLLINS:
      3       A Every two, two-and-a-half years.                     3       Q Have you ever received -- or has the
      4        Q Okay. And the next -- the other audit               4   distribution center ever received any kind of
      5   you were going to describe?                                5   minor infraction or citation from the DEA?
      6       A Yes. Sorry. The next audit is the DEA                6          MR. BOGLE: Object to form.
      7   cyclic audit or any DEA unannounced audit. So              7          THE WITNESS: Never.
      8   we've had cyclic audits average two-and-a-half             8   BY MR. COLLINS:
      9   years. They try to do them every two years,                9       Q In terms of the New Castle Distribution
     10   but -- so I believe there were four audits at the         10   Center operations, on average, what's the volume
     11   distribution center by the DEA, and they've all           11   of the pharmaceuticals that you distribute per
     12   came out as -- a hundred percent as exemplary. So         12   day?
     13   that was one of the other audits.                         13       A We do about 150,000 pieces a day to
     14           And then monthly, we did the triannual            14   200,000, depending on the day.
     15   report, which was a DEA SOPs. And then also we            15       Q And when you say "pieces," what do you
     16   did a VAWD audit, which is the National Wholesale         16   mean? Is that -- is that a tablet or --
     17   Association. We do that every two to five years           17       A A bottle or pill, or even sometimes a
     18   depending on our licensure. We were one of the            18   case. It depends on the selling unit.
     19   first DCs to get VAWD accreditation.                      19       Q 150,000 pieces?
     20           So when the DEA or we do our audits, we           20       A Minimum.
     21   check our licensing and numerous other things, but        21       Q And how many -- what portion of that is
     22   the DEA has been in there a few times, and they've        22   controlled substances?
     23   always had exemplary comments for New Castle and          23       A About fourteen to 15,000. Total for
     24   our team.                                                 24   Class II, III, IV and V.
                                                       Page 459                                                   Page 461
      1           (Snider Exhibit No. 52 was marked                  1        Q And in terms of opioids, what's the
      2           for identification.)                               2   percentage of the product that is moved out of the
      3   BY MR. COLLINS:                                            3   distribution center each day that is an opioid?
      4       Q I'm going to hand you what's been                    4           MR. BOGLE: Object to form as to time,
      5   premarked as Exhibit 52.                                   5   vague and ambiguous.
      6           Mr. Snider, can I ask you to identify              6           MR. COLLINS: And I -- fair enough. I
      7   what is Exhibit 52?                                        7   will -- Mr. Bogle's objection is well founded.
      8       A This is the triannual checklist in the               8   BY MR. COLLINS:
      9   McKesson operations manual.                                9        Q Over the course of the last 20 years,
     10       Q And what's the purpose of this document?            10   can you tell me how the volume of opioids, what
     11       A It's to do a -- every -- every                      11   it's been relative to the rest of the product
     12   quarter -- every four months, I'm sorry, do a             12   that's been moved?
     13   DA -- DEA triannual checklist, and there's a group        13           MR. BOGLE: Object to form.
     14   of questions to ask to make sure we're complying          14           THE WITNESS: Two percent.
     15   with supply chain and SOPs.                               15   BY MR. COLLINS:
     16       Q Has the DEA ever complained to you about            16        Q What other products besides controlled
     17   your operations at the New Castle Distribution            17   substances does the distribution center
     18   Center?                                                   18   distribute?
     19           MR. BOGLE: Object to form.                        19        A We sell pharmaceuticals, legend drugs,
     20           THE WITNESS: No. They've always                   20   over-the-counter merchandise, some medical
     21   said -- I know Kurt Dittmer, who was there before.        21   devices, everything from syringes to -- we used to
     22   Patty Robson is there right now as interim agent          22   sell wheelchairs and that, but we got out of that
     23   in charge, and before that we had -- I knew Jim           23   business locally. But we would sell anything you
     24   Crawford, and all of them have given us exemplary         24   would see in a pharmacy.

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      1        Q How significant in terms of the                     1           (Snider Exhibits No. 53 through 62
      2   resources are controlled substance to your daily           2           were marked for identification.)
      3   distribution needs?                                        3   BY MR. COLLINS:
      4            MR. BOGLE: Object to form.                        4       Q So I'm handing you 53. Do you recognize
      5            THE WITNESS: Currently we have about 10           5   what's depicted in Exhibit 53?
      6   or 12 people that do nothing but the controls. I           6       A Yes.
      7   have two clerks that do nothing but the paper 222          7       Q What is it?
      8   forms or sorting those out, and I have one that            8       A This is our control substance cage for
      9   answers the phone and balances those edits. We             9   Class III, IV and V merchandise.
     10   send an edit every day to the DEA, electronically.        10       Q And where is that perspective from?
     11   I believe it's the Philadelphia office.                   11       A It's from the mezzanine level looking
     12   BY MR. COLLINS:                                           12   down.
     13        Q Let's take an opioid that is received in           13       Q And does that fairly and accurately
     14   your distribution center, and I'd like you to             14   depict the cage --
     15   describe how it's received, how it's handled, how         15       A Yes.
     16   it's stored, and how it's then further                    16       Q -- in its current state?
     17   distributed.                                              17       A Yeah, the bottom right is our
     18            MR. BOGLE: Objection. Form, compound.            18   self-closing door. And then I'll -- which has a
     19            THE WITNESS: We receive it several               19   scanner on it so we know only people can enter
     20   ways. Directly from a vendor or FedEx or what we          20   that are accessed to that. And there's quite a
     21   call our national redistribution center. So I'll          21   bit of -- well, you don't see the security here,
     22   take the national redistribution center.                  22   but there's quite a bit there.
     23            They send a notice to us that something          23       Q Let me hand you what's been premarked as
     24   is coming. The minute it hits the door, it's got          24   Exhibit 54. Can you identify what's depicted in
                                                         Page 463                                                 Page 465
      1   an electronic threshold report that I actually get         1   Exhibit 54?
      2   an e-mail or text that I have to have it in the            2      A Yes. That's Jeff inside the cage
      3   cage or the vault within one-half hour. If that            3   showing our radio frequency Accumax unit that we
      4   doesn't happen, then the text happens to my                4   barcode scan the product so we have an accurate
      5   managers to go out and see what's wrong.                   5   order and -- and know what's in the tote.
      6           And of that, we check it in. We open it            6           And what he's doing is put away, and on
      7   up under camera every -- every box. And then the           7   the left you see the scanner above the fire
      8   receiver checks it in, puts it in a holding cage           8   extinguisher for our -- that opens the door,
      9   and rolls it over, just about every hour or two            9   allows you access if you have a badge that's
     10   hours, to the cage or the vault. And then that            10   authorized. He's been background checked. I
     11   person double-checks and opens it up under camera,        11   actually know him from my North Canton days.
     12   and then we have a record of that that keeps              12           And then the middle of that is the
     13   for -- with our system now at least 60 days. And          13   authorization list of the people that can enter
     14   that's part of it. Everything is double-checked           14   that area and have access. And then if there's a
     15   by at least two people.                                   15   visitor, like my boss or whatever, it's put on the
     16   BY MR. COLLINS:                                           16   restricted area, authorized personnel only log.
     17       Q I'm going to hand you a series of                   17   And they have to be accompanied.
     18   photographs and ask you to identify them for me.          18           You can see the -- up above some of the
     19      A Okay.                                                19   cameras, et cetera. And that door is
     20       Q They've been premarked as Exhibits 2                20   electronically self-closing.
     21   through -- 2 through 11. So I'm going to hand you         21       Q Does that fairly and accurately depict
     22   each of those, and I want you to tell me -- I'll          22   the area that you just described?
     23   hand them to you. You can have a seat.                    23      A Yes.
     24           I'm sorry, 53 through 62.                         24       Q I'm going to hand you what's been

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      1   premarked as Exhibit 55. Describe what -- tell me          1   walk through and test every -- every point.
      2   if you identify -- can identify what's in that             2        Q Let me show you what's been premarked as
      3   picture.                                                   3   Exhibit 57, and ask you to tell me whether you can
      4       A Yes. That's the back area of the cage.               4   identify that.
      5   There is an I-Wash station there too, but above            5       A That's just the side of the vault, and
      6   that is the motion detectors that go 360 -- well,          6   it just shows you some of the conduit for the
      7   I'm sorry, 180, around, and we have those on every         7   security system. Up above there is one of the
      8   corner. And we alarm test every month, and                 8   sensors, and I think that's what that depicts
      9   everything is brazed bolts. There's a lot of DEA           9   there.
     10   regs on that.                                             10        Q Does it fairly and accurately depict
     11       Q Let me show you what's been -- I'm going            11   that area you just described?
     12   to -- actually, does that fairly and accurately           12       A Yes.
     13   depict the area that you just described?                  13        Q I want to show you -- hand you what's
     14       A Yes.                                                14   been premarked as Exhibit 58. Ask you to identify
     15       Q I'm going to hand you what's been                   15   or tell me whether you can identify that.
     16   premarked as Exhibit 56.                                  16       A Yeah, this is the first access door to
     17       A Thank you.                                          17   the Class II narcotic vault. It just shows the
     18       Q Do you recognize what's depicted in                 18   steel doors and some of the product inside that
     19   Exhibit 56?                                               19   vault.
     20       A Yes, I do.                                          20        Q Does it fairly and accurately depict the
     21       Q What is it?                                         21   area you just described?
     22       A That's our fairly new vault that we put             22       A Yes.
     23   in for Class II product. This was approved by the         23        Q What is kept in that vault?
     24   DEA, and it's a two-story vault and it's got              24       A Class II narcotic substances. And I
                                                         Page 467                                                 Page 469
      1   cement panels. I don't know if they weld them or           1   believe the hydrocodone was put in there about '13
      2   whatever, but that area has secure steel doors.            2   or '14, as I recall.
      3   It's a combination lock, self-closing doors. It            3        Q And when you say '13 or '14, 2013 and
      4   just shows you part of the supply chain that we            4   2014?
      5   have to make sure everything is secure. So no one          5       A Yes.
      6   can go in there unless they're authorized. It has          6        Q And who has access to this area?
      7   the same lists and card readers there.                     7       A The managers. There's a list on the day
      8        Q You -- you indicated this -- well, does             8   gate, so you have to access that too, and they are
      9   this fairly and accurately depict the area you             9   all self-closing. So there is a list of managers
     10   just described?                                           10   and employees, and they're background checked
     11       A Yes.                                                11   every year.
     12        Q You indicated this is relatively recent.           12        Q In the almost 20 years that you've
     13   What did you have there before?                           13   managed this distribution center, have you ever
     14       A We had two smaller vaults, one story, so            14   had any theft of opioids?
     15   they were a little tight. And so we upgraded to           15       A Yes, I have.
     16   this, and added all kinds of security cameras and         16        Q When?
     17   motion. There's noise sensors. There's heat               17       A We had some in 2010, '10 -- '10 to '11.
     18   sensors. There's everything we can do to make             18   And it was a long-term employee, and we called
     19   sure that we aren't broken into.                          19   security, the DEA, let the police know and
     20        Q What's the purpose of the heat sensors?            20   everything else, and she was terminated.
     21       A Just to make sure if a body is on the               21        Q And what was the volume of product that
     22   top, you can detect them. There is a space in             22   was missing?
     23   between there. That's how we test the alarm               23       A I -- I never found out exactly. I just
     24   system every month. And when the DEA comes, they          24   know we had three 106s, as I recall, for

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      1   hydrocodone.                                          1   every tote has a security bag sealed to avoid
      2       Q And what are 106s?                              2   tampering, and then that tote is tied with a
      3      A 106 is a loss form that we report to the         3   plastic tote tie, here in the vault, and it's sent
      4   DEA, not just with our ARCOS, but we also call        4   out into the shipping areas and it's commingled,
      5   them and talk to them about it and then send it       5   so you really don't know what a controlled
      6   electronically.                                       6   substance is inside. So all that's scanned.
      7       Q Let me show you what's been premarked as        7   Also I can tell realtime every tote and every
      8   Exhibit 59. Can you identify what's in Exhibit 59     8   piece that is scanned on my system.
      9   for me?                                               9        Q What do you mean by a tote?
     10      A Yes. This just shows the backside. So           10       A That's the container for the controlled
     11   you're looking at the opposite side of the vault,    11   substances.
     12   so you get a little idea of the distance. And        12        Q And I don't recall if I already asked
     13   then there's sensors on there, and these are the     13   you, but does this fairly and accurately depict
     14   two roll-about cages that a receiver would put       14   the area you just described?
     15   product in and then roll it into the vault area to   15       A Yes.
     16   be double-checked under camera.                      16        Q I'm showing you what's been premarked as
     17       Q Does this fairly and accurately depict         17   Exhibit 62. Ask you to identify what's depicted
     18   the area you just described along with these         18   in Exhibit 62.
     19   cages?                                               19       A Yeah, this is our MAXPRO camera system.
     20      A Yes.                                            20   It's just a typical view for our security system.
     21       Q I show you what's been premarked as            21   So it's important that we have access anywhere we
     22   Exhibit 60. Ask you to identify what's depicted      22   have a laptop availability, and we have access to
     23   there, if you can.                                   23   this. There's over 130 cameras in the
     24      A That's some of our security cameras that        24   distribution center, and we do a report out as
                                                   Page 471                                                        Page 473
      1   was -- Dale took that picture. It just shows some     1   part of our auditing for scope and purpose, and
      2   of our -- I believe they're called 360s. I'm not      2   then that's reviewed by the DEA.
      3   an expert. But these cameras would show if there      3           So this was, I believe, Dale's laptop.
      4   is any pilferage or tampering, et cetera. Also        4   So there's a lot more camera footage you can tell.
      5   shows if there's a problem with something, so I       5   Even the parking lot is -- is -- we have a fence
      6   would see that with these cameras, and we keep        6   around the outside of the parking lot, and we have
      7   that data.                                            7   badge access only, so we know who came and went,
      8       Q And where exactly are we looking? Is            8   and et cetera.
      9   this --                                               9        Q Other than that one occasion I think you
     10       A This is just down one aisle of the cage.       10   said in 2010 where you had an employee that was
     11   So you didn't see that from up top, but this is      11   involved in some theft, have you ever had any
     12   one aisle in the cage probably as you came in,       12   other type of incident at your distribution
     13   past where Jeff was on the other picture.            13   center?
     14       Q And does it fairly and accurately depict       14        A Yes, we had -- up in Cleveland, someone
     15   the area you just described?                         15   approached one of the drivers with a gun, and he
     16       A Yes, it does.                                  16   actually yelled for them to get out, and they
     17       Q I'm showing you what's been premarked as       17   actually did. But they asked him to open the back
     18   Exhibit 61. Please tell me whether you can           18   of his truck, which is always locked, and produce
     19   identify this area for me.                           19   the totes. And he actually used to run a
     20       A This shows some of the security inside         20   Mini-Mart is how he did that.
     21   the vault. So I'll just direct your attention to     21           And I know that because our delivery
     22   the automation that shows a tote is sealed under     22   service has worked for me for almost 40 years, and
     23   camera. And every controlled substance goes into     23   it's a dedicated delivery service, and no other
     24   a security bag that's sealed under camera. So        24   wholesaler has that. And these guys carry

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      1   scanners so they can scan the totes. We know when         1   and you saw it on some of the audits. The first
      2   they bring them back how many totes were                  2   one was called the DOM or -- we call it even
      3   delivered. They call if there's an error, they            3   before that Section 55, but we've always had SOPs
      4   had ten instead of nine. So we investigate that,          4   for handling of controlled substances.
      5   et cetera. But the drivers have been dedicated            5          (Snider Exhibit No. 63 was marked
      6   service only for McKesson totes, which I think is         6          for identification.)
      7   a differentiator for us.                                  7   BY MR. COLLINS:
      8        Q Do you see any totes in this Exhibit --            8       Q I'm going to hand you what's been
      9   is it 62?                                                 9   premarked as Exhibit 63. Ask you to identify that
     10       A Yes. That top left, you see -- I can't             10   for me.
     11   tell if that's the bio box or the -- yeah, it is         11       A This is the McKesson operations
     12   the bio. There's totes lined up there that are           12   manager -- I think I -- we had this before.
     13   getting ready to fill orders. So they're maroon          13       Q And approximately what period of time
     14   totes, and they're all sealed with -- bless you --       14   was this in effect?
     15   they're sealed with a plastic heat strap.                15       A This was -- let me see. I'm not sure.
     16        Q And does this fairly and accurately               16   I'd have to look here. Just a second. (Peruses
     17   depict the -- sort of the various views of the           17   document.)
     18   cameras?                                                 18          I'm going to guess. My memory was 2000
     19       A Yes.                                               19   to 2006. It might have been changed after that.
     20        Q How long has the distribution center had          20   I'm not sure.
     21   cameras?                                                 21       Q Do your employees undergo any kind of
     22       A Since our inception. And we've had four            22   training for handling of controlled substances?
     23   iterations of the security system and updated our        23       A Yeah, we do. We do SOPs, and then we
     24   DVRs. For instance, just last week, we updated           24   document the training for everything from door
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      1   for the WannaCry virus. I don't know what that            1   checks -- that they're going to have a door check
      2   is, but they had to update so that coordinates            2   to the walk test every month, and that they could
      3   with our security.                                        3   be searched, et cetera.
      4            And we have a separate McKesson, it's            4           So we also go to SOPs for the handling
      5   called GSOC, which is a company that monitors our         5   of every controlled substance, how they have to
      6   building, and the in-and-out doors, especially on         6   keep it under camera, and they actually have a
      7   the weekends, we call them before we come in to           7   camera right above them when they fill or dispense
      8   make sure everything is secure, because we do --          8   product into the security bag. So that helps us
      9   there have been hostage situations with other             9   to make sure the right product is in that bag.
     10   wholesalers.                                             10        Q Does the distribution center communicate
     11        Q Do your employees have to be screened to          11   with local DEA?
     12   handle controlled substances?                            12       A Yes.
     13       A Yes. They're background checked, and               13        Q How often?
     14   it's a preemployment drug test.                          14       A Not as much right now, but they will
     15        Q Are they --                                       15   call me. I talked to Patty Robson last week. And
     16       A Every year.                                        16   I also used to talk to Kurt Dittmer quite a bit
     17        Q I'm sorry. So preemployment, are they             17   before he retired. And I've known these folks for
     18   given background checks every year then?                 18   a long time, and I would probably say at least
     19       A If they have access to controls, they              19   twice a month there was some contact.
     20   are.                                                     20        Q Has the DEA -- the local DEA ever given
     21        Q Are there standard operating procedures           21   you a complaint about the operation of the
     22   that -- that the distribution center complies with       22   distribution center?
     23   in its handling of controlled substances?                23           MR. BOGLE: Object to form.
     24       A Yes. We have SOPs that we work with,               24           THE WITNESS: They've never.

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      1   BY MR. COLLINS:                                            1           THE WITNESS: Yes. Briefly, the first
      2       Q I'm sorry?                                           2   part, 2000 to 2006, we would fax the DEA unusual
      3       A No, they have never.                                 3   purchase notification log, I think is what the
      4       Q In earlier questioning by Mr. Bogle, he              4   full name was, DU45. And then we would transmit a
      5   mentioned a settlement agreement with the -- the           5   monthly ARCOS, and we've been doing that for all
      6   Justice Department. Do you recall that?                    6   of my 40 years. So we transmit ARCOS to the DEA.
      7       A Yes.                                                 7   That's every transaction, automated reporting of
      8       Q Do you know if the New Castle                        8   control order system. And we --
      9   Distribution Center was mentioned in that                  9   BY MR. COLLINS:
     10   settlement agreement?                                     10        Q I'm sorry. How often is that done or
     11       A I know it was not.                                  11   was that done?
     12          (Snider Exhibit No. 64 was marked                  12       A Once a month.
     13          for identification.)                               13        Q And the DU45s, how often were they
     14   BY MR. COLLINS:                                           14   transmitted to the DEA?
     15       Q I'm going to show you what's been                   15           MR. BOGLE: Object to form.
     16   premarked as Exhibit 64.                                  16           THE WITNESS: In 2000 to 2006, it was
     17          Do you recognize that document?                    17   daily. And then we also sent it monthly, and we
     18       A Yes.                                                18   put it in the audit box for the DEA, and retained
     19       Q What is it?                                         19   it for two years also. So we had that data for
     20       A It's the controlled substance compliance            20   them to look at when they did the audit, and they
     21   process.                                                  21   did.
     22       Q And what's the purpose of this document?            22   BY MR. COLLINS:
     23       A To make sure the SOPs are followed under            23        Q I want to make sure I'm clear. So you
     24   the MOM or manual on the handling of controlled           24   mentioned basically three reports, correct?

                                                         Page 479                                                     Page 481
      1   substances. So this would be how to fill out the           1       A Yes.
      2   daily transmission to the DEA, how to file the             2        Q The monthly ARCOS data.
      3   ARCOS month end, how to do counts.                         3       A Yes.
      4           We count the product every day if it               4        Q Every transaction reported to the DEA.
      5   doesn't match inventory numbers, and we also count         5       A Yes.
      6   the product every month, and twice a year we count         6        Q Daily DU45.
      7   every piece, including Class IV through V in               7       A Yes.
      8   there. We just do our biannual inventory last              8        Q Suspicious order reports faxed to the
      9   month.                                                     9   DEA.
     10           So it tells us how to do that. It also            10       A Yes.
     11   tells us how to fill out or how to properly fill          11        Q And then monthly, the same thing.
     12   out and check a 222 form, which is what a percent         12       A Monthly suspicious order reports that
     13   of our customers still use. It's a three-part             13   were sent. I think --
     14   form, and it tells how to do that and how to void         14           MR. BOGLE: Object as leading.
     15   that. We spend a lot of time with that. I prefer          15   BY MR. COLLINS:
     16   the electronic version called CSOS, but this              16        Q Let me -- in terms of the timing of
     17   explains how to do all of that.                           17   filling orders versus faxing DU45s, can you
     18        Q I want to talk about the suspicious                18   explain that, how that occurred?
     19   order reporting programs you've had in place at           19       A Yeah. The early part of the program, it
     20   the New Castle Distribution Center. Can you               20   was kind of reactive. So the order would already
     21   describe what process you followed starting in            21   get there. Sometimes we would have it filled and
     22   2000 to report suspicious orders?                         22   on the cross dock truck, and then we would get the
     23           MR. BOGLE: Object to form. Vague and              23   DU45 and look at that. So we couldn't be as
     24   overbroad.                                                24   proactive, so we sent it to the DEA after the

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      1   order was filled.                                     1        Q When the New Castle Distribution Center
      2          And then after that, 2007 on, it was           2   first became operational in 2000, did you have
      3   more proactive was -- was the way I looked at it,     3   access to customer information in terms of who
      4   so that we could maybe stop and take a look at it     4   else was supplying them?
      5   and have the DRAs in place. But during that first     5       A No, I didn't.
      6   part of the time, it was -- the data would only       6           MR. BOGLE: Object to form.
      7   come after we did the last pull of orders, and we     7   BY MR. COLLINS:
      8   may have shipped it, especially if our early          8        Q Do you have that now?
      9   trucks went out at midnight.                          9       A The DRAs have all the access to that,
     10       Q Did there ever come a time where the DEA       10   yes.
     11   told you to stop sending these daily DU45 reports?   11        Q And when did that start?
     12          MR. BOGLE: Object to form. Hearsay.           12       A I'm -- I'm not sure if that was 2008,
     13          THE WITNESS: Yes. They asked us to            13   but -- with the Lifestyle drugs, but I know that
     14   stop faxing them after a little bit. Kurt Dittmer    14   the fact that they could see the wholesalers'
     15   called me. And I asked him to put it in writing,     15   information, I think Izzy told me it was just
     16   because I knew that, and he did send me an e-mail    16   within the last few years.
     17   about that. He said the monthly suspicious order     17           (Snider Exhibit No. 66 was marked
     18   reports were enough, and he would accept that.       18           for identification.)
     19   BY MR. COLLINS:                                      19   BY MR. COLLINS:
     20       Q And do you remember approximately when         20        Q I'm going to show you what's been now
     21   that occurred?                                       21   premarked as Exhibit 66, and ask you to identify
     22      A No, I don't. 2004, 2005. I'm not sure.          22   it for me.
     23       Q And what was his explanation?                  23           What is Exhibit 66?
     24      A That they had enough data --                    24       A It looks like an update of the ARCOS
                                                   Page 483                                                  Page 485
      1            MR. BOGLE: Object to form.                   1   manual, 2014. I'm not sure of that date, but
      2            THE WITNESS: -- with the monthly             2   that's what it looks like. This shows how to
      3   suspicious order reports.                             3   count the ARCOS.
      4            (Snider Exhibit No. 65 was marked            4       Q Can you tell me how your role as a
      5            for identification.)                         5   manager or director of operations of a
      6   BY MR. COLLINS:                                       6   distribution center has changed since the opening
      7        Q I'm going to hand you what's been marked       7   of the distribution center over time with respect
      8   as Exhibit 65, and ask you to identify it for me,     8   to handling and monitoring of controlled
      9   please.                                               9   substances?
     10       A It's a MOM manual.                             10           MR. BOGLE: Object to form, vague and
     11        Q I'm sorry. Can you -- can you explain         11   ambiguous.
     12   that?                                                12           THE WITNESS: Just some of the things
     13       A McKesson Operation Manual from, it looks       13   that I can mention. We've upgraded all the
     14   like, 2013. We did an update.                        14   security systems. We've actually changed the way
     15        Q What's the purpose?                           15   we do totes. We used to identify them as a
     16       A This changed the way we did the -- not         16   controlled substance and put them on the back of
     17   the daily ARCOS procedure, but the month end and     17   the truck, and we stopped doing that years ago.
     18   the DEA error report notices, and I believe that     18           And also as far as the way we handle
     19   sent it all electronic. And some of this is a        19   controls, it's a lot more data driven. The
     20   little bit technical, but we would send every day    20   director of Regulatory Affairs, especially for
     21   the reports to the DEA.                              21   national accounts, because I wasn't always privy
     22        Q When did you start doing it daily?            22   to that data, so they had a lot of data that they
     23       A Well, this says 2013, electronically,          23   could see, and when they started getting the
     24   but I'm not sure.                                    24   script information, it was very helpful to them to

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      1   make the decision on the customer.                    1   school kids, one or two of them died, and so we
      2   BY MR. COLLINS:                                       2   had to provide the antidote or the medicine for
      3       Q What do you mean by "script                     3   that. And I called in helicopters, and they
      4   information"?                                         4   landed in the parking lot and they distributed to
      5      A That was part of the -- after the LDMP,          5   the County Board of Health, I believe it was, and
      6   the CSMP, to get script information from the          6   one of the hospitals. And that's kind of what we
      7   customer for, I think it was, three months.           7   do.
      8   Without the HIPAA or the people's information,        8           I also -- just recently one of my
      9   just the amounts. So it would actually say what       9   managers from UPMC Pittsburgh Hospital, they had a
     10   kind of doctor -- what doctor prescribes what --     10   snake bite, and they must have been in central PA.
     11   what pills.                                          11   I'm not sure how that happened. But we -- he
     12       Q You've mentioned the director of               12   didn't know if the courier could get there quick
     13   Regulatory Affairs a number of times. What's his     13   enough, so he grabbed it and drove it down
     14   or her role?                                         14   himself, and that saved the kid.
     15           MR. BOGLE: Object to form.                   15           And then we were in McKesson Today for
     16           THE WITNESS: They're vetting out the         16   New Castle recently for the Washington Courthouse
     17   regulations and the customers that we either         17   distribution center in Ohio that we provided and
     18   onboard or sell to.                                  18   had a life-saving medicine, and my manager drove
     19   BY MR. COLLINS:                                      19   it halfway, they had someone pick it up, and it
     20       Q Given your almost four decades of              20   saved the patient. It was a mother who was
     21   experience with McKesson, including almost 20        21   pregnant and needed this medicine to save the
     22   years as the director of operations of the New       22   baby, and I know that's what we did.
     23   Castle Distribution Center, what do you think        23           It was written up in the McKesson Today,
     24   about all of these allegations about McKesson        24   et cetera, and Bev did most of the work. I just

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      1   fueling the opioid crisis?                            1   was standing there. But that's the kind of thing
      2            MR. BOGLE: Object to form.                   2   we do that I wanted to make sure I got on the
      3            THE WITNESS: I spent most of my life in      3   record.
      4   Summit County. I know Cuyahoga County. I'm            4          MR. COLLINS: I have no further
      5   probably the last Browns' fan you'll ever meet.       5   questions. You want to switch?
      6   So it means a lot to me, and I would never do         6          MR. BOGLE: Yeah, just give me a couple
      7   anything willingly to create an opiate crisis.        7   of minutes.
      8   I -- I feel it is terrible and I feel bad for it,     8          THE VIDEOGRAPHER: The time is 5:55 p.m.
      9   but I don't say that I caused it at -- at New         9   We're going off the record.
     10   Castle.                                              10          (Recess.)
     11   BY MR. COLLINS:                                      11          THE VIDEOGRAPHER: The time is 6:02
     12        Q Besides your handling of distribution of      12   p.m., and we're back on the record.
     13   pharmaceuticals in a routine way, are you aware of   13             RECROSS-EXAMINATION
     14   any other things that you've done as a head of       14   BY MR. BOGLE:
     15   operations at the distribution center --             15       Q All right. Mr. Snider, I have a few
     16            MR. BOGLE: Object.                          16   follow-up questions for you.
     17   BY MR. COLLINS:                                      17          You made reference to opioids being
     18        Q -- that would impact the community?           18   2 percent of the overall volume at your
     19            MR. BOGLE: Object to form.                  19   distribution center. Do you recall that
     20            THE WITNESS: Yeah, I guess that's where     20   testimony?
     21   I say about some of the things we do.                21       A Yes. At one time, yes.
     22            I know in -- I think it was Summit          22       Q Yeah, that number has not been stagnant,
     23   County, Stark County, there was a meningitis         23   right? For example, when you started in 2000,
     24   outbreak several years ago, and one of the high      24   that number increased over time, didn't it?

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      1          MR. COLLINS: Objection. Vague.                 1      A Can you ask me -- I'm not sure what you
      2          THE WITNESS: Over time, yes, it did.           2   mean by --
      3   BY MR. BOGLE:                                         3       Q Sure.
      4       Q Right. So when you say that opioids             4      A -- "provided that testimony."
      5   were 2 percent of the total volume at New Castle,     5       Q You provided testimony there's been no
      6   you're not representing to our jury that that was     6   complaints about -- about New Castle from the DEA.
      7   true for the entire period of 2008 -- or 2000 to      7      A Yes.
      8   present, right?                                       8       Q And my question to you was, did you
      9       A No. I just got the data from present.           9   review any of these letters from the DEA to assess
     10       Q From today?                                    10   whether they made any comments about the fact that
     11       A Recently.                                      11   they found nationwide and systemic violations as
     12       Q Right. So, for example, you have the           12   to McKesson's suspicious order monitoring
     13   2018 data is what you're talking about.              13   programs?
     14       A Yes.                                           14           MR. COLLINS: Object to form.
     15       Q Okay. And it was higher than that, for         15           THE WITNESS: I did not discuss it with
     16   example, in 2010.                                    16   the DEA.
     17       A I don't -- I don't know that, what it          17   BY MR. BOGLE:
     18   was.                                                 18       Q No, I'm talking about in the letters.
     19       Q You don't know. So you didn't check            19   Did you see that in the letters anywhere?
     20   anything other than 2018.                            20           MR. COLLINS: Objection. I'm not
     21       A Correct.                                       21   sure --
     22       Q Okay. You provided some -- some                22   BY MR. BOGLE:
     23   testimony about -- to the effect that the DEA has    23       Q All right. Let's just take a look at
     24   never had any complaints about any activities        24   one.

                                                   Page 491                                                    Page 493
      1   involving New Castle. Is that right?                  1      A No, I didn't.
      2       A Yes.                                            2       Q Okay. Let's take a look at one.
      3        Q Okay. Have you reviewed any of the DEA         3      A I thought you said did I review it with
      4   and DOJ letters that led to the -- the $150           4   the DEA. That's what I heard.
      5   million settlement agreement?                         5       Q All right. That's fine.
      6       A I looked at them, yes, briefly.                 6          (Snider Exhibit No. 67 was marked
      7        Q Did you just look at the settlement            7          for identification.)
      8   agreement, or did you look at any of the internal     8   BY MR. BOGLE:
      9   letters that led up to that?                          9       Q Exhibit 67, I'm going to hand you here,
     10       A I looked at the distribution centers           10   also marked as 1.1443.
     11   listed.                                              11          This is a letter from U.S. Department of
     12        Q Okay. Did you review the letters in           12   Justice, Drug Enforcement Administration, dated
     13   detail beyond that?                                  13   November 4, 2014. Do you see that?
     14       A No.                                            14      A Yes, I do.
     15        Q Okay. So, for example, if the -- some         15       Q Okay. It's sent to a Geoffrey Hobart at
     16   of the letters from the DEA indicate that they       16   Covington & Burling. Do you see that?
     17   found nationwide and systemic violations regarding   17      A Yes.
     18   controlled substance monitoring at McKesson,         18       Q Okay. And that's the same firm that's
     19   that's something you were not aware of when you      19   also representing you here today, right?
     20   provided that testimony, right?                      20      A Yes.
     21           MR. COLLINS: Objection. Assumes facts        21       Q Okay. And if you look at this letter,
     22   not in evidence. Lack of foundation.                 22   I'm going to page 2 in the letter. And I'm on the
     23   BY MR. BOGLE:                                        23   fourth paragraph.
     24        Q Right?                                        24          And it says: "In order to release all

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      1 McKesson-owned DEA registrants from administrative           1      A No. Except for the security bags and
      2 liability as you have requested, the agreed-upon             2   the sealed totes.
      3 registration consequences must reflect not only              3       Q To make sure your drivers don't get
      4 the gravity of the offenses but the nationwide               4   robbed, right?
      5 scope of McKesson's failure to report suspicious             5      A Or to make sure that the pharmacist
      6 orders and to maintain effective controls against            6   opens it behind the pharmacy and scans the product
      7 diversion."                                                  7   with -- to make sure it's the right stuff.
      8           Do you see that?                                   8       Q To make sure the pharmacist doesn't get
      9      A Yes.                                                  9   robbed.
     10       Q Okay. When you looked through the DEA               10      A Or make sure it doesn't get pilfered.
     11   correspondence prior to testifying today, do you          11       Q When you say "pilfered," what do you
     12   recall reading that statement?                            12   mean?
     13           MR. COLLINS: Objection. Lack of                   13      A The stuff is in a security bag from us,
     14   foundation. Form.                                         14   and I just wanted to make that clear that it's
     15           THE WITNESS: No, I don't.                         15   another layer of security that we put in there so
     16   BY MR. BOGLE:                                             16   that the pharmacist has to open the bag. It can't
     17       Q You don't. Okay.                                    17   be tampered with.
     18           And if you go to page 5 of the letter,            18       Q You talked too about these -- these
     19   the first full paragraph, it says: "As noted              19   totes that the controlled substances are carried
     20   above, the above examples are illustrative, not           20   in. Do you recall discussing that generally?
     21   exhaustive. They are meant to illustrate what we          21      A Yes.
     22   mean when we say that we will be driven by the            22       Q And I think you said something about
     23   evidence that we could present in administrative          23   having dedicated drivers delivering these totes,
     24   proceedings against these registrants. We have            24   and that was something that you thought
                                                         Page 495                                                 Page 497
      1   attempted to highlight this evidence in hopes that         1   differentiated McKesson from other wholesalers.
      2   you and your client can fully understand why DEA           2   Am I summarizing that fairly?
      3   believes that the failings at McKesson were                3      A Yes.
      4   system -- systemic as they were serious."                  4       Q Okay. Now, you've had at New Castle
      5           Do you see that?                                   5   problems with lost totes that carried controlled
      6       A Yes.                                                 6   substances in them, right?
      7        Q Okay. Do you recall seeing that in the              7          MR. COLLINS: Objection. Form.
      8   letter that you reviewed?                                  8          THE WITNESS: No.
      9           MR. COLLINS: Objection. Asked and                  9   BY MR. BOGLE:
     10   answered.                                                 10       Q You've never lost a tote?
     11           THE WITNESS: No.                                  11      A I didn't say that. We don't have a
     12   BY MR. BOGLE:                                             12   problem with it.
     13        Q You reviewed quite a few photos of the             13       Q Okay. Well, we talked about Giant
     14   New Castle Distribution Center. Do you recall             14   Eagle, for example, earlier, right, and you recall
     15   that?                                                     15   back in 2014 losing several totes that included
     16       A Yes.                                                16   controlled substances for deliveries to Giant
     17        Q Okay. Now, those photos all pertain to             17   Eagle, right?
     18   security measures contained within your facility          18      A No, I don't.
     19   at New Castle, right?                                     19       Q You don't?
     20       A Yes.                                                20      A Nope.
     21        Q Okay. None of those photos pertain to              21       Q Okay. All right.
     22   anything that involved trying to make sure that           22          (Snider Exhibit No. 68 was marked
     23   the controlled substances once they are sold get          23          for identification.)
     24   into the right hands, right?                              24   BY MR. BOGLE:

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      1       Q I'm going to hand you Exhibit 68, also              1   their manifest wasn't correct on that.
      2   marked as 1.1878.                                         2       Q Okay. It does report missing totes,
      3           Looking at the e-mail on the bottom               3   right?
      4   of the first page, it's from a Barbara Simpson,           4          MR. COLLINS: Objection.
      5   April 23rd, 2014, to several individuals,                 5   Mischaracterization of his --
      6   including you, right?                                     6          THE WITNESS: It does not.
      7       A Yes.                                                7          MR. COLLINS: -- testimony.
      8       Q Titled "Missing HBC Tote." Do you see               8   BY MR. BOGLE:
      9   that?                                                     9       Q It does not report where the totes are
     10       A Yes.                                               10   missing?
     11       Q What is HBC?                                       11       A No.
     12       A That's not our tote. That's a Giant                12       Q Okay. So when the e-mail talks about
     13   Eagle tote that the delivery service delivers for        13   missing HBC totes, they're not talking about
     14   them, and we don't handle it. It's the -- it's           14   missing totes?
     15   their warehouse.                                         15       A They're talking about missing totes, but
     16       Q So you guys deliver for HBC for their              16   it doesn't report it. This isn't a 106 or a lost
     17   materials, is that what you're saying?                   17   form to the DEA.
     18       A I don't. The delivery service does.                18       Q Right. But this whole e-mail discussion
     19       Q Right. So -- so the delivery service,              19   is about missing totes, right?
     20   you're saying -- your testimony is that they've          20          MR. COLLINS: Objection. Lack of
     21   lost HBC's totes but not McKesson's?                     21   foundation.
     22       A I don't even know that they lost an HBC            22          THE WITNESS: Yes, from -- from someone
     23   tote. It doesn't say whose fault it was. But             23   else.
     24   this wasn't our tote. It was a Giant Eagle tote.         24   BY MR. BOGLE:

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      1   They have their own warehouse, and they have their        1       Q Right. But it's -- it's certainly these
      2   own control system, et cetera, and I'm --                 2   delivery drivers -- either delivery drivers or HBC
      3       Q These are the same --                               3   that lost these totes. We can agree on that,
      4      A -- I'm not involved with it.                         4   right?
      5       Q Sorry. These are the same delivery                  5       A Yes.
      6   drivers that deliver McKesson totes, right?               6       Q Okay.
      7           MR. COLLINS: Objection. Misrep- --                7       A Also there's no manifest to show that.
      8   mischaracterization.                                      8   So the -- I'm sure that Greg Carlson and the Giant
      9           THE WITNESS: Yes, they deliver for                9   Eagle folks reported that to the DEA, that they
     10   Giant Eagle.                                             10   have missing totes, or I don't even know that they
     11   BY MR. BOGLE:                                            11   found them at another store or where --
     12       Q And you're aware of the circumstance               12       Q Right. You don't know either way,
     13   back in 2014 where two totes were lost, right?           13   right?
     14      A No.                                                 14       A No.
     15       Q That contained controlled substances.              15       Q But you do agree with me this discusses
     16      A If you give me time to read it, I will.             16   missing totes?
     17   I'm not -- it's HBC --                                   17           MR. COLLINS: Objection. The question
     18       Q Sure. It's a one-page e-mail. Go                   18   is vague.
     19   ahead.                                                   19   BY MR. BOGLE:
     20      A Sorry, there's other pages here. Okay.              20       Q Right?
     21   (Peruses document.)                                      21       A Yeah.
     22           This -- this doesn't record that the             22           MR. COLLINS: The question is vague.
     23   delivery service lost any totes. It's recording          23   BY MR. BOGLE:
     24   that this -- Giant Eagle reported missing. So            24       Q Now, you talked about McKesson always

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      1   having standard operating procedures for              1      A Yes.
      2   controlled substances.                                2       Q Do you have any documentary proof of
      3           Do you recall testifying to that a few        3   that today?
      4   minutes ago?                                          4      A I don't have the e-mail. He actually
      5       A Yes.                                            5   put it in writing for me.
      6        Q Okay. And so I think I asked you a             6       Q But you don't have that, right?
      7   similar question in my exam. You have no idea         7      A No, not from two -- whatever year that
      8   what was in place prior to 2000, do you?              8   was.
      9           MR. COLLINS: Objection. Vague, form.          9       Q So we don't have any way to verify by
     10           THE WITNESS: I don't recall. There was       10   documentation either of those statements, do we?
     11   a 55 manual, Section 55. That's what I recall.       11           MR. COLLINS: Objection. It's a
     12   BY MR. BOGLE:                                        12   mischaracterization. You can ask the DEA.
     13        Q Right. And we looked at that actually         13           THE WITNESS: From Kurt Dittmer would be
     14   at the very beginning of the exam that was dated     14   the only way to verify that.
     15   July 2000, right?                                    15   BY MR. BOGLE:
     16       A Yes.                                           16       Q We don't have any documentary evidence
     17        Q So you have no idea whether any standard      17   that you can provide us as to providing reports
     18   operating procedure existed prior to that manual     18   from 2000 to 2006, number one, right?
     19   in July of 2000, do you?                             19      A Number one?
     20           MR. COLLINS: Objection. Asked and            20       Q First thing. You can't point me to any
     21   answered.                                            21   documents that show that you actually did what you
     22           THE WITNESS: I know there was one in         22   said you did?
     23   '97 for sure.                                        23      A No, I don't have those e-mails from 2004
     24   BY MR. BOGLE:                                        24   or whatever year it was.

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      1       Q There was one in '97?                           1       Q And you don't -- and you don't have any
      2      A Yes. That's what I recall.                       2   e-mail that you can show me or to the jury or to
      3       Q Okay. And how did that differ from the          3   anybody else about the DEA agent specifically
      4   2000 version?                                         4   calling you and telling you that you didn't need
      5      A I don't know.                                    5   to provide daily reports anymore, correct?
      6       Q Okay. What was that one titled?                 6      A I don't have that.
      7      A Probably DOM or Operations Manual. We            7       Q You were asked about obtaining data from
      8   didn't use the word SOPs back then.                   8   other -- strike that.
      9       Q Okay. Have you seen any copies of that          9          You talked about being able to obtain
     10   SOP? Because we've asked for all of them and we      10   data regarding your customers receiving controlled
     11   didn't get anything prior to 2000.                   11   substances from other manufacture -- other --
     12      A No, I didn't.                                   12   other wholesalers. Do you recall that?
     13       Q Okay. Now, you said that there were            13      A Yes.
     14   reports sent to the DEA, unusual order reports, I    14       Q And you talked about when you thought
     15   think you called them, from 2000 to 2006. Do you     15   that was available, and I won't go back into the
     16   recall that?                                         16   exact years, but you recall talking about a
     17      A Yes.                                            17   timeline --
     18       Q Do you have any documentary proof of           18      A Yes.
     19   that at this point in time?                          19       Q -- when you thought that was available,
     20      A No.                                             20   right?
     21       Q And you also said that at some point in        21      A Yes.
     22   time, the D -- a DEA agent told you on the phone     22       Q The bottom line is, McKesson at all
     23   that he didn't want daily unusual reports anymore.   23   times was able to ask the customer for that data,
     24   Do you recall that?                                  24   right?

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      1          MR. COLLINS: Objection. Compound,             1 that?
      2   argumentative.                                       2      A Yes.
      3          THE WITNESS: I don't know that.               3       Q Okay. Now, the fact of the matter is
      4   BY MR. BOGLE:                                        4   for Summit County, there were no blocked orders
      5       Q You don't know whether McKesson at all         5   from January 2006 to May 2008 for McKesson for
      6   times could ask their own customers, Listen, give    6   Summit County pharmacies, were there?
      7   me all of the drugs that you're getting from all     7          MR. COLLINS: Object to the term
      8   the wholesalers, give me proof of that, I want to    8   "blocked orders." Vague. Form.
      9   see?                                                 9          THE WITNESS: Can you explain "blocked
     10      A From 2000 on, I don't know that -- if          10   orders"? Unusual purchases?
     11   that was legally feasible.                          11   BY MR. BOGLE:
     12       Q Legally feasible?                             12       Q No, what I'm asking is, if a customer
     13      A Yeah, I don't know --                          13   from 2006 to mid-2008 from Cuyahoga County made an
     14       Q You've asked --                               14   order for a controlled substance, they got that
     15      A -- if we could legally give them the           15   order, and those orders were not stopped or
     16   other wholesalers' information.                     16   blocked or ceased, right?
     17       Q Do you recall anybody ever asking, that       17      A No -- no, they were blocked, stopped or
     18   you were aware of?                                  18   ceased.
     19          MR. COLLINS: Objection to form.              19       Q Okay. Well, let's take a look at Summit
     20          THE WITNESS: Yes.                            20   County here.
     21   BY MR. BOGLE:                                       21          This is a summary of -- on the first
     22       Q You recall somebody asking for it?            22   page -- of the information that's been provided to
     23      A Yes.                                           23   us about blocked orders from Summit County.
     24       Q And somebody saying that was legally not      24   Exhibit 69.

                                                  Page 507                                                  Page 509
      1   possible?                                            1           (Snider Exhibit No. 69 was marked
      2       A No.                                            2           for identification.)
      3       Q Okay. So -- but what you do know is you        3   BY MR. BOGLE:
      4   guys can get it today, right?                        4       Q So this is what was produced to us as
      5       A I -- yes, as he showed me.                     5   far as blocked orders from Summit County or
      6       Q Any -- are you aware of any changes to         6   stopped orders.
      7   the laws that would allow it today that didn't       7           Do you see on the first page -- this is
      8   exist before?                                        8   from January 1, 2006, on. Do you see the first
      9          MR. COLLINS: Objection. Calls for a           9   blocked or stopped order that appears on this
     10   legal conclusion, among other things.               10   spreadsheet on page 2 is from June 18, 2008, for a
     11          THE WITNESS: I don't know anything           11   Summit County pharmacy? Do you see that?
     12   about the laws, no, right now on that.              12       A Yes. I have no idea what this document
     13   BY MR. BOGLE:                                       13   is. It doesn't even have attribution.
     14       Q Okay. Well, you talked about the fact         14       Q This is what was provided to us when we
     15   that you guys could get it. I'm just trying to      15   asked for evidence of stopped orders. This is
     16   follow up on that.                                  16   what was provided by McKesson.
     17       A It depends --                                 17       A I don't -- I don't know that.
     18          MR. COLLINS: I'm sorry, is that -- I'm       18       Q Okay. So you're saying this is wrong?
     19   not sure that's a question.                         19       A No.
     20          MR. BOGLE: No, it's not. It's just a         20           MR. COLLINS: No. Objection. That's a
     21   comment.                                            21   total mischaracterization of his answer. He said
     22   BY MR. BOGLE:                                       22   he doesn't know what this document is.
     23       Q Now, you talked about blocked orders and      23           THE WITNESS: I don't know anything
     24   suspicious order reports generally. Do you recall   24   about this document.

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      1   BY MR. BOGLE:                                             1       Q Geez, it should, man. I mean, you don't
      2        Q Okay. So if what was produced to us                2   know when orders were blocked from your
      3   supports the notion that there were no blocked            3   distribution center?
      4   or stopped orders from January 1, 2006, until             4          MR. COLLINS: You don't have to answer
      5   June 17, 2008, into Summit County from McKesson,          5   that.
      6   do you have any reason to dispute the accuracy of         6   BY MR. BOGLE:
      7   that finding?                                             7       Q No, you do. You don't know that?
      8           MR. COLLINS: Objection. Assumes facts             8          MR. COLLINS: Actually -- actually, lack
      9   not in evidence, lack of foundation.                      9   of foundation. You haven't established this
     10           THE WITNESS: Yes, I don't know.                  10   witness has any knowledge about this document. He
     11   BY MR. BOGLE:                                            11   keeps telling you he doesn't know anything about
     12        Q You don't know.                                   12   the document, and you keep asking him questions
     13       A Correct.                                           13   about a document he doesn't know anything about.
     14        Q Okay. So -- and this report as well               14          THE WITNESS: I don't know anything
     15   indicates that the first report to the DEA of a          15   about this document, and you say it's a blocked
     16   blocked order occurred August 1st, 2013, for a           16   item document, and this cover page is on it, but
     17   Summit County pharmacy, and that's on page .10.          17   I've never seen this before.
     18           You see there's a "DEA reported date"            18   BY MR. BOGLE:
     19   column there, and you see it's blank on all pages        19       Q I put the cover page on there.
     20   leading up to .10 until you get to August 1, 2013.       20   Everything else --
     21       A I can testify --                                   21       A Oh --
     22           MR. COLLINS: I'm sorry. I'm not sure             22       Q -- is provided to us by --
     23   if there's a question. He's just --                      23       A -- I did not know that.
     24   BY MR. BOGLE:                                            24       Q That's a summary of the data included in

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      1       Q Yeah, I'm introducing the information to            1   there.
      2   you.                                                      2       A If you say so, but I don't -- can't
      3      A Okay.                                                3   testify to that.
      4       Q You see there's a "DEA reported date"               4       Q Okay. You have no reason to dispute the
      5   column. The first date entry is on page 10 for a          5   accuracy of either of those statements, do you, on
      6   blocked order that was reported to the DEA,               6   the first page?
      7   August 1st, 2013, for a Summit County pharmacy.           7           MR. COLLINS: Objection. Lack of
      8   Do you see that?                                          8   foundation.
      9      A I don't know what that is, and I don't               9   BY MR. BOGLE:
     10   know -- it doesn't say blocked order. It says            10       Q Do you?
     11   Acme Pharmacy.                                           11           MR. COLLINS: Objection. Lack of
     12       Q This was represented to us by McKesson             12   foundation.
     13   this was their blocked order reports for Summit          13           THE WITNESS: I don't trust what you put
     14   County.                                                  14   on here.
     15          MR. COLLINS: Objection. Lack of                   15   BY MR. BOGLE:
     16   foundation what this --                                  16       Q You don't trust what I put on there?
     17   BY MR. BOGLE:                                            17       A No.
     18       Q So you don't know what this report is              18       Q Show me where I'm wrong in the document.
     19   even about?                                              19       A I don't know the document.
     20          MR. COLLINS: I'm sorry, let me finish             20       Q Okay. You don't have any idea, right?
     21   my objection. Lack of foundation. You haven't            21           MR. COLLINS: Objection. Argumentative.
     22   established this witness's knowledge as to what          22           MR. BOGLE: No further questions.
     23   this document --                                         23           MR. COLLINS: Actually I have a couple
     24   BY MR. BOGLE:                                            24   of follow-ups.

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      1             REDIRECT EXAMINATION                              1            (Whereupon, the deposition of
      2   BY MR. COLLINS:                                             2            BLAINE M. SNIDER was concluded
      3       Q Exhibit 67, can you pull it out.                      3            at 6:23 p.m.)
      4          Mr. Bogle asked you about this                       4
      5   correspondence between the DEA and Mr. Hobart.              5
      6   Can you look through it and see if you see the              6
      7   New Castle name mentioned anywhere in this                  7
      8   document?                                                   8
      9       A I was kind of looking through that. I                 9
     10   think I saw Colorado. I didn't see New Castle              10
     11   anywhere.                                                  11
     12       Q All right, Exhibit 68, Mr. Bogle                     12
     13   questioned you about this allegedly lost tote.             13
     14          Did McKesson ever lose any totes in                 14
     15   connection with servicing whatever customer this           15
     16   is?                                                        16
     17       A No.                                                  17
     18       Q Do you have any idea what this -- what               18
     19   is being discussed in this e-mail?                         19
     20       A This is --                                           20
     21          MR. BOGLE: Object to form.                          21
     22          THE WITNESS: This is their Giant Eagle              22
     23   warehouse that they contracted with SSD to fill --         23
     24   to deliver orders, and their due diligence would           24

                                                          Page 515                                                            Page 517
      1 have been their manifest.                                     1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
      2          But Barb is trying to find out because               2      The undersigned Certified Shorthand Reporter
      3 she's doing due diligence to make sure controls               3 does hereby certify:
      4 don't get out on the street.                                  4      That the foregoing proceeding was taken before
      5 BY MR. BOGLE:                                                 5 me at the time and place therein set forth, at
      6      Q    Does this document reflect that McKesson            6 which time the witness was duly sworn; That the
      7 lost totes?                                                   7 testimony of the witness and all objections made
      8     A       No.                                               8 at the time of the examination were recorded
      9           MR. BOGLE: Object to form.                          9 stenographically by me and were thereafter
     10           MR. COLLINS: No further questions.                 10 transcribed, said transcript being a true and
     11           MR. BOGLE: All right, we're done.                  11 correct copy of my shorthand notes thereof; That
     12           THE VIDEOGRAPHER: All right. The time              12 the dismantling of the original transcript will
     13   is -- sorry, anything else?                                13 void the reporter's certificate.
     14           MR. BOGLE: No, I'm good.                           14      In witness thereof, I have subscribed my name
     15           MR. COLLINS: We're good.                           15 this date: November 13, 2018.
     16           THE VIDEOGRAPHER: Anybody on the phone             16
     17   either?                                                    17              ________________________
     18           I just want to make sure --                        18              LESLIE A. TODD, CSR, RPR
     19           MR. COLLINS: I didn't even know -- was             19              Certificate No. 5129
     20   there anybody participating by phone?                      20 (The foregoing certification of
     21           THE VIDEOGRAPHER: The time is                      21 this transcript does not apply to any
     22   6:23 p.m., November 8, 2018.                               22 reproduction of the same by any means,
     23           Going off the record, completing the               23 unless under the direct control and/or
     24   videotaped deposition.                                     24 supervision of the certifying reporter.)


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Case: 1:17-md-02804-DAP Doc #: -3027-21
      Highly Confidential               Filed:
                                  Subject   to12/19/19
                                               Further 131Confidentiality
                                                           of 131. PageID #: 471651
                                                                               Review
                                                   Page 518                                                           Page 520
      1            INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
      2       Please read your deposition over carefully and    2     I,___________________________, do hereby
      3   make any necessary corrections. You should state      3 certify that I have read the foregoing pages, and
      4   the reason in the appropriate space on the errata     4 that the same is a correct transcription of the
      5   sheet for any corrections that are made.              5 answers given by me to the questions therein
      6   After doing so, please sign the errata sheet          6 propounded, except for the corrections or changes
      7   and date it.                                          7 in form or substance, if any, noted in the
      8       You are signing same subject to the changes       8 attached Errata Sheet.
      9   you have noted on the errata sheet, which will be     9
     10   attached to your deposition. It is imperative        10 __________________________________________________
     11   that you return the original errata sheet to the     11 BLAINE M. SNIDER                    DATE
     12   deposing attorney within thirty (30) days of         12
     13   receipt of the deposition transcript by you. If      13
     14   you fail to do so, the deposition transcript may     14 Subscribed and sworn to
     15   be deemed to be accurate and may be used in court.   15 before me this
     16                                                        16 ______day of_______________,20___.
     17                                                        17 My commission expires:_______________
     18                                                        18 _____________________________________
     19                                                        19 Notary Public
     20                                                        20
     21                                                        21
     22                                                        22
     23                                                        23
     24                                                        24

                                                   Page 519
      1            ------
      2            ERRATA
      3            ------
      4 PAGE LINE CHANGE
      5 ____ ____ ________________________________________
      6 REASON: ________________________________________
      7 ____ ____ ________________________________________
      8 REASON: ________________________________________
      9 ____ ____ ________________________________________
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     23 ____ ____ ________________________________________
     24 REASON: ________________________________________


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